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                                                                     [DOCKET NO. 8]


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE


    RONALD KOONS, et al.,                               Civil No. 22-7464 (RMB/AMD)

                   Plaintiffs,                          Consolidated with
                                                        Civil No. 22-7463 (RMB/AMD)
           v.

    MATTHEW PLATKIN,                                          OPINION
    in his official capacity as Attorney General of
    the State of New Jersey, and
    PATRICK CALLAHAN,
    in his official capacity as Superintendent of the
    New Jersey State Police,

                   Defendants,

           and

    NICHOLAS SCUTARI,
    President of the New Jersey Senate, and
    CRAIG COUGHLIN,
    Speaker of the New Jersey Assembly,

                   Intervenors-Defendants.


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  BUMB, Chief District Judge

  I.     INTRODUCTION

         “A well regulated Militia, being necessary to the security of a free State, the right of

  the people to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II. For more

  than 200 years after the Second Amendment’s ratification, the meaning of these words went

  largely unaddressed by the Supreme Court of the United States. That all changed in 2008.

         In District of Columbia v. Heller, the Supreme Court held the Second Amendment

  guarantees a private, individual right to keep and bear arms for self-defense. 554 U.S. 570,

  592 (2008). At its core, the Heller Court found the Second Amendment guarantees “the right

  of law-abiding, responsible citizens to use arms in defense of hearth and home.” Id. at 635.

  Two years later, the Supreme Court found the Second Amendment’s “right to keep and bear

  arms among those fundamental rights necessary to our system of ordered liberty” and ruled

  the Amendment applies equally to the federal government and states. McDonald v. City of

  Chicago, 561 U.S. 742, 778, 791 (2010).

         This past summer, the Supreme Court in New York State Rifle & Pistol Ass’n v. Bruen held

  the Second Amendment’s right to keep and bear arms extends beyond the home and allows

  law-abiding citizens to carry firearms in public for self-defense. 597 U.S. ____, ____, 142 S.

  Ct. 2111, 2122 (2022). In doing so, the Bruen Court struck down as unconstitutional a law

  requiring law-abiding citizens to make a separate showing of need to carry a handgun in

  public. Id. at 2156. Bruen invalidated the law because “it prevent[ed] law-abiding citizens

  with ordinary self-defense needs from exercising their right to keep and bear arms.” Id. Bruen

  also changed the landscape for Second Amendment challenges to firearm laws: “when the

  Second Amendment’s plain text covers an individual’s conduct,” the Constitution


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  presumptively protects that conduct and the government must then justify its firearm law by

  showing “the regulation is consistent with this Nation’s historical tradition of firearm

  regulation.” Id. at 2126.

          In Bruen’s wake, New Jersey’s Legislature sprang into action, amending the State’s

  firearm laws in many ways. First, the Legislature dropped the State’s firearm law requiring a

  person to show “justifiable need” to carry a handgun in public for self-defense—a requirement

  that Bruen explicitly struck down. Second, the Legislature created a list of 25 “sensitive

  places” where firearms are banned under threat of criminal prosecution. These places range

  from government-owned buildings, libraries, entertainment facilities, and restaurants that

  serve alcohol to all private property unless prior consent to carry is given. In enacting the

  sensitive places law, the Legislature purported to abide by Bruen by declaring the Nation’s

  “history and tradition” supported banning firearms at these identified locations. 2022 N.J.

  Laws, ch. 131, § 1(g).

          Plaintiffs—all law-abiding citizens who either had a permit to carry a handgun in

  public or could qualify for one—responded immediately to the new legislation and sought

  this Court’s intervention to bar the State from enforcing it. In fact, before the new law, several

  Plaintiffs had lawfully and routinely carried their handguns in these now-designated

  “sensitive places.”      In particular, one Plaintiff—a kidnaping victim—had met the high

  “justifiable need” requirement to conceal carry in public for his own safety. Now, Plaintiffs

  could not conceal carry as they had before. The new legislation, in their minds, was nothing

  more than a sovereign’s knee-jerk reaction to a Supreme Court ruling the State abhorred. 1



  1
   Plaintiffs’ sentiments are well-grounded given the declaration of Assemblymen Joseph Danielsen, the law’s
  primary sponsor: “[b]ecause of Bruen, more New Jerseyans will die as result of gun violence.” An Act concerning


                                                        2
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  They contended the Legislature’s drastic measures went too far: that what the Supreme Court

  gave, the State took away. In other words, although an individual seeking to carry a handgun

  for self-defense is no longer required to show a “justifiable need,” the State’s expansive list of

  “sensitive places” effectively prohibits the carrying of that handgun virtually everywhere in

  New Jersey. To these Plaintiffs, the Legislature’s message was clear: leave your Second

  Amendment rights and guns at home.

          Upon their initial applications, the Court agreed with Plaintiffs, temporarily enjoining

  certain provisions of the law, setting this matter down for a preliminary injunction hearing

  after the parties had engaged in discovery and a more complete record was developed.

  Remarkably, despite numerous opportunities afforded by this Court to hold evidentiary

  hearings involving the presentation of evidence, the State called no witnesses. And despite

  assurances by the State that it would present sufficient historical evidence as required by Bruen

  to support each aspect of the new legislation, the State failed to do so. 2 Finally, even the


  the Sale and Possession of Firearms and Supplementing and Amending Various Parts of the Statutory Law: Floor Debate
  on A4769 Before the Gen. Assemb., 2022-2023 Leg., 220th Sess. (N.J. Nov. 21, 2022) (statement of Assemblymen
  Joseph Danielsen), available at: https://www.njleg.state.nj.us/archived-media/2022/assembly-session-
  list/media-player?committee=A&agendaDate=2022-11-21-10:00:00&agendaType=S&av=V (marker 10:40 to
  10:51).
  2
    The legislative record reveals the Legislature paid little to no mind to Bruen and the law-abiding New Jerseyans’
  right to bear arms in public for self-defense. Again, the law’s primary sponsor declared that “Because of Bruen,
  more New Jerseyans will die as result of gun violence.” Id. When Assemblymen Brian Bergen asked the law’s
  primary sponsor, Assemblymen Joseph Danielsen, if he had read Bruen, Danielsen responded “me reading the
  Court’s decision is not part of the bill.” Id. (questioning of Assemblymen Joseph Danielsen by Assemblymen
  Brian Bergen) (marker 33:39 to 33:50). And when pressed by Bergen on whether the Founding Founders limited
  the Second Amendment to “town squares,” “taverns,” “public parks,” and “beaches,” Danielsen refused to
  answer the question, telling Bergen to “stay on the bill.” Id. (questioning of Assemblymen Joseph Danielsen by
  Assemblymen Brian Bergen) (marker 35:20 to 35:50). Throughout his questioning with Bergen, Danielsen
  evaded questions on the historical support for the new law. At another hearing, when Assemblywomen Victoria
  Flynn simply asked Danielsen where law-abiding citizens could conceal carry, Danielsen’s response included
  such statements as: “reasonable persons exercising common sense would have an expectation that guns are not
  being brought in except by law enforcement . . . my job is not to tell you where guns can go . . . my job is to
  write common sense into this bill . . . you are not going to mindlessly put a loaded firearm on your person and
  just leave the house.” An Act concerning the Sale and Possession of Firearms and Supplementing and Amending Various
  Parts of the Statutory Law: Hearing on A4769 Before Assemb. Jud. Comm., 2022-2023 Leg., 220th Sess. (N.J. Oct. 17,


                                                          3
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  social science studies, which the Legislature relied upon and the State adopted to support the

  new law (and to oppose preliminary injunctive relief here), are inapposite. At this preliminary

  injunction stage, the State has proceeded to justify the new legislation with “more of the

  same” that it had presented during the initial proceedings for temporary restraints. This has

  left the Court to do what the Legislature had said it had done, but clearly did not. The Court

  has conducted its own exhaustive research into this Nation’s history and tradition of

  regulating firearms that Bruen mandates; its analysis follows. This has taken some time, and

  the State’s effort to hurry this Court along is most unfortunate. 3

            Moreover, instead of presenting the compelling historical evidence they promised, the

  State and the Legislature-Intervenors have spent their resources writing a narrative that says,

  absent the Court’s indiscriminate approval of the new legislation, “[t]he risk of dangerous and

  often fatal situations looms large.” [State TRO Opp’n Br. at 36 (Docket No. 21).]                       It is

  rhetoric that is not productive, particularly for this Court’s role here. This Court is painfully

  aware of the gun violence that has plagued our Nation.                    But what the State and the

  Legislature-Intervenors ignore, and what their empirical evidence fails to address, is that this

  legislation is aimed primarily—not at those who unlawfully possess firearms—but at

  law-abiding, responsible citizens who satisfy detailed background and training requirements

  and whom the State seeks to prevent from carrying a firearm in public for self-defense.




  2022) (questioning of Assemblymen Joseph Danielsen by Assemblywomen Victoria Flynn), available at:
  https://www.njleg.state.nj.us/archived-media/2022/AJU-meeting-list/media-
  player?committee=AJU&agendaDate=2022-10-17-10:00:00&agendaType=M&av=A (marker 50:24 to 57:40).
  In response to a follow up question from Flynn again on where a law-abiding conceal carry permit holder could
  carry, Danielsen responded with his own question: “would you want them to carry in any of these sensitive
  places?” Id. Assemblywoman Flynn responded by saying that the proper inquiry was not what she wanted, but
  “what the Constitution says and what the Second Amendment says. . . and what the United States Supreme
  Court just said in Bruen.” Id.
  3
      See Docket No. 104.
                                                       4
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           Our Founding Fathers were aware of the dangers such laws pose. In his Commonplace

   Book, Thomas Jefferson quoted from Italian philosopher Cesare Beccaria’s work, On Crime

   and Punishment, where Beccaria discussed the “False Ideas of Utility”:

                    Laws that prohibit the carrying of arms are laws of that nature.
                    They disarm only those who are not inclined or determined to
                    commit crimes . . . These laws worsen the plight of the assaulted,
                    but improve those of the assailants. They do not lessen
                    homicides, but increase them, because the confidence of carrying
                    out an assault against the disarmed is greater than against the
                    armed. These laws are not preventive ones, but born out of the
                    fear of crime. 4

   Those words rang true then. They ring true today. Clearly, the State disagrees with Bruen,

   but it cannot disobey the Supreme Court by declaring most of New Jersey off limits for

   law-abiding citizens who have the constitutional right to armed self-defense.

           That said, this Court finds that most of the new legislation’s firearm permitting

   requirements are consistent with the Second Amendment. This Nation has historically

   disarmed dangerous individuals or those who could endanger the public’s safety if allowed to

   have a firearm. The new legislation adheres to that historical tradition because it aims to keep

   firearms out of the hands of New Jerseyans who could threaten the public’s safety.

           Thus, for the reasons set forth below and after having conducted a thorough review of

   the complex issues presented by this new legislation, this Court grants, in part, and denies, in

   part, Plaintiffs’ motions for a preliminary injunction.




   4
     The Commonplace Book of Thomas Jefferson: A Repertory of His Ideas on Government 314 (Gilbert Chinard ed., John
   Hopkins Press, 1926); see also Cesare Beccaria, On Crimes and Punishments 105 (Graeme R. Newman & Pietro
   Marongiu trans., Transaction Publishers 5th ed., 2009). Thomas Jefferson originally transcribed the passage
   from Beccaria’s work in its Italian form.
                                                          5
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   II.    FACTUAL AND PROCEDURAL BACKGROUND

          The Court recites only those facts necessary to decide Plaintiffs’ pending motions for

   a preliminary injunction (“PI”). The Court incorporates by reference its earlier two Opinions

   issued during the temporary restraining order (“TRO”) phase of this litigation, including the

   background discussion on the history and implementation of the newly enacted state statute

   central to the current controversy: Chapter 131 of the 2022 Laws of New Jersey (“Chapter

   131”). [Docket Nos. 34, 51.]

          Plaintiffs challenge the constitutionality of Chapter 131’s new requirements and now

   criminalized acts, including those relating to the firearm permit process, fee increases for

   firearm permits, the minimum liability insurance requirement for carry permit holders, the

   new crime of an unjustified display of a handgun by carry permit holders, the vast majority

   of the 25 “sensitive place” designations where the law now criminalizes carrying a handgun

   by carry permit holders, and the law’s new provision exempting judges, prosecutors, and

   attorneys general from the State’s firearm laws, including the sensitive place restrictions.

   Some Plaintiffs also raise constitutional challenges to other firearm laws and regulations that

   predate Chapter 131, such as regulations applicable in state parks, casinos, and miscellaneous

   fish and game regulations. [Docket No. 69; Siegel Docket No. 1.]

          A.     The Koons Plaintiffs’ Narrow Constitutional Challenge to Select Sensitive
                 Place Designations in Chapter 131

          The same day Chapter 131 became law, Plaintiffs Ronald Koons, Nicholas Gaudio,

   Jeffrey Muller, the Second Amendment Foundation, Firearms Policy Coalition, Inc.,

   Coalition of New Jersey Firearm Owners, and New Jersey Second Amendment Society




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   (together, the “Koons Plaintiffs”) sued challenging the constitutionality of Chapter 131.5

   [Docket No. 1.] They asserted a single cause of action under 42 U.S.C. § 1983 (“Section

   1983”) for deprivation of civil rights, claiming that the challenged “sensitive place”

   designations in Chapter 131 violate the Second Amendment (as applied to the States through

   the Fourteenth Amendment). [Docket No. 1 ¶¶ 67–69.]

           Days later, the Koons Plaintiffs moved to temporarily restrain the State from enforcing

   certain provisions of Chapter 131 and for a preliminary injunction.                     [Docket No. 8.] The

   Koons Plaintiffs’ constitutional challenge at the TRO phase was a narrow one, challenging

   only Chapter 131’s handgun ban at: (1) public libraries or museums; (2) bars and restaurants

   where alcohol is served; (3) entertainment facilities; and (4) private property unless the

   property owner expressly consents. 6 N.J. Stat. Ann. §§ 2C:58-4.6(a)(12), (15), (17), and (24).

   They also challenged Chapter 131’s prohibition on functional firearms in vehicles. 7 Id. §

   2C:58-4.6(b)(1). Without conceding the constitutionality of any other of Chapter 131’s new

   requirements, the Koons Plaintiffs stated they were challenging only these select sensitive place

   restrictions at the TRO phase because such provisions: “(1) are plainly unconstitutional; (2)

   do not depend on other legislative acts, such as the enactment of a local ordinance or a state

   regulation; and (3) substantially interfere with a law abiding citizen’s ability to carry a

   handgun for the purpose of protection.” [Docket No. 9, at 11.] Following oral argument,


   5
     References herein to the “Koons Plaintiffs” shall also be understood to include individual plaintiff Gil Tal, who
   joined as a party to the Koons matter upon filing of the Amended Complaint. [Docket No. 69.]
   6
     Chapter 131 makes it an offense in the third-degree “to knowingly carry a firearm” in any of the enumerated
   “sensitive places,” punishable by up to five years imprisonment. N.J. Stat. Ann. § 2C:58-4.6(a); see also id. §§
   2C:43-6(a)(3), 2C:44-1(f)(1)(d).
   7
     Chapter 131 makes it a fourth-degree offense to transport or carry a firearm “while in a vehicle in New Jersey,
   unless the firearm is unloaded and contained in a closed and securely fastened case, gunbox, or locked unloaded
   in the trunk of the vehicle.” N.J. Stat. Ann. § 2C:58-4.6(b)(1). A fourth-degree offense is punishable by up to
   18 months’ imprisonment. Id. §§ 2C:43-6(a)(4), 2C:44-1(f)(1)(e).

                                                           7
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   this Court granted the Koons Plaintiffs’ TRO Motion on the challenged provisions, but

   reserved on their request for a preliminary injunction. [Docket No. 35.]

           B.       The Siegel Plaintiffs’ Broad Constitutional Challenges to Chapter 131 and
                    Preexisting State Firearm Laws

           The same day the Koons Plaintiffs filed suit, Plaintiffs Aaron Siegel, Jason Cook,

   Joseph Deluca, Nicole Cuozzo, Timothy Varga, Christopher Stamos, Kim Henry, and the

   Association of New Jersey Rifle and Pistol Clubs, Inc. (the “Siegel Plaintiffs,” and together

   with the Koons Plaintiffs, the “Plaintiffs”) also sued, raising several constitutional challenges

   to Chapter 131 and other preexisting firearm laws. Besides raising a Second Amendment

   challenge, the Siegel Plaintiffs also raised First Amendment, Equal Protection, and Due

   Process challenges. [Siegel Docket No. 1.] They, too, sought a TRO and preliminary

   injunction barring the named State officials from enforcing certain provisions of Chapter 131

   and related firearm laws predating Bruen. 8,9 [Siegel Docket No. 4.]

           Following oral argument on the Siegel Plaintiffs’ TRO application, the Court granted,

   in part, and denied, in part, their motion. [Docket No. 52.] The Court temporarily restrained

   the State from enforcing the same five “sensitive places” that the Court previously restrained

   in Koons—Chapter 131’s handgun ban at public libraries or museums, bars and restaurants


   8
     By stipulation among the parties, the claims against New Jersey prosecutors for Atlantic County, Camden
   County, and Sussex County—who were initially named as defendants in the Koons matter—were dismissed
   without prejudice. [Docket No. 73.] As explained in the parties’ Consent Order, such prosecutors “must comply
   with the Court’s orders and injunctions regarding the enforcement of Chapter 131 … regardless of whether they
   are parties to this action or not.” [Id. at 1.] Further, on January 30, 2023, the Court granted the Motion to
   Intervene by Defendants Scutari, President of the New Jersey Senate, and Coughlin, Speaker of the New Jersey
   Assembly. [Docket No. 53.] Accordingly, for purposes of this Opinion, “the State” shall be understood to refer
   collectively to New Jersey officials Platkin, Callahan, Scutari, and Coughlin named as Defendants.
   9
     The State filed an Emergency Motion to Consolidate the Koons and Siegel matters after this Court issued the
   TRO in Koons, but while the Siegel TRO was pending before the Honorable Karen M. Williams, U.S.D.J. [Siegel
   Docket No. 7.] Judge Williams held a hearing on January 12, 2023, and thereafter granted the Motion to
   Consolidate, in part, consolidating the Siegel matter into the Koons matter. [Siegel Docket No. 34.] Because this
   is a consolidated action, citations to “Siegel Docket” refer to Docket No. 1:22-cv-07463 and citations to “Docket”
   refer to Docket No. 1:22-cv-07464.
                                                           8
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   that serve alcohol, entertainment facilities, and private property unless consent is given—and

   the law’s prohibition on functional firearms in vehicles. [Id.] This Court also temporarily

   restrained the State from enforcing Chapter 131’s handgun ban at parks, beaches, and

   recreational facilities, and casinos, as well as related preexisting New Jersey laws restricting

   firearms in state parks (N.J. Admin. Code § 7:22.17(b)) and casinos (N.J. Admin. Code §

   13:69D1.13). [Id.] This Court refused the Siegel Plaintiffs’ request to bar the State from

   enforcing Chapter 131’s handgun ban at playgrounds, youth sports events, zoos, public

   demonstrations requiring a government permit, health care facilities, airports, and public film

   sets, as well as certain preexisting fish and game laws, either because they lacked standing to

   challenge those laws or the State had come forward with some evidence to support the

   restrictions. [Siegel TRO Op. at 16–43 (Docket No. 51).]

           C.       Plaintiffs’ Pending Motions for a Preliminary Injunction

           While the PI motions were pending, the Koons Plaintiffs filed an Amended Complaint

   augmenting their Second Amendment challenge to Chapter 131’s handgun ban, including the

   restrictions at parks and beaches, health care facilities, airports, and transportation hubs.

   [Koons Am. Compl. ¶ 38 (Docket No. 69). 10]

           Now before the Court are Plaintiffs’ preliminary injunction motions to Chapter 131’s

   handgun ban at the following “sensitive” places: 11

           •        Subpart 6 (prohibiting handguns “within 100 feet of a place for a public
                    gathering, demonstration or event is held for which a government

   10
     The Amended Complaint specifies that the Koons Plaintiffs’ prayer for relief includes a preliminary and/or
   permanent injunction with respect to each of the provisions they challenge therein. [Koons Am. Compl. p.22
   (Docket No. 69).]
   11
     The Siegel Plaintiffs have sought a PI as to each of the provisions set forth in this subsection, whereas the Koons
   Plaintiffs have moved for a PI only for those sensitive place designations indicated below with an asterisk (“*”).
   The Koons Plaintiffs have also challenged only certain aspects of certain provisions, as further indicated in the
   footnotes.

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                    permit is required, during the conduct of such gathering, demonstration
                    or event”);

           •        Subpart 9 (prohibition on carrying handguns at zoos only); 12

           •        *Subpart 10 (prohibiting handguns at “a park, beach, recreation facility
                    or area or playground owned or controlled by a State, county or local
                    government unit, or any part of such a place, which is designated as a
                    gun free zone by the governing authority based on considerations of
                    public safety”); 13

           •        Subpart 11 (prohibiting handguns “at youth sports events, as defined in
                    N.J.S.5: 17-1, during and immediately preceding in following the
                    conduct of the event . . .”);

           •        *Subpart 12 (prohibiting firearms in “a publicly owned or leased library
                    or museum”);

           •        *Subpart 15 (prohibiting firearms in “a bar or restaurant where alcohol
                    is served, and any other site or facility where alcohol is sold for
                    consumption on the premises”);

           •        *Subpart 17 (prohibiting firearms in “a privately or publicly owned and
                    operated entertainment facility within this State, including but not
                    limited to a theater, stadium, museum, arena, racetrack or other place
                    where performances, concerts, exhibits, games or contests are held”);

           •        Subpart 18 (prohibiting handguns at “a casino and related facilities,
                    including but not limited to appurtenant hotels, retail premises,
                    restaurant and bar facilities, and entertainment in recreational venues
                    located within the casino property); 14

           •        *Subpart 20 (prohibiting handguns at “an airport or public
                    transportation hub”); 15

           •        *Subpart 21 (prohibiting handguns at “a health care facility, including

   12
     None of the Plaintiffs have sought a PI as to any of the other “sensitive places” set forth in Subpart 9, namely,
   as to any “nursery school, pre-school, or summer camp.”
   13
      Relatedly, the Siegel Plaintiffs seek a PI as to N.J. Admin. Code § 7:22.17(b). Further, as set forth in their
   Amended Complaint, the Koons Plaintiffs’ “challenge to subpart 10 does not include the restriction on carrying
   in ‘playgrounds.’” [Koons Am. Compl. ¶ 37 (Docket No. 69).]
   14
      Relatedly, the Siegel Plaintiffs seek a PI as to N.J. Admin. Code § 13:69D–1.13.
   15
     As set forth in the Amended Complaint, the Koons Plaintiffs’ “challenge to subpart 20 does not concern any
   secured area in an airport ([i.e.,] an area subject to security screening).” [Koons Am. Compl. ¶ 37 (Docket No.
   69).]
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                  but not limited to a general hospital, special hospital, mental psychiatric
                  hospital, public health center, diagnostic center, treatment center,
                  rehabilitation center, extended care facility, skilled nursing home,
                  nursing home, intermediate care facility, tuberculosis hospital, chronic
                  disease hospital, maternity hospital, outpatient clinic, dispensary,
                  assisted living center, home health care agency, residential treatment
                  facility, or residential healthcare facility”);

          •       Subpart 22 (prohibiting handguns in a “facility licensed or regulated by
                  the Department of Human Services, Department of Children and
                  Families or Department of Health, other than a health care facility, that
                  provides addiction or mental health treatment or support services”);

          •       Subpart 23 (prohibiting handguns at “a public location being used for
                  making motion picture or television images for theatrical, commercial
                  or educational purposes, during the time such location is being used for
                  that purpose”); and

          •       *Subpart 24 (prohibiting firearms in “private property, including but not
                  limited to residential, commercial, industrial, agricultural, institutional
                  or undeveloped property, unless the owner has provided express consent
                  or has posted a sign indicating that it is permissible to carry on the
                  premises a concealed handgun with a valid and lawfully issued permit
                  under N.J.S.2C:58-4, provided that nothing in this paragraph shall be
                  construed to affect the authority to keep or carry a firearm established
                  under subsection e. of N.J.S.2C:39-6”).

   N.J. Stat. Ann. § 2C:58-4.6(a).

          Plaintiffs also move to preliminarily enjoin the State from enforcing Chapter 131’s

   prohibition on functional firearms in vehicles, reproduced in pertinent part below:

                  A person, other than a person lawfully carrying a firearm within
                  the authorized scope of an exemption set forth in subsection a.,
                  c., or l. of N.J.S.2C:39-6, who is otherwise authorized under the
                  law to carry or transport a firearm shall not do so while in a
                  vehicle in New Jersey, unless the handgun is unloaded and
                  contained in a closed and securely fastened case, gunbox, or
                  locked unloaded in the trunk of the vehicle.

   Id. § 2C:58-4.6(b)(1).

          The Siegel Plaintiffs also move to preliminarily enjoin the State from enforcing other

   provisions of Chapter 131. For instance, they currently challenge language in Chapter 131

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   prohibiting firearms on “multiuse” properties, including each of the enumerated “sensitive

   places” and “any part of the buildings, grounds, or parking area” thereof. 16 [Siegel Compl. ¶¶

   261–62 (Siegel Docket No. 1).] The Siegel Plaintiffs also seek to preliminary enjoin the State

   from enforcing Chapter 131’s new liability insurance requirement for carry permit holders,

   requiring private citizens who carry a handgun in public to maintain liability insurance against

   loss for any resulting bodily injury, death, or property damage in an amount or limit of no

   less than $300,000, among other things. [Id. ¶¶ 280–81.] And they challenge Chapter 131’s

   new fee increases for various firearm permits. [Id. ¶ 282.] The Siegel Plaintiffs move to enjoin

   Chapter 131’s new fourth-degree crime making it unlawful for carry permit holders to “engage

   in an unjustified display of a handgun,” arguing the new law violates the Due Process Clause

   under the void-for-vagueness doctrine. [Id. ¶¶ 302–03.] They also seek to enjoin the State

   from enforcing Chapter 131’s new firearm permit scheme, including two new statutory

   disqualifiers that bar certain individuals from obtaining a firearm permit in New Jersey, as

   well as the application process for a carry permit. [Id. ¶¶ 283–85, 301, 318–22.] Finally, the

   Siegel Plaintiffs seek to bar the State from enforcing Chapter 131’s provision exempting judges,

   prosecutors, and attorneys general from the State’s firearm laws, including Chapter 131’s new

   sensitive place restrictions. [Id. ¶¶ 290–91.] Their remaining challenges focus on firearm laws

   that have been around for decades, such as laws restricting the type of ammunition a person

   may possess while in the woods, fields, marshlands, or on the water, or while hunting various

   game, N.J. Admin. Code § 7:25-5.23(a), (c), (f), (i), and (m) (collectively, the “Fish and Game

   Restrictions”). [Id. ¶ 278.]


   16
      Relatedly, the Siegel Plaintiffs seek to preliminarily enjoin a preexisting New Jersey statute that prohibits
   firearms on multiuse properties that share a parcel of property with a school, college, university, or educational
   institution, codified at N.J. Stat. Ann. § 2C:39-5(e).

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          D.     The State’s Opposition to a Preliminary Injunction

          In response, the State argues that Plaintiffs cannot meet the demanding standard for

   injunctive relief. [State Opp’n Br. at 1–2 (Docket No. 91).] The State maintains that the

   challenged provisions of both Chapter 131 and preexisting New Jersey laws pass

   constitutional muster under Bruen because such laws “protect the safety of New Jersey

   residents and are consistent with the Second Amendment’s text and tradition.” [Id. at 1.] The

   State purports to have supplemented the record with additional historical evidence since the

   TRO phase to justify the State’s new firearm restrictions given Bruen’s clear test, discussed in

   greater detail below. But as noted earlier, this Court finds it is of little persuasive value,

   leaving the Court to scour the history books. [Id.] Further, the State contends that several of

   the challenged provisions fall outside the ambit of the Second Amendment altogether, and

   thus, Plaintiffs’ constitutional challenge fails. [Id.] The State’s more specific arguments

   opposing preliminary injunctive relief will be detailed in the Court’s Analysis.

   III.   GOVERNING LEGAL STANDARDS

          A.     Procedural Legal Standard for a Preliminary Injunction

          Federal Rule of Civil Procedure 65 governs the issuance of preliminary injunctions. It

   is well-established that Plaintiffs must satisfy the following four requirements to obtain a

   preliminary injunction:

                 (1) a reasonable probability of eventual success in the litigation,
                 and (2) that [they] will be irreparably injured … if relief is not
                 granted … [In addition,] the district court, in considering
                 whether to grant a preliminary injunction, should take into
                 account, when they are relevant, (3) the possibility of harm to
                 other interested persons from the grant or denial of the
                 injunction, and (4) the public interest.




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   Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017), as amended (June 26, 2017) (citing

   Del. River Port Auth. v. Transamerican Trailer Transp., Inc., 501 F.2d 917, 919–20 (3d Cir. 1974)).

   The Third Circuit has also made clear that “[p]reliminary injunctive relief is ‘an extraordinary

   remedy’ and ‘should be granted only in limited circumstances.’” Kos Pharms., Inc. v. Andrx

   Corp., 369 F.3d 700, 708 (3d Cir. 2004) (quoting Am. Tel. & Tel. Co. v. Winback & Conserve

   Program, Inc., 42 F.3d 1421, 1427 (3d Cir.1994)).

          With respect to the preexisting New Jersey firearm laws challenged by Plaintiffs (i.e.,

   those laws predating Bruen and Chapter 131), the State is correct that “Plaintiffs, in seeking a

   ‘preliminary injunction that will alter the status quo, bear[] a particularly heavy burden in

   demonstrating its necessity.’” [Docket No. 91, at 83 n.80 (quoting Acierno v. New Castle Cnty.,

   40 F.3d 645, 653 (3d Cir. 1994)).] Thus, to obtain a preliminary injunction against such laws,

   Plaintiffs must “show a substantial likelihood of success on the merits and that their ‘right to

   relief [is] indisputably clear.’” Hope v. Warden York Cnty. Prison, 972 F.3d 310, 320 (3d Cir.

   2020) (citations omitted).

          B.      Substantive Legal Standard under Bruen

          The Court restates its prior discussion of the substantive legal standard established by

   the Supreme Court in Bruen:

          In Bruen, the Supreme Court rejected the two-step approach adopted by many of the

   Courts of Appeals to assess Second Amendment claims, abandoning the second step of the

   analysis at which courts “appl[ied] means-end scrutiny in the Second Amendment context.”

   142 S. Ct. at 2127. Relying on its precedential decisions in Heller and McDonald, the Supreme

   Court explained that it had not once, but twice, “declined to engage in means-end scrutiny

   because ‘the very enumeration of the right takes out of the hands of government—even the


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   Third Branch of Government—the power to decide on a case-by-case basis whether the right

   is really worth insisting upon.’” Id. at 2129 (quoting District of Columbia v. Heller, 554 U.S. 570,

   634 (2008)); see also McDonald v. City of Chicago, 561 U.S. 742, 790–91 (2010) (explaining that

   the Second Amendment does not permit “judges to assess the costs and benefits of firearms

   restrictions” under a means-end scrutiny analysis).

          By making “the constitutional standard endorsed in Heller more explicit,” the Bruen

   Court clarified that:

                  [T]he standard for applying the Second Amendment is as
                  follows: When the Second Amendment’s plain text covers an
                  individual’s conduct, the Constitution presumptively protects
                  that conduct. The Government must then justify its regulation
                  by demonstrating that it is consistent with the Nation’s historical
                  tradition.

   Bruen, 142 S. Ct. at 2129–30. Drawing an analogy to First Amendment jurisprudence, the

   Bruen Court reasoned that when the Government restricts constitutionally protected conduct

   like speech, “the Government bears the burden of proving the constitutionality of its actions.”

   Id. at 2130 (citations omitted). Thus, the State must be able to meet its burden of proof in the

   Second Amendment context and “must demonstrate that the regulation is consistent with this

   Nation’s historical tradition of firearm regulation.” Id. at 2126.

          The Bruen Court was clear in its instruction to this Court when undertaking a

   constitutional analysis of a state’s gun control legislation. This Court must rely on history to

   inform the meaning of constitutional text rather than make empirical judgments about the

   costs and benefits of firearms restrictions. As the Court explained, “[i]f the last decade of

   Second Amendment litigation has taught this Court anything, it is that federal courts tasked

   with making such difficult empirical judgments regarding firearm regulations under the



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   banner of ‘intermediate scrutiny’ often defer to the determinations of legislatures.” Bruen,

   142. S. Ct. at 2131. And,

                 while that judicial deference to legislative interest balancing is
                 understandable—and, elsewhere, appropriate—it is not
                 deference that the Constitution demands here. The Second
                 Amendment ‘is the very product of an interest balancing by the
                 people’ and it ‘surely elevates above all other interests the right
                 of law-abiding, responsible citizens to use arms’ for self-defense.
                 Heller, 554 U.S. at 635, 128 S.Ct. 2783. It is this balance—struck
                 by the traditions of the American people—that demands our
                 unqualified deference.

   Id. (emphasis removed).

          The Bruen Court then applied the test set forth in Heller to the challenged legislation,

   further instructing District Courts considering Second Amendment challenges “to assess

   whether modern firearms regulations are consistent with the Second Amendment’s text and

   historical understanding.” Id. at 2131. The Bruen Court gave important examples indicating

   how District Courts might detect unconstitutional legislative overreach in Second

   Amendment terms:

                 In some cases, that inquiry will be fairly straightforward. For
                 instance, when a challenged regulation addresses a general
                 societal problem that has persisted since the 18th century, the
                 lack of a distinctly similar historical regulation addressing that
                 problem is relevant evidence that the challenged regulation is
                 inconsistent with the Second Amendment. Likewise, if earlier
                 generations addressed the societal problem, but did so through
                 materially different means, that also could be evidence that a
                 modern regulation is unconstitutional. And if some jurisdictions
                 actually attempted to enact analogous regulations during this
                 timeframe, but those proposals were rejected on constitutional
                 grounds, that rejection surely would provide some probative
                 evidence of unconstitutionality.

   Id. By contrast, in “other cases implicating unprecedented societal concerns or dramatic

   technological changes,” historical analogies will not be as easy to draw and “may require a


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   more nuanced approach.” Id. at 2132. Nevertheless, “the Constitution can, and must, apply

   to circumstances beyond those the Founders specifically anticipated.” Id. (citing United States

   v. Jones, 565 U.S. 400, 404–05 (2012)).

          Thus, in keeping with Heller, District Courts must look to historical context because

   “it has always been understood that the Second Amendment . . . codified a pre-existing right.”

   Id. at 2127 (quoting Heller, 554 U.S. at 592). The Bruen Court also emphasized the important

   balance that District Courts must strike when considering statutes that plainly implicate the

   Second Amendment:

                 [A]nalogical reasoning under the Second Amendment is neither
                 a regulatory straightjacket nor a regulatory blank check. On the
                 one hand, courts should not “uphold every modern law that
                 remotely resembles a historical analogue,” because doing so
                 “risk[s] endorsing outliers that our ancestors would never have
                 accepted.” Drummond v. Robinson, 9 F.4th 217, 226 ([3d Cir.]
                 2021). On the other hand, analogical reasoning requires only that
                 the government identify a well-established and representative
                 historical analogue, not a historical twin. So even if a
                 modern-day regulation is not a dead ringer for historical
                 precursors, it still may be analogous enough to pass
                 constitutional muster.

   Id. at 2133 (emphasis removed).

          The Bruen Court further instructed “that Heller and McDonald point toward at least two

   metrics: how and why the regulations burden a law-abiding citizen's right to armed self-

   defense.” Id. And as stated in those precedential cases, “individual self-defense is the central

   component of the Second Amendment right.” Id. (internal quotations and citations omitted).

   Central to the consideration of a reviewing District Court is “whether modern and historical

   regulations impose a comparable burden on the right of armed self-defense and whether that

   burden is comparably justified.” Id. (citations omitted).



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           Of critical importance to the current controversy, the Bruen Court expressly considered

   and commented upon the permissibility of the type of “sensitive place” legislation at issue

   here:

                  Consider, for example, Heller’s discussion of “longstanding” laws
                  forbidding the carrying of firearms in sensitive places such as
                  schools and government buildings. Although the historical
                  record yields relatively few 18th- and 19th-century “sensitive
                  places” where weapons were altogether prohibited—e.g.,
                  legislative assemblies, polling places, and courthouses—we are
                  also aware of no disputes regarding the lawfulness of such
                  prohibitions. We therefore can assume it settled that these
                  locations were “sensitive places” where arms carrying could be
                  prohibited consistent with the Second Amendment. And courts
                  can use analogies to those historical regulations of “sensitive
                  places” to determine that modern regulations prohibiting the
                  carry of firearms in new and analogous sensitive places are
                  constitutionally permissible.

                  Although we have no occasion to comprehensively define
                  “sensitive places” in this case, we do think respondents err in
                  their attempt to characterize New York's proper-cause
                  requirement as a “sensitive-place” law. In their view, “sensitive
                  places” where the government may lawfully disarm law-abiding
                  citizens include all “places where people typically congregate
                  and where law-enforcement and other public-safety professionals
                  are presumptively available.” It is true that people sometimes
                  congregate in “sensitive places,” and it is likewise true that law
                  enforcement professionals are usually presumptively available in
                  those locations. But expanding the category of “sensitive places”
                  simply to all places of public congregation that are not isolated
                  from law enforcement defines the category of “sensitive places”
                  far too broadly. Respondents’ argument would in effect exempt
                  cities from the Second Amendment and would eviscerate the
                  general right to publicly carry arms for self-defense that we
                  discuss in detail below. Put simply, there is no historical basis
                  for New York to effectively declare the island of Manhattan a
                  “sensitive place” simply because it is crowded and protected
                  generally by the New York City Police Department.

   [Id. at 2133–34 (internal quotations and citations omitted).]

           With these guiding instructions and principles in mind, the Court now turns to the


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   challenged state law provisions.

   IV.    ANALYSIS

          A.         Overview of New Jersey’s Firearm Permitting Scheme

          New Jersey has a robust firearm permitting scheme requiring individuals to obtain

   various permits to either purchase a firearm or to carry one in public.

                     1.    Firearm Purchaser Identification Card

          Generally, to buy a firearm in New Jersey, an individual first needs a Firearms

   Purchaser Identification Card (“FID”). N.J. Stat. Ann. § 2C:583(b)(1); see generally Kendrick

   v. Bruck, 586 F. Supp. 3d 300, 304–05 (D.N.J. 2022). This process requires an applicant to,

   among other things, complete an online application, provide fingerprints, identify character

   references, and undergo a criminal background check. Kendrick, 586 F. Supp. 3d at 304–05

   (extensively detailing the requirements to obtain an FID and a permit to purchase a handgun).

   The permitting scheme contains age restrictions and many disqualifiers barring individuals

   from obtaining an FID, such as a felony conviction, a disorderly persons or misdemeanor

   conviction involving an act of domestic violence, an applicant’s history of alcohol or

   controlled substance abuse problems, an applicant’s physical defect or disease that would

   make it unsafe for the applicant to handle a firearm, and an applicant’s present or prior

   confinement for a mental disorder.       N.J. Stat. Ann. § 2C:583(c) (listing 15 statutory

   disqualifiers).

          Except for a handgun, FID holders can purchase a rifle or shotgun. N.J. Stat. Ann. §

   2C:583(b)(1). Before Chapter 131’s enactment, an individual seeking an FID had to pay a $5

   application fee. 2022 N.J Laws ch. 58 (Assembly 4370), § 1 (N.J. Stat. Ann. § 2C:58-3(f)).

   An FID holder can obtain an unlimited number of rifles or shotguns so long as the holder


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   certifies to the firearms dealer, for each transaction, that he or she is not statutorily disqualified

   from obtaining an FID. N.J. Stat. Ann. § 2C:58-3(i); see also N.J. Admin. Code § 13:54-1.9(b).

                    2.       Permit to Purchase a Handgun

           To obtain a handgun in New Jersey, an individual needs a permit to purchase a

   handgun (“Purchase Permit”) and an FID. N.J. Stat. Ann. § 2C:58-3(a)(1); see generally

   Kendrick, 586 F. Supp. 3d at 304–05. With additional restrictions, the requirements to obtain

   a Purchase Permit and the statutory disqualifiers are the same for an FID. N.J. Stat. Ann. §

   2C:58-3(c); see also Kendrick, 586 F. Supp. 3d at 306. Besides law enforcement officers and

   licensed firearms dealers, a Purchase Permit allows the holder to obtain only one handgun

   per permit. N.J. Stat. Ann. § 2C:58-3(i); see also N.J. Admin. Code § 13:54-1.9(a). With some

   limited exceptions, a Purchase Permit holder cannot obtain more than one handgun within

   any 30-day period. 17 Id. Before Chapter 131’s enactment, an individual seeking a Purchase

   Permit had to pay a $2 application fee. 2022 N.J Laws ch. 58 (Assembly 4370), § 1 (N.J. Stat.

   Ann. § 2C:58-3(f)). Beginning in July 2022, an individual seeking either an FID or Purchase

   Permit must complete an instruction course approved by the State Police’s Superintendent on

   “the lawful and safe handling and storage of firearms.” N.J. Stat. Ann. § 2C:58-3(c).

                    3.       Permit to Carry a Handgun in Public

           To carry a handgun in public for self-defense in New Jersey, an individual must first

   obtain a permit to carry a handgun (“Carry Permit”). Id. § 2C:584(a). Unless exempt from


   17
     The one-handgun per permit and 30-day restrictions do not apply to: (1) purchases by law enforcement officers
   or their agencies for “use by officers in the actual performance of their law enforcement duties”; (2) purchases
   by a federally licensed “collector of handguns as curios or relics”; (3) transfers among licensed retail dealers,
   registered wholesale dealers, and registered manufacturers; (4) transfers from any person to a licensed retail
   dealer, registered wholesale dealer, or registered manufacturer; (5) individuals seeking to exchange a purchased
   handgun for another from a licensed dealer within 30 days of the original purchase; and (6) transactions
   exempted by the State Police’s Superintendent under N.J. Stat. Ann. § 2C:58-3.4, such as acquiring multiple
   handguns through inheritance or intestacy. N.J. Stat. Ann. § 2C:58-3(i).

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   obtaining a Carry Permit, an individual caught possessing a handgun in public without a

   Carry Permit is guilty of a second-degree crime, see id. § 2C:39-5(e), and faces up to 10 years

   in prison, see id. § 2C:43-6(a)(2). 18 Like an FID and a Purchase Permit, an individual seeking

   a Carry Permit must complete an application, provide character references, submit to

   fingerprinting, and undergo a criminal background check. Id. § 2C:58-4(a) to (b). The same

   statutory disqualifiers that bar individuals from obtaining FIDs and Purchase Permits likewise

   bar individuals from obtaining Carry Permits. Id. § 2C:58-4(c). In addition, an individual

   must be “thoroughly familiar with the safe handling and use of handguns,” see id., which may

   be shown by, among other things, completing a firearms training course “substantially

   equivalent to the firearms training approved by the Police Training Commission.” N.J.

   Admin. Code § 13:54-2.4(b)(1); see also N.J. Stat. Ann. § 2C:39-6(j).

           Before Bruen and Chapter 131’s enactment, an individual could only obtain a Carry

   Permit in New Jersey by showing a “justifiable need” to carry a handgun in public. 2018 N.J

   Laws ch. 37 (Assembly 2758), § 1 (N.J. Stat. Ann. § 2C:58-4(c)). That “justifiable need”

   requirement mandated individuals to prove an “urgent necessity for self-protection”

   evidenced by “specific threats or previous attacks [demonstrating] a special danger to the

   applicant’s life that cannot be avoided by means other than issuance of a [Carry Permit].” Id.

   Before Chapter 131’s enactment, an individual had to pay a $50 fee to process a Carry Permit

   application. N.J. Ct. R. 1-43.

           B.      Chapter 131’s Amendments to New Jersey’s Firearm Permitting Scheme

           By enacting Chapter 131, the Legislature made several changes to the firearm




   18
     N.J. Stat. Ann. § 2C:39-6 provides many categories of individuals who are exempt from obtaining a Carry
   Permit before carrying a handgun in public, such as current or retired law enforcement officers.
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   permitting scheme. 2022 N.J. Laws ch. 131. Besides jettisoning the “justifiable need”

   showing required to obtain a Carry Permit, the Legislature added statutory disqualifiers,

   modified the application requirements for FIDs and Purchase and Carry Permits, increased

   the number of references needed to endorse a Carry Permit application, imposed an in-person

   interview requirement for Carry Permit applicants and their endorsers, increased the fees for

   FIDs to $50, Purchase Permits to $25, and Carry Permits to $200, and imposed new insurance

   and firearm safety training requirements for Carry Permit applicants. N.J. Stat. Ann. §§

   2C:58-3, -4.

          Under Chapter 131, FID, Purchase Permit, and Carry Permit applications are made

   to the chief law enforcement officer of the municipality in which the applicant resides, or in

   certain cases, the New Jersey State Police’s superintendent. Id. §§ 2C:58-3(d), -4(c). If the

   applicant satisfies all Chapter 131’s requirements and is not statutorily disqualified from

   obtaining a permit, the chief law enforcement or superintendent “shall” issue the requested

   permit. Id. §§ 2C:58-3(d), (f), -4(d). But if the chief law enforcement or superintendent denies

   an application, the officer must provide an applicant “with a written statement of the reasons

   for denial.” Id. §§ 2C:58-3(d), (f), -4(e).

          The applicant may appeal the denial of his or her application in the Superior Court of

   New Jersey, Law Division, and is entitled to a hearing on the appeal. Id. The state court

   judge reviews de novo the law enforcement officer’s decision to deny a permit. See generally

   In re M.U.’s Application for a Handgun Purchase Permit, 291 A.3d 827, 841 (N.J. Super. Ct. App.

   Div. 2023); accord In re Application of Boyadjian, 828 A.2d 946, 955 (N.J. Super. Ct. App. Div.

   2003). At the hearing, the law enforcement officer must show, by the preponderance of

   evidence, that “good cause” existed to deny the requested permit. In re M.U.’s Application for


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   a Handgun Purchase Permit, 291 A.3d at 172. New Jersey state courts must engage in “a

   fact-sensitive analysis,” and when appropriate, accept “relevant testimonial and documentary

   evidence, including from the [applicant] and the police.” Id.; see generally Weston v. State, 286

   A.2d 43, 45 (N.J. 1972). The Legislature allows for appeals “[t]o guard against arbitrary

   official action” by law enforcement officers. Burton v. Sills, 248 A.2d 521, 523 (1968).

           C.       The Siegel Plaintiffs’ Constitutional Challenges to Chapter 131’s New
                    Requirements

           Only the Siegel Plaintiffs challenge Chapter 131’s amendments to the application and

   permitting scheme.         They raise a Second Amendment challenge to Chapter 131’s fee

   increases, N.J. Stat. Ann. §§ 2C:58-3(f), -4(c), and a challenge under Cox v. New Hampshire,

   312 U.S. 569 (1941) to Chapter 131’s requirement that all, or portions of, the $200 fee for a

   Carry Permit application be paid to the Victims of Crime Compensation Office, N.J. Stat.

   Ann. § 2C:58-4(c). 19 [Siegel Compl. ¶ 282 (Siegel Docket No. 1); see also Siegel TRO Br. pp.

   39-40 (Siegel Docket No. 8-1).]

           They also assert Second Amendment and Due Process challenges to two statutory

   disqualifiers under N.J. Stat. Ann. § 2C:58-3(c). [Siegel Compl. ¶ 282 (Siegel Docket No. 1).]

   First, they challenge Chapter 131’s provision that allows a licensing authority to deny a FID,

   Purchase Permit, and Carry Permit application if the applicant “is known in the community

   in which the person lives as someone who has engaged in acts or made statements suggesting

   the person is likely to engage in conduct, other than justified self-defense, that would pose a


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     Where an individual applies for a Carry Permit determines the amount paid to the Victims of Crime
   Compensation Office. If an applicant submits a Carry Permit application to the chief police officer of the
   applicants’ municipality, then the municipality retains $150 of the fee “to defray the costs of investigation,
   administration, and processing” of a Carry Permit application. N.J. Stat. Ann. § 2C:58-4(c). The municipality
   must forward the remaining $50 of the fee to the State Police for deposit in the Victims of Crime Compensation
   Office’s account. Id. If an applicant applies for a Carry Permit directly through the State Police, then the entire
   $200 fee is paid to the Victims of Crime Compensation Office. Id.

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   danger to self or others.” [Id. (citing N.J. Stat. Ann. § 2C:58-3(c)).] 20 Next, they challenge

   the statutory disqualifier that the Legislature amended allowing a licensing authority to deny

   a FID, Purchase Permit, and Carry Permit application if the “issuance would not be in the

   interest of the public health, safety, or welfare because the [applicant] is found to be lacking

   the essential character of temperament necessary to be entrusted with a firearm.” [Id. (citing

   N.J. Stat. Ann. § 2C:58-3(c)(5)) (emphasis added on amended language).]

           The Siegel Plaintiffs also challenge on First and Second Amendment grounds the

   following application and permit procedures for Carry Permit applications:

                    The application shall be signed by the applicant under oath, and
                    shall be endorsed by not less than four reputable persons who are
                    not related by blood or by law to the applicant and have known
                    the applicant for at least three years preceding the date of
                    application, and who shall certify thereon that the applicant has
                    not engaged in any acts or made any statements that suggest the
                    applicant is likely to engage in conduct, other than lawful self-
                    defense, that would pose a danger to the applicant or others. The
                    reputable persons also shall provide relevant information
                    supporting the certification, including the nature and extent of
                    their relationship with the applicant and information concerning
                    their knowledge of the applicant's use of drugs or alcohol.

                    The chief police officer or the superintendent, as the case may
                    be, shall also determine and record a complete description of
                    each handgun the applicant intends to carry. The chief police
                    officer, or the superintendent, as the case may be, shall interview
                    the applicant and the persons endorsing the application under
                    subsection b. of this section, and shall make inquiry concerning,
                    and investigate to the extent warranted, whether the applicant is
                    likely to engage in conduct that would result in harm to the
                    applicant or others, including, but not limited to, whether the
                    applicant has any history of threats or acts of violence by the
                    applicant directed toward self or others or any history of use,
                    attempted use, or threatened use of physical force by the
                    applicant against another person, or other incidents implicating

   20
      While this provision is limited to FIDs and Purchase Permits, an applicant seeking a Carry Permit must
   demonstrate that he or she is not disqualified under N.J. Stat. Ann. § 2C:58-3(c). N.J. Stat. Ann. § 2C:58-4(d)(2)
   (allowing licensing authority to deny a Carry Permit application if applicant is disqualified under N.J. Stat. Ann.
   § 2C:58-3(c)).
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                  the disqualifying criteria set forth in subsection c. of N.J.S.2C:58-
                  3, including but not limited to determining whether the applicant
                  has been subject to any recent arrests or criminal charges for
                  disqualifying crimes or has been experiencing any mental health
                  issues such as suicidal ideation or violent impulses, and the
                  applicant's use of drugs or alcohol.

                  The chief police officer or the superintendent may require such
                  other information from the applicant or any other person,
                  including but not limited to publicly available statements posted
                  or published online by the applicant, as the chief police officer or
                  superintendent deems reasonably necessary to conduct the
                  review of the application.

   [Id. ¶¶ 285, 318–24 (citing N.J. Stat. Ann. § 2C:58-4(b)–(c)).]

                  1.     The Siegel Plaintiffs’ Standing to Bring a Second Amendment
                         Challenge to Chapter 131’s New Permitting Scheme

          Before the Court reaches the merits of the Siegel Plaintiffs’ various challenges to

   Chapter 131’s permitting scheme, this Court must first determine whether they have standing

   to do so. Because they bring multiple claims against Chapter 131’s permitting scheme—

   namely First and Secondment Amendment challenges—they must show “standing for each

   claim [they] seek[] to press.” Fischer v. Governor of New Jersey, 842 F. App’x 741, 748 (3d Cir.

   2021) (alterations in original) (quoting Davis v. Fed. Election Comm’n, 554 U.S. 724, 734

   (2008)).

          As this Court has stated, Article III standing requires a plaintiff to show: “(i) that he

   suffered an injury in fact that is concrete, particularized, and actual or imminent; (ii) that the

   injury was likely caused by the defendant; and (iii) that the injury would likely be redressed

   by judicial relief.” TransUnion LLC v. Ramirez, ____ U.S. ____, _____, 141 S. Ct. 2190, 2203

   (2021) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1993)). The injury for standing

   must be “an invasion of a legally protected interest.” Lujan, 504 U.S. at 560.         While the

   required injury for standing “need not be actualized,” the plaintiff must show that he or she

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   faces a threatened injury that “is real, immediate, and direct.” Davis, 554 U.S. at 734.

   Hypothetical or speculative injuries cannot confer standing to sue. Lujan, 504 U.S. at 560.

          For an individual to have standing to challenge a firearm permitting scheme like the

   Siegel Plaintiffs here, he or she must have applied for (and not been granted) a permit, made

   a “substantial showing” that doing so would have been futile, Kendrick, 586 F. Supp. at 308,

   or have shown that he or she was “able and ready” to apply for the sought-out permit, Ellison

   v. Am. Bd. of Orthopaedic Surgery, 11 F.4th 200, 206 (3d Cir. 2021). See also Moose Lodge No. 107

   v. Irvis, 407 U.S. 163, 166-67 (1972) (holding plaintiff lacked standing to challenge a

   discriminatory membership policy because plaintiff never applied to become a member).

          Besides Plaintiffs Nicole Cuozzo and Kim Henry, all Siegel Plaintiffs obtained their

   Carry Permits before the Legislature enacted Chapter 131. The State contends the Siegel

   Plaintiffs with Carry Permits lack standing to challenge Chapter 131’s new permit process

   because they obtained their Carry Permits before the Legislature changed the law. [State

   Opp’n Br. at 84 (Docket No. 91).] In other words, the Siegel Plaintiffs with Carry Permits did

   not suffer a harm caused by the new law. The Siegel Plaintiffs counter, arguing they have

   standing because they will have to comply with Chapter 131’s new permit process—a process

   they assert violates the Second Amendment—when they must renew their Carry Permits.

   [Siegel Reply Br. at 70 (Docket No. 97).] Thus, the Siegel Plaintiffs claim a future injury.

          When a plaintiff, like the Siegel Plaintiffs with Carry Permits here, seeks injunctive

   relief based on a future harm, the plaintiff must establish that the future injury is imminent—

   that is, the injury is “certainly impending” since “allegations of possible future injury are not

   sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (cleaned up) (quoting

   Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)). To be “sufficiently imminent” for standing


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   purposes, “there must be a realistic chance—or a genuine probability—that a future injury

   will occur.” N.J. Physicians, Inc. v. President of the U.S., 653 F.3d 234, 239 (3d Cir. 2011). The

   purpose of this imminence requirement is “to ensure that an alleged injury is not too

   speculative for Article III purposes.” Clapper, 568 U.S. at 409 (quoting Lujan, 504 U.S. at 564

   n.2).

           A Carry Permit expires two years after it was issued. N.J. Stat. Ann. § 2C:58-4(a). Of

   all the Siegel Plaintiffs, only Plaintiff Timothy Varga provides any specific details on when he

   obtained his Carry Permit. [Varga Suppl. Decl. ¶ 2 (Docket No. 67).] Plaintiff Varga received

   his Carry Permit on December 13, 2022. Id. His permit will expire in December 2024. N.J.

   Stat. Ann. § 2C:58-4(a). So, in less than two years, Plaintiff Varga would have to renew his

   Carry Permit under Chapter 131’s new permit process to continue carrying his handgun in

   public. Id. In this vein, courts have found similar or longer timeframes to be imminent

   enough for standing purposes. LaRoque v. Holder, 650 F.3d 777, 788 (D.C. Cir. 2011) (finding

   standing where the alleged injury causing-event was nineteen months away); Thomas More

   Law Ctr. v. Obama, 651 F.3d 529, 537 (6th Cir. 2011) (collecting cases from several courts that

   found injuries occurring three, six, and even thirteen years to be sufficiently imminent to

   confer standing), abrogated on other grounds, Nat’l Fed’n of Indep. Bus v. Sebelius, 567 U.S. 519

   (2012); Mead v. Holder, 766 F. Supp. 2d 16, 26 (D.D.C. 2011) (finding plaintiffs had standing

   to challenge Affordable Care Act’s individual mandate because future injury would occur in

   about three years).

           Nothing in Plaintiff Varga’s Declarations suggests that he will not renew his Carry

   Permit. In fact, all signs point toward renewal since he believes “that possession and carry of

   firearms is an important aspect of protecting [his] family and [his] church from the risk of


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   violent crime.” [Varga Decl. ¶ 4 (Siegel Docket No. 8-6).] Varga applied for a Carry Permit

   because he “recognize[s] that violent crime can take place anywhere.” [Id. ¶ 5.] He is also

   “an accomplished competitive shooter.” [Id. ¶ 4.] And, of course, it bears noting that because

   there was no live testimony presented, there is nothing before the Court to call Plaintiff

   Varga’s intentions into question.

           When Plaintiff Varga renews his Carry Permit, he must comply with Chapter 131’s

   new permit process that imposes more requirements than the law did when he first applied

   for his permit. Varga will have to, among other things, find four “reputable persons”—

   unrelated by blood and who knew him for at least three years before his renewal application—

   to endorse his application, and they must certify that he “has not engaged in any acts or made

   any statements that suggest [he] is likely to engage in conduct, other than lawful self-defense,

   that would pose a danger to [himself] or otherwise.” N.J. Stat. Ann. § 2C:58-4(b). He will

   also have to show that he is not statutorily disqualified from obtaining a Carry Permit under

   Chapter 131’s new disqualifiers, such as having to show that he does not lack the “essential

   character of temperament necessary to be entrusted with a firearm.” Id. §§ 2C:58-3(c)(5),

   2C:58-4(c)–(d). He will also have to provide the licensing authority with “other information”

   it “deems reasonably necessary” to review his renewal application. Id. § 2C:58-4(c). Without

   fulfilling these additional requirements (that the Siegel Plaintiffs contend violate the Second

   Amendment), Varga cannot exercise his constitutional right to armed self-defense in public

   when his current Carry Permit expires in December 2024, so there is a “realistic chance” that

   he will suffer a future injury. 21 See N.J. Physicians, 653 F.3d at 239.



   21
     At oral argument, this Court questioned the parties about whether the Siegel Plaintiffs who obtained their
   Carry Permits before the Legislature enacted Chapter 131 would even be subject to the law’s new permit process


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           While this Court needs only to find that one Siegel Plaintiff has standing to challenge

   Chapter 131’s permit process, see Watt v. Energy Action Education Foundation, 454 U.S. 151,

   160 (1981), the Court finds that Plaintiff Cuozzo also has standing to challenge the law under

   the “able and ready” doctrine. Under that doctrine, a plaintiff has standing to challenge a law

   denying a benefit or opportunity that he or she did not actually apply for by showing that “he

   [or she] is ‘able and ready’ to apply.” Ellison, 11 F.4th at 206 (quoting Carney v. Adams, ___

   U.S ___, ____, 141 S. Ct. 493, 500 (2020)). The doctrine’s application requires a fact-sensitive

   inquiry, and a plaintiff must show that he or she took some steps evidencing “a real interest

   in seeking the alleged benefit.” Id. at 206–07. While a plaintiff who takes no steps to obtain

   an opportunity or benefit is not “able and ready,” and therefore lacks standing, a plaintiff need

   not take every step necessary to have standing. Id. (collecting cases). A plaintiff seeking to


   based on N.J. Stat. Ann. § 2C:58-4(a). [Tr. at 32:10–34:19, 59:22–61:10.] That provision, unamended by
   Chapter 131, unambiguously provides that all Carry Permits may be “renewed every two years in the same
   manner and subject to the same conditions as in the case of the original applications.” N.J. Stat. Ann. § 2C:58-4(a)
   (emphasis added). This provision could be construed to mean that the Siegel Plaintiffs with Carry Permits would
   be subject to the law existing when they submitted their original Carry Permit applications. Id.
            Both the State and the Siegel Plaintiffs argued against that construction at oral argument. [Tr. at 59:12–
   59:18, 61:21–61:28, 133:17–134:5.] The Siegel Plaintiffs contended the “subject to same conditions” language
   means that an applicant can renew his or her Carry Permit by following the requirements for the original
   application, [Tr. at 61:21–61:28]; that is, a person seeking to renew just needs to follow the process for the
   original application. The State offered a similar understanding of the syntax. [Tr. at 133:17–134:5.] The State
   also argued the Legislature never intended for the law in existence when the original application was submitted
   to apply for future renewals. [Tr. at 134:6–135:15.] The State asserted that, over the years, the Legislature added
   more statutory disqualifiers, such as the Terrorist Watchlist disqualifier, and the Legislature wanted those new
   disqualifiers to apply to future renewals. Id.
            To accept the parties’ construction of the “subject to the same conditions” language, the Court would
   have to ignore N.J. Stat. Ann. § 2C:58-4(b)’s language about “all applications for permits to carry handguns,
   and all applications for renewal of permits.” If the Court accepts the parties’ proffered interpretation, then the
   Court would render N.J Stat. Ann. § 2C:58-4(b)’s language on “renewal of permits” superfluous, which this
   Court must avoid doing. H.M. ex rel. B.M. v. Haddon Heights Bd. of Educ., 822 F. Supp. 2d 439, 451 (D.N.J. 2011).
   The Court, however, is persuaded by the State’s argument that the Legislature never intended for the law on the
   books at the time of the original application to control future renewals. This could cause implementation
   problems for the licensing authority having to ascertain what law applied to each application and defeat the
   Legislature’s intent of keeping firearms away from dangerous people such as those on a Terrorist Watchlist.
   Courts must avoid interpretations that “yield absurd or unjust results.” Douglass v. Convergent Outsourcing, 765
   F.3d 299, 302 (3d Cir. 2014) (quoting United States v. Fontaine, 697 F.3d 221, 227 (3d Cir. 2012)). Still, when
   enacting Chapter 131, the Legislature could have clarified N.J. Stat. Ann. § 2C:58-4(a)’s “subject to the same
   conditions” language to avoid interpretative problems.


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   invoke the doctrine must show that, at the time the lawsuit started, he or she was “able and

   ready” to apply in the “reasonably foreseeable future.” Carney, 141 S. Ct. at 501.

          Plaintiff Cuozzo declares she is “applying” for a Carry Permit because she recognizes

   “violent crime can take place anywhere,” and that she is “currently in the process of

   completing [her] shooting range qualification for [her Carry Permit],” and “[o]nce completed,

   [she] will satisfy all of the requirements for a [Carry Permit].” [Cuozzo Decl. ¶ 5 (Siegel

   Docket No. 8-5).]     The State never challenged Cuozzo’s declaration—again, Cuozzo’s

   credibility was never challenged at a hearing as the parties declined this Court’s invitation for

   a testimonial hearing. Thus, there is nothing in the record to dispute Cuozzo’s statements.

          Given the above, this Court finds Plaintiff Cuozzo has shown that she was “able and

   ready” to apply for a Carry Permit, and so, has standing to challenge Chapter 131’s new

   permit requirements. On top of declaring an intent to apply for a Carry Permit, she has taken

   some steps toward obtaining the permit by taking a firearms shooting qualification course.

   [See Cuozzo Decl. ¶ 5.] Taking the firearms shooting qualification course shows her “real

   interest” in obtaining a Carry Permit. See Ellison, 11 F.4th at 207; see also Caulfield v. Human

   Res. Div. of Mass., 2015 WL 5190716, at *4 (D. Mass. Sept. 4, 2015) (finding plaintiff was “able

   and ready” to seek police officer position by taking a civil service exam and seeking

   reappointment to police academy). Chapter 131 requires applicants seeking a Carry Permit

   to complete a firearms training course to obtain a Carry Permit. N.J. Stat. Ann. § 2C:58-4(c),

   (d)(2)–(3); N.J. Admin. Code § 13:54-2.4(b). When a law, such as Chapter 131, imposes a

   precondition to obtain a benefit, a plaintiff that works to satisfy that condition has standing

   to challenge the law conferring that benefit. See Pucket v. Hot Springs Sch. Dist. No. 23-2, 526

   F.3d 1151, 1161 (8th Cir. 2008) “([I]f a plaintiff is required to meet a precondition or follow


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   a certain procedure to engage in an activity or enjoy a benefit and fails to attempt to do so,

   that plaintiff lacks standing to sue because he or she should have at least taken steps to attempt

   to satisfy the precondition.”). According to Plaintiff Cuozzo, once she completes the firearms

   course, she will have satisfied all the requirements to obtain a Carry Permit. [Cuozzo Decl.

   ¶ 5.] Thus, Plaintiff Cuozzo has standing to challenge Chapter 131’s permit process for Carry

   Permits because she is “able and ready” to apply for that permit.

          For completeness, this Court has considered whether Siegel Plaintiffs Jason Cook, Kim

   Henry, and Aaron Siegel have standing to challenge Chapter 131’s permit process for FIDs

   and Purchase Permits. They do not. Both Plaintiffs Cook and Siegel only declare that they

   “intend to apply” for more Purchase Permits. [Cook Decl. ¶ 41 (Siegel Docket No. 8-30);

   Siegel Decl. ¶ 46 (Siegel Docket No. 8-2).] Similarly, Plaintiff Henry only declares that she

   “qualif[ies] for and imminently intend[s] to apply for a[n] FID and one or more Purchase

   Permits.” [Henry Decl. ¶ 10 (Siegel Docket No. 8-8).] Those Plaintiffs have not applied for a

   permit or shown that doing so would be futile. Kendrick, 586 F. Supp. 3d at 308 (finding

   plaintiffs lack standing to challenge FID and Purchase Permit laws because plaintiffs never

   applied for permits); accord Libertarian Party of Erie Cnty. v. Cuomo, 970 F.3d 106, 121–22 (2d

   Cir. 2020) (affirming dismissal of plaintiffs’ claims challenging state’s firearm permit laws for

   lack of standing because plaintiffs never applied for permits), abrogated on other grounds by

   Bruen, 142 S. Ct. 2111. Plaintiffs Cook’s and Siegel’s Declarations that they intend to apply

   for more Purchase Permits—without providing this Court with any timeframe—are merely

   someday intentions that cannot confer standing. See Lujan, 504 U.S. at 564.

          Nor have they shown that they are “able and ready” to apply for those permits.

   Besides declaring only a generalized intent to apply for their desired permits, their


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   declarations are silent on the steps they have taken to obtain the gun permits they want.

   Indeed, to obtain an FID and Purchase Permit, Plaintiff Henry must complete a firearms

   instruction course on “the lawful and safe handling and storage of firearms.” N.J. Stat. Ann.

   § 2C:58-3(c). As confirmed by her counsel, Henry “hasn’t done anything yet.” [Tr. at 31:12–

   31:13.] Without taking any steps, those Plaintiffs are not able and ready. See Ellison, 11 F.4th

   at 207 (finding plaintiff lacked standing under the “able and ready” doctrine because plaintiff

   took no steps to enable him to take the desired exam); see also Finkelman v. Nat’l Football League,

   810 F.3d 187, 195 (3d Cir. 2016) (finding plaintiff lacked standing because “he took no

   meaningful action to pursue” the sought-out opportunity). Therefore, those Plaintiffs lack

   standing to challenge Chapter 131’s permit process for FIDs and Purchase Permits. 22

                    2.       The Siegel Plaintiffs’ Standing to Bring a First Amendment Challenge
                             to Chapter 131’s Carry Permit Application Requirements

           The Siegel Plaintiffs also bring a First Amendment challenge to Chapter 131’s

   application requirements for Carry Permits requiring an in-person interview, the identification

   of reputable endorsers, and the law’s “such other information” provision allowing licensing

   officials to review a Carry Permit applicant’s public statements online. [Siegel Compl. ¶¶ 318–

   24 (Siegel Docket No. 1).] They contend those new requirements impermissibly chill their

   First Amendment rights to engage in expressive activity and enter private or intimate

   associations. [Siegel TRO Br. at 40–41 (Siegel Docket No. 8-1).]




   22
      This Court also finds the organizational Siegel Plaintiff, the Association of New Jersey Rifle & Pistol Clubs,
   Inc., lacks standing to bring a challenge to Chapter 131’s permit process for FIDs and Purchase Permits on behalf
   of its members because it has not identified a single member that has standing to challenge those provisions of
   the law. N.J. Physicians, 653 F.3d at 241 (ruling association lacked representative standing because association
   failed to identify a member who had standing).


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          “An impermissible chill is created when one is deterred from engaging in protected

   activity by the existence of a governmental regulation or the threat of prosecution

   thereunder.” Aiello v. City of Wilmington, 623 F.2d 845, 857 (3d Cir. 1980); see generally Laird

   v. Tatum, 408 U.S. 1, 11 (1972). The impermissible chill doctrine, however, does not obviate

   a plaintiff’s obligation to show Article III standing. Laird, 408 U.S. at 12–13 (explaining that

   First Amendment chilling cases “have in no way eroded the . . . ‘established principle that to

   entitle a private individual to invoke the judicial power to determine the validity of executive

   or legislative action he must show that he has sustained, or is immediately in danger of

   sustaining, a direct injury as the result of that action’”) (quoting Ex Parte Levitt, 302 U.S. 633,

   634 (1937)); see also Fieger v. Mich. Sup. Ct., 553 F.3d 955, 962–63 (6th Cir. 2009). Hence,

   courts may only entertain a First Amendment chilling challenge to a law if the plaintiff shows

   a “specific objective harm or a threat of specific future harm.” Aiello, 623 F.2d at 857 (citing

   Larid, 408 U.S. 13–14). Without an enforcement proceeding, a plaintiff must show “some

   likelihood that he has been or will be deterred from engaging in constitutionally protected

   activity by the operation of the regulations.” Id.

          Here, no Siegel Plaintiff has identified any intended protected speech or conduct that

   he or she has or will refrain from because of Chapter 131’s new application requirements.

   This Court has poured over all the Siegel Plaintiffs’ declarations (in some cases, multiple

   supplemental declarations). Those declarations are silent on Chapter 131’s new application

   process and how the new law has or will deter them from engaging in activities protected by

   the First Amendment. Given that silence, this Court finds the Siegel Plaintiffs lack standing

   to bring their impermissible chill challenge to Chapter 131’s new application requirements.

   See Fieger, 553 F.3d at 964 (holding plaintiffs lacked standing to bring First Amendment


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   challenge to attorney disciplinary rules based on impermissible chill because plaintiffs “made

   no attempt to articulate, with any amount of specificity, their intended speech or conduct”);

   see also Coles v. Carlini, 2012 WL 1079446, at *11 (D.N.J. Mar. 29, 2012) (dismissing plaintiffs’

   First Amendment impermissible chill challenge because plaintiffs failed to allege that they

   “have refrained from wearing their colors or associating with one another or that their

   expression has been chilled as a result of this [car stop]”). In short, this Court will not resort

   to guesswork to figure out how Chapter 131’s new application requirements somehow

   impermissibly chill the Siegel Plaintiffs’ First Amendment’s rights. That is the Siegel Plaintiffs’

   burden. See Lujan, 504 U.S. at 561. Their Complaint’s “generalized allegations of chill”

   cannot confer standing. See Aiello, 623 F.2d at 857.

          Without any specific evidence of chill, this Court doubts that Chapter 131’s new

   application requirements will, in fact, chill the Siegel Plaintiffs’ First Amendment protected

   activities. As the State points out, nearly all Siegel Plaintiffs obtained their Carry Permits

   before the Legislature passed Chapter 131. [State Opp’n Br. at 89 (Docket No. 91).] Under

   New Jersey’s former law, a Carry Permit applicant had to identify “three reputable persons”

   to endorse his or her application “who shall certify thereon that the applicant is a person of

   good moral character and behavior.”          2018 N.J. Laws ch. 37 (Assembly 2758) § 1.

   Apparently, New Jersey’s old firearm permit law did not chill those Siegel Plaintiffs’ First

   Amendment rights, otherwise it seems to the Court that they would have raised their chilling

   claim before now. This fact alone serves to undermine the Siegel Plaintiffs’ impermissible chill

   challenge and evidences their lack of standing. See Aiello, 623 F.2d at 856-58 (affirming

   dismissal of First Amendment chilling claim based on lack of standing because plaintiff’s

   conduct “directly contradicts his charges of chilling effect”). Plaintiffs, who are not chilled


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   but seek to vindicate the rights of others “they believe are so chilled”—like the Siegel Plaintiffs

   with Carry Permits here—lack Article III standing. See Laird, 408 U.S. at 13 n.7.

          Thus, this Court dismisses the Siegel Plaintiffs’ First Amendment challenge to Chapter

   131’s application requirements without prejudice on standing grounds.

          D.      Constitutionality of Chapter 131’s Application and Permit Process

          As recounted above, under Bruen courts must first determine whether an individual’s

   “proposed course of conduct” falls within the Second Amendment’s plain text. 142 S. Ct. at

   2126, 2135; see also United States v. Kelly, 2022 WL 17336578, at *2 (M.D. Tenn. Nov. 16,

   2022) (“The first step under Bruen, therefore, is to determine whether the law at issue

   ‘infringe[s]’ on ‘the right of the people to keep and bear Arms.’”) (alteration in original). The

   Second Amendment’s text guarantees an individual’s right to carry firearms in public for self-

   defense. Bruen, 142 S. Ct. at 2134 (“[T]he ‘textual elements’ of the Second Amendment's

   operative clause—‘the right of the people to keep and bear Arms, shall not be infringed’—

   ‘guarantee the individual right to possess and carry weapons in case of confrontation.’”

   (quoting Heller, 554 U.S. at 592)). The Second Amendment presumptively guarantees the

   Siegel Plaintiffs’ “proposed course of conduct” of carrying handguns in public for self-defense.

   See id. at 2135. Chapter 131’s permit process implicates the right to armed self-defense in

   public because an individual must first obtain a Carry Permit to carry a handgun in public for

   self-defense, otherwise, the individual exposes him- or herself to criminal liability. N.J. Stat.

   Ann. § 2C:39-5(b).

          Since the Second Amendment’s text “presumptively protects” the Siegel Plaintiffs’

   proposed course of conduct, the State must show Chapter 131’s new permit process is

   “consistent with this Nation’s historical tradition of firearm regulation.” Bruen, 142 S. Ct. at


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   2126. Because the Siegel Plaintiffs challenge multiple aspects of Chapter 131’s permit process,

   this Court will first consider the statutory permit disqualifiers and then the application

   process.

                    1.   Historical Tradition: Chapter 131’s Statutory Disqualifiers

          As noted, Chapter 131 now allows a licensing authority to deny FID, Purchase Permit,

   or Carry Permit applications if: (1) the applicant “is likely to engage in conduct, other than

   justified self-defense, that would pose a danger to self or others,” or (2) issuing the permit

   “would not be in the interest of the public health, safety, or welfare because the [applicant] is

   found to be lacking the essential character of temperament necessary to be entrusted with a

   firearm.”   N.J. Stat. Ann. § 2C:58-(c).      The Siegel Plaintiffs challenge these statutory

   disqualifiers.

          The State first argues Bruen endorsed Chapter 131’s statutory disqualifier on disarming

   individuals who lack the essential character of temperament to be entrusted with a firearm.

   [State Opp’n Br. at 86 (Docket No. 91).] According to the State, the Legislature based that

   statutory language on a Connecticut firearm licensing statute that, interpreted by

   Connecticut’s Supreme Court, allows licensing authorities to deny firearm licenses “to

   individuals whose conduct has shown them to be lacking the essential character or

   temperament necessary to be entrusted with a weapon.” [Id. (quoting Bruen, 142 S. Ct. at

   2123 n.1 (quoting Dwyer v. Farrell, 475 A.2d 257, 260 (Conn. 1984)).] The State asserts that

   the Bruen Court found such a licensing law permissible and, therefore, this Court should deny

   the Siegel Plaintiffs’ challenge to New Jersey’s equivalent law. [Id.]

          True, Bruen did mention the Connecticut licensing law when discussing “shall issue”

   firearm licensing laws that did not require an applicant to make a separate showing of need


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   to obtain a firearm carry permit. 142 S. Ct. at 2123 n.1. But Bruen did not pass on the

   constitutionality of the Connecticut law because that law was not before the Court. Bruen

   noted the Connecticut law and other “shall issue” jurisdictions’ laws “appear[]” . . . designed

   to ensure only that those bearing arms in the jurisdiction are, in fact, ‘law abiding, responsible

   citizens.’” 142 S. Ct. at 2138 n.9 (quoting Heller, 554 U.S. at 635). Bruen left open the

   possibility of constitutional challenges to “shall issue” statutory laws because “any permitting

   scheme can be put toward abusive ends.” Id. This Court cannot accept Bruen’s passing

   reference to Connecticut’s firearm law as the Supreme Court’s wholesale approval of similar

   licensing laws.    Rather, this Court must determine whether Chapter 131’s statutory

   disqualifiers are supported by well-established and representative historical firearm laws. Id.

   at 2133.

          Turning to history, the State argues that this Nation has historically disarmed

   individuals who pose a danger to the public safety. [State Opp’n Br. at 87.] Pointing to

   various colonial laws before the Revolutionary War, proposals from constitutional

   conventions, law review articles, and dissents and concurrences from judicial opinions, the

   State argues that the government can disarm dangerous individuals and “unvirtuous

   citizens”—that is, nonviolent individuals. [Id. at 87–88.]

          This Court questions whether, after Bruen, the government can justify depriving

   citizens of their Second Amendment right based on pre-Bruen cases espousing the “virtuous

   citizen” theory of the Second Amendment. As explained below, the “virtuous citizen” theory

   of the Second Amendment views the right to right to keep and bear arms as a “civic” one,

   and those who lack respect for government authority, say by committing non-violent crimes,

   are deemed “unvirtuous” and unworthy to have arms. See generally Joseph G.S. Greenlee,


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   The Historical Justifications for Prohibiting Dangerous Persons from Possessing Arms, 20 Wyo. L.

   Rev. 249, 275–83 (2020). That theory appears to lack historical support, rests on faulty

   justifications, and has come under fire.

          In any event, based on the State’s historical materials and the Court’s own research,

   this Court finds this Nation has a historical tradition of disarming dangerous individuals and

   those who endanger the public safety. From medieval England to early American colonial

   times to the Reconstruction era, the government disarmed people who posed a danger to

   others. This Court finds Chapter 131’s statutory disqualifiers seek to prevent individuals who

   pose a danger to the public from obtaining firearms. Indeed, Chapter 131 allows a licensing

   authority to deny a firearm permit based on evidence that the applicant “would pose a danger

   to self or others.” N.J. Stat. Ann. § 2C:58-3(c). Likewise, this Court finds Chapter 131’s

   statutory disqualifier on preventing individuals who lack “the essential character of

   temperament necessary to be entrusted with a firearm” from obtaining firearm permits to

   focus on whether the applicant, armed with a firearm, poses a danger to the public. Id. §

   2C:58-(c)(5).   While some of the below historical laws are repugnant and would be

   unconstitutional today, this Court must look to these laws to determine a historical tradition

   and the Founder’s understanding of the right to keep and bear arms. Bruen, 142 S. Ct. at

   2129–30.

                         a.     English History of Disarmament

          English law is instructive because the Second Amendment “codified a right inherited

   from our English ancestors.” Heller, 554 U.S. at 599 (citation omitted); see also Bruen, 142 S.

   Ct. at 2127 (observing that because the Second Amendment codified a “pre-existing right,”

   the Heller Court examined “English history dating from the late 1600s, along with American


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   colonial views leading up to the founding”). England has a long history of disarming

   dangerous people. Greenlee, 20 Wyo. L. Rev. at 257–61.

          English common law punished individuals “who [went] armed to terrify the King’s

   subjects” with imprisonment and forfeiture of their “armour.” Sir John Knight’s Case, 87 Eng.

   Rep. 75, 76 (K.B. 1686). The common law offense of “going armed to terrify the King’s

   subjects” is tied to the 1328 Statute of Northampton. Bruen, 142 S. Ct. at 2141. Like the

   common law offense, the Statute of Northampton provided a person may not “bring force in

   affray of the peace, nor to go nor ride armed by night nor day, in fairs, markets, nor in the

   presence of the justices or other ministers, nor in part elsewhere, upon pain to forfeit their

   armour to the King, and their bodies to prison at the King’s pleasure.” 2 Ed. III, c. 3 (1328).

   By 1686, English courts had considered the statute to “be almost gone in desuetudinem,” see

   Rex v. Knight, 90 Eng. Rep. 330, 330 (K.B. 1686), but individuals “going armed” with evil

   intent could be liable under the statute, Stephen P. Halbrook, The Right to Bear Arms: A

   Constitutional Right of the People or a Privilege of the Ruling Class? 3 (2021). A person found to

   have gone armed to terrify the people were stripped of their arms and imprisoned “at the

   King’s pleasure.” C. Kevin Marshall, Why Can’t Martha Stewart Have a Gun?, 32 Harv. J.L. &

   Pub. Pol’y 695, 717 (2009) (noting that the Statute of Northampton “set the punishment for

   the common-law offense” of going armed to terrify the people).

          Besides the common law and Statute of Northampton, England enacted a series of

   militia acts or other government decrees that banned certain people from having arms. In

   1660, Charles II ordered government officials in London “to make strict search in the city and

   precincts for dangerous and disaffected persons, seize and secure them and their arms, and

   detain them in custody.” Greenlee, 20 Wyo. L. Rev. at 259 (quoting 10 Calendar of State


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   Papers, Domestic Series, Domestic Series of the Reign of Charles II, 1660-1670, 237 (1895)).

   Shortly thereafter, England’s 1662 Militia Act allowed government officials to “seize all arms

   in the custody or possession of any person” they judged to be “dangerous to the Peace of the

   Kingdom.” Militia Act 1662, 13 & 14 Car. 2, c. 3, § 13. English officials used the 1662 Militia

   Act to disarm “dangerous and disaffected persons” until 1757—more than half-a-century after

   England’s Parliament adopted the English Bill of Rights of 1689 that expressly granted the

   right to keep and bear arms (for Protestants only). Diarmuid F. O’Scannlain, Glorious

   Revolution to American Revolution: The English Origin of the Right to Keep and Bear Arms, 95 Notre

   Dame L. Rev. 397, 405 (2019). Indeed, when William of Orange and his wife Mary were on

   the throne, William offered monetary rewards “for arms seized from dangerous or disaffected

   persons.” Patrick J. Charles, “Arms for their Defence”? An Historical, Legal, and Textual Analysis

   of the English Right to Have Arms and Whether the Second Amendment Should Be Incorporated in

   McDonald v. City of Chicago, 57 Clev. St. L. Rev. 351, 382 (2009).

          In addition, depending on who sat on the throne, England disarmed certain religious

   groups—Catholics or Protestants. See generally Halbrook, supra at 66–87. England disarmed

   Catholics because they were “presumptively thought to pose a . . . threat or terror.” Kanter

   v. Banter, 919 F. 3d 437, 457 (7th Cir. 2019) (Barrett, J., dissenting) (collecting scholarship).

   Catholics could retain their arms provided they gave a “declaration against popery”—that is,

   denouncing the tenets of Catholicism and swearing allegiance to the King. An Act for the

   Better Securing the Government by Disarming Papists and Reputed Papists, 1 W. & M., Sess.

   1, ch. 15, §§ 2, 4 (Eng. 1688). Catholics who refused to swear allegiance were considered a

   threat to the Crown. Marshall, 32 Harv. J.L. & Pub. Pol’y at 723 (explaining that “the stated

   principle supporting [the arms] disability [for Catholics] was cause to fear that a person,


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   although technically an English subject, was because of his beliefs effectively a resident enemy

   alien liable to violence against the king”).

                          b.     Colonial American History of Disarmament

           “[R]evolutionary and founding-era gun regulations are those that targeted particular

   groups for public safety reasons.” Nat’l Rifle Ass’n v. Bureau of Alcohol, Tobacco, Firearms, &

   Explosives, 700 F.3d 185, 200 (5th Cir. 2012), abrogated on other grounds by Bruen, 142 S. Ct.

   2111.    Indeed, the early American colonies inherited England’s practice of disarming

   dangerous citizens. Massachusetts, New Hampshire, North Carolina, and Virginia enacted

   statutes codifying the common law offense of bearing arms to terrorize the people—variants

   of the Statute of Northampton. Both Massachusetts’ and New Hampshire’s statutes “were

   substantively identical.” Bruen, 142 S. Ct. at 2142.

           Starting in 1692, Massachusetts authorized justices of the peace to arrest “all affrayers,

   rioters, disturbers, or breakers of the peace, and such as shall ride, or go armed offensively . .

   . elsewhere by night or by day in fear or affray of their majesties’ liege people” and “commit

   the offenders to prison until he find sureties for the peace and good behavior, and seize and

   take away his armor or weapons.” Act of Nov. 1, 1692, ch. 18, § 6, reprinted in 1 Acts and Resolves,

   Public and Private, of the Province of the Massachusetts Bay 52-53 (Boston, Wright & Potter 1869)

   (emphasis added). For more than 100 years, Massachusetts allowed justices of the peace to

   disarm individuals who posed a danger to the public.             2 Laws of the Commonwealth of

   Massachusetts, from November 28, 1780 to February 28, 1807, at 653 (Boston, Manning & Loring

   1807) (1795 statute repealing forfeiture provision of the 1692 statute). Likewise, starting in

   1699, New Hampshire authorized justices of peace to arrest anyone “who shall go armed

   offensively,” imprison them until he or she found sureties to keep the peace, and “cause the


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   arms or weapons so used by the offender, to be taken away, which shall be forfeited and sold

   for his Majesty’s use.”Acts and Laws of His Majesty’s Province of New Hampshire, in New England;

   with Sundry Acts of Parliament 2 (Portsmouth, Daniel Fowle 1761).

          Virginia and North Carolina had similar laws. Starting in 1786, Virginia outlawed

   riding or going armed “by night [or] by day, in fairs or markets, or in other places, in terror of

   the country.” Act of Nov. 27, 1786, ch. 140 (Va.), reprinted in 1 Revised Code of the Laws of

   Virginia: Being a Collection of All Such Acts of the General Assembly, Of Public and Permanent Nature,

   As Are Now in Force; with A General Index 554 (Richmond, Thomas Ritche 1819). The Virginia

   law authorized justices of the peace to arrest those who went armed to terrify the people and

   allowed the justices to strip the offenders of “their armour.” Id. For sixty years, justices of

   the peace could disarm individuals who went armed to terrify the people. 1847 Va. Acts Ch.

   14, § 16 (Docket No. 90-3) (eliminating arms forfeiture provision). North Carolina likewise

   allowed government officials not only to arrest those who went armed by “night [or] days, in

   fairs, markets, . . . [or] in part elsewhere” to the terror of the people, but also to strip the

   offenders of their “armour.” A Collection of the Statues of the Parliament of England in Force in the

   State of North Carolina 60-61 (1792); see generally State v. Huntly, 25 N.C. 418 (1843) (per curiam)

   (discussing North Carolina’s offense of “going armed” to the terror of the people).

          Like England, some American colonies—Maryland, Virginia, and Pennsylvania—

   disarmed Catholics “on the basis of allegiance, not on the basis of faith” out of fear of an

   armed insurrection. Robert H. Churchill, Gun Regulation, the Police Power, and The Right to

   Keep Arms in Early America: The Legal Context of the Second Amendment, 25 Law & Hist. Rev.

   139, 157 (2007); Greenlee, 20 Wyo. L. Rev. at 263–64.




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             As tensions between England and the colonies grew toward war, many colonies

   disarmed colonists who were “disaffected” with the cause of an independent America.

   Connecticut, Massachusetts, North Carolina, Virginia, and Pennsylvania enacted laws

   allowing government officials to disarm colonists who refused to swear allegiance to America.

   Greenlee, 20 Wyo. L. Rev. at 263–64 (collecting laws). “Although these Loyalists were

   neither criminals nor traitors, American legislators had determined that permitting these

   persons to keep and bear arms posed a potential danger.” Nat’l Rifle Ass’n, 700 F.3d at 200

   (collecting scholarship). In fact, in 1777, New Jersey empowered its Council of Safety to

   “deprive and take from such Persons as they shall judged disaffected and dangerous to the

   present Government, all Arms, Accoutrements, and Ammunition which they own or

   possess.” Act for Constituting a Council of Safety, ch. 40, § 20 1777 N.J. Laws 90.

             In addition, colonists routinely disarmed Native Americans and slaves. Kanter, 919

   F.4d at 458 (Barrett, J., dissenting) (“Slaves and Native Americans . . . were thought to pose

   more immediate threats to public safety and stability and were disarmed as a matter of

   course.”). As will be discussed later, several colonial governments passed laws requiring

   colonists to bring arms to church and public assemblies to defend against attacks from Native

   Americans and to suppress slave revolts. See infra Section IV.G.2.c.i.

             The above English and American colonial disarmament laws show that the Founders

   did not hesitate to disarm individuals they found to be dangerous or a threat to the public

   safety.    Kanter, 919 F.4d at 458 (Barrett, J., dissenting) (observing that “founding-era

   legislatures categorically disarmed groups whom they judged to be a threat to the public

   safety”); Binderup v. Att’y Gen., 836 F.3d 336, 369 (3d. Cir. 2016) (en banc) (Hardiman, J.

   concurring in part and in the judgments) (observing “the historical record leads us to conclude


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   that the public understanding of the scope of the Second Amendment was tethered to the

   principle that the Constitution permitted the dispossession of persons who demonstrated that

   they would present a danger to the public if armed”); Greenlee, 20 Wyo. L. Rev. at 265

   (stating for “all disarmament[] [laws] during the colonial period, the justification was always

   that those being disarmed were dangerous”); Marshall, 32 Harv. J.L. & Pub. Pol’y at 727-28

   (“[T]o the extent that one can distill any guidance from the English disability and the

   Revolutionary disarmament, it would seem at most to be that persons who by their actions—

   not just their thoughts—betray a likelihood of violence against the state may be disarmed.”).

          Turning to Bruen’s “how” and “why,” the above English and Colonial disarmament

   laws are “relevantly similar” to Chapter 131’s statutory disqualifiers. 142 S. Ct. at 2133. For

   all laws, the “why” is the same: to keep arms out of the hands of dangerous people or those

   who would endanger the public if allowed to have arms. The “how” of the laws is also similar

   since they each focus on the arms bearer’s conduct—an objective measure of an arm bearer’s

   dangerousness and threat to the public safety.

           Take, for example, the American colonial laws of disarming individuals who went

   armed to terrify the public. Those laws allowed a justice of the peace to strip a person of their

   arms “upon the view of [such] justices, confession of the party, or other legal conviction of

   any such offense.” Act of Nov. 1, 1692, ch. 18, § 6, reprinted in 1 Acts and Resolves, Public and

   Private, of the Province of the Massachusetts Bay 52-53 (Boston, Wright & Potter 1869); Acts and

   Laws of His Majesty’s Province of New Hampshire, in New England; with Sundry Acts of Parliament

   2 (Portsmouth, Daniel Fowle 1761). Similarly, the colonial laws disarming individuals who

   refused to take an oath of allegiance turned on the arm bearer’s conduct. An arm bearer’s

   failure to take an oath—an objective and verifiable act—resulted in disarmament. Greenlee,


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   20 Wyo. L. Rev. at 263–64. Chapter 131’s statutory disqualifiers too focus on objective

   criteria by allowing a licensing authority to consider the applicant’s conduct to determine

   whether he or she would endanger the public if allowed to bear arms. N.J. Stat. Ann. §

   2C:58-3(c), (c)(5). Bruen does not demand a historical twin or dead ringer, rather, an

   analogues historical law suffices. 142 S. Ct. at 2133.

                        c.      State Constitutional Convention Proposals

          Three proposals from state constitutional ratification conventions in Pennsylvania,

   Massachusetts, and New Hampshire support the proposition that it was the Founders’

   understanding that the government could disarm dangerous individuals. See United States v.

   Barton, 633 F.3d 168, 174 (3d Cir. 2011) (“Debates from the Pennsylvania, Massachusetts,

   and New Hampshire ratifying conventions . . . confirm that the common law right to keep

   and bear arms did not extend to those who were likely to commit violent offenses.”), overruled

   on other grounds by Binderup, 836 F.3d at 349–50; Marshall, 32 Harv. J.L. & Pub. Pol’y at

   728-29 (stating the three proposals that emerged from the Pennsylvania, Massachusetts, and

   New Hampshire ratification debates on the Constitution reveal the founders would have

   allowed disarmament of individuals posing a danger to others).

          Starting with the Pennsylvania ratification convention, the minority proposal by the

   anti-federalists, which the Heller Court found “highly influential,” 554 U.S. at 604, requested

   a bill of rights stating that “no law shall be passed for disarming the people or any of them

   unless for crimes committed, or real danger of public injury from individuals.” 2 Bernard

   Schwartz, The Bill of Rights: A Documentary History 662, 665 (1971). In Massachusetts, Samuel

   Adams, a Founding Father, proposed these additions to Governor John Hancock’s proposed

   amendments to the Constitution: the “Constitution be never construed to authorise Congress


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   . . . to prevent the people of the United States, who are peaceable citizens from keeping their

   own arms.” Id. at 675, 681. The founding generation understood the term “peaceable” to

   mean nonviolent. See Greenlee, 20 Wyo. L. Rev. at 266 (reviewing contemporaneous

   dictionary definitions of the term “peaceable” and concluding that the term was understood

   to mean nonviolent).      Over to New Hampshire, the State’s constitutional convention

   requested the proposed constitution be amended to include a provision stating, “Congress

   shall never disarm any citizen, unless such as are or have been in actual rebellion.” 1

   Johnathan Elliot, The Debates in the Several State Conventions on the Adoption of the Federal

   Constitution 326 (2d ed. 1891). The convention included the “actual rebellion” language “with

   recent events in mind” after 200 hundred rioters, some armed with muskets, protested outside

   the General Court in Exeter, New Hampshire following a law allowing former Tories

   (Loyalists) to return to their estates. Stephen P. Halbrook, The Founders’ Second Amendment:

   Origins of the Right to Bear Arms 213 (2008). The rebellion language in New Hampshire’s

   proposal focuses on danger because “[r]ebels posed a risk of insurrection and so were

   dangerous.” Folajtar v. Att’y Gen., 980 F.3d 897, 915 (3d Cir. 2020) (Bibas, J., dissenting).

          Because “[c]onstitutional rights are enshrined with the scope they were understood to

   have when the people adopted them,” the founding generation’s understanding of the right to

   keep and bear arms is instructive. Heller, 554 U.S. at 625, 634–35. While the Pennsylvania,

   Massachusetts, and New Hampshire proposals never made their way into the Constitution,

   the proposals, taken together, are evidence of the founding generation’s understanding about

   allowing dangerous individuals or those who would endanger the public safety to have

   firearms. Kanter, 919 F.4d at 456 (Barrett, J., dissenting). They did not.




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                            d.     Post-Ratification Disarmament Laws

             Post-ratification practices—“a critical tool of constitutional interpretation,” Heller, 554

   U.S. at 605—confirm the public’s understanding of keeping guns away from dangerous

   people and those who would endanger the public. Bruen, 142 S. Ct. at 2136–37 (discussing

   treatment of post-ratification laws).

             As noted above, for more than 100 years, Massachusetts allowed justices of the peace

   to disarm individuals who went armed to terrify the public. Act of Nov. 1, 1692, ch. 18, § 6,

   reprinted in 1 Acts and Resolves, Public and Private, of the Province of the Massachusetts Bay 52-53

   (Boston, Wright & Potter, 1869). Starting in 1795, Massachusetts dropped the arms forfeiture

   provision of the 1692 law and, instead, imposed a conditional restriction on an arms bearer’s

   ability to freely carry a weapon in public by requiring him or her to find sureties to keep the

   peace if he or she violated the law. 2 Laws of the Commonwealth of Massachusetts, from November

   28, 1780 to February 28, 1807, at 653 (Boston, Manning & Loring 1807). Then, in 1836,

   Massachusetts enacted a new law on carrying arms in public that spread across about nine

   other jurisdictions. Bruen, 142 S. Ct. at 2148. As will be discussed later, these surety laws

   imposed a partial, conditional restriction on carrying arms in public.             If an individual

   complained that an arms bearer was reasonably likely to breach the peace or injure them, then

   the arms bearer had to post a surety bond to keep the peace unless he or she showed a special

   need to carry, such as self-defense. See infra Section IV.F.3.b.i. These surety laws “targeted

   only those threatening to do harm” and constrained an arm bearer if there “was just reason

   to fear that he purposes to make an unlawful use of [firearms].” Bruen, 142 S. Ct. at 2148

   (quoting William Rawle, A View of the Constitution of the United States of America 126 (2d ed.

   1829)).


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          This Nation’s tradition of disarming dangerous individuals or those who would

   endanger the public continued during Reconstruction. For example, in 1866, a Union army

   general issued a decree aimed to preempt South Carolina’s “Black Codes,” declaring that

   “[t]he constitutional rights of all loyal and well-disposed inhabitants to bear arms shall not be

   infringed,” but that no “disorderly person, vagrant, or disturber of the peace, shall be allowed

   to bear arms.” Id. at 2152 (quoting Cong. Globe, 39th Cong., 1st Sess. 908–09 (1866)). A

   contemporaneous Freedman Bureau’s publication declared that “[a]ny person, white or

   black, may be disarmed if convicted of making an improper or dangerous use of weapons.”

   Id. (citation omitted).

          The “how” and “why” behind these historical laws are not equivalent to those behind

   Chapter 131’s statutory disqualifiers. The “why” of the surety laws is the same as Chapter

   131’s statutory disqualifiers: to protect the public from someone who may misuse a firearm.

   But the “how” of the laws is different. As discussed below, the surety laws typically restricted

   an arms bearer after an adversarial proceeding brought by someone who feared the arms

   bearer may cause the complainant harm. See infra Section IV.F.3.b.i. Chapter 131’s statutory

   disqualifiers do not have a similar process.        Surety laws also imposed only a partial,

   conditional restriction on arms bearers—if they posted a bond, they could continue to carry

   their firearms even if found to pose a danger to the public. Id. Yet Bruen does not require a

   historical twin; rather, the historical and modern laws need only “impose a comparable

   burden on the right to armed self-defense” and be “comparably justified.” 142 S. Ct. at 2133.

   This Court finds the above post-ratification laws are similarly justified and impose like

   burdens as Chapter 131’s statutory disqualifiers. The historical laws and Chapter 131’s

   statutory disqualifiers all burden arms bearers to protect the public from a person who will


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   misuse a firearm.       The post-ratification laws also confirm the founding generation’s

   understanding of the right to keep and bear arms: the government can disarm or regulate

   arms bearing by dangerous individuals or persons who would endanger the public if allowed

   to have firearms.

           The Second Amendment right to keep and bear arms is “not unlimited” and the

   Constitution leaves states “some measures” to combat handgun violence. Heller, 554 U.S. at

   626, 636.      Indeed, the Second Amendment is not a “regulatory straightjacket” restraining

   states from adopting regulations on owning and carrying firearms in public. Bruen, 142 S. Ct.

   at 2133. The State’s research, coupled with the Court’s own, reveal a historical tradition in

   this Nation of prohibiting dangerous individuals or those who would endanger the public

   from having firearms. Chapter 131’s statutory disqualifiers follow that historical tradition and

   furthers it.

           Thus, for the above reasons, this Court finds that the Siegel Plaintiffs are unlikely to

   succeed on the merits of their Second Amendment challenge to Chapter 131’s statutory

   disqualifiers and, therefore, their motion for a preliminary injunction on those provisions of

   the law is denied.

                           e.    The State’s “Unvirtuous Citizen” Justification for Chapter
                                 131’s Statutory Disqualifiers

           A few words are in order on the State’s claim that the Second Amendment right to

   keep and bear arms does not extend to “unvirtuous citizens.”

           Before Bruen, the Third Circuit (along with other Courts of Appeals) applied a

   “unvirtuous citizen” justification in Second Amendment challenges to 18 U.S.C. §

   922(g)(1)—a federal law prohibiting individuals who were convicted of a crime punishable by

   more than one year from possessing firearms. See Folajtar, 980 F.3d at 902. Under the

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   “unvirtuous citizen” justification, an individual—although not convicted of a violent crime—

   could be deprived of his or her constitutional right to keep and bear arms. Greenlee, 20 Wyo.

   L. Rev. at 275–83. The justification rests on the notion that individuals who commit crimes—

   even nonviolent felonies or misdemeanors—show a lack of respect for the law and thus are

   not entitled to their Second Amendment right. In re M.U.’s Application for a Handgun Purchase

   Permit, 291 A.3d at 848–49.

          Several judges and scholars have criticized the “unvirtuous citizen” justification for

   lacking historical support.     Judge Hardiman and four of his colleagues rejected the

   “unvirtuous citizen” theory, finding “no historical evidence on the public meaning of the right

   to keep and bear arms indicating that ‘virtueness’ was a limitation on one’s qualification for

   the right.” Binderup, 836 F.3d at 372 (Hardiman, J., concurring in part and in the judgments).

   Then-Judge Barrett rejected the “unvirtuous citizen” theory in her dissent in Kanter, finding

   it “associated with civic rights”—that is, the theory understands the Second Amendment right

   to be a “purely civic right.” 919 F.3d at 462–63 (Barrett, J., dissenting). Judge Barrett found

   the theory to contravene Heller’s holding that the Second Amendment “confer[s] an individual

   right to keep and bear arms.” Id. at 463 (alteration in original) (quoting Heller, 554 U.S. at

   595). Then, Judge Bibas in his dissent in Folajtar took the “unvirtuous citizen” theory to task

   by critically reviewing all the historical evidence underpinning the theory and the caselaw

   applying it. 908 F.3d at 915–20. After an extensive review, Judge Bibas found no historical

   support for the “unvirtuous citizen” justification. Id. at 919–20 (Bibas, J., dissenting) (“[A]ll

   these articles and cases show that the virtue theory is flimsy. Most of the evidence dovetails

   with dangerousness. The focus on virtue rests on strained readings of colonial laws and

   ratifying conventions perpetuated by scholars and courts’ [sic] citing one another’s faulty


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   analyses.”). Another scholar reached the same conclusion as Judge Bibas. Greenlee, 20 Wyo.

   L. Rev. at 275–85.

          Following Bruen, a Third Circuit panel applied the “unvirtuous citizen” justification

   to reject a constitutional challenge to Section 922(g)(1) by a convicted, nonviolent felon.

   Range v. Att’y Gen., 53 F.4th 262, 273–74 (3d Cir. 2022). That decision, however, was

   short-lived because a majority of Third Circuit judges agreed to re-hear the case en banc and

   vacated the panel’s decision. Range v. Att’y Gen., 56 F.4th 992 (3d. Cir. 2023). Thus, the first

   Range decision lacks precedential support. Id.

          A New Jersey appellate court recently employed the “unvirtuous citizen” justification

   to uphold the denial of a Purchase Permit and revocation of an FID by an individual with an

   arrest record for nonviolent offenses and convictions for disorderly persons property offenses

   (one expunged and one resolved by a conditional dismissal). See In re M.U.’s Application for a

   Handgun Purchase Permit, 291 A.3d at 835–37. In doing so, the appellate court determined

   that Chapter 131’s predecessor “public health” statutory disqualifier is “well-rooted in the

   nation’s history and tradition of firearm regulation” of disarming those who “evince[] a

   disrespect for the rule of law.” Id. at 853.

          Given the Third Circuit’s decision to vacate Range, this Court questions the validity of

   the “unvirtuous citizen” justification following Bruen. Like Judge Hardiman, then-Judge

   Barrett, and Judge Bibas, this Court could not uncover any historical laws stripping away an

   individual’s right to keep and bear arms based on his or her virtue (or lack thereof).

           This Court, however, need not decide whether the “unvirtuous citizen” justification

   supports Chapter 131’s statutory disqualifiers. When a plaintiff brings a facial challenge to a

   statute, like the Siegel Plaintiffs have done here, the plaintiff must show “that no set of


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   circumstances exists under which the [law] would be valid.” Mazo v. N.J. Sec’y of State, 54

   F.4th 124, 134 (3d Cir. 2022) (alteration in original) (quoting United States v. Salerno, 481 U.S.

   739, 745 (1987)). As noted above, Chapter 131’s statutory disqualifiers are constitutional

   under the Second Amendment when viewed through the lens of this Nation’s historical

   tradition of disarming dangerous individuals or those who endanger the public. See supra

   Section IV.D.1. In any event, the dangerous tradition is likely subsumed in the “unvirtuous

   citizen” theory. Indeed, at least one Court of Appeals has tied the concept of “virtuousness”

   to non-dangerousness. See United States v. Rene E., 583 F.3d 8, 16 (1st Cir. 2009) (“To be sure,

   there is an ongoing debate among historians about the extent to which the right to bear arms

   in the founding period turned on concerns about the possessor's “virtue,” i.e., on a legislative

   judgment that possession of firearms by a certain class of individuals would pose a serious

   danger to the public.”).

                         f.      The Siegel Plaintiffs’ Void-for-Vagueness Challenge to
                                 Chapter 131’s Public Safety Statutory Disqualifiers

          The Siegel Plaintiffs argue that Chapter 131’s public safety statutory disqualifiers

   violate the Due Process Clause because they are “too vague” or “encourage arbitrary

   discretion by public officials.” [Siegel TRO Br. at 42 (Docket No. 8-1).] At bottom, the Siegel

   Plaintiffs contend Chapter 131’s public safety disqualifiers are unconstitutional because the

   law confers too much discretion on a licensing authority since the disqualifiers “are

   standardless.” Id. at 43. This Court disagrees.

          To start, courts employ a “strong presumption that lawfully enacted statutes are valid.”

   Amaya v. New Jersey, 766 F. Supp. 2d 533, 538 (D.N.J. 2011) (citing I.N.S. v. Chadha, 462 U.S.

   919, 944 (1983)). “The void-for-vagueness doctrine reflects the fundamental principle that, in

   order to comply with the requirements of due process, a statute must give fair warning of the

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   conduct that it prohibits.” United States. v. Portanova, 961 F.3d 252, 262–-63 (3d Cir. 2020)

   (quoting United States, v. Fontaine, 697 F.3d 221, 226 (3d Cir. 2012)). “The vagueness doctrine

   aims to ensure the nondiscriminatory application of laws.” Bernard v. Cosby, ____ F. Supp.

   3d. ____, ____, 2023 WL 22486, at *5 (D.N.J. Jan. 3, 2023) (citation omitted). “A statute is

   unconstitutionally vague under the Due Process Clause if it (1) fails to provide people of

   ordinary intelligence a reasonable opportunity to understand what conduct it prohibits; or (2)

   authorizes or even encourages arbitrary and discriminatory enforcement.” Fontaine, 697 F.3d

   at 226 (internal quotation marks omitted) (quoting United States, v. Stevens, 533 F.3d 218, 249

   (3d Cir. 2008)); accord Johnson v. United States, 576 U.S. 591, 595 (2015).

          The most “important aspect of the vagueness doctrine is . . . the requirement that a

   legislature establish minimal guidelines to govern law enforcement.” Kolender v. Lawson, 461

   U.S. 352, 358 (1983) (internal quotation marks omitted) (quoting Smith v. Goguen, 415 U.S.

   566, 574 (1974)); see Grayned v. City of Rockford, 408 U.S. 104, 109 (1972) (“[I]f arbitrary and

   discriminatory enforcement is to be prevented, laws must provide explicit standards for those

   who apply them.”). Yet “[r]egulations need not . . . achieve meticulous specificity, which

   would come at the cost of flexibility and reasonable breadth.” Betancourt v. Bloomberg, 448

   F.3d 547, 552 (2d Cir. 2006) (internal quotation marks omitted) (quoting Grayned, 408 U.S.

   at 110).

          Here, Chapter 131’s statutory disqualifiers provide enough standards to guide licensing

   officials eliminating the risk of arbitrary enforcement. As noted, both statutory disqualifiers

   focus on an applicant’s danger to him- or herself or others if allowed to have a firearm. See

   supra Section IV.D.1. Indeed, Chapter 131 requires a licensing authority to determine

   whether an applicant is “known” in his or her community “as someone who has engaged in


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   acts or made statements suggesting the person is likely to engage in conduct, other than

   justified self-defense, that would pose a danger to self or others.” N.J. Stat. Ann. § 2C:58-3(c).

   This disqualifier requires licensing officials to examine objective evidence—the applicant’s

   acts and statements—to determine whether he or she may engage in conduct that would

   endanger him- or herself or the public.

          Likewise, Chapter 131’s “not in the interest of public health, safety, and welfare”

   disqualifier requires licensing officials to determine whether an applicant lacks the “essential

   character of temperament necessary to be entrusted with a firearm.” Again, this disqualifier

   requires an examination of the applicant’s conduct with objective evidence. See In re M.U.’s

   Application for a Handgun Purchase Permit, 291 A.3d at 855–56, (upholding revocation of FID

   and denial of Purchase Permit under prior version of Chapter 131’s “not in the interest of

   public health, safety, and welfare” disqualifier based on applicant’s prior unlawful conduct).

   Since Chapter 131’s statutory disqualifiers limit a licensing official’s discretion to focus on the

   applicant’s conduct to determine whether the applicant is dangerous or would endanger

   others, the disqualifiers are not impermissibly vague. See Kuck v. Danaher, 822 F. Supp. 2d

   109, 134 (D. Conn. 2011) (rejecting void-for-vagueness challenge to Connecticut licensing

   law that allowed licensing authority to revoke firearm license if license holder was found not

   to be “suitable” to carry a firearm since law limited authority’s discretion to “the enumerated

   factors for determination of an applicant's qualifications”), abrogated on other grounds by Bruen

   142 S. Ct. 2111. Indeed, to violate due process, the law must be “so standardless that it invites

   arbitrary enforcement.” Johnson, 576 U.S. at 595.

          Moreover, Chapter 131 has built-in procedural mechanisms to eliminate arbitrary

   enforcement by allowing applicants to appeal a denial of their FID, Purchase Permit, or Carry


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   Permit applications to the Superior Court of New Jersey. N.J. Stat. Ann. §§ 2C:58-3(d), (f),

   -4(e). As noted, an aggrieved applicant is entitled to a hearing where the trial court reviews

   the licensing official’s decision anew. See supra Section IV.B. The licensing authority must

   establish that “good cause” existed to deny the requested permit. In re M.U.’s Application for a

   Handgun Purchase Permit, 291 A.3d at 841–42. These appellate procedures safeguard against

   a licensing authority’s arbitrary decision. See Kuck, 822 F. Supp. 2d at 134–35 (denying void-

   for-vagueness challenge based on arbitrary enforcement where licensing law provided appeal

   process allowing de novo review of licensing official’s decision).

          In Bruen, the Court found New York’s “proper cause” requirement to obtain a carry

   permit troubling because, among other reasons, the state left aggrieved applicants “little

   recourse if their local licensing officer denies a permit.” 142 S. Ct. at 2123. New York courts

   would defer to a licensing official’s decision “unless it was arbitrary and capricious.” Id.

   (citation and internal quotation marks omitted).       Unlike New York’s law, Chapter 131

   provides meaningful appeal rights to aggrieved applicants. See supra Section IV.B.

          Finally, this Court finds Chapter 131 provides notice to persons of ordinary

   intelligence to understand what conduct will prevent him or her from obtaining an FID or

   Purchase or Carry Permit because the statutory disqualifiers focus on danger or risk of harm.

   In fact, one court has rejected a void-for-vagueness challenge involving a substantially similar

   licensing law to Chapter 131. See Kuck, 822 F. Supp. 2d at 134 (rejecting void-for-vagueness

   challenge to licensing law allowing licensing authority to revoke firearm permit to a not

   “suitable” person—that is, a person who lacks “the essential character or temperament

   necessary to be entrusted with a weapon”—because “a person of ordinary intelligence would

   understand that his permit will be subject to revocation if he develops a condition or engages


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   in conduct which indicates that he may pose a danger to the public if he is allowed to carry a

   firearm in public” (quoting Dwyer, 475 A.2d at 260)).       Accordingly, this Court rejects the

   Siegel Plaintiffs’ void-for-vagueness challenge to Chapter 131’s public safety statutory

   disqualifiers.

                    2.   Historical Tradition: Chapter 131’s Application Process

          The Siegel Plaintiffs also challenge certain of Chapter 131’s new Carry Permit

   application requirements, more specifically, those requiring that: (1) “not less than four

   reputable persons” to endorse a Carry Permit application “who shall certify thereon that the

   applicant has not engaged in any acts or made any statements that suggest the applicant is

   likely to engage in conduct, other than lawful self-defense, that would pose a danger to the

   applicant or others,” including “relevant information” on “the nature and extent of their

   relationship with the applicant and information concerning their knowledge of the applicant's

   use of drugs or alcohol,” N.J. Stat. Ann. § 2C:58-4(b); (2) the licensing authority to hold an

   in-person interview of the applicant and his or her endorsers and “make inquiry concerning,

   and investigate to the extent warranted, whether the applicant is likely to engage in conduct

   that would result in harm to the applicant or others, including, but not limited to, whether the

   applicant has any history of threats or acts of violence by the applicant directed toward self or

   others or any history of use, attempted use, or threatened use of physical force by the applicant

   against another person, or other incidents implicating [the other statutory disqualifiers under

   N.J. Stat. Ann. § 2C:58-3(c)], including but not limited to determining whether the applicant

   has been subject to any recent arrests or criminal charges for disqualifying crimes or has been

   experiencing any mental health issues such as suicidal ideation or violent impulses, and the

   applicant's use of drugs or alcohol,” see id. § 2C:58-4(c); and (3) the applicant to provide


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   “such other information . . . including but not limited to publicly available statements posted

   or published online by the applicant, as the [licensing authority] deems reasonably necessary

   to conduct the review of the application,” see id.

          The State has not come forward with any historical laws to support Chapter 131’s new

   application requirements. Rather, the State argues the new requirements are permissible

   under the Second Amendment because “they serve to ensure that only law-abiding citizens

   who are not a danger to themselves or others are authorized to possess firearms.” [State

   Opp’n at 89–90 (Docket No. 91).] The State notes that Chapter 131’s new background checks

   “are precisely the type of legitimate regulation that Bruen spoke of approvingly.” [Id. at 90.]

          This Court agrees. Apart from Chapter 131’s provisions allowing a licensing authority

   to request “such other information” from the applicant and the in-person interview

   requirement of the applicant’s endorsers, the other application requirements seek to fetter out

   dangerous individuals or persons who would endanger the public safety with a firearm.

   Indeed, both the reputable persons and in-person interview requirements focus on the risk of

   danger to the applicant and the public if the applicant is allowed to have a firearm. N.J. Stat.

   Ann. § 2C:58-4(c) (character reference requiring endorsements on whether applicant “would

   pose a danger to [him- or herself] or others”); id. § 2C:58-4(d) (in-person interview process

   limited to gathering information on applicant’s history of violence, relevant arrest record,

   suicidal ideations, pending criminal charges, and drug and alcohol use). This Court finds that

   Chapter 131’s reputable persons endorsement and in-person interview requirements are

   “narrow, objective, and definite standards guiding licensing officials” to “ensure only those

   bearing arms in [New Jersey] are, in fact, law-abiding, responsible citizens.” Bruen, 142 S.

   Ct. at 2138 n.9 (internal citations and quotation marks omitted).


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          As for Chapter 131’s in-person interview requirement of the applicant’s endorsers, the

   Court finds that such requirement is unduly burdensome. The State has not justified this

   requirement or explained how, after receiving the endorsers’ certifications, interviewing them

   in-person (or even how that is achieved in a nonburdensome way) will aid the licensing

   authority’s review of a Carry Permit application. And while Chapter 131’s requirement

   allowing a licensing authority to request “such other information” the authority “deems

   reasonably necessary,” including the applicant’s online public statements, appears broad and

   unlimited. However, this Court construes that provision to limit the information the licensing

   authority may obtain to only those objective facts bearing on the applicant’s dangerousness

   or risk of harm to the public.

          While the State has identified no historical evidence to support Chapter 131’s new

   application process, this Court has. Again, some of the below historical laws are repugnant

   and clearly unconstitutional today. At the same time, this Court must look to these laws to

   determine a historical tradition and the Founders’ understanding of the right to keep and bear

   arms. See Bruen, 142 S. Ct. at 2129–30.

                         a.     Historical Laws on Reputable Persons Endorsement

          History reveals this Nation regulated gun ownership on a reputation-based perception

   of an individual’s likelihood to endanger the public.

          As noted above, American colonists disarmed certain religious groups. See supra

   Section IV.D.1.b. In 1637, colonial Massachusetts ordered the disarmament of about 75

   religious dissidents based on “just cause” of suspicion that the dissidents would make a

   “[sudden eruption upon] those that differ from them in judgment.” 1 Records of the Governor

   and Company of the Massachusetts Bay in New England 211–12 (1853). Those identified to


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   be disarmed could retain their arms by admitting their supposed wrongdoing to two

   magistrates. Id. at 212. Virginia, in 1756, allowed “two or more” justices of the peace who

   knew, or “suspect[ed] any person to be a Papist, or shall be informed that any person is, or is

   suspected to be a Papist” to require the person to come before the justices to take “oaths

   appointed by act of [P]arliment.” 7 William Waller Hening, The Statutes at Large, Being a

   Collection of All the Laws of Virginia from the First Session of the Legislature, in the Year 1619, at

   35-36 (Richmond, Franklin Press 1820). Virginia enacted this law because the government

   found it “dangerous . . . to permit Papists to be armed.” Id. at 35. If the suspected Papist

   failed to take the required oath, the Virginia law prohibited him or her from having firearms.

   Id. at 36. The law was triggered by two or more justices of the peace knowing or suspecting

   a person of being a Papist—a reputation- or opinion-related inquiry.

          Similarly, English and early American colonial governments disarmed “dangerous”

   or “disaffected persons.” See supra Sections IV.D.1.a., b. For example, the Continental

   Congress recommended the colonies to disarm persons “who are notoriously disaffected to

   the cause of America, or who have not associated, and shall refuse to associate, to defend, by

   arms, these United Colonies.” 4 Journals of the Continental Congress 1774–1789, at 205 (1906).

   Several colonies did just that. See supra Section IV.D.1.b. These historical disarmament laws

   appear both reputation- and opinion-based.

          As noted above, early American colonists disarmed slaves for public safety reasons

   because of fear of a slave revolt. Id. Even so, several colonies allowed slaves to carry arms in

   public or for hunting if granted permission. For example, colonial New York prohibited

   slaves from having or using any gun unless “in the presence or by the direction of his or her

   or their Master or Mistress.” 2 Colonial Laws of New York From the Year 1664 to the Revolution


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   687 (Albany, James B. Lyon 1894). Then, in 1704, Maryland prohibited slaves from carrying

   any firearm “from off their master’s land without [license] from their said Master.” William

   H. Brown, Proceedings and Acts of the General Assembly September 5, 1704–April 19, 1706, at 261

   (1906) (1704 law). Virginia, in 1723, allowed enslaved or “free negro, mulatto, or [I]ndians .

   . . living at any frontier plantation . . . to keep and use guns” after “having first obtained a

   license for the same, from some justice of the peace . . upon the application of such free negros,

   mulattos, or [I]ndians, or of the owner or owners of such as are slaves.” 4 Hening, The Statutes

   at Large, Being a Collection of All the Laws of Virginia from the First Session of the Legislature, in the

   Year 1619, at 131 (Richmond, Franklin Press 1820). North Carolina, South Carolina, and

   Georgia likewise prohibited slaves from carrying firearms in public without permission.

   Halbrook, supra Section IV.D.1.a, at 136 (collecting laws). While these racist laws certainly

   violate the Constitution’s demand for equal protection and substantive due process, for the

   purposes of this inquiry, they suggest that a requirement to establish good character to carry

   firearms is not a novel one.

           Starting in the 19th century, Delaware allowed “free negros and free mulattos” to have

   and possess firearms so long as they obtained a license from a justice of the peace. Act of

   Feb. 10, 1832, ch. 172, § 1, 1832 Del. Laws 208 (1841). To obtain that license, the applicant

   had to provide a “written certificate of five or more respectable and judicious citizens of the

   neighborhood” certifying the applicant “is a person of fair character.” Id. Decades later,

   several municipalities adopted licensing laws requiring character endorsement. Ordinances of

   Jersey City, Passed by the Board of Alderman Since May 1, 1871, at 86–87 (1873 ordinance allowing

   municipal court to issue permits to carry pistols in municipality if applicant obtains “a written

   endorsement of the propriety of granting a permit from at least three reputable freeholders”);


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   Ordinances of the Mayor, Alderman and Commonalty of the City of New York, ch. 8, art. 25, § 265,

   p. 215 (1881) (allowing “officer in command” in police precinct where applicant resides to

   “make a recommendation to the superintendent of the police” to issue carry permit to

   applicant “the officer in command” finds “proper” and “law-abiding”); Brooklyn, New York,

   Common Council of the City of Brooklyn, An Ordinance to Regulate the Carrying of Pistols § 2

   (Oct. 4, 1980) (substantially similar to New York City’s ordinance requiring “officer in

   command” to make recommendation on carry permit application); cf. Complied Ordinances of

   the City of Omaha, ch. 31, § 6, p. 70 (1881) (providing that the municipality’s concealed carry

   ban did not apply to “well known and worthy citizens, or persons of good repute, who may

   carry arms for their own protection in going to or from their place or places of business, if

   such business be lawful”).

          All in all, early American colonial laws reveal a historical tradition of disarming

   individuals based on reputational or opinion-based fears of danger. Later laws required

   applicants to obtain character endorsements to carry a weapon in public. While not perfect

   analogues to Chapter 131’s reputable persons’ endorsement requirement, this Court finds the

   above laws establish a historical tradition of firearm regulations based on reputation.

   Antonyuk v. Hochul, ____ F. Supp. 3d. ____, ____, 2022 WL 16744700, at *49–50 (N.D.N.Y.

   Nov. 7, 2022) (reaching a substantially similar conclusion and refusing to preliminarily enjoin

   nearly identical character reference requirement in New York’s post-Bruen gun laws).

   Therefore, the Siegel Plaintiffs are unlikely to prevail on the merits of their Second

   Amendment challenge to Chapter 131’s reputable persons endorsement provision, and so,

   their motion for a preliminary injunction on that provision of the law will be denied.




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                           b.     Historical Laws Requiring In-Person Meeting

             This Nation has a historical tradition of requiring arms bearers to appear in-person in

   connection with the right to keep and bear arms. Many of the English and early American

   laws already discussed required in-person meetings with magistrates or justices of the peace

   relating to firearms. As noted, individuals suspected of being “dangerous” or “disaffected”—

   either because of their religious beliefs or attitudes toward the impending Revolutionary

   War—had to appear in person to take various oaths to keep their firearms. See supra Section

   IV.D.2.a. Without doing so, they forfeited their arms. Id.

             Besides those disarmament laws, colonial mustering laws (admittedly not in the

   self-defense realm) required militiamen to appear in person with their weapons for inspection.

   Antonyuk, 2022 WL 16744700, at *57 (reviewing colonial militia mustering laws from

   Massachusetts, Pennsylvania, Maryland, North Carolina, Virginia, and New York); see also

   Churchill, 25 Law & Hist. Rev. at 161 & n.54 (collecting other militia laws). In fact, “[s]ome

   colonials authorized door-to-door surveys of gun ownership.” Churchill, 25 Law & Hist. Rev.

   at 161.

             Mid- to late-nineteenth century laws also required individuals seeking to carry a

   handgun in public to appear in person. For example, New Jersey’s own Jersey City required

   individuals to make their applications for a carry permit “in open court.” Ordinances of Jersey

   City, Passed by the Board of Alderman Since May 1, 1871, at 86–87. Other jurisdictions imposed

   similar in-person requirements. Antonyuk, 2022 WL 16744700, at *57 (collecting laws).

             The above history reveals a historical tradition of requiring individuals to appear

   in-person relating to possession or use of firearms. Id. (finding substantially similar laws

   “appear sufficiently established and representative to constitute a historical tradition” and


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   refusing to enjoin New York’s gun law’s in-person interview requirement of carry permit

   applicant).   Because the in-person interview requirement is limited to determine the

   applicant’s dangerousness or risk of harm to him- or herself and others, N.J. Stat. Ann. §

   2C:58-4(c), this Court finds that Chapter 131’s interview mandate adheres to this Nation’s

   historical tradition of disarming dangerous individuals or those who would endanger the

   public safety if allowed to have a firearm. Therefore, the Siegel Plaintiffs are unlikely to prevail

   on the merits of their Second Amendment challenge to Chapter 131’s in-person interview

   requirement of the Carry Permit applicant. Accordingly, this Court will not preliminarily

   enjoin the enforcement of that provision.

           However, this Court could not uncover a single law preventing an arms bearer from

   exercising his or her right to keep and bear arms unless a government official interviewed an

   arms bearer’s character references. To justify Chapter 131’s new requirements, the State must

   show that historical laws (even analogous laws) imposed a comparable burden on the right to

   armed self-defense like Chapter 131 does. Bruen, 142 S. Ct. at 2133. The State has not made

   that showing, and the Court should not have “to sift the historical materials for evidence to

   sustain [Chapter 131].” Id. at 2150. The State also has not explained how interviewing an

   applicants’ endorsers will assist a licensing authority to review an applicant’s Carry Permit

   application. Despite ample opportunity, the State refused to call a single witness to justify

   this new and burdensome requirement. [Docket No. 74.] The State’s failure is telling.

   Without any historical support, Chapter 131’s provision requiring a licensing authority to

   interview a Carry Permit applicant’s endorsers violates the Second Amendment. Thus, the

   Siegel Plaintiffs are likely to prevail on the merits of their Second Amendment challenge to

   Chapter 131’s in-person interview requirement of a Carry Permit applicant’s endorsers.


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                          c.       Historical Laws Allowing Licensing Authorities to Request
                                   “Such Other Information”

          The State has presented no historical laws supporting Chapter 131’s requirement

   allowing a licensing authority to request “such other information from the applicant or any

   other person,” including the Carry Permit applicant’s publicly available statements, the

   authority “deems reasonably necessary to conduct the review” of a Carry Permit application.

   N.J. Stat. Ann.     § 2C:58-4(c).      This provision is overbroad and presents potential

   constitutional problems beyond the Second Amendment and privacy concerns. Antonyuk,

   2022 WL 16744700, at *54–55 (preliminarily enjoining similar provision under New York’s

   new gun law).

          Imagine a licensing authority requiring a Carry Permit applicant to submit to a blood

   test or provide a urine sample to determine whether the applicant is an alcoholic or uses

   controlled dangerous substances. Chapter 131 allows a licensing authority to deny a Carry

   Permit to, among others, “any person with a substance use disorder involving drugs” or “any

   alcoholic.” N.J. Stat. Ann. §§ 2C:58-3(c)(3), -4(c). A urine sample or drug test might be

   “other information” needed to determine whether an applicant is statutorily disqualified from

   obtaining a Carry Permit under Chapter 131.         That poses thorny Fourth Amendment

   problems for sure. Suppose a licensing authority demands a Carry Permit applicant to turn

   over his or her medical records because Chapter 131 allows a licensing authority to deny a

   Carry Permit to any applicant “who suffers from a physical defect or disease which make it

   unsafe for the person to handle firearms.” Id. Such a request is likely an invasion into an

   applicant’s privacy.        Cf. N.J. Stat. Ann. § 2A:84A-22.2 (codifying New Jersey’s

   patient-physician privilege).



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          Besides the lack of historical laws, the State has not explained, or even attempted to

   explain, how allowing a licensing authority to request “such other information” is necessary,

   given Chapter 131’s other robust requirements, including criminal record checks,

   fingerprinting, character endorsements, interviewing the applicant, and firearms training,

   among others. N.J. Stat. Ann. § 2C:58-4(c). Again, the State refused this Court’s request

   for an evidentiary hearing to explore such issues. [Docket No. 74.]

          At any rate, because courts must strive to interpret statutes to “avoid constitutional

   difficulties,” Off. of Senator Mark Dayton v. Hanson, 550 U.S. 511, 514 (2007), this Court finds

   Chapter 131’s provision allowing a licensing authority to request “such other information” is

   permissible under the Second Amendment only if the request is limited to objective evidence

   on the applicant’s dangerousness and risk to the public safety. As noted, this Nation has a

   historical tradition of keeping firearms out of the hands of dangerous individuals or those who

   would endanger the public’s safety with a firearm. See supra Section IV.D.1. If appropriate,

   the licensing authority may request information that is “reasonably necessary” to determine

   whether the applicant poses a risk of danger to him- or herself or the public if allowed to carry

   a firearm in public. This Court’s construction provides “narrow, objective, and definite

   standards” consistent with this Nation’s historical tradition to “guide[] licensing officials” to

   “ensure only those bearing arms in [New Jersey] are, in fact, law-abiding, responsible

   citizens.” Bruen, 142 S. Ct. at 2138 n.9 (internal citations and quotation marks omitted).

          Indeed, Alabama’s firearm licensing scheme—acknowledge by the Bruen Court for

   apparent narrow and objective criteria, see id. at 2123 n.1, 2138 n.9—allows a licensing

   authority to request “additional information from the applicant” if the authority cannot

   determine whether the applicant is statutorily disqualified under the state’s licensing law. Ala.


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   Code § 13A-11-75(d)(2). Alabama provides several statutory disqualifiers barring individuals

   from obtaining a carry permit, ranging from the applicant’s mental capacity, criminal record,

   and whether the applicant “[c]aused or causes justifiable concern for public safety.” Id. § 13A-

   11-75(c), (d)(1). Alabama licensing officials’ ability to request “additional information” is

   limited to explicit statutory provisions. Id. § 13A-11-75(d)(2).

          If the State wants its licensing officials to have more information to review a Carry

   Permit application, then the State must present historical laws supporting the request for that

   information and evidence on why the information is necessary. The Court directs the parties

   to take discovery on that issue. Until then, this Court will deny the Siegel Plaintiff’s request

   for a preliminary injunction on Chapter 131’s provision allowing licensing authorities to

   request “such other information” the authority “deems reasonably necessary” so long as the

   request seeks information on the applicant’s dangerousness or risk to the public safety.

          E.        The Constitutionality of Chapter 131’s New Fee Schedule

          The Siegel Plaintiffs also challenge Chapter 131’s new fee schedule, arguing the fees

   violate the Second Amendment and are unconstitutional under Cox v. New Hampshire. [Siegel

   Compl. ¶ 282 (Siegel Docket No. 1); see also Siegel TRO Br. at 39–40 (Siegel Docket No. 8-1).]

   This Court declines to decide the constitutionality of Chapter 131’s new fee schedule now for

   three reasons.

          First, the Siegel Plaintiffs have not shown they would suffer irreparable harm if required

   to pay Chapter 131’s new fees. When a plaintiff seeks a preliminary injunction, like the Siegel

   Plaintiffs do here, the plaintiff must show “potential harm which cannot be redressed by a

   legal or an equitable remedy following a trial.” Siemens USA Hold., Inc. v. Geisenberger, 17

   F.4th 393, 408 (3d Cir. 2021) (citation omitted). If a court can remedy a plaintiff’s alleged


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   injury by awarding monetary damages, then preliminary injunctive relief is improper. See,

   e.g., Motron v. Beyer, 822 F.2d 364, 372–73 (3d Cir. 1987). Chapter 131’s fees are calculable

   damages, and thus payment of those fees (even if unconstitutional) can be remedied with an

   award of monetary damages if the Siegel Plaintiffs ultimately prevail. See Cahill v. City of New

   Brunswick, 99 F. Supp. 2d 464, 480–81 (D.N.J. 2000) (denying motion for preliminary

   injunction because plaintiffs failed to show irreparable harm since their alleged injury—$3.00

   per hour wage reduction—“is clearly the type of injury which is readily calculated and

   remedied after the fact by monetary damages”). Thus, the Siegel Plaintiffs are not entitled to

   a preliminary injunction on Chapter 131’s new fees.

          Second, the Court has no information to examine the Siegel Plaintiffs’ Cox challenge to

   Chapter 131’s new fees. Constitutional “fee” jurisprudence has typically arisen in First

   Amendment challenges to licensing laws requiring a fee to engage in expressive activity, like

   a parade or rally. See generally Cox, 312 U.S. at 576–78; see also Nationalist Movement v. City of

   New York, 481 F.3d 178, 182–87 (3d Cir. 2007). In Cox, the Supreme Court considered a First

   Amendment challenge to a statute requiring individuals seeking to hold a parade to pay a fee.

   312 U.S. at 576–77. In upholding the law, the Court found the fee necessary “to meet the

   expense incident to the administration of the act and to the maintenance of public order in

   the matter licensed.” Id. at 577. The Court observed that “there is nothing contrary to the

   Constitution in the charge of a fee limited to the purpose stated.” Id. Courts have applied

   Cox to determine the constitutionality of a fee to exercise a constitutional right “by examining

   whether those fees were designed to defray, and did not exceed, the administrative costs of

   regulating the protected activity.” Kwong v. Bloomberg, 876 F. Supp.2d 246, 254 (S.D.N.Y.

   2012) (collecting cases), aff’d, 723 F.3d 160 (2d. Cir. 2013), abrogated on other grounds by Bruen


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   142 S. Ct. 2111. Several courts have applied Cox to determine the constitutionality of a fee to

   exercise the Second Amendment right to keep and bear arms. See, e.g., Kwong, 723 F.3d at

   165 (collecting cases).

          In Kwong, the Second Circuit found New York’s $340 fee for a handgun license

   permissible under Cox. Id. at 167. There, the parties had engaged in discovery and the

   evidence showed the “$340 licensing fee [was] designed to defray (and [did] not exceed) the

   administrative costs associated with the licensing scheme.”        Id. at 162–63, 166.     The

   government’s evidence consisted of multiple government reports containing information

   ranging from the revenue generated by licensing fees to the costs associated with processing

   handgun permit applications. Id. at 165. Unlike Kwong, this Court has no evidence to

   determine whether Chapter 131’s fees are permissible under Cox. The Court is clueless as to

   revenues generated by firearm permits, the costs licensing authorities incur to process

   applications, the number of hours needed to process applications, or the staff required to

   review applications. Again, despite ample opportunity, the parties declined this Court’s

   invitation for an evidentiary hearing to explore such issues. [Docket No. 74.] The Court

   directs the parties to take discovery on those issues. Until then, this Court has no basis to

   enjoin Chapter 131’s new fees under Cox.

          Finally, this Court doubts the merit of the Siegel Plaintiff’s Second Amendment

   challenge to Chapter 131’s new fees. A law does not substantially burden a constitutional

   right simply because it makes the right more difficult or expensive to exercise. See Gonzales v.

   Carhart, 550 U.S. 124, 157 (2007) (internal citation and quotation marks omitted) (“[T]hat a

   law which serves a valid purpose, one not designed to strike at the right itself, has the

   incidental effect of making it more difficult or more expensive to procure an abortion cannot


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   be enough to invalidate it.”); see also Kovacs v. Cooper, 336 U.S. 77, 88–89 (1949) (upholding

   city ordinance prohibiting the use of sound trucks on First Amendment grounds, explaining

   “[t]hat more people may be more easily and cheaply reached by sound trucks, perhaps

   borrowed without cost from some zealous supporter, is not enough to call forth constitutional

   protection”).

          In Bruen, the Court observed that licensing schemes that require “exorbitant fees” that

   “deny ordinary citizens their right to public carry” may be subject to constitutional attack.

   142 S. Ct. at 2138 n.9.       While Bruen provided no guidance on when a fee would be

   “exorbitant,” this Court doubts Chapter 131’s new fees are unconstitutionally impermissible.

   Before Bruen, the Second Circuit found New York’s $340 fee to obtain a handgun license did

   not violate the Second Amendment. Kwong, 723 F.3d at 169. In the First Amendment

   context, several courts have upheld permit fees higher than Chapter 131’s fees. See, e.g., 729,

   Inc. v. Kenton Cnty. Fiscal Ct., 402 F. App’x 131, 133 (6th Cir. 2011) (rejecting “argument that

   the $3,000 licensing fee for businesses unconstitutionally deters the exercise of First

   Amendment rights”); Coal. for the Abolition of Marijuana Prohibition v. City of Atlanta, 219 F.3d

   1301, 1323–24 (11th Cir. 2000) (holding festival permit fees ranging from $95 to $6,500

   depending on the size of the festival to be constitutionally permissible).

          The Siegel Plaintiffs’ attempt to show that Chapter 131’s fees are impermissible given

   other jurisdictions’ fees is unavailing. [Siegel Post-Argument Br. at 3–5 (Docket No. 122).]

   That other jurisdictions charge significantly less fees than New Jersey for firearm licenses does

   not make Chapter 131’s new fees unconstitutional. Kwong, 723 F.3d at 166 (rejecting

   argument that other jurisdictions charge less for firearm permits because that “is simply not

   the test for assessing the validity of a license fee”); see also 729, 402 F. App’x at 133.


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          While this Court questions the merits of the Siegel Plaintiffs’ Second Amendment

   challenge to Chapter 131’s new fees, this Court will reserve on that challenge pending an

   evidentiary hearing. This Court will deny the Siegel Plaintiffs’ motion for a preliminary

   injunction on Chapter 131’s new fees.

          F.     Chapter 131’s Insurance Mandate

          As noted above, when enacting Chapter 131, the Legislature imposed a new insurance

   requirement for individuals seeking to obtain a Carry Permit to carry a handgun in public.

   2022 N.J. Laws ch. 131 (Assembly 4769), §§ 3–4 (N.J. Stat. Ann. §§ 2C:58-4(d), -4.3). Starting

   in July 2023, to obtain a Carry Permit, an applicant must provide proof that he or she has an

   insurance policy with a $300,000 minimum amount of coverage “insuring against loss

   resulting from liability imposed by law for bodily injury, death, and property damage

   sustained by any person arising out of the ownership, maintenance, operation or use of a

   firearm carried in public.” N.J. Stat. Ann. §§ 2C:58-4(d)(4), 2C:58-4.3(a) (the “Insurance

   Mandate”). An individual with a Carry Permit who wants to carry a firearm in public must

   also follow the Insurance Mandate. Id. § 2C:58-4.3(a).

          More specifically, the Insurance Mandate requires a Carry Permit holder to provide

   proof of the required insurance following “any injury, death, or property alleged to have been

   caused by the person carrying the handgun in public.” Id. § 2C:58-4.3(b). A Carry Permit

   holder caught carrying a handgun in public without the required insurance exposes him- or

   herself to criminal penalties, id. § 2C:58-4.3(c), including up to 18 months in jail and $10,000

   in fines, see id. §§ 2C:43-3(b)(2), 2C:43-6(a)(4). Further, by not complying with the Insurance

   Mandate, a Carry Permit holder risks forfeiting his or her Carry Permit. Id. § 2C:58-4.3(c)




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   (providing that a violation of the Insurance Mandate “shall constitute full and sufficient

   grounds for revocation of a permit to carry a handgun”).

          Again, only the Siegel Plaintiffs challenge the Insurance Mandate. [Siegel Compl. ¶ 280

   (Siegel Docket No. 1).] They contend the Insurance Mandate unreasonably burdens their

   Second Amendment right to carry a handgun in public for self-defense. [Siegel TRO Br. at 39

   (Siegel Docket No. 8-1); Siegel Reply Br. at 66–67 (Docket No. 97).] They argue that under

   Bruen, the Insurance Mandate is unconstitutional because the mandate is a firearm regulation

   unsupported by historical evidence. [Id.]

          The State argues the Siegel Plaintiffs lack standing to challenge the Insurance Mandate

   because those plaintiffs likely already satisfy the mandate. [State Opp’n Br. at 70 (Docket No.

   91).] The State and its insurance expert, Peter Hochenberger, posit that home, rental, and

   personal insurance policies typically cover an accidental injury, loss, or death caused by a

   firearm unless coverage is excluded by the policy. [Id.; see also Hochenberger Decl. ¶¶ 10, 12

   (Docket No. 87).] Thus, the State asserts the Insurance Mandate will not cause the Siegel

   Plaintiffs harm since their existing homeowners or renters insurance policies will likely satisfy

   the mandate. [State Opp’n Br. at 70.] The State further contends the Siegel Plaintiffs’

   challenge to the Insurance Mandate is not ripe because the mandate takes effect in several

   months, such that any costs the Siegel Plaintiffs may incur to comply with the mandate is

   speculative since the insurance market for firearm coverage may change. [Id. at 71.]

          Accordingly, this Court must first determine whether the Siegel Plaintiffs have standing

   to challenge the Insurance Mandate, and whether their challenge is ripe for judicial review.




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                  1.     The Siegel Plaintiffs’ Standing to Challenge the Insurance Mandate

          When a plaintiff brings a pre-enforcement challenge to a criminal statute, like the Siegel

   Plaintiffs do here, the plaintiff will have standing to challenge the law by showing that: (1)

   he or she intends to engage in conduct “arguably affected with a constitutional interest,” (2)

   the conduct is “proscribed by a statute,” and (3) “there exists a credible threat of prosecution

   thereunder.” Susan B. Anthony List, v. Driehaus, 573 U.S. 149, 159 (2014) (quoting Babbitt v.

   Farm Workers, 442 U.S. 289, 298 (1979)). To have standing to challenge the law, a plaintiff

   need not “expose himself to actual arrest or prosecution to be entitled to challenge a statute

   that he claims deters the exercise of his constitutional rights.” Steffel v. Thompson, 415 U.S.

   452, 459 (1974). Nor does the plaintiff seeking to challenge such a law need to “confess that

   he will in fact violate that law.” Susan B. Anthony List, 573 U.S. at 164.

          With these principles in mind, the Court finds the Siegel Plaintiffs have standing to

   bring a pre-enforcement challenge to the Insurance Mandate. First, the Siegel Plaintiffs all

   wish to engage in conduct affected with a constitutional interest: carrying a handgun in public

   for self-defense. Bruen, 142 S. Ct. at 2134-35. Before the Legislature enacted Chapter 131,

   several Siegel Plaintiffs with Carry Permits carried their handguns in public without having

   liability insurance as required by the Insurance Mandate, and such individuals have declared

   that they would continue to carry in public if Chapter 131’s new restrictions were lifted. See,

   e.g., [Siegel Decl. ¶¶ 28-45 (Siegel Docket No. 8-2)]; see also Holder v. Humanitarian Law Project,

   561 U.S. 1, 15–16 (2010) (finding plaintiffs had standing to bring pre-enforcement challenge

   to criminal statute that outlawed providing material support to designated terrorist groups

   where plaintiffs alleged they had provided support to certain designated terrorist groups and

   would continue to do so “if the statute’s allegedly unconstitutional ban were lifted”).


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           Second, the Siegel Plaintiffs’ intended future conduct—carrying a handgun in public

   for self-defense—is “arguably proscribed” by the Insurance Mandate. Susan B. Anthony List,

   573 U.S. at 162. The “[a]rguably proscribed is not a stringent test.” N.J. Bankers Ass’n v. Att’y

   Gen., 49 F.4th 849, 855 (3d Cir. 2022). If a statute is broad enough to cover the intended

   conduct, then the “arguably proscribed” test is met. Id. (citing Susan B. Anthony List, 573 U.S.

   at 162). Since Chapter 131 penalizes Carry Permit holders for carrying a handgun in public

   without complying with the Insurance Mandate, see N.J. Stat. Ann. § 2C:58-4.3(c), the

   “arguably proscribed” test is satisfied, see Susan B. Anthony List, 573 U.S. at 162.

          Third, the Siegel Plaintiffs face a credible threat of enforcement. Id. at 164. While the

   Insurance Mandate is not yet effective, the State has not disavowed prosecuting Carry Permit

   holders who violate the Insurance Mandate. Id. at 165; see also Knife Rights, Inc. v. Vance, 802

   F.3d 377, 386–87 (2d Cir. 2015) (finding credible threat of enforcement where, among other

   things, defendants did not disavow prosecuting plaintiffs under the statute); LSO, Ltd. v. Stroh,

   205 F. 3d 1146, 1155 (9th Cir. 2000) (“Courts have . . . considered the Government's failure

   to disavow application of the challenged provision as a factor in favor of a finding of

   standing.”). The State’s silence on its intent to prosecute Carry Permit holders not complying

   with the Insurance Mandate gives the Siegel Plaintiffs “some reason in fearing prosecution.”

   Babbitt, 442 U.S. at 302.

          The State’s bald argument that the Siegel Plaintiffs lack standing because they likely

   satisfy the Insurance Mandate given their homeowners and renters insurance policies is pure

   speculation. Again, the State chose not to explore the insurance issue with the Siegel Plaintiffs

   through an evidentiary hearing. [Docket No. 74.] Instead, the State prods this Court to

   engage in the same speculation it did. Notwithstanding this, to accept the State’s argument,


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   this Court would have to find that:    (1) all the Siegel Plaintiffs have the required $300,000

   minimum insurance coverage, which they do not; and (2) that their insurance policies will, in

   fact, cover injuries and property damage caused by the policy owners’ use or possession of a

   firearm—a determination that will vary based on the explicit terms of each Plaintiff’s policy.

            In any event, two Siegel Plaintiffs—Cook and Cuozzo—do not have insurance policies

   satisfying the Insurance Mandate’s minimum coverage amount. [Cook Second Supp. Decl.

   ¶ 2 (Docket No. 98); Cuozzo Supp. Decl. ¶ 2 (Docket No. 99).] So those Plaintiffs either must

   procure more insurance at additional cost or forgo their constitutional right to carry a

   handgun in public for self-defense. This Hobson’s choice is enough to confer standing. Peoples

   Rts. Org. v. City of Columbus, 152 F.3d 522, 528–29 (6th Cir. 1998) (finding plaintiffs had

   standing to challenge city ordinance where plaintiffs faced a “Hobson’s choice” to either

   “possess their firearms in Columbus and risk prosecution under the City's law, or,

   alternatively, they can store their weapons outside the City, depriving themselves of the use

   and possession of the weapons”); see also Artway v. Att’y Gen., 81 F.3d 1235, 1246 (3d. Cir.

   1996).

                  2.     Ripeness of the Siegel Plaintiffs’ Challenge to the Insurance
                         Mandate

            Like standing, ripeness stems from Article III’s case-or-controversy requirement.

   Susan B. Anthony List, 573 U.S. at 158 n.5. “The ripeness doctrine serves to determine whether

   a party has brought an action prematurely and counsels abstention until such time as a dispute

   is sufficiently concrete to satisfy the constitutional and prudential requirements of the

   doctrine.” Siemens, 17 F.4th at 412 (cleaned up) (quoting Khodara Envtl., Inc. v. Blakey, 376

   F.3d 187, 196 (3d Cir. 2004)).



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            To determine whether a case is ripe for judicial review, courts must consider: (1) “the

   fitness of the issues for judicial decision,” and (2) “the hardship to the parties of withholding

   court consideration.” Abbott Labs. v. Gardner, 387 U.S. 136, 149 (1967), abrogated on other

   grounds by Califano v. Sanders, 430 U.S. 99, 97 (1977). When a plaintiff seeks declaratory relief,

   like the Siegel Plaintiffs here, Third Circuit courts employ a “somewhat refined test” by

   examining: “(1) the adversity of the parties’ interests, (2) the conclusiveness of the judgment,

   and (3) the utility of the judgment.” Khodara, 376 F.3d at 196 (quoting Pic-A-State Pa., Inc. v.

   Reno, 76 F.3d 1294, 1298 (3d Cir. 1996)). 23

                              a.       The Adversity of the Parties’ Interests

            “Parties’ interests are adverse where harm will result if the declaratory judgment is not

   entered.” Plains, 866 F.3d at 541 (quoting Travelers Ins. Co v. Obusek, 72 F.3d 1148, 1154 (3d

   Cir. 1995)). When the plaintiff’s claim involves a threatened government action, a plaintiff

   does not need to “expose himself to liability before bringing suit to challenge the basis for the

   threat.” Id. (quoting Medimmune, Inc. v. Genentech, Inc., 549 U.S. 118, 128–29 (2007)). If such

   a claim presents “a real and substantial threat of harm,” the claim is ripe for review. Siemens,

   17 F.4th at 412 n.25 (quoting NE Hub Partners, L.P., CNG Transmission Corp., 239 F.3d 333,

   342 n.9 (3d Cir. 2001)). But if the claim rests on “contingent future events that may not occur

   as anticipated, or indeed may not occur all,” then the claim is not ripe for judicial review.

   Texas v. United States, 523 U.S. 296, 300 (1998) (quoting Thomas v. Union Carbide Agric. Prod.

   Co., 473 U.S. 568, 580–81 (1985)).




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     While this refined test “differs in form from the ripeness test articulated in Abbott Labs . . . , it is merely a
   different framework for conducting the same justiciability inquiry.” Plains All Am. Pipeline L.P. v. Cook, 866
   F.3d 534, 540 (3d Cir. 2017). Abbott Laboratories’ hardship and fitness factors still guide the ripeness inquiry.
   Id.
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          Here, the Siegel Plaintiffs’ challenge to the Insurance Mandate is ripe because they face

   a real threat of harm. Starting in July 2023, if the Siegel Plaintiffs do not follow the Insurance

   Mandate and obtain the required insurance, they cannot carry their handguns in public for

   self-defense without exposing themselves to criminal liability. N.J. Stat. Ann. § 2C:58-4.3(c).

   That the Insurance Mandate does not become effective for several months does not diminish

   the threat of harm. Blanchette v. Conn. Gen. Ins. Corps., 419 U.S. 102, 143 (1974) (“Where the

   inevitability of the operation of a statute against certain individuals is patent, it is irrelevant

   to the existence of a justiciable controversy that there will be a time delay before the disputed

   provisions will come into effect.”).

          Moreover, the Siegel Plaintiffs’ interests in carrying their handguns in public and the

   State’s interests in enforcing the Insurance Mandate are diverse. As noted above, the State

   has not disavowed prosecuting individuals with Carry Permits who violate the Insurance

   Mandate. See, e.g., Pic-A-State, 76 F.3d at 1299 (finding adversity among parties where

   government “has not expressly disavowed an intent to prosecute”); see also Presbytery of N.J. v.

   Florio, 40 F.3d 1454, 1468 (3d Cir. 1994) (holding parties’ interest were sufficiently adverse

   where government refused to waive prosecution against plaintiff). Thus, the Court finds that

   the parties’ interests are adverse.

                          b.     Conclusiveness-of-the-Judgment

          The conclusiveness-of-the-judgment factor examines whether “a declaratory judgment

   definitively would decide the parties’ rights.” NE Hub Partners, 239 F. 3d at 344. Accordingly,

   the parties’ dispute “must be based on a real and substantial controversy admitting of specific

   relief through a decree of a conclusive character, as distinguished from an opinion advising

   what the law would be upon a hypothetical set of facts.” Plains, 866 F.3d at 542–43 (quoting


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   Florio, 40 F.3d at 1463). To determine conclusiveness, courts must consider whether: (1) “the

   legal status of the parties would be changed or clarified,” and (2) “further factual development

   . . . would facilitate decision, so as to avoid issuing advisory opinions, or the question

   presented is predominantly legal.” Mazo v. Way, 551 F. Supp. 3d 478, 496 (D.N.J. 2021)

   (omission in original) (quoting Travelers Ins. Co., v. Obusek, 72 F.3d 1148, 1155 (3d Cir. 1995)

   and NE Hub Partners, 239 F.3d at 344), aff’d sub nom. Mazo v. N.J. Sec’y of State, 54 F.4th 124

   (3d Cir. 2022); see also Siemens, 17 F.4th at 412 n.25 (observing purely legal issues are likely

   ripe for judicial review).

          Here, declaratory relief would affect the “legal status of the parties” by determining

   whether the State may require individuals seeking to carry a handgun in public for self-defense

   to be insured. Travelers, 72 F.3d at 1155. A judgment now would determine that issue.

          Moreover, the Siegel Plaintiffs’ facial Second Amendment challenge to the Insurance

   Mandate presents a “purely legal” question with little need for factual development. See Susan

   B. Anthony List, 573 U.S. at 167 (holding plaintiff’s constitutional challenge to false statement

   statute was purely legal); see also Florio, 40 F.3d at 1468–69 (finding First Amendment facial

   challenge to anti-discriminatory law presented “largely legal issues” and that fact

   development was unnecessary). The Siegel Plaintiffs’ challenge focuses on whether the

   Insurance Mandate unreasonably burdens their Second Amendment right to carry a handgun

   in public for self-defense. [Siegel Compl. ¶ 280 (Siegel Docket No.1); Siegel TRO Br. at 39

   (Siegel Docket No. 8-1); Siegel Reply Br. at 66–67 (Docket No. 97).] Despite the State’s

   argument, their challenge does not turn on the costs of obtaining insurance required by the

   Insurance Mandate. [State Opp’n Br. at 71 (Docket No. 91).] The Siegel Plaintiffs’ challenge

   to the Insurance Mandate will involve interpreting the Second Amendment’s text and


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   determining whether historical firearm laws support it. Bruen, 142 S. Ct. at 2126. Resolving

   the Siegel Plaintiffs’ challenge to the Insurance Mandate now would determine whether it

   infringes on their Second Amendment rights. See Florio, 40 F.3d at 1469. 24 Accordingly, the

   conclusiveness-of-the-judgment factor favors reviewing the Siegel Plaintiffs’ challenge now.

                             c.       Practical Utility of Judgment

           The practical utility factor examines whether the parties’ conduct will be affected by a

   declaratory judgment and the hardship the parties would suffer if the court withheld

   judgment. Plains, 866 F.3d at 543–44. The factor also examines whether declaratory relief

   “would be useful to the parties and others who could be affected.” Id. at 544 (quoting Florio,

   40 F.3d at 1470).

           Here, a declaratory judgment on the Insurance Mandate’s constitutionality would be

   useful to the parties and others. First, declaratory relief would help the Siegel Plaintiffs

   determine whether: (1) they must obtain additional insurance required by the Insurance

   Mandate; or (2) their existing insurance policies satisfy the mandate. And if this Court were

   to withhold judgment, the Siegel Plaintiffs with Carry Permits who do not have the required

   insurance would suffer harm because they would need to obtain insurance by July 2023 so

   they can continue to carry their handguns in public. Second, declaratory relief would help

   other Carry Permit holders and those seeking to obtain a Carry Permit because it would clarify

   their rights and obligations. See Florio, 40 F.3d at 1470. Third, the State’s efforts to enforce




   24
     Even if this Court were to dismiss the Siegel Plaintiffs’ challenge to the Insurance Mandate as unripe because
   the mandate is not yet effective, the Siegel Plaintiffs or others with Carry Permits (or seeking Carry Permits)
   “could easily assert substantially similar facial attacks” to the Insurance Mandate. Florio, 40 F.3d at 1468. Those
   future challenges will likely mirror the Siegel Plaintiffs’ current challenge, and thus, whatever judgment this Court
   renders now will be determinative. See id.
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   the Insurance Mandate will be affected by declaratory relief—either the State can enforce the

   law or not. Id. Therefore, a decision now will have practical utility.

          To sum up, this Court finds that the Siegel Plaintiffs have standing to challenge the

   Insurance Mandate. The Court further finds that their challenge is ripe for judicial review.

                  3.      The Constitutionality of the Insurance Mandate

          To determine whether the Insurance Mandate is constitutional, this Court must first

   determine whether the “Second Amendment’s plain text covers an individual’s conduct”

   sought to be regulated. Bruen, 142 S. Ct. at 2129–30. For this inquiry, courts must examine

   the individual’s “proposed course of conduct.” Id. at 2134. If the individual’s conduct falls

   within the Second Amendment’s text, the “Constitution presumptively protects that

   conduct,” and the government must “justify its regulation by demonstrating that it is

   consistent with the Nation’s historical tradition of firearm regulation.” Id. at 2129–30.

          The State first contends the Insurance Mandate falls outside the Second Amendment’s

   text “because it is not regulation of who can bear arms.” [State Opp’n Br. at 72 (Docket No.

   91).] The State equates the Insurance Mandate with regulations “appurtenant to carrying

   firearms” like criminal background checks, fingerprinting, and firearms training.              [Id.]

   According to the State, the Second Amendment’s text does not encompass those types of

   regulations. [Id.]

          Next, the State argues the Insurance Mandate is constitutional based on historical laws

   that allocated the risk of injury caused by guns to the gun owner and away from the victim.

   [Id. at 73–77.] Pointing to 19th century state surety laws and strict liability tort law principles,

   the State asserts this Nation historically imposed liability on gun owners to compensate those

   injured by firearms. [Id.] Like those historical laws, the State contends the Insurance


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   Mandate ensures gun owners will compensate individuals injured by gun violence. [Id.]

   Relying on a decision from the United States District Court for the Northern District of

   California upholding an insurance mandate on gun owners, the State asserts this Court should

   also decline to enter injunctive relief on the Insurance Mandate. Id. at 75 (citing Nat’l Ass’n

   for Gun Rts., Inc. v. City of San Jose, 618 F. Supp. 3d 901 (N.D. Cal. 2022)). The Brady Amici

   echo many of the State’s arguments. [Brady Amici Br. at 13–21 (Docket No. 96-1).]

                         a.     The Second Amendment’s Text

          As noted, the Second Amendment’s text guarantees an individual’s right to carry

   firearms in public for self-defense. Bruen, 142 S. Ct. at 2134. The Second Amendment

   presumptively guarantees the Siegel Plaintiffs’ “proposed course of conduct” of carrying

   handguns in public for self-defense. Id. at 2135.

          Here, the Insurance Mandate implicates the right to carry firearms in New Jersey

   because without complying with the mandate, an individual cannot bear arms in public for

   self-defense. N.J. Stat. Ann. § 2C:58-4.3(c); cf. Nat’l Ass’n for Gun Rts., Inc., 618 F. Supp. 3d

   at 915–16 (reviewing Second Amendment challenge under Bruen to city ordinance requiring

   firearm owners to obtain firearm liability insurance, and finding the proposed course of

   conduct of “owning or possessing a firearm without firearm liability insurance” to fall within

   the scope of the Second Amendment’s text). Despite the State’s argument, the Insurance

   Mandate does regulate who can carry firearms in public: only those insured Carry Permit

   holders. See N.J. Stat. Ann. §§ 2C:58-4(d)(4), 4.3(c).

          The State mischaracterizes Bruen by arguing that the Insurance Mandate falls outside

   the Second Amendment’s text because the mandate is like background checks the Bruen Court

   found likely permissible. [State Opp’n Br. at 72 (Docket No. 91).] The State’s argument rests


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   on a footnote in the Bruen decision discussing “shall-issue” licensing regimes, which do not

   require a separate showing of need for self-defense before carrying a handgun in public. 142

   S. Ct. at 2138 n.9. The Bruen Court repeatedly made clear that the Second Amendment

   protects “the right of law-abiding, responsible citizens to use arms for self-defense.” Id. at 2122,

   2131, 2134, and 2150 (emphasis added); see also Heller, 554 U.S. at 636. While not passing

   on the constitutionality of “shall issue” licensing schemes, the Bruen Court noted that those

   licensing schemes “require applicants to undergo a background check or pass a firearms safety

   course . . . to ensure only that those bearing arms in the jurisdiction are, in fact, ‘law-abiding, responsible

   citizens.’” 142 S. Ct. at 2138 n.9 (emphasis added) (quoting Heller, 554 U.S. at 635).

           The Insurance Mandate, however, does little to ensure that those seeking to carry

   firearms for self-defense in New Jersey “are, in fact, law-abiding, responsible citizens.” Id.

   Indeed, while a person disqualified from carrying a handgun—say because of a felony

   conviction, see N.J. Stat. Ann. §§ 2C:58-3(c), 4(d)(1)—could likely obtain insurance, the

   person’s ability to obtain insurance does not mean they are law-abiding, responsible citizens

   with the right to carry handguns in public for self-defense, see Heller, 554 U.S. at 626 (noting

   “longstanding prohibitions on the possession of firearms by felons”).

                            b.       Historical Tradition: Chapter 131’s Insurance Mandate

           Since the Second Amendment’s text presumptively guarantees the Siegel Plaintiffs’

   right to carry their handguns in public for self-defense, the State must show that historical

   firearm regulations support the Insurance Mandate. Bruen, 142 S. Ct. at 2130. To make that

   showing, the State must come forward with “relevantly similar” historical regulations that

   imposed “a comparable burden on the right of armed self-defense.” Id. at 2132-33.




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           Before the Court reviews the State’s historical analogous to the Insurance Mandate,

   the Court examines “how” and “why” the Insurance Mandate burdens the Siegel Plaintiffs

   right to carry a handgun in public for self-defense. Id. at 2133. As explained above, the

   Insurance Mandate burdens an individual’s right to armed self-defense by: (1) requiring proof

   of liability insurance to obtain a Carry Permit; and (2) criminalizing the failure to maintain

   the required insurance while carrying a handgun in public. N.J. Stat. Ann. §§ 2C:58-4(d)(4),

   - 4.3(a), (c). This burden is placed on all Carry Permit holders and those seeking a Carry

   Permit. Id. New Jersey imposes this burden on Carry Permit holders to compensate

   individuals or property owners injured by the Carry Permit holder’s use or operation of a

   firearm in public. Id. -4.3(b); see also [State’s Opp’n Br. at 73 (Docket No. 91).]

                                   i.         Historical Surety Laws

           The State first relies on 19th century surety laws from various states to support the

   Insurance Mandate. 25 These surety laws were designed as crime prevention measures. Bruen,

   142 S. Ct. at 2149 (internal citation and quotation marks omitted) (explaining “surety laws

   were intended merely for prevention and were not meant as any degree of punishment”); see,

   e.g., 1836 Mass. Rev. Stat., ch. 134 (housing surety law in statute entitled “Of Proceedings to

   Prevent the Commission of Crimes”). The laws typically allowed a magistrate to require an

   arms bearer to post a surety bond to keep the peace if another individual complained that he

   or she had “reasonable cause to fear an injury” or “breach of the peace” by the arms bearer.

   See, e.g., 1836 Mass. Rev. Stat., ch. 134, § 16.



   25
     1836 Mass. Rev. Stat., ch. 134, § 16 (Docket No. 90-12); 1838 Terr. Of Wisc. Stat. Rev. § 18 (Docket No. 90-
   13); Me. Rev. Stat., Ch. 169, § 16 (1840) (Docket No. 90-14); Mich. Rev. Stat., Ch. 162, § 16 (1846) (Docket
   No. 90-15); 1847 Va. Acts Ch. 14, § 16 (Docket No. 90-3); Terr. of Minn. Rev. Stat., ch. 112, § 18 (1851) (Docket
   No. 90-17): 1854 Ore. Stat. ch. 16, § 17 (Docket No. 90-18); D.C. Rev. Code ch. 141, § 16 (1857) (Docket No.
   90-19); 1860 Pa. Laws p. 432, § 6 (Docket No. 90-20); W. Va. Code, ch. 153, § 8 (1868) (Docket No. 90-4).
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           Apart from Virginia and West Virginia, the surety laws required an individual to first

   bring a complaint against an arms bearer to bond the bearer over. 26 See, e.g., id; see generally

   Halbrook, supra Section IV.D.1.a, at 226–32. The magistrate would take evidence from the

   complainant seeking protection and the arms bearer in defense of the complaint. See, e.g.,

   1836 Mass. Rev. Stat., ch. 134, §§ 2-4. If the arms bearer could not show a special need to

   carry—such as self-defense or defense of others—the magistrate could require the arms bearer

   to post a bond. See, e.g., 1836 Mass. Rev. Stat., ch. 134, § 16. The bond was generally limited

   to 6 months or a year. Id.; see also Me. Rev. Stat., Ch. 169, § 16 (1840) (providing that bond

   “for keeping the peace for a term, not exceeding one year”). If required to post a bond, an

   arms bearer “could go on carrying without criminal penalty” and would forfeit the bond only

   “if he breached the peace or injured others.” Wrenn v. District of Columbia, 864 F.3d 650, 661

   (D.C. Cir. 2017). The forfeited bond was generally paid to the issuing authority. Sidney

   Childress, Peace Bonds – Ancient Anachronisms or Viable Crime Prevention Devices, 21 Am. J.

   Crim. L. 407, 413 (1994). But even if required to post a bond, an arms bearer did not forfeit

   it if he acted in self-defense. Wrenn, 864 F.3d at 661; see also United States v. Rahimi, 61 F.4th

   443, 459 (5th Cir. 2023) (“If the party of whom surety was demanded refused to post surety,

   he would be forbidden from carrying a weapon in public absent special need.” (citing Bruen,

   142 S. Ct. at 2148–49)).

           These surety laws were “akin to modern public safety infractions like speeding or

   jaywalking.” Wrenn, 864 F. 3d at 661 (quoting Heller, 554 U.S. at 633–34). The laws also




   26
     Both Virginia and West Virginia did not require a citizen to file a complaint to initiate surety bond proceedings.
   See Bruen, 142 S. Ct. at 2148 n.24 (citing 1847 Va. Acts Ch. 14, § 16 and W. Va. Code, ch. 153, § 8 (1868)).
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   allowed an arms bearer required to post bond to appeal the magistrate’s determination. See,

   e.g., 1836 Mass. Rev. Stat., ch. 134, § 16.

              Given the above, both the “how” and “why” of the 19th century surety laws show the

   Insurance Mandate is not “relevantly similar” to those laws. Starting with the how, the surety

   laws only burdened arms bearers after a showing of “reasonable cause” by a complainant who

   feared injury or a breach of the peace by the arms bearer. Only if the arms bearer could not

   show a special need to carry would he be required to post a surety bond. Unlike the surety

   laws that imposed a conditional, partial restriction on an identified arms bearer found to be

   dangerous, the Insurance Mandate applies to all seeking to carry a handgun in public. And

   there is no carve-out for self-defense with the Insurance Mandate. Indeed, even if a magistrate

   required an arms bearer to post a surety bond, an arms bearer did not forfeit the bond if he or

   she acted in self-defense. Wrenn, 864 F.3d at 661.

               Further, while the surety laws’ burden was temporally limited to six months to a

   year, 27 the Insurance Mandate’s burden here is indefinite. If a person wants to carry a handgun

   in public for self-defense, the person must be insured. N.J. Stat. Ann. § 2C:584.3. And the

   Insurance Mandate’s stiff penalties—up to 18-months in jail, $10,000 in fines, and loss of the

   right to carry, see id. §§ 2C:43-3(b)(2), 2C:43-6(a)(4), and 2C:58-4.3(c)—are unlike the

   penalties for violating a surety bond, which are like public safety infractions such as speeding

   or jaywalking, see Wrenn, 864 F.3d at 661. Contrary to the State’s argument, the Insurance

   Mandates’ penalties illuminate how the mandate does not impose a burden comparable to

   the burden the surety laws imposed.




   27
        Compare 1836 Mass. Rev. Stat., ch. 134, § 16, with 1847 Va. Acts Ch. 14, § 16.
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          Turning to the why, the surety laws were aimed to prevent criminal offenses by an

   identified arms bearer who presented a specific danger to others, see Bruen, 142 S. Ct. at

   2149—not to shift the risk of gun violence away from victims to all arms bearers as the State

   claims, see State Opp’n Br. at 74 (Docket No. 91).

          Moreover, this Court is unpersuaded by the National Ass’n for Gun Rights (NAGR)

   decision and declines to adopt that court’s reasoning that an insurance requirement on firearm

   owners is like the above surety laws. 618 F. Supp. 3d at 915–18. The law at issue there was

   materially different from the Insurance Mandate here. And the court’s reasoning rests on a

   faulty assumption about the insurance underwriting process relating to firearms. In NAGR,

   the City of San Jose passed a local ordinance requiring San Jose residents “who own or

   possess a firearm to obtain a homeowner’s, renter’s, or gun liability insurance policy covering

   losses or damages resulting from any accidental” use of a firearm. Id. at 907. The ordinance

   exempted “peace officers, persons with concealed carry licenses, and persons for whom

   compliance would create a financial hardship” from obtaining the required insurance. Id.

   (internal quotation marks omitted). Any resident who violates the ordinance’s insurance

   provision was punished by a fine.      Id. at 908.   The city ordinance also contained an

   “impoundment” provision allowing city officials to impound a resident’s firearm if the

   resident failed to obtain the required insurance. Id. But this impoundment provision was

   “inoperable” because the City of San Jose recognized that “there [was] no currently federal

   or state law authorizing the City to impound firearms” under the local law. Id. Thus, a

   violation of the insurance requirement was solely punishable by a fine. Id.

          In declining to find the ordinance’s insurance requirement to likely violate the Second

   Amendment, the NAGR Court found the mid-19th century surety laws—the same laws the


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   State relies on here—were “sufficient analogues” to the ordinance’s insurance requirement.

   Id. at 916–17. Focusing on the penalties, the court found both the surety laws and the

   insurance requirement were similar because both imposed the threat of financial

   consequences either through a surety bond or higher insurance premiums. Id. at 917. The

   court was unconcerned that the surety laws—unlike the insurance requirement that applies to

   all firearm owners—imposed a burden on the arms bearer after a magistrate found cause that

   the arms bearer posed a risk to another or the public. Id. According to the court, the

   ordinance’s burden in the form of insurance premiums “involves a risk evaluation

   that is tailored to the individual and analogous to ‘reasonable cause’ determinations under

   surety statutes,” and was therefore similar enough under Bruen. Id. at 918 (citing Stephen G.

   Gilles & Nelson Lund, Mandatory Liability Insurance for Firearm Owners: Design Choices and

   Second Amendment Limits, 14 Engage 18 (2013)).

          Here, unlike the insurance requirement in NAGR, the Insurance Mandate does not

   impose mere financial penalties for failure to comply with the mandate. As noted above, by

   flouting the Insurance Mandate, Carry Permit holders face over a year in jail, fines up to

   $10,000, and risk losing their right to carry in public. Further, the NAGR court’s finding—

   that the city’s insurance requirement is like surety laws because of the risk evaluation insurers

   make when determining a premium—rests on a faulty assumption about the insurance

   underwriting process. To make this determination, the NAGR court assumed that insurers’

   inquiry about gun ownership during the underwriting process.         But when determining the

   premium rates for homeowners and rental insurance policies, research reveals that insurers

   seldom ask about gun ownership or safe gun storage. See Adam B. Shniderman, Gun Insurance

   Mandates and the Second Amendment, S.C. L. Rev. (forthcoming) (manuscript at 24), available


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   at: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4316203 (last accessed May 10,

   2023); see also Kristen Moore & Craig Reynolds, Firearm Risk: An Insurance Perspective, The

   Actuary           Magazine             (June/July            2018),           available           at:

   https://www.theactuarymagazine.org/firearm-risk/ (last accessed May 10, 2023). Indeed,

   the State’s own insurance expert, Peter Hochenberger (whom the State did not call as a

   witness), recognizes that homeowners or renters insurance policies do not typically have

   firearm exclusions. [See Hochenberger Decl. ¶ 12 (Docket No. 87).] This, of course, suggests

   that those types of insurers do not ask about gun ownership. Thus, this Court does not accept

   the NAGR court’s reasoning.

                               ii.       Tort Law: Strict Liability against Gun Owners

          Next, pointing to various 19th century judicial decisions imposing strict liability on

   firearm owners, the State contends that, because this Nation has historically required gun

   owners to compensate those they injure, the Insurance Mandate is justified accordingly.

   [State Opp’n Br. at 75–77 (citing Cole v. Fisher, 11 Mass. 137 (1814); Moody v. Ward, 13 Mass.

   299 (1816); and Welch v. Duran, 36 Conn. 182 (1869)) (Docket No. 91).]

          True, some jurisdictions imposed liability against gun owners who caused injury to

   another or to one’s property under trespass or strict liability theories. See, e.g., Cole, 11 Mass.

   at 138–39 (discussing trespass and strict liability theories for discharging firearms near

   highways, and stating that “the party injured, either in his person or property, by the discharge

   of a gun . . . is entitled to redress in a civil action”); Welch, 36 Conn. at 182, 185–86 (discussing

   trespass theory for liability against firearm owner who injured another). “Why” these

   jurisdictions burdened arms bearers overlap with the Insurance Mandate: to provide redress

   to those individuals injured by firearms.


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          But “how” these jurisdictions burdened an individual’s right to keep and carry firearms

   is materially different from the Insurance Mandate. Unlike the Insurance Mandate that

   applies to all Carry Permit holders whether or not they caused an injury, the jurisdictions that

   historically imposed liability against gun owners did so only after an injury to another (or to

   property) and after an adversarial proceeding. See, e.g., Cole, 11 Mass at 138–39. Those 19th

   century jurisdictions did not take the prophylactic approach that New Jersey takes here with

   the Insurance Mandate.

          All in all, the very existence of these 19th century tort law principles demonstrates that

   the Insurance Mandate is unconstitutional. Bruen, 142 S. Ct. at 2131 (“[I]f earlier generations

   addressed the societal problem, but did so through materially different means, that . . . could

   be evidence that a modern regulation is unconstitutional.”). Firearm injuries have occurred

   throughout this Nation since its founding.          Yet the State has not shown that earlier

   generations addressed this problem by mandating that all arms bearers obtain insurance or

   post a bond to prevent injuries that may not occur. Bruen, 142 S. Ct. at 2150 (explaining that

   courts “are not obliged to sift the historical materials to sustain” a modern firearm regulation

   because that is the government’s “burden”). All the State has shown is that this Nation has

   provided means for those injured by firearms to seek redress through the courts after an injury.

   [State Opp’n Br. at 75–77 (Docket No. 91).] But even without the Insurance Mandate, New

   Jerseyans injured by firearms still have that option by bringing a tort claim against the firearm

   owner causing the injury. See generally Palmino v. Ehrig, 408 A.2d 1083, 1085 (N.J. Sup. Ct.

   App. Div. 1979) (recognizing that firearms are “inherently dangerous instrumentalities” and

   explaining that “[o]ne who possesses firearms is under a duty to use extraordinary care in

   their handling” that requires firearm owners to take measures to protect others).


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           While Bruen does not demand a historical firearm regulation to be a “dead ringer” or

   “twin” for a modern firearm regulation to pass constitutional muster, the modern law must

   still be “relevantly similar” to the historical law and impose a comparable burden on the right

   to armed self-defense. 142 S. Ct. at 2132–33.                Comparing the “how” and “why” of the

   Insurance Mandate to the “how” and “why” behind the surety laws and tort principles the

   State rely on, this Court finds the Insurance Mandate is too dissimilar and imposes a greater

   burden on the right to self-defense than the historical laws the State has presented.

           Accordingly, this Court finds the Siegel Plaintiffs have shown they are likely to prevail

   on their Second Amendment challenge to the Insurance Mandate. 28

           G.       New Jersey’s “Sensitive Place” Laws

                    1.       Plaintiffs’ Standing to Challenge Chapter 131’s Handgun Ban in
                             “Sensitive Places” and Related New Jersey Laws that Pre-Date Bruen

           The Court incorporates its earlier findings from the TRO phase of this litigation

   regarding whether Plaintiffs have met their burden to establish Article III standing as to each

   of the sensitive place laws they challenge. Plaintiffs’ sworn declarations generally follow the

   same structure and affirm that such individuals obtained, or intend to apply for, a Carry

   Permit for the purpose of self-defense. For example, Plaintiff Muller was a victim of a vicious

   kidnapping and successfully obtained a Carry Permit pursuant to the State’s previous




   28
     This Court is unpersuaded by the State’s reliance on various cases upholding insurance requirements in the
   First Amendment context and state compulsory auto insurance laws. [State Opp’n Br. at 73 n.72 (Docket No.
   91).] First, the First Amendment cases the State relies on employed First Amendment means-end scrutiny tests
   to uphold the insurance or bond requirements. See Thomas v. Chicago Park Dist., 227 F.3d 921 (7th Cir. 2000);
   Gerritsen v. City of Los Angeles, 994 F.2d 570 (9th Cir. 1993); Jacobsen v. Harris, 869 F.2d 1172 (8th Cir. 1989).
   Bruen forecloses the use of means-end scrutiny when reviewing a Second Amendment challenge to a firearm
   law. 142 S. Ct. at 2126. Second, the various cases upholding compulsory automobile insurance laws are
   inapposite because unlike the Second Amendment’s right to keep and bear arms, there is no constitutional right
   to drive. See, e.g., Thrasher v. Abernathy, 2017 WL 735684, at *5 (S.D. Ind. Feb. 24, 2017) (“[T]here is not a
   fundamental right to drive a motor vehicle.”).
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   “justifiable need” standard. [Muller Decl. ¶ 36 (Docket No. 12).] Generally, each of the

   sworn declarations filed and supplemented by the individual Plaintiffs: (1) describes when

   such individual previously frequented or visited an enumerated sensitive place, as applicable;

   (2) explains that handguns were generally permitted in such place(s) until the amendments to

   Chapter 131; and (3) declares a fear of prosecution for carrying a handgun in any of the State’s

   enumerated sensitive places going forward. [See, e.g., Koons Decl. ¶¶ 9–13 (Docket No. 10).]

   Plaintiffs also generally declare an intent to resume carrying handguns with them wherever

   lawfully permitted for self-defense. [Id. at ¶ 14.]

          The Court previously ruled that the Koons Plaintiffs had standing at the TRO phase as

   to each of the five sensitive places they challenged. [Koons TRO Op. at 21–27 (Docket No.

   34).] However, the Court found that the Siegel Plaintiffs lacked standing as to certain

   challenged sensitive place laws at the TRO phase, namely those applicable at zoos, medical

   and treatment facilities, airports, movie sets, and the Fish and Game Restrictions. [Siegel

   TRO Op. at 14–21 (Docket No. 51).] To clarify this distinction, the Court provided the below

   rationale in discussing whether the prospective injury alleged by the Koons Plaintiffs and the

   Siegel Plaintiffs, respectively, was concrete, particularized, and actual or imminent:

                  Both the Koons Plaintiffs and Siegel Plaintiffs allege, generally,
                  that they have visited the challenged “sensitive places” in the
                  past. However, the Court is not satisfied that the threat of
                  criminal penalty for not abiding by the requirements of Chapter
                  131 is imminent based on such allegations alone. What
                  distinguishes the limited, challenged “sensitive places” in Koons
                  from the longer list of challenged places [in Siegel] is that in Koons
                  the sensitive places were not only “generally open to the public
                  and where ordinary persons like Plaintiffs would be expected to
                  frequent upon occasion,” but also places where the Koons
                  Plaintiffs visited as part of their ordinary, daily routines. Thus,
                  the Court could determine from the Koons Plaintiffs’ sworn
                  declarations that the threat of criminal penalty was imminent if
                  the Court did not temporarily enjoin enforcement of the

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                    applicable provisions. Conversely, [in Siegel,] there is no
                    imminent threat of criminal penalty in places infrequently visited
                    by Plaintiffs or locations where Plaintiffs make plans far in
                    advance to visit and thus, are not likely to be a part of or
                    “happened upon” as part of the Plaintiffs’ ordinary, daily
                    routines.

   [Id. at 15 (citations omitted).] Also applicable at the PI phase of litigation is the Court’s earlier

   finding that “once one plaintiff is found to have standing as to a claim, the Court need not

   inquire as to the standing of other plaintiffs on that claim for purposes of the Motion.” 29 [Siegel

   TRO Op. at 14–15 (citing Bd. of Educ. of Indep. Sch. Dist. No. 92 v. Earls, 536 U.S. 822, 826 n.1

   (2002)).]

           On the one hand, “[s]tanding is not dispensed in gross,” and Plaintiffs “must

   demonstrate standing for each claim,” as well as “for each form of relief that is sought.” Davis,

   554 U.S. at 734 (first quoting Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996); then quoting Daimler

   Chrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006)). Accordingly, Plaintiffs must demonstrate

   standing as to each of the sensitive places covered by the challenged provisions, including

   those that cover more than one category or subcategory of an enumerated “sensitive place”

   (such as N.J. Stat. Ann. § 2C:58-4.6(a)(21), which is applicable in over twenty different types

   of medical and treatment facilities).

           On the other hand, Plaintiffs’ declarations should not be held to some overly

   exhaustive standard to establish Article III standing, provided that the prospective injury they

   face is, in fact, (1) “concrete, particularized, and actual or imminent; ([2]) . . . likely caused

   by [the State]; and ([3]) . . . likely [redressable] by judicial relief.” Ramirez, 141 S. Ct. at 2203




   29
     It is also true that “[e]very class member must have Article III standing in order to recover individual damages.”
   Ramirez, 141 S.Ct. at 2208 (emphasis added). However, individual damages are not applicable at the current PI
   phase of litigation.
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   (citing Lujan, 504 U.S. at 560). Again, the Court rejects the notion that Plaintiffs must allege

   the precise date and time on which they intend to next visit each of Chapter 131’s long list of

   sensitive places.   Such a burden is not only too demanding given Article III standing

   requirements as restated by the Ramirez Court, but also impractical. As the Court explained

   at the TRO phase, “people’s lives do not necessarily lay out into a scheduling book that run[s]

   six months or a year . . . into the future,” and some provisions even contain catch-all

   categories, including Chapter 131’s handgun ban in all entertainment facilities “including but

   not limited to” those enumerated. [Koons TRO Op. at 25.]

          The Court now considers, in turn, the three requirements to establish Article III

   standing and whether Plaintiffs have met their burden with respect to the sensitive place laws

   they challenge.

                         a.     Whether Plaintiffs Have Shown a Prospective Injury that is
                                Concrete, Particularized, and Imminent

          Before considering whether Plaintiffs’ sworn declarations demonstrate a prospective

   injury that is concrete, particularized, and actual or imminent, the Court makes two initial

   observations. First, the individual Plaintiffs who assert standing to challenge these sensitive

   place laws are persons who already hold valid handgun carry permits from the State. Thus,

   the Court incorporates its prior finding—which the parties do not dispute—that the

   prospective injury alleged by Plaintiffs in the form of significant potential criminal penalties

   is particularized. [See Koons TRO Op. at 22 n.7.] After all, the very same underlying conduct

   of carrying a handgun, for which these individuals hold a license from the State to engage in,

   generally, is now criminalized by the State. Second, considering the procedural posture of

   this case and what constitutes a sufficiently actual or imminent injury for purposes of the

   pending motions, any preliminary restraints issued by this Court will remain in effect during

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   the pendency of any appeal or this Court’s ruling on a permanent injunction after discovery

   has concluded, which could potentially take years.

           The Court now considers whether Plaintiffs’ prospective injury in each of the

   challenged sensitive places is sufficiently concrete and imminent, which Plaintiffs can

   establish by alleging an intent “to return to the places they had visited before—where they

   will presumably” be deprived of their Second Amendment rights to carry a handgun for self-

   defense.    Lujan, 504 U.S. at 564.           By contrast, “‘some day’ intentions—without any

   description of concrete plans, or indeed even any specification of when the some day will be—

   do not support a finding of the ‘actual or imminent’ injury.” Id. (citations omitted).

           Public Gatherings or Demonstrations Requiring a Government Permit: The Court finds

   that Plaintiffs have shown a sufficiently concrete and imminent prospective injury with

   respect to Chapter 131’s handgun ban “within 100 feet of a place for a public gathering,

   demonstration or event is held for which a government permit is required, during the conduct

   of such gathering, demonstration or event.” N.J. Stat. Ann. § 2C:58-4.6(a)(6). In short, the

   parties no longer quarrel over whether a “public gathering” will even occur in New Jersey

   during the pendency of the next phase of litigation. 30 Many of the Siegel Plaintiffs also

   specifically aver that they regularly will encounter such public gatherings “from time to time.”

   [See, e.g., Siegel Decl. ¶ 23, (Siegel Docket No. 8-2).]

           Zoos: As to Zoos, Plaintiff Siegel has plans to take his son to the Turtle Back Zoo on

   May 25, 2023. [Siegel First Supp. Decl. ¶ 5 (Docket No. 64).] Plaintiff Cook also has concrete



   30
      At oral argument on their TRO motion, the Siegel Plaintiffs previously withdrew their application for
   temporary restraints as to this provision. This concession was made after the State expressed a concern that a
   “public gathering” might not even occur during the relatively short TRO phase of litigation. [See Siegel TRO
   Op. at 19–20 (Docket No. 51).] In response, the State agreed to withdraw their standing challenge until the
   longer PI phase of litigation. [Id. at 20.]
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   plans to visit the Popcorn Zoo in Forked River on May 20, 2023. [Cook First Supp. Decl. ¶

   2 (Docket No. 65).] Plaintiff DeLuca plans to visit the Cape May Zoo with his wife over the

   upcoming Memorial Day weekend and will refrain from carrying his handgun because of

   Chapter 131. [DeLuca First Supp. Decl. ¶ 2 (Docket No. 66).] Accordingly, Plaintiffs have

   shown a concrete and imminent prospective injury at zoos.

          Parks, Beaches, Recreational Facilities, and Playgrounds: Both the Koons and Siegel

   Plaintiffs challenge Chapter 131’s handgun ban at parks, beaches, recreational facilities, and

   playgrounds, N.J. Stat. Ann. § 2C:58-4.6(a)(10), and the Siegel Plaintiffs challenge a related,

   preexisting New Jersey regulation banning firearms in state parks, N.J. Admin. Code. § 7:2-

   2.17(b). The Court is satisfied that these laws touch upon places frequented by Plaintiffs as

   part of their daily lives where they can no longer carry their handguns without fear of criminal

   prosecution. For example, Plaintiff Siegel avers that he frequently hikes and walks his dog in

   public parks near his home and goes to publicly owned beaches, including Wildwood, in New

   Jersey. [Siegel Decl. ¶ 11 (Siegel Docket No. 8-2).] Plaintiff Cook also enjoys State parks and

   public beaches several times per month in Seaside, Avon, Belmar, Point Pleasant, and

   Manasquan New Jersey. [Cook Decl. ¶ 8 (Siegel Docket No. 8-3).] Plaintiff Tal, who joined

   as a Koons Plaintiff after the filing of the Amended Complaint, also lives near several parks,

   including Holmdel Park, Manasquan Reservoir, and Dorbrook Recreation Area (all part of

   the Monmouth County Park System). [Tal Decl. ¶ 20 (Docket No. 70).] Similarly, Plaintiff

   Gaudio lives near several parks in the Camden County Park System and submitted a

   supplemental declaration explaining that “around the time of Chapter 131’s enactment, the

   Camden County Board of Commissioners” passed a restriction on carrying any firearm in

   any sensitive area within Camden County. [Gaudio Supp. Decl. ¶ 3 (Docket No. 71).]


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   Importantly, they aver that they would carry a handgun when frequenting these places if

   permitted by New Jersey law. Thus, the Court finds that Plaintiffs have met the first prong

   of the Ramirez standing inquiry to challenge to N.J. Stat. Ann. § 2C:58-4.6(a)(10) and N.J.

   Admin. Code § 7:2-2.17(b).

          Youth Sports Events: As to Chapter 131’s handgun ban at Youth Sports Events,

   Plaintiff Siegel avers that he regularly takes his son to Tae Kwan Do classes at a martial arts

   school located in a strip mall, as well as to Tae Kwan Do competitions. [Siegel Decl. ¶ 12

   (Siegel Docket No. 8-2). Based on these allegations, the Court is satisfied that Plaintiff Siegel’s

   son will continue to participate in such Tae Kwan Do classes and competitions as this suit

   proceeds and, thus, that Plaintiffs have demonstrated a concrete and imminent injury to

   challenge that provision of Chapter 131, N.J. Stat. Ann. § 2C:58-4.6(a)(11).

          Public Libraries and Museums: Plaintiffs have also shown a concrete and imminent

   injury sufficient to challenge Chapter 131’s handgun ban at public libraries and museums,

   N.J. Stat. Ann. § 2C:58-4.6(a)(12). Although Plaintiff Muller does not recall visiting a

   museum since obtaining a concealed carry permit, he has carried a handgun “while visiting

   the library.” [Muller Decl. ¶ 10 (Docket No. 12).] Plaintiff Siegel also “frequently take[s]

   [his] son to museums throughout New Jersey [and] the public library.” [Siegel Decl. ¶ 13

   (Siegel Docket No. 8-2).]. In addition, the Court incorporates its prior finding that public

   libraries and museums are places “generally open to the public” and places where many

   individuals like Plaintiff Siegel can be “expected to frequent” as part of their ordinary, daily

   lives. [Koons TRO Op. at 24 (Docket No. 34).]

          Bars and Restaurants Where Alcohol is Served: As to Chapter 131’s handgun ban at bars

   and restaurants that serve alcohol, N.J. Stat. Ann. § 2C:58-4.6(a)(15), the Koons Plaintiffs each


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   aver that on many occasions they have carried their handguns at bars and restaurants that

   serve alcohol, and they have visited such locations even though some do not consume alcohol.

   [See Koons Decl. ¶ 9; Gaudio Decl. ¶ 9; Muller Decl. ¶ 9 (Docket Nos. 10–12).] Plaintiff

   DeLuca’s brother owns a restaurant at South Jersey Regional Airport in Lumberton, New

   Jersey, and DeLuca is allowed to carry a handgun there per the bar’s own policies when he

   visits. [DeLuca Supp. Decl. ¶ 3 (Docket No. 66).] The Court is also convinced that bars and

   restaurants are establishments where ordinary members of the public, like Plaintiffs, will

   continue to frequent as a regular part of their day-to-day lives.

          Entertainment Facilities: For Chapter 131’s handgun ban at entertainment facilities,

   N.J. Stat. Ann. § 2C:58-4.6(a)(17), Plaintiffs provide many examples of different types of

   entertainment facilities they frequent. Plaintiff Muller has carried a handgun “at music events

   conducted in public arenas and in theaters.” [Muller Decl. ¶ 10 (Docket No. 12).] Plaintiff

   Siegel and his family go to movies together “one or two times per month” and he also attends

   concerts at different venues throughout New Jersey. [Siegel Decl. ¶ 16 (Siegel Docket No. 8-

   2).] Sometimes, Plaintiff Siegel attends hockey games in Newark. [Id. ¶ 17.] From time to

   time, Plaintiff Cook goes to the movies, concerts, the Medieval Times theatre, and races at

   the Atco Dragway racetrack in Waterford Township, New Jersey. [Cook Decl. ¶¶ 12, 16

   (Siegel Docket No. 8-3).] Accordingly, Plaintiffs face a concrete and imminent prospective

   injury at entertainment facilities.

          Casinos:    As to Chapter 131’s handgun ban at Casinos, N.J. Stat. Ann. §

   2C:58-4.6(a)(18), as well as the related New Jersey’s Division of Gaming regulation barring

   firearms in casinos, N.J. Admin. Code § 13:69D–1.13, the Court finds Plaintiffs have

   demonstrated a concrete and imminent prospective injury. Plaintiffs Cook and DeLuca each


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   enjoy trips to the Atlantic City casinos once per month. [Cook Decl. ¶ 15; DeLuca Decl. ¶

   10 (Siegel Docket Nos. 8-3, 8-4).] Additionally, Plaintiff DeLuca visits a friend who lives on

   a boat in Farley State Marina and must traverse casino property to access the Marina.

   [DeLuca Decl. ¶ 11 (Siegel Docket No. 8-4).] Plaintiff Siegel avers that he too enjoys regular

   trips to the Atlantic City casinos. [Siegel Decl. ¶ 18 (Siegel Docket No. 8-2).] Plaintiff Muller

   has carried a handgun “while attending trade shows at casinos . . . held in conference rooms

   away from the gambling floors.” [Muller Decl. ¶ 10 (Docket No. 12).] Accordingly, Plaintiffs

   have set forth sufficient facts to establish standing as to casinos.

          Airports and Transportation Hubs: For Chapter 131’s handgun bans at airports and

   transportation hubs, N.J. Stat. Ann. § 2C:58-4.6(a)(20), the Court find that Plaintiffs have met

   their standing burden. Plaintiff Tal “would carry a handgun in connection with using [his]

   airplane,” which he uses two to three times per week, weather permitting, and lands at

   airports throughout the region including in New Jersey. [Tal Decl. ¶ 19 (Docket No. 70).]

   Plaintiff Tal asserts that, if permitted, he “would carry a handgun while using public

   transportation and public transportation hubs.” [Id. at 21.] Plaintiff Gaudio avers that he has

   checked a gun in his baggage since becoming a non-resident carry permit holder in Florida in

   2009, but now travels without a handgun because there is no longer a way to transport a

   handgun in New Jersey from a vehicle to the baggage counter. [Gaudio Supp. Decl. ¶ 6

   (Docket No. 71).] “From time to time,” Plaintiff Siegel drives friends and family to and from

   Newark Airport. [Siegel Decl. ¶ 20 (Siegel Docket No. 8-2).] Plaintiff Siegel also sometimes

   attends New Jersey Devils hockey games at the Prudential Center in Newark and takes the

   bus or train. [Id. ¶ 17.] When taking the train, his trip terminates at Newark Penn Station.

   [Id. ¶ 18.] Plaintiff Cook will be dropping family off at the Newark Airport for a pre-planned


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   trip to Florida on June 22, 2023. [Cook Supp. Decl. ¶ 3 (Docket No. 65).] Plaintiff Varga

   will be flying from Newark Airport in mid-June 2023 to attend a work event and would bring

   his handgun to transport in checked baggage if he did not fear prosecution for violating

   Chapter 131. [Varga Supp. Decl. ¶ 4 (Docket No. 67).] Plaintiffs also submitted a Declaration

   for Association of New Jersey Rifle & Pistol Clubs, Inc. member Ronald D’Angelo, who

   owns and flies small airplanes once or twice per week at various New Jersey airports,

   including Lakewood Airport, Old Bridge Airport, Trenton Airport, Cape May/Wildwood

   Airport, and Atlantic City Airport; he also spends four or five days per week at Monmouth

   Executive Airport maintaining his plane. [D’Angelo Decl. ¶ 2 (Docket No. 100).] The Court

   concludes that Plaintiffs have met their standing burden as to airports and transportation

   hubs.

           Health Care Facilities: The Court finds that Plaintiffs have standing to challenge

   Chapter 131’s handgun ban at health care facilities, N.J. Stat. Ann. § 2C:58-4.6(a)(21), but

   only as to medical offices and ambulatory care facilities frequented by the individual

   Plaintiffs. The Court finds that the definition under the new legislation is undefined, is overly

   broad, and, therefore, at this stage of the proceedings, the Court limits its standing analysis to

   the facilities specifically named by Plaintiffs in this litigation.

           As to medical offices, Plaintiff Muller has “carried [his] handgun during appointments

   with both [his] physician and the dentist.” [Muller Decl. ¶ 10 (Docket No. 12).] Similarly,

   Plaintiff Gaudio has carried a handgun while visiting health care facilities, including his

   primary care physician, dentist, and his daughters’ pediatrician, among others. [Gaudio

   Supp. Decl. ¶ 7 (Docket No. 71).] Plaintiff Siegel also has upcoming appointments with his

   dentist and anesthesiologist/pain management specialist for chronic degenerative disc disease


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   and spinal stenosis; he avers that he could carry his handgun with him to these appointments

   notwithstanding Chapter 131. [Siegel Supp. Decl. ¶¶ 3–4 (Docket No. 64).] Plaintiff Varga

   is regularly treated by a chiropractor, either weekly or biweekly, whose internal policies

   permit handgun carry notwithstanding the new law. [Varga Supp. Decl. ¶ 5 (Docket No. 67).]

          As to ambulatory care facilities, Plaintiff Siegel is a practicing nurse practitioner who

   works “variously at medical offices and medical boarding homes,” including Skylands Urgent

   Care in Lake Hopatcong, New Jersey and Free Clinic Newton in Newton, New Jersey.

   [Siegel Supp. Decl. ¶ 2 (Docket No. 64).] According to Siegel, Skylands Urgent Care would

   allow him to carry a handgun notwithstanding Chapter 131. [Id. ¶ 8.]

          General hospitals are indeed a closer call. Plaintiffs do not specify whether visits to

   their general physicians occur in a general hospital or medical office. Regardless, Plaintiffs

   attend routine chiropractor and dentist appointments, making it clear that there is an

   imminent and concrete threat at medical offices. Plaintiff Gaudio made an unplanned trip to

   the emergency room after his daughter was in a car accident mid-December. [Gaudio Supp.

   Decl. ¶ 7 (Docket No. 71).] But notions of unplanned, medical emergencies undermine the

   requisite showing here that Plaintiffs face a concrete and imminent injury. Plaintiff Tal

   “works at a men’s health clinic in Parsippany, New Jersey.” [Tal Decl. ¶ 3 (Docket No. 70).]

   Chapter 131’s handgun ban applies at “public health centers”; however, it is the Court’s

   understanding that such institutions are commonly understood to refer to community-focused

   institutions run by the State to promote certain public health initiatives, which is distinct and

   separate from a men’s health clinic.

          The Court finds that Plaintiffs have not met their standing burden as to the following

   types of medical facilities listed in Chapter 131: general hospital, special hospital, psychiatric


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   hospital, public health center, diagnostic center, treatment center, rehabilitation center,

   extended care facility, skilled nursing home, nursing home, intermediate care facility,

   tuberculosis hospital, chronic disease hospital, maternity hospital, outpatient clinic,

   dispensary, assisted living center, home health care agency, residential treatment facility, and

   residential health care facility. Further, nothing in Plaintiffs’ Declarations supports their

   standing to challenge Chapter 131’s handgun ban at medical facilities that provide addiction

   or mental health services and are licensed or regulated by applicable State agencies, N.J. Stat.

   Ann. § 2C:58-4.6(a)(22). Thus, Plaintiffs lack standing to challenge that provision of Chapter

   131, as well.

          Public Film Locations: The Court is satisfied that Plaintiffs have shown a concrete and

   imminent injury as to Chapter 131’s handgun ban at public film sets, N.J. Stat. Ann. §

   2C:58-4.6(a)(23). Plaintiff Cook likes to visit movie sets, including filming in Middletown,

   New Jersey during March and April 2023 of “Mean Girls The Musical.” [Cook First Supp.

   Decl. ¶ 5 (Docket No. 65).] He also would like to see filming for “Joker 2,” which will occur

   in New Jersey this year. [Cook Second Supp. Decl. ¶ 3 (Docket No. 98).] And Plaintiff Cook

   recently stumbled on a filming location while lawfully carrying a handgun at the Monmouth

   Mall in Middletown, New Jersey, where scenes for the television show The Walking Dead

   were being filmed. [Cook Third Supp. Decl. ¶¶ 2-3 (Docket No. 115).] Plaintiff Cook

   “immediately turned around and left the mall” out of fear of arrest and prosecution. [Id. at

   ¶¶ 3-4.] The Siegel Plaintiffs also filed a declaration from Association of New Jersey Rifle &

   Pistol Clubs, Inc. member Ria Jairam, who has a Carry Permit and would use it while filming

   videos for YouTube. [Jairam Decl. ¶¶ 6, 12 (Docket No. 68).] Therefore, the Court finds that

   Plaintiffs have met their standing burden as to public film sets.


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          Fish and Game Restrictions: As to the Fish and Game Restrictions, Plaintiff Siegel

   avers that “every year, I take my son deer hunting in the woods and fields of New Jersey.”

   [Siegel Decl. ¶ 15 (Siegel Docket No. 8-2).] At the TRO phase, the Court found that there was

   no imminent threat as to the Fish and Game Restrictions because “deer season in New Jersey

   is in the late autumn and early winter.” [Siegel TRO Op. at 19.] However, such concern is

   no longer applicable, and the Court’s ruling on the pending motions will likely be applicable

   at least through deer season this year. Thus, the Court finds that Siegel Plaintiffs have shown

   a prospective injury that is imminent and concrete during the now relevant timeframe.

          But this Court finds the Siegel Plaintiffs lack standing to challenge the Fish and Game

   Restrictions barring “firearm[s] of any kind . . . within the limits of a state game refuge.” N.J.

   Admin. Code § 7:25-5.23(i). No Siegel Plaintiff, including Siegel himself, has declared an

   intent to visit a state game refuge (ever or during this lawsuit), so the Siegel Plaintiffs lack a

   cognizable interest in challenging that provision. The Court also questions the propriety of

   the challenge, as the provision appears calculated to protect animals from hunters in

   designated state game refuges. In any event, this Court dismisses the Siegel Plaintiffs’

   challenge to N.J. Admin. Code § 7:25-5.23(i), without prejudice.

          Private Property and Vehicles: Finally, the Court considers Chapter 131’s handgun ban

   on all private property unless consent is given, and the law’s prohibition on functional

   firearms in vehicles. N.J. Stat. Ann. § 2C:58-4.6(a)(24), (b)(1). This Court incorporates its

   earlier findings that such restrictions applicable on all private property without express

   consent and on carrying functional firearms in vehicles, respectively, both sweep so broadly

   that there is no doubt that Plaintiffs have demonstrated a concrete and imminent injury.

   [Siegel TRO Op. at 16.] Not only are these provisions applicable to the vast majority of New


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   Jersey, but also Plaintiffs have averred that their daily routines have involved shopping,

   driving, and doing business at many privately-owned businesses throughout the State. [See,

   e.g., Koons Decl. ¶ 9 (Docket No. 10).] Plaintiff Koons also specifically avers that once he

   received his Carry Permit in October 2022, he carried “while driving or riding in a car.” [Id.

   ¶ 9.] Plaintiff Muller would also “normally” carry a handgun while driving in his car (or in

   anyone else’s) and would carry the handgun in a holster on his person so that it was available

   and usable in case of an attack. [Muller Decl. ¶ 13 (Docket No. 12).] Obviously, § 2C:58-

   4.6(a)(24) covers locations generally open to the public where ordinary persons, including

   Plaintiffs, would be expected to frequent as part of their daily lives. [See Siegel TRO Op. at

   15.] Accordingly, Plaintiffs’ threatened prospective injury is both concrete and imminent with

   respect to both of these sweeping provisions.31

                             b.       Plaintiffs’ Demonstrated Injury is Likely Caused by the State

           The Court finds that Plaintiffs have clearly met the second requirement of Article III

   standing, given that the named State officials are directly responsible for enforcing the

   criminal laws of New Jersey and the Intervenor-Defendants are directly responsible, in part,

   for Chapter 131’s enactment. At the TRO hearing in Koons, the Court further explored the

   threat of prosecution for violations of Chapter 131. However, the State would not agree to

   forego prosecution of applicable laws, and their position remains unchanged. [Koons TRO




   31
     The Siegel Plaintiffs also challenge Chapter 131’s language preceding the sensitive places designation that states
   the law’s handgun ban applies “in or upon any part of the buildings, grounds, or parking area” of the designated
   sensitive place. N.J. Stat. Ann. § 2C:58-4.6(a). They also challenge N.J. Stat. Ann. § 2C:39-5(e)’s language
   making it unlawful to carry a firearm “upon any part of the buildings or grounds of any school, college, university,
   or other educational institution.” (emphasis added on challenged language). This Court specifically addressed
   these challenges at the TRO stage, denying them as moot given the State’s interpretation of “school” and Chapter
   131’s exemption when traveling on a right-of-way that touches or crosses a designated sensitive place. [Siegel
   TRO Op. at 41–43 (Docket No. 51).] The Court sees no need to address the Siegel Plaintiffs’ challenges again.
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   Op. at 26.] Therefore, the Court concludes that the injuries that Plaintiffs have identified are

   likely caused by the State.

                          c.     Plaintiffs’ Demonstrated Injury is Redressable by Judicial
                                 Relief

          The final prong Plaintiffs must satisfy to establish standing “requires a showing that

   ‘the injury will be redressed by a favorable decision’” from this Court. Toll Bros. v. Twp. of

   Readington, 555 F.3d 131, 142 (3d Cir. 2009) (quoting Friends of the Earth, Inc. v. Laidlaw Envtl.

   Servs. (TOC), Inc., 528 U.S. 1671 181 (2000)). At the TRO phase, the Court previously found

   that the Siegel Plaintiffs’ sworn declarations created a traceability issue with respect to zoos

   and medical facilities by alleging that they routinely visit certain, named institutions in New

   Jersey, but not explaining that these private institutions would otherwise permit Carry Permit

   holders like Plaintiffs to carry on the premises. [Siegel TRO Op. at 17.] It is true “that the

   traceability element is akin to ‘but for’ causation in tort.” LaSpina v. SEIU Pa. State Council,

   985 F.3d 278, 284 (3d Cir. 2021). At the same time, redressability does not require a degree

   of “mathematical certainty” and the requirement is met when there is a “substantial likelihood

   that the requested relief will remedy the alleged injury in fact.” Toll Bros., 555 F.3d at 143

   (citations omitted).

          In its opposition brief, the State expands its traceability argument and suggests that

   Plaintiffs have similarly failed to demonstrate that they would be permitted to carry at Tae

   Kwon Do competitions, public libraries and museums, and bars and restaurants they frequent

   as part of their day-to-day lives. [State Opp’n Br. at 42–46 (Docket No. 91).] The traceability

   issue was also further compounded with respect to casinos when the State filed a certification

   after the TRO phase from the Director of the Division of Gaming Enforcement. [Rebuck

   Supp. Cert. ¶¶ 2–5 (Docket No. 105-1).] The State argues that Plaintiffs cannot meet the third

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   standing prong because “each of the nine casino hotels in Atlantic city have posted signage

   prohibiting firearms on their premises.” [Id. ¶ 4.] However, at oral argument, the State made

   an important concession regarding the traceability issue that undermines its position:

                  THE COURT: The [Casino] says no firearms allowed, A18 is on
                  the books. When Mr. Koons walks into the casino, is he getting
                  prosecuted for trespassing or A18?

                  [THE STATE’S COUNSEL]: It could be either, Your Honor.

   [Tr. at 98:19–98:22.]

          Which charging decision will ultimately be made by the State is especially critical to

   Plaintiffs. Before Chapter 131, the charge for carrying a handgun at a zoo, casino, public

   library or museum, bar, restaurant, Tae Kwon Do competition, or medical facility where the

   offender knew he or she was not licensed or privileged to do so was a petty disorderly persons

   offense. N.J. Stat. Ann. § 2C:18-3(b). This includes such conduct at a private business that

   posted a “no guns allowed” sign “in a manner prescribed by law or reasonably likely to come

   to the attention of intruders.” Id. § (b)(3). Petty disorderly persons offenses are punishable by

   a maximum term of imprisonment of 30 days and fine not to exceed $500. N.J. Stat. Ann. §§

   2C:43-3, -8.   However, Chapter 131’s new sensitive place restrictions, which became

   effectively immediately, significantly increases the maximum criminal penalty for the same

   offender who now knowingly brings a handgun to any sensitive place in New Jersey. Under

   Chapter 131, the State may choose to prosecute the same offender with a third-degree offense,

   for which the potential penalty increases to between 3- and 5-years imprisonment and a

   $15,000 fine. N.J. Stat. Ann. §§ 2C:43-3, 6(a)(3).

          The State’s argument on the traceability issue is nothing more than a red herring. That

   New Jersey’s casinos have banded together to declare that guns are unwelcome at their


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   gaming facilities does not defeat Plaintiffs’ standing to challenge Chapter 131’s handgun ban

   at casinos and the related gaming regulation. Courts examine a plaintiff’s standing at the time

   the “suit was filed” and “[e]vents that occur subsequent to the filing of a complaint will not

   prevent a plaintiff from establishing standing which existed at the time of the pleadings.”

   Roman Catholic Diocese of Dallas v. Sebelius, 927 F. Supp. 2d 406, 416 (N.D. Tex. 2013)

   (collecting cases). The casinos’ decision to affirmatively ban handguns from their facilities

   came after Plaintiffs filed their lawsuits and, thus, the casinos’ actions do not divest Plaintiffs

   of their standing. Freeport-McMoRan, Inc. v. K N Energy, Inc., 498 U.S. 426, 428 (1991) (“We

   have consistently held that if jurisdiction exists at the time an action is commenced, such

   jurisdiction may not be divested by subsequent events.”)

           In any event, the Court finds that there is a strong likelihood that the emergent

   injunctive relief requested by Plaintiffs would remedy the injury they allege.                             More

   specifically, an injunction from this Court would undoubtedly remedy the potential and

   significant criminal penalties that Plaintiffs now face for violating Chapter 131. Put simply,

   such significant potential penalties did not exist before the new law. The State did previously

   have sensitive place laws on the books banning firearms in casinos, state parks, and

   educational institutions. N.J. Admin. Code §§ 13:69D-1.13, 7:2-2.17; and N.J. Stat. Ann. §

   2C:39-5(e).     Regardless, the inquiry is not whether Plaintiffs’ handgun carry would be

   endorsed or expressly permitted by any zoo in the State, 32 but whether the Court can remedy


   32
     Like casinos, the State argues that zoos “maintain policies prohibiting firearms outright.” [State Opp’n Br. at
   37 (Docket No. 91).] However, the only supporting documentation provided in support is a webpage of rules
   applicable at the Turtle Back Zoo, which among other things, prohibits “weapons” of any kind, including
   “balloons, piñatas, radios, bikes, skateboards, scooters, coolers, and alcoholic beverages.” [Cia Decl., Vol. I,
   Ex. 49A (Docket No. 88-49).] At best, this establishes that handguns may be prohibited weapons at the Turtle
   Back Zoo. However, the zoo’s internal policy does not establish that Plaintiffs’ purported injury of significantly
   heightened potential criminal penalties for such conduct is not capable of being redressed by judicial relief. The


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   the prospective injury Plaintiffs face. Because the Court can remedy the significant criminal

   penalties Plaintiffs now face under Chapter 131, Plaintiffs have also satisfied the final

   requirement to establish Article III standing.

                     2.       Constitutionality of Chapter 131’s Handgun Ban at the Challenged
                              “Sensitive Places”

            Having found standing, this Court next considers whether Plaintiffs are likely to

   prevail on their Second Amendment and other constitutional challenges to Chapter 131’s

   handgun ban at the enumerated “sensitive places” and certain related firearm laws. Before

   doing so, the Court first addresses two overarching arguments that the State advances to

   justify Chapter 131’s “sensitive place” designations for government property.

                              a.       Government Property

            Specifically, the State argues that certain sensitive places—“like public libraries,

   airports and transit hubs, public buses, and government-owned entertainment facilities and

   hospitals”—are exempt from this Court’s Second Amendment scrutiny because in such

   locations the government is acting as an ordinary proprietor and thus has the power to

   regulate (or prohibit) firearms on its property. [State Opp’n Br. at 23, 24–28 (Docket No. 91).]

   Additionally, throughout its brief, the State contends that government-owned properties are

   akin to “government buildings” under Bruen (and its predecessors) and, thus, by virtue of this

   seemingly talismanic incantation, that they are “sensitive locations” in which a presumptive

   right to carry does not exist. [See, e.g., id. at 44, 62.] The former argument is false; the latter

   argument is overstated.            The Court discusses each of these arguments in turn before




   State also has failed to show that the other zoos the Siegel Plaintiffs have declared that they visit likewise prohibit
   firearms.


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   considering the challenged “sensitive places.”

                               i.        The Second Amendment Generally Applies on
                                         Government-Owned Property

          First, the State argues that Plaintiffs cannot meet their burden of demonstrating that

   their conduct—conceal carrying for self-defense—falls within the scope of the Second

   Amendment anywhere where the State is acting “as proprietor,” rather than “as sovereign.”

   [See State Opp’n Br. at 23–28.] By this the State means that it—“like private property

   owners—has the power to regulate conduct on its property,” entitling it to control and to limit

   firearms without implicating a right protected by the Second Amendment. [See id. at 25

   (quoting United States v. Class, 930 F.3d 460, 464 (D.C. Cir. 2019)).] The State’s claim to such

   sweeping power is without adequate foundation.

          While it is certainly true that “the government has, with respect to its own lands, the

   rights of an ordinary proprietor, to maintain its possession and to prosecute trespassers . . . .

   [just] as a private individual” may, Camfield v. United States, 167 U.S. 518, 524 (1897); see also

   Adderley v. Florida, 385 U.S. 39, 47 (1966) (stating, in context of First Amendment challenge,

   that the government, “no less than a private owner of property, has power to preserve the

   property under its control for the use to which it is lawfully dedicated”), the State is not exempt

   from recognizing the protections afforded to individuals by the Constitution simply because

   it acts on government property. Cf., e.g., United States v. Kokinda, 497 U.S. 720, 725 (1990)

   (“The Government, even when acting in its proprietary capacity, does not enjoy absolute

   freedom from First Amendment constraints, as does a private business[.]”); id. at 732–33

   (holding that United States Postal Service (“USPS”) regulation prohibiting solicitation on

   postal premises does not violate the First Amendment because premises were construed as

   nonpublic forum and prohibition was reasonable to prevent disruption to USPS’s business

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   operation). This seems all too well-settled a proposition. The following cases that the State

   cites are not to the contrary; they do not support its government-as-proprietor theory that the

   State has such plenary power.

          In Adderley, a crowd of protesters gathered at a jail and blocked a non-public entrance

   and driveway, and after being asked to leave, some of the protesters were subsequently

   prosecuted for trespass. 385 U.S. at 45–46. Finding that the First Amendment was not

   violated, the Court explained that one does not have the right to “propagandize protests or

   views” “whenever and however and wherever” one pleases. 385 U.S. at 48. Thus, Adderley

   is merely an example of an instance in which individual free speech rights were afforded less

   protection where they were exercised at a non-public forum and interfered with other

   important governmental interests, not that the protesters were outside the scope of the First

   Amendment because the government owned the land.

          In Camfield, the Supreme Court found that an 1885 act—that prohibited enclosing

   public lands with fencing on adjoining private property and that provided for the removal of

   such fencing—was constitutional because the government retains “police power” over its own

   lands and the defendant-landowners’ enclosures, designed to discourage settlement on public

   lands, were clearly a nuisance permitting removal. 167 U.S. at 522, 524–25. Similarly,

   Camfield involves an application of proprietary power that did not abridge the property rights

   of neighboring landowners; it hardly stands for the proposition that government action on

   public lands need not comply with the Constitution’s individual guarantees.

          In Greer v. Spock, candidates for political office sought to distribute campaign literature

   at Fort Dix Military Reservation (“Fort Dix”) in central New Jersey but were denied access

   pursuant to a regulation barring such conduct without the prior written approval of the


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   Adjutant General. 424 U.S. 828, 831–33 (1976). Challenging the regulation as violative of

   the First and Fifth Amendments, the candidates successfully obtained a permanent injunction

   “prohibiting the military authorities from interfering with the making of political speeches or

   the distribution of leaflets in areas of Fort Dix open to the general public.” Id. at 834.

   Reversing the judgment below, the Greer Court held that the candidates had no such right at

   Fort Dix because military bases are not “a place for free public assembly and communication

   of thoughts by private citizens.” Id. at 838. Just as before, Greer does not support the State’s

   proposition. As the antithesis of a public forum, a military base may enjoy broad powers to

   exclude, but the Court situated Fort Dix within its First Amendment jurisprudence; it did not

   hold that the government authorities are “not subject to” individual rights because Fort Dix

   is “government-owned.” [State Opp’n Br. at 23–24.]

          Finally, in United States v. Ruckman, agents of the Bureau of Land Management

   searched the defendant’s makeshift “home” in a cave on federal lands in Utah and found

   various destructive devices. 806 F.2d 1471, 1471 (10th Cir. 1986). Seeking to suppress the

   agents’ search as a violation of the Fourth Amendment’s protection against warrantless

   searches and seizures, the defendant argued that he had a reasonable expectation of privacy

   in his cave-home. Id. at 1472. Explaining that the defendant was a trespasser on federal lands

   and could have been ousted at any moment, the court found that any expectation of privacy

   was unreasonable and, thus, the agents’ search did not violate the Fourth Amendment. Id. at

   1472–73. But because the court relied on the defendant’s status as a trespasser, it seems that

   Ruckman implicitly acknowledges that the government cannot conduct a search without a

   warrant simply because it owns the land. See id. at 1473 (“the Fourth Amendment protects

   people, and not places”) (quoting Katz v. United States, 389 U.S. 347, 353 (1967)).


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          As illustrated, the foregoing cases fail to establish that the State is free to ignore the

   Second Amendment merely because its act on the land it owns. Rather, the proposition that

   the State appears to be searching for is much more nuanced and limited: when the government

   is acting as an employer to manage its internal affairs, its powers are broader than when it is

   acting as a sovereign. See Engquist v. Or. Dep’t of Agr., 553 U.S. 591, 598 (2008) (“[T]here is a

   crucial difference, with respect to constitutional analysis, between the government exercising

   ‘the power to regulate or license, as lawmaker,’ and the government acting ‘as proprietor, to

   manage [its] internal operation.’”) (quoting Cafeteria & Restaurant Workers Union v. McElroy,

   367 U.S. 886, 896 (1961)); Waters v. Churchill, 511 U.S. 661, 671 (1994) (plurality opinion)

   (“the government as employer indeed has far broader powers than does the government as

   sovereign”).

          For instance, “when public employees make statements pursuant to their official duties,

   . . . the Constitution does not insulate their communications from employer discipline.”

   Garcetti v. Ceballos, 547 U.S. 410, 421 (2006) (emphasis added). Similarly, “the Fourth

   Amendment does not require public employers to obtain warrants before conducting a search

   of an employee’s office.” O’Connor v. Ortega, 480 U.S. 709, 721–22 (1987) (plurality opinion)

   (emphasis added). Moreover, while the Due Process Clause does not protect a public employee

   from discharge merely because the employer made a mistake or acted unreasonably, Bishop v.

   Wood, 426 U.S. 341, 350 (1976) (“The Due Process Clause of the Fourteenth Amendment is

   not a guarantee against incorrect or ill-advised personnel decisions.”), it does require a public

   employee with a property interest in continued employment to be afforded notice and an

   opportunity to be heard prior to termination, Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532,

   542 (1985).    Accordingly, what is most relevant to this Court’s analysis is that, though its


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   power is obviously not absolute, “government has significantly greater leeway in its dealings

   with citizen employees than it does when it brings its sovereign power to bear on citizens at

   large,” Engquist, 553 U.S. at 599, which is the case here.

          In the present case, the Court is not addressing whether the State can permissibly

   prohibit employees or contractors from carrying firearms on government property within the

   scope of their employment, nor whether such a right is presumptively protected by the text of

   the Second Amendment.           But these cases illustrate that, to the extent individual

   Constitutional rights are diminished where the government is acting as an “employer” or

   “proprietor” or “market participant,” allegations of government infringement are nevertheless

   resolved according to the applicable analytic framework. See, e.g., Garcetti, 547 U.S. at 419,

   421 (explaining that the test to determine whether an employee’s speech is presumptively

   protected by the First Amendment where the government is acting as an employer is to ask

   whether the speech is about a matter of public concern or made pursuant to the employee’s

   official duties). In other words, the State cannot succeed in claiming that the scope of

   Plaintiffs’ public carry right does not extend to government property simply because there the

   State is acting in its proprietary capacity to exclude firearms for some good reason.

          Still, the State suggests that United States v. Class, 930 F.3d 460 (D.C. Cir. 2019), Bonidy

   v. U.S. Postal Serv., 790 F.3d 1121 (10th Cir. 2015), and United States v. Tallion, 2022 WL

   17619254 (D. Md. Dec. 13, 2022)—all cases involving firearm restrictions on government

   property—support their government-as-proprietor theory. They do not.

          In Class, the D.C. Circuit considered whether a federal law prohibiting the possession

   of firearms on the grounds of the United States Capitol violated the Second Amendment as

   applied to the defendant who parked a car containing three firearms at a parking lot


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   approximately 1,000 feet from the entrance to the Capitol. 930 F.3d at 462. It concluded that

   the defendant’s conduct was outside the scope of the Second Amendment’s protections

   because the parking lot was “sufficiently integrated with the Capitol,” which it concluded was a

   sensitive place under Heller. Id. at 464 (emphasis added); see also id. at 463 (“there are few, if

   any, government buildings more ‘sensitive’ than the ‘national legislature at the very seat of its

   operations.’”) (citation omitted). That the defendant’s conduct occurred on government

   property nearby an especially sensitive place served as the basis for the court’s decision to

   construe the parking lot “as a single unit with the Capitol building” and, thus, to conclude

   that it too was sensitive and the prohibition presumptively lawful. Id. at 464. Here, the State

   asks this Court to ignore this critical inferential step of establishing that the government

   property at issue is, or is sufficiently integrated with, a sensitive place. Class does not establish

   that carrying firearms for self-defense on government-property is presumptively outside the

   scope of the Second Amendment’s protection. The State reads too much into Class.

          In Bonidy, a concealed carry permit holder sought to carry his firearm for self-defense

   in the parking lot of a U.S. Post Office in a remote ski town in Colorado, but a USPS

   regulation prohibited the storage and carriage of firearms on USPS property. 790 F.3d at

   1122–23. The court upheld the regulation for two separate reasons. First, like in Class, it

   found that the U.S. Post Office was a “government building” and, thus, a sensitive place

   under Heller. Id. at 1125. Construing the parking lot and the building as one, the court found

   that the permit holder did not enjoy a Second Amendment right to carry on the government

   property. Id. Second, employing a means-ends approach that was subsequently abrogated by

   Bruen, the court afforded USPS greater latitude to justify its regulation, in part, because USPS

   was acting in its proprietary capacity to manage post offices. Id. at 1126. Like the State here,


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   the court further drew a comparison to the Supreme Court’s Commerce Clause jurisprudence

   and distinguished between “States as market participants and States as market regulators.”

   Id. (citing Reeves, Inc. v. Stake, 447 U.S. 429, 436 (1980)). Finding that USPS was acting as a

   government-owned business in its proprietary capacity, the court concluded that its discretion

   was broad to adopt “the rules it deems appropriate.” Id. at 1127. The regulation, the court

   explained, “applies only to discrete parcels of land owned by [USPS],” “affects private

   citizens only insofar as they are doing business with the USPS,” and “is directly relevant to .

   . . providing a safe environment for its patrons and employees.” Id. USPS thus demonstrated

   that the challenged regulation was substantially related to an important governmental interest.

          By contrast, Judge Tymkovich would have found the USPS regulation

   unconstitutional as applied to the parking lot adjoining the U.S. Post Office building. Id. at

   1129 (Tymkovich, J., concurring in part, and dissenting in part). Importantly, he questioned

   the Bonidy court’s “presumption of lawfulness associated with sensitivity” in the adjacent

   parking lot, explaining that “the government’s interest may be unusually weak regarding a

   particular subcategory of [] property—it is not enough to say that every government building,

   lot, or park will be treated the same.” Id. at 1129, 1135. He further questioned whether Heller’s

   enumeration of presumptively lawful restrictions on firearms at “sensitive places” entails that

   the Second Amendment does not extend to government buildings. Id. at 1136 n.7. The better

   reading of Heller (and presumably Bruen too), he suggested, is that the list describes

   presumptively permissible limitations on the Second Amendment right, not cases in which

   the right is not burdened at all. Id. He wrote: “To say the right has not been extended to

   government buildings is to imply no plaintiff could ever successfully challenge a restriction in

   any government buildings. That goes too far.” Id.


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          As before, the State here would skip the Bonidy court’s more searching determination

   that the government property at issue is a “sensitive place.” They would conclude, as Judge

   Tymkovich discouraged, that all government property is sensitive. While a question remains

   whether the USPS regulation could survive scrutiny given Bruen, at least as applied to

   prohibition on public carry in USPS parking lots, this Court fails to see how the State’s

   proposed approach would square with Bonidy itself.

          Finally, United States v. Tallion, a post-Bruen case addressing a criminal defendant’s

   Second Amendment challenge to a regulation prohibiting the possession of firearms at the

   National Institutes of Health (“NIH”), similarly fails to persuade this Court of the State’s

   government-as-proprietor theory. There, the court upheld the regulation at Bruen Step Two,

   finding that prohibitions on carrying firearms in government buildings like the NIH campus

   were presumptively lawful (and that it need not conduct the historical analysis anew). Tallion,

   2022 WL 17619254, at *7. The Tallion court, however, only assumed arguendo that the

   defendant’s conduct implicated a right protected by the Second Amendment; it did not adopt

   any findings in this regard. Id. at *6. Importantly, the court rejected the government’s

   argument that it enjoyed the “absolute right to exclude and manage persons on its lands.” Id.

   at *4. Distinguishing Class and the government-as-proprietor theory, the Court explained that

   it “overstates its position.” Id. See also United States v. Marique, 2022 WL 17822443, at *4 (D.

   Md. Dec. 20, 2022) (rejecting similar argument in Second Amendment challenge to regulation

   prohibiting firearms on NIH campus by government contractor).

          Here, the Second Amendment cases that the State cites do not support the sweeping

   proposition that carrying for self-defense in public does not extend to any location in which

   the government owns the land.        In each of the cases cited, the courts found that the


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   government property was integrally connected to a government building that it regarded as a

   “sensitive place” where prohibition on carrying firearms is presumptively lawful. See Class,

   930 F.3d at 464; Bonidy, 790 F.3d at 1125; cf. Tallion, 2022 WL 17619254, at *8. The State

   cannot invoke their theory to skip this important inferential step. Additionally, to the extent

   that the challenged laws in Class, Bonidy, and Tallion all survive scrutiny under Bruen, Chapter

   131 is much less tailored to achieving any given interest of the various government entities at

   issue here. In other words, the State has failed to demonstrate how Chapter 131 involves the

   government acting as a proprietor, rather than as a sovereign. Indeed, the challenged law

   applies indiscriminately to the conduct of private citizens on government property, whether

   they be invitees, licensees, or trespassers, and irrespective of the choices of any particular

   government entity at issue. Violation does not result in discharge or trespass, but rather

   constitutes a separate and significant criminal offense. In the end, the State’s theory does not

   persuade this Court to approach Bruen Step One any differently. 33

                                   ii.        Government Buildings as “Sensitive Places” Where
                                              Carrying Firearms can be Prohibited Consistent with
                                              the Second Amendment

           Furthermore, the State suggests throughout its brief that under Bruen any prohibition

   on carrying firearms at a government building does not implicate a right presumptively

   protected by the Second Amendment. [See, e.g., State Opp’n Br. at 44, 62.] Their position is



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      The State also sets forth a different variation of its theory: that “when the government is acting as a ‘market
   participant’ rather than in its traditional sovereign/regulatory capacity—that is, when it is providing a good or
   service in the competitive private marketplace, like when it maintains a concert venue—the State is not subject
   to the ordinary constitutional restrictions that bind sovereigns.” [State Opp’n Br. at 26 (Docket No. 91).]
   Analytically, the Court finds the State’s theories to be without any relevant difference. They both seek to exempt
   government entities from the dictates of Bruen simply because they are acting as proprietors. But the Court has
   already explained why such a proposition lacks support. In this instance, the right of private actors to exclude
   firearms from their properties is beside the point; to the extent that a government entity can similarly exclude
   firearms, it is because a historical tradition justifies the exclusion. Market participation does not explain why
   Plaintiffs’ conduct fails to come within the scope of the Second Amendment.
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   overstated. Laws that prohibit firearms in sensitive places, such as schools and government

   buildings, typically comply with the Second Amendment; it is not the case necessarily that a

   right protected by the Second Amendment is not burdened at all, as the State would have this

   Court find.

          In Heller, the Court explained that its opinion should not be read to cast doubt on

   “longstanding prohibitions” on carrying firearms in sensitive places. 554. U.S. at 626. Citing

   Heller, the Bruen Court stated that it was “aware of no disputes regarding the lawfulness of

   such prohibitions” at, for example, legislative assemblies, polling places, and courthouses.

   142 S. Ct. at 2133. The Bruen Court further stated: “We therefore can assume it settled that

   these locations were ‘sensitive places’ where arms carrying could be prohibited consistent with

   the Second Amendment.” Id. But the Supreme Court’s discussion of such laws is situated in

   the context of its command that lower courts engage in analogical reasoning to determine

   whether modern and historical regulations are relevantly analogous—i.e., whether they

   impose a comparable burden on the right to armed self-defense and whether that burden is

   sufficiently justified. Id. Just because there is little 18th- and 19th-century evidence justifying

   sensitive place laws, the Court explained, does not mean that they cannot survive scrutiny

   under the Second Amendment. Id.

          Thus, this Court reads the Bruen discussion for the proposition that prohibitions on

   carrying firearms at government buildings tend not to violate the Second Amendment, but to

   the extent that a dispute arises concerning a prohibition at a particular government building,

   resolution will turn on whether analogies to historical regulations can justify the challenged

   law. In his seemingly prescient concurring opinion, Judge Tymkovich essentially adopted

   this position, noting that a prohibition’s presumption of lawfulness depends on the nature of


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   the government property at issue. See Bonidy, 790 F.3d at 1135 (Tymkovich, J., concurring in

   part, and dissenting in part) (“it is not enough to say that every government building, lot, or

   park will be treated the same.”); see id. at 1136 n.7 (“To say the right has not been extended

   to government buildings is to imply no plaintiff could ever successfully challenge a restriction

   in any government buildings. That goes too far.”). In other words, a USPS post office and

   parking lot are manifestly different from the U.S. Capitol and its surrounds. At this juncture,

   the Court does not attempt to categorize the relevant differences, as the Koons Plaintiffs urged

   during oral argument. [Tr. at 9–23.] Rather, this Court simply notes that it addresses the

   challenges to Chapter 131 involving government buildings independently and without resort

   to assuming that a right to carry for self-defense does not exist. To employ such assumption

   would seem to misunderstand and misrepresent the Bruen dicta. Whether the sensitive-place

   designations survive depends on whether the State can meet its burden of demonstrating a

   historical tradition that is well-established and representative as to such government buildings.

                         b.     Private Property: Chapter 131’s Default Rule Prohibiting
                                Firearms unless the Property Owner Expressly Consents

          As described above, and subject to certain exceptions and qualifications, Chapter 131

   prohibits the carrying of a concealed handgun on:

                 [P]rivate property, including but not limited to residential,
                 commercial,     industrial,     agricultural,   institutional  or
                 undeveloped property, unless the owner has provided express
                 consent or has posted a sign indicating that it is permissible to
                 carry on the premises a concealed handgun with a valid and
                 lawfully issued permit under N.J.S.A. 2C:58-4, provided that
                 nothing in this paragraph shall be construed to affect the
                 authority to keep or carry a firearm established under subsection
                 e. of N.J.S.A. 2C:39-6[.]

   N.J. Stat. Ann. § 2C:58-4.6(a)(24) (the “Default Rule”). In its prior TRO Opinions, the Court

   found that the Koons and Siegel Plaintiffs were likely to succeed in showing that the Default

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   Rule violates the Second Amendment because the law appears to implicate their right to carry

   for self-defense in public and the State could not demonstrate a sufficiently analogous

   historical tradition to justify the regulation. [Koons TRO Op. at 36–48 (Docket No. 34); Siegel

   TRO Op. at 36–41 (Docket No. 51).]                Accordingly, the Court temporarily restrained

   enforcement of the Default Rule. Id. In its preliminary analysis, however, the Court did not

   consider the Siegel Plaintiffs’ other arguments that the Default Rule constitutes separate,

   unconstitutional violations of the First Amendment and the Equal Protection Clause of the

   Fourteenth Amendment. At this stage, the Court revisits its analysis to address each of

   Plaintiffs’ constitutional challenges, in turn.

          Ultimately, the Court concludes that the Default Rule impermissibly burdens

   Plaintiffs’ Second Amendment right to carry for self-defense in public as applied to private

   property that is held open to the public and for which an implied invitation to enter is

   extended, but not on private property not held open to the public. Although it is not clear to the

   Court that Plaintiffs advocate a Second Amendment right to carry on private property that is

   not held open to the public, this Court’s Opinion clarifies this distinction anyways. As to such

   private property that is not held open to the public, an “anti-carry presumption” does not

   come within the scope of the right to carry for self-defense in public, and there the Default

   Rule does not violate the Second Amendment, nor does it violate the compelled speech

   doctrine or infringe the First Amendment or the Equal Protection Clause of the Fourteenth

   Amendment.

                               i.        The Default Rule and the Second Amendment’s Text

          The standard bears repeating: in Bruen, the Supreme Court refined the framework for

   lower courts to determine whether a firearms regulation is constitutional under the Second


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   Amendment. The threshold inquiry is to ascertain whether an individual’s proposed course

   of conduct implicates the plain text of the Second Amendment. Bruen, 142 S. Ct. at 2129–30.

   If it does, then “the Constitution presumptively protects that conduct,” and the burden of

   persuasion shifts to the government to justify the regulation by “demonstrating that it is

   consistent with the Nation’s historical tradition of firearm regulation.” Id. at 2130. Though

   the framework is undisputed by the parties as a general legal matter, considerable

   disagreement nonetheless exists at Step One regarding how to frame Plaintiffs’ conduct and

   the scope of their right to carry.

          For their part, the State asserts that the text of the Second Amendment is not implicated

   because there is no right “to carry on another’s private property in the absence of the property

   owner’s affirmative consent.” [State Opp’n Br. at 5 (Docket No. 91).] According to the State,

   the ability to carry a firearm on another’s property is “entirely derivative of the property

   holder’s choice to grant consent.” [Id.] Because a private property owner has the fundamental

   right to exclude individuals from—and, indeed, to qualify or condition their entry upon—the

   owner’s property, they argue that the Default Rule embodied in § 2C:58-4.6(a)(24) falls

   outside the scope of the Second Amendment. [Id. at 5–6.] Thus, Plaintiffs presumptively

   may carry “in public,” but not on private lands.

          Professors Ian Ayres and Fredrick Vars, as amici curiae, argue similarly. They accuse

   the Court, in its TRO Opinions, of displacing “centuries-old property rights” by finding that

   the Second Amendment guarantees “an individual right to bear arms on another’s property

   over that owner’s objection.” [Br. of Profs. of Prop. Law as Amici Curiae in Support of the

   State at 2 (Docket No. 93-2) (“Prop. Law Br.”).] More specifically, the amici press that the

   Court must make one of two findings for Plaintiffs’ conduct to be “covered” by the Second


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   Amendment’s plain text: either (1) the Second Amendment provides a right to carry on private

   property over the owner’s objection; or (2) the Second Amendment provides a right to a

   rebuttable presumption that one may carry onto private property unless the owner objects.

   [Id. at 14–15.] Cleverly framed in this dichotomous way, of course, the amici argue that

   neither survives scrutiny, as there is “no freestanding Second Amendment right to have a

   private owner’s silence regarding the issue of guns construed in a particular direction.” [Id.

   at 29.]

             Plaintiffs, by contrast, employ a more straightforward reading of the Step One inquiry.

   They contend that the Second Amendment’s text does not impose a “locational distinction.”

   The test is whether the right to carry for self-defense is implicated. Period. Because Plaintiffs

   seek to carry bearable arms for self-defense, the “undisputed facts end the textual inquiry,”

   [Koons PI Reply Br. at 4 (Docket No. 101)], and the Court should reject “New Jersey’s

   constant attempts to bake in other considerations.” [Siegel PI Reply Br. at 36 (Docket No.

   97).] Whether the Default Rule is permissible, then, simply turns on whether the State can

   satisfy Bruen’s requirement at Step Two to demonstrate a historical tradition to justify the

   provision, as Step One is clearly satisfied, they argue.

             The Supreme Court’s discussion of the “textual elements” of the Second Amendment

   helps to focus this Court’s consideration of what is, admittedly, a thorny question. 34 In Heller,



   34
     The Court recognizes that the question presented is a matter of contemporaneous debate in academic circles,
   too. In fact, amici, though not necessarily the progenitors of the concept, have written extensively on the “no-
   carry” default rule and have urged states to adopt it as an allegedly constitutional “tool” to “flip” the right-to-
   carry presumption that otherwise exists in most jurisdictions. See Ian Ayres & Fredrick E. Vars, Weapon of Choice:
   Fighting Gun Violence While Respecting Gun Rights 84–93 (Harv. Univ. Press 2020) (setting forth their argument);
   Ian Ayres & Spurthi Jonnalagadda, Guests with Guns: Public Support for “No Carry” Defaults on Private Land, 48
   J.L. Med. & Ethics 183, 184 (2020) (“Reducing the number of places available for gun carriers to travel freely
   with their firearms might have knock-on effects, reducing preferences to carry and possess firearms more
   generally, as it becomes increasingly inconvenient to do so.”) They argue that a “no-carry” presumption can be


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   the Court explained that “the people” means “all Americans,” “Arms” is defined to include

   “all instruments that constitute bearable arms,” and to “bear” means simply to “carry.” Heller,

   554 U.S. at 580–82, 584. In Bruen, the Supreme Court confirmed that the right to “keep and

   bear Arms” refers to one’s right to “‘wear, bear, or carry . . . upon the person or in the clothing

   or in a pocket, for the purpose . . . of being armed and ready for offensive or defensive action

   in a case of conflict with another person.’” 142 S. Ct. at 2134 (quoting Heller, 554 U.S. at

   584).    It further explained that “[n]othing in the Second Amendment’s text draws a

   home/public distinction” and concluded that the text “naturally encompasses” an individual

   right to carry a firearm for self-defense in public. Id. Though the right to carry for self-defense

   extends beyond the home—where “confrontation can surely take place,” id. at 2135—the



   justified as a “form of majoritarian default rule” “for all private land.” Ayres & Vars, supra, at 88–89 (discussing
   “gun-free” preferences expressed by landowners, including certain businesses like Costco and Whole Foods).
   They even suggest that landowners can bind each other, including successors-in-interest, to prohibit possession
   of firearms on their properties and in their neighborhoods through restrictive covenants and defeasible fee
   provisions. See id. 93–99. The argument raised by Shelley v. Kraemer, 334 U.S. 1 (1948), discussed infra Section
   IV.G.2.b.i., merely has “surface appeal.” Ayres & Vars, supra, at 96–97. Noticeably absent from their analysis
   is any discussion of the Second Amendment’s protection of the fundamental right to armed self-defense. After
   Bruen, they have suggested that the “no-carry” default remains constitutional. See Ian Ayres & Fredrick E. Vars,
   Opinion, A New No-Carry Default for the U.S.: A Gun Law that Could Really Change Things, N.Y. Daily News (July
   20,       2022),     https://www.nydailynews.com/opinion/ny-oped-no-carry-default-united-states-20220720-
   dseuu3jeljedlpn2nhkwibjrfq-story.html (defending New York’s law that presumptively prohibits carrying
   firearms on private property unless “clear and conspicuous signage” grants permission to carry or the owner has
   provided express consent to do so). Scholars elsewhere have engaged with the question and discussed the
   constitutionality of default rules concerning carrying firearms on private property, in some cases reaching
   opposite conclusions. Compare Jake Charles, Bruen, Private Property & the Second Amendment, Duke Ctr. for
   Firearms Law (Dec. 2, 2022), https://firearmslaw.duke.edu/2022/12/bruen-private-property-the-second-
   amendment/ (critiquing the reasoning of Antonyuk and Christian and suggesting that New York’s anti-carry
   presumption on private property survives Second Amendment scrutiny because carrying on private property is
   outside the scope of the text), with Robert Leider, Pretextually Eliminating the Right to Bear Arms through
   Gerrymandered       Property    Rules,    Duke       Ctr.      for     Firearms    Law      (Dec.     23,      2022),
   https://firearmslaw.duke.edu/2022/12/pretextually-eliminating-the-right-to-bear-arms-through-
   gerrymandered-property-rules/ (characterizing the “tool” identified by Professors Ayres and Vars as a
   “constitutional loophole to nullify the practical effect of Bruen” and arguing that New York’s and New Jersey’s
   default rules, which apply to ordinary citizens but expressly do not apply to retired law enforcement among
   others, are unconstitutional because they are grossly underinclusive—failing to accomplish either state’s asserted
   end), and Andrew Willinger, Private-Property Default Exceptions, Firearms Training, and Multi-Tiered Licensing, Duke
   Ctr. for Firearms Law (Jan. 11, 2023), https://firearmslaw.duke.edu/2023/01/private-property-default-
   exceptions-firearms-training-and-multi-tiered-licensing/ (disputing Professor Leider’s contention and arguing
   that good cause exists for each of the identified groups to be exempt from the anti-carry default rule).
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   right is not unlimited or absolute. See id. at 2162 (Kavanaugh, J., concurring) (stating that the

   right to keep and bear arms is not “a right to keep and carry any weapon whatsoever in any

   manner whatsoever and for whatever purpose”) (quoting Heller, 554 U.S. at 626).

          Here, Plaintiffs seek to “carry” “Arms” for self-defense in public—at, for example,

   “grocery stores and other retail outlets” and otherwise in their daily lives. [See, e.g., Koons

   Am. Compl. ¶ 43 (Koons Docket No. 69); Siegel Compl. ¶ 134 (Siegel Docket No. 1).] The

   Court thus finds that Plaintiffs’ right to carry for self-defense in public naturally encompasses

   entry onto the property of another, provided that such property is held open to the public and

   entry is otherwise lawful. The proviso is crucial to understanding this Court’s reasoning, and

   Plaintiffs would seem to have no quarrel with such proviso. Plaintiffs have not asserted a

   right to carry on every private parcel of land in New Jersey in all cases, nor have they asserted

   a right to trespass with firearms (i.e., to carry “against an owner’s wishes”). Rather, their

   conduct, and by extension the Default Rule, implicates the text and protections of the Second

   Amendment because of the broad way in which the State presumptively excludes them from

   carrying firearms where they would be ordinarily considered invitees or licensees. The “right

   to carry for self-defense in public” does not establish, by itself, that Plaintiffs’ conduct falls

   within the scope of the Second Amendment; the right is not absolute. As Justice Kavanaugh

   stated, the right to keep and bear arms is not “a right to keep and carry any weapon

   whatsoever in any manner whatsoever and for whatever purpose”. Bruen, 142 S. Ct. at 2162

   (Kavanaugh, J., concurring) (quoting Heller, 554 U.S. at 626). Here, because the Default Rule

   introduces an anti-carry presumption on property where Plaintiffs would otherwise be

   presumptively a lawful entrant, the Second Amendment protects such conduct unless the

   State can justify the firearms regulation.


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          The foregoing analysis is consistent with two specific findings. First, the Default Rule

   implicates the text of the Second Amendment on private property that is held open to the

   public. There, the public has the implied consent to enter, unless such consent is conditioned

   or subsequently revoked by the property owner (e.g., ‘no trespassing’ or ‘no guns allowed’

   signage). Such property ordinarily includes, but is not limited to, retail establishments and

   the curtilage of residential property. Second, the Default Rule does not implicate the text of

   the Second Amendment on property that is not held open to the public. There, one does not

   customarily have the implied consent of the owner to enter. Such property typically includes

   places such as private residential dwellings and some commercial, agricultural, or industrial

   property and/or facilities—where there exists some indicia that guests are not ordinarily

   invited without permission. In this sense, the scope of the right to carry on private property

   appears to track the scope of the public’s license to enter—whether it be express or implied—

   in analogous respects, and Plaintiffs appear to agree with this proposition as worded. Another

   court that considered New York’s so-called “anti-carry” presumption similarly distinguished

   between property that is (and is not) held open to the public. See Antonyuk, 2022 WL

   16744700, at *78.

          Yet the State and its amici strongly dispute that Plaintiffs have any right to carry on

   private property. They situate their proposition within property law’s foundational right to

   exclude. [See State Opp’n Br. at 5–9; Prop. L. Br. at 5–6, 15–22.] But by framing the right in

   near absolute terms, they conveniently gloss over the well-developed concept of implied

   license, which operates to grant permission to enter another’s premises according to custom




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   or other indicia of consent. 35 Focusing only on the right to exclude and the undisputed power

   of a landowner to exercise that right, 36 and assuming lack of ‘no trespassing’ signage, the State

   and its amici would support a harsher punishment of trespass where one carries a firearm

   onto another’s premises without express consent and no punishment for trespass where one

   enters another’s premises without express consent. This cannot be. The only relevant

   difference is the carrier’s exercise of his right to armed self-defense in public.

           To be sure, the right to exclude is correctly described as “fundamental”; it is indeed

   “one of the most essential sticks in the bundle of rights that are commonly characterized as

   property.” Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2072 (2021). Property is so “sacred,”

   that no one “can set his foot upon his neighbour’s close without his leave.” Entick v.

   Carrington, 2 Wils. K.B. 275, 291, 95 Eng. Rep. 807 (K.B. 1765). In practice, this means that

   “a guest is able to enter or stay on private property only with the owner’s permission. A guest

   is removable at the owner’s discretion.” GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244, 1262

   (11th Cir. 2012). “In law this permission is called a license.” Thomas M. Cooley, A Treatise

   on the Law of Torts or the Wrongs Which Arise Independent of Contract 302 (Chicago: Callaghan &

   Co. 1879). A “[l]awful license to enter one’s premises may be given either, 1. Impliedly by

   the owner; 2. Expressly by the owner; [or] 3. By the law.” Id. at 303.



   35
      Their gloss is surprising. In their book, amici begin their argument by acknowledging that “[a]n implied
   condition of every invitation [onto another’s property] is that the invitee is welcome to bring a firearm.” Ayers
   & Vars, supra note 34, at 84. They further write that “[t]his right-to-carry default that comes with ordinary
   invitations to enter private property grows out of an older customary right of individual not just to carry firearms
   but also to hunt on land owned by someone else.” Id.
   36
      The State and their amici misdirect the Court’s attention insofar as they stress that “the Second Amendment
   does not give an individual a right to carry a firearm on [another’s private] premises against the owner’s wishes
   because such right did not pre-exist the Amendment’s adoption.” [State Opp’n Br. at 6 (quoting
   GeorgiaCarry.Org, 687 F.3d at 1266) (emphasis added).] Plaintiffs do not assert such a right, and the State’s (and
   their amici’s) disingenuous attempt to frame Plaintiffs’ argument in such a way is unfair. The Court need not
   adopt such a reading to find that Plaintiffs’ desire to carry for self-defense on private property is implicated by
   the text of the Second Amendment.
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          Indeed, notwithstanding the “strict rule of the English common law as to entry upon

   a close,” “[a] license [to enter] may be implied from the habits of the country.” McKee v. Gratz,

   260 U.S. 127, 136 (1922) (Holmes, J.). For this reason, “the knocker on the front door is

   treated as an invitation or license to attempt an entry, justifying ingress to the home by

   solicitors, hawkers and peddlers of all kinds.” Breard v. Alexandria, 341 U.S. 622, 626 (1951).

   Absent notice of some kind, one is typically not considered a trespasser when one enters the

   curtilage or area immediately surrounding and associated with the home of another for a

   lawful purpose, cf. Florida v. Jardines, 569 U.S. 1, 8 (2013) (“This implicit license typically

   permits the visitor to approach the home by the front path, knock promptly, wait briefly to be

   received, and then (absent invitation to linger longer) leave.”), nor is one a trespasser when

   one enters a retail establishment for the purpose for which the property is held open to the

   public, see, e.g., On Lee v. United States, 343 U.S. 747, 751–52, 753 (1952) (finding that “no

   trespass was committed” in Fourth Amendment case where respondent “entered a place of

   business with the consent, if not by the implied invitation, of the petitioner”); United Food &

   Commercial Workers Union Local 72 v. Borough of Dunmore, 40 F. Supp. 2d 576, 589 n.24 (M.D.

   Pa. 1999) (“[W]here an individual complies with all of the lawful conditions attached to

   property open to the public, then a defiant trespass charge will not lie.”); see also Cooley, supra,

   at 303 (stating that every “retail dealer impliedly invites the public to enter his shop,” but that

   “the invitation is limited by the purpose” and “placard or otherwise” can condition the

   public’s entry). By arguing that the Default Rule is a mere extension of landowners’ right to

   exclude, the State and its amici do not seem to appreciate that it is the State’s sweeping

   revocation of the public’s longstanding limited implied license to enter others’ property

   without trespass liability solely because of the exercise of a constitutional right.


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          This implied license that private property owners routinely extend to the public to enter

   their premises underlies the Court’s prior discussion concerning trespass. [See Koons TRO

   Op. at 39–43 (Docket No. 34).] In New Jersey, “[a] person commits an offense if, knowing

   that he is not licensed or privileged to do so, he enters or surreptitiously remains in any

   research facility, structure, or separately secured or occupied portion thereof, or in or upon

   utility company property.” N.J. Stat. Ann. § 2C:18-3(a). The offense is a disorderly persons

   offense, except for certain classes of property, such as a dwelling, in which case the offense is

   a crime of the fourth-degree. Id. Critical for liability under § 2C:18-3(a) is that the person is

   knowingly acting outside the scope of the permission that the landowner extends to others to

   enter. See id. (providing that the person must “know[] that he is not licensed or privileged” to

   enter). Such permission is not limited to affirmative or express consent to enter, as the amici

   seem to suggest, [see Prop. Law Br. at 9 n.2]; a landowner can impliedly invite others onto her

   property. But, here, where a structure such as a research facility is not held open to the public

   (or implied consent to enter extended), a person is furnished with some notice that permission

   to enter has not been granted. There, a person similarly has no right to carry for self-dense.

          Under the defiant trespasser subsection, “[a] person commits a petty disorderly persons

   offense if, knowing that he is not licensed or privileged to do so, he enters or remains in any

   place as to which notice against trespass is given by: (1) [a]ctual communication to the actor;

   or (2) [p]osting in a manner prescribed by law or reasonably likely to come to the attention of

   intruders; or (3) [f]encing or other enclosure manifestly designed to exclude intruders.” N.J.

   Stat. Ann. § 2C:18-3(b). “The theory of [§ 2C:18-3(b)] is that where a landowner wishes to

   assert his right to exclude from open land and to have the backing of the criminal law, it is




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   not too much to ask him to give notice.” State v. Gibson, 95 A.3d 110, 116 (N.J. 2014) (citation

   omitted).

           New Jersey’s trespass statute reveals that a person is not liable for trespass simply

   because the person enters onto the land of another without express consent. 37 Otherwise,

   routine entrants onto private property would be criminal.                   See Jardines, 569 U.S. at 8

   (“Complying with the terms of [the] traditional [implied] invitation does not require

   fine-grained legal knowledge; it is generally managed without incident by the Nation’s Girl

   Scouts and trick-or-treaters.”). Rather, the person must knowingly act outside the scope of

   the permission granted, whether express or implied, see § 2C:18-3(a), or in disregard of a clear

   indication that permission is not extended, § 2C:18-3(b)(1)–(3). The State and its amici would

   propose to treat firearm carriers as trespassers by default, to revoke firearm carriers’ implied

   invitation to enter. But this cannot be absent a historical tradition justifying the Default Rule.

   The landowners must affirmatively modify the terms of the implied invitation to enter on their

   own, especially where the right to carry for self-defense is burdened with criminal sanctions

   just because it occurs on private property.


   37
     Amici suggest that other states place the burden on the entrant to obtain express consent from the landowner
   to avoid trespass liability. [Prop. Law Br. at 9–12.] They cite to Mississippi’s statute as an example:
                    “Any person who knowingly enters the lands of another without the
                    permission of or without being accompanied by the landowner or the lessee
                    of the land, or the agent of such landowner or lessee, shall be guilty of a
                    misdemeanor . . . .”
   Miss. Code. Ann. § 97-17-93(1). First, “permission” under the statute does not mean, necessarily, “express
   permission”; the term is not so qualified. One may still have permission to enter another’s property through
   implication, and courts have focused on facts that suggest the trespasser is acting outside the scope of the
   landowner’s permission. See, e.g., Ladd v. Mississippi, 87 So.3d 1108, 1116–17 (Miss. Ct. App. 2012) (finding
   that, while defendant’s act of walking through landowner’s open garage door was not a “breaking” warranting
   a charge for burglary, such conduct warranted a charge for trespass). Second, the statute expressly excludes
   from its scope, inter alia, “persons entering upon such lands for lawful business purposes.” Miss. Code. Ann. §
   97-17-93(1). The Court reads such language to implicate the well-settled rule that one is not a trespasser for
   entering land for a lawful purpose where such land is held open to the public. Thus, the statute does not
   undermine the Court’s findings here, nor is the Court persuaded that other states ignore the concept of implied
   license in their law of trespass.
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          Amici criticize this Court for constitutionalizing a “rebuttable presumption” to carry

   firearms on the property of another. In Siegel, the Court clarified its analysis in Koons, stating

   that Plaintiffs have a right to carry for self-defense on the property of another, unless the owner

   indicates otherwise (what it characterized as a “rebuttable presumption” to carry). [Siegel

   TRO Op. at 39 (Docket No. 51).] They contend that such a presumption is “divorced from

   the text of the Second Amendment” and that “nothing in the history of the Supreme Court’s

   constitutional jurisprudence” hinges the right to carry in public for self-defense “on the

   permission of another private individual.” [Prop. Law Br. at 22 (emphasis removed).] They

   stress that constitutional rights “end at the private-property line.” [Id. at 20.]

          The Court disagrees with amici’s framing of its TRO Opinions. The right to armed

   self-defense follows the individual everywhere he or she lawfully goes. Here, the State, not

   private landowners, burdens carriers’ lawful entry onto the property of another with a

   “no-carry” default. The Default Rule is thus state action insofar as the State is construing the

   sound of silence. While landowners can ratify or depart from that default, it is the State that

   is presumptively excluding firearms from private property in the first instance. In that regard,

   the Court finds that the presumption to carry onto the property of another only extends as far

   as the landowners’ permission granted to the public to enter, which is often implied. In that

   sense, the presumption to carry is “rebuttable”—the owner can always withdraw consent.

   But the State cannot do so for the landowner. Doing so clearly implicates individual conduct

   plainly covered by the Second Amendment’s text. Accordingly, amici’s citations to Shelley v.

   Kraemer, 334 U.S. 1 (1948) and Marsh v. Alabama, 326 U.S. 501 (1946)—which address

   exceptions to the general proposition that the Constitution applies to government action and

   not private conduct—have no bearing on the question whether the Default Rule comes within


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   the scope of the Second Amendment. Plaintiffs are protected from the State’s rule unless a

   historical tradition can justify it.

          Additionally, to explain why property default rules such as the Default Rule are within

   states’ police powers, amici direct this Court to Breard v. Alexandria, cited supra, a case in which

   the Supreme Court considered a municipal law that presumptively prohibited door-to-door

   solicitation where a landowner had not expressly consented. [Prop. Law Br. at 12, 23–24.]

   The structure of the rule is admittedly on point, but salient differences distinguish Breard from

   the instant case.

          In Breard, the manager of a crew of door-to-door magazine salesmen was arrested for

   violating an ordinance that prohibited the practice of soliciting at private residences in the

   City of Alexandria, Louisiana without “having been requested or invited so to do” by the

   landowners.      341 U.S. at 624.       Apparently, the City Council had determined that

   “householders complained” that “solicitors were undesirable or discourteous” and that “they

   did not desire any uninvited intrusions into the privacy of their home.” Id. at 625. The

   manager argued that the ordinance was unconstitutional under the Due Process Clause of the

   Fourteenth Amendment, the First Amendment, and the Commerce Clause. Id. The Breard

   Court first observed that entrants onto private property are ordinarily treated as invitees or

   licensees, not trespassers, unless some form of notice bars entry. Id. at 626. Nevertheless, the

   Court upheld the constitutionality of the ordinance.

          Especially relevant here is the Court’s discussion of the manager’s argument that the

   ordinance violates the First Amendment because it placed an “undue burden” on the freedom

   of speech and press. Id. at 641. It acknowledged that the argument is not that a solicitor may

   go “‘in or upon private residences’ at will” (or against their wishes), but rather that


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   “distribution of periodicals” is entitled to First Amendment protection. Id. Rejecting the

   argument, the Breard Court balanced the conflicting interests of the “householders’ desire for

   privacy” and the “publisher’s right to distribute publications in the precise way that those

   soliciting for him think brings the best results” and determined that the ordinance did not

   violate the First Amendment. Id. at 644. Reaching this conclusion, the Breard Court

   emphasized the commercial nature of the activity and the alternative paths available to the

   solicitor, id. at 645, and it explained that “[t]he First and Fourteenth Amendments have never

   been treated as absolutes. Freedom of speech or press does not mean that one can talk or

   distribute where, when and how one chooses[,]” id. at 642.

          Breard is distinguishable. First, the Breard Court did not declare that the solicitors’ First

   Amendment rights were unprotected at the landowners’ doorstep, but rather that the

   landowners’ interest in privacy outweighed their own right. Traditional means-end scrutiny

   thus permitted the City of Alexandria to revoke solicitors implied license to enter residential

   property to practice their craft, even though it restricted their First Amendment rights. But

   the Court in Bruen explicitly disavowed “applying means-end scrutiny in the Second

   Amendment context,” 142 S. Ct. at 2127, offering an analytic framework whose principal

   focus is history and tradition, id. at 2129–30. Accordingly, this Court is forbidden from

   considering whether the Default Rule is sufficiently tailored to achieve an asserted

   governmental interest and, relatedly, balancing the interests of different constituencies in its

   analysis. See id. at 2131 (“The Second Amendment ‘is the very product of an interest balancing

   by the people’”) (quoting Heller, 554 U.S. at 635). In any case, the Breard Court focused on

   the alternative options available to the solicitors to distribute their publications commercially;

   they did not have to approach private residences to do so. See 341 U.S. at 644. Unlike the


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   solicitors, Plaintiffs’ conduct here—carrying for self-defense in public—is implicated

   everywhere they lawfully go. The State cannot revoke their license on all private property

   unlike the municipality that could restrict soliciting on residential property.

           In sum, for the foregoing reasons, because Plaintiffs have shown that the plain text of

   the Second Amendment covers their conduct—i.e., carrying firearms for self-defense on

   private lands that are held open to the public—“the Constitution presumptively protects that

   conduct.” Bruen, 142 S. Ct. at 2129–30. For the Default Rule to survive as applied to such

   lands, then, the State must justify the regulation by “demonstrating that it is consistent with

   the Nation’s historical tradition of firearm regulation.” Id. at 2130. As to private lands that

   are not held open to the public, the Default Rule—establishing a presumption that express

   consent is necessary to concealed carry—does not implicate the text of the Second

   Amendment. The State’s and amici’s other arguments are unpersuasive. 38

                                   ii.         Historical Tradition: The Default Rule

           Next, the Court addresses the historical evidence that the State sets forth to justify the

   Default Rule. As identified above, because the Court finds that Plaintiffs’ proposed course of

   conduct is presumptively protected by the text of the Second Amendment as to private

   property that is held open to the public, the burden of persuasion shifts to the State to justify



   38
     For instance, the State and their amici argue that default rules are nothing new and that the Court should
   uphold the Default Rule as a law that “best reflect the most likely preferences of the owners themselves.” [State
   Opp’n Br. at 6; see also Prop. Law Br. at 9–12.] For example, the State suggests that the Default Rule is like
   intestacy statutes, which provide for the disposition of a decedent’s property “not effectively disposed of by [the
   decedent’s] will.” [State Opp’n Br.at 7 (quoting N.J. Stat. Ann. § 3B:5-2).] In other words, where a decedent
   dies without a will, the decedent’s silence on disposition is answered with the State’s background rules.
   Additionally, the State points to contract law, which supplies terms by statute or common law where the parties’
   instrument is silent. [Id. (citing Restatement (Second) of Contracts § 204 (1981)).] But both contexts differ from
   the Default Rule in an important way. The Default Rule, rather than filling a void created by a decedent or the
   contracting parties, subjects a licensed carrier to criminal penalties where a landowner has not expressed her
   wishes. The alternative default rules cited do not implicate constitutionally protected conduct in the same way,
   nor do they persuade this Court why Plaintiffs’ conduct is outside the scope of the Second Amendment.
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   its proposed firearms regulation. See Bruen, 142 S. Ct. at 2130. In this regard, the Court

   considers whether the Default Rule is “relevantly similar” to the historical evidence proffered:

   that is, “how” and “why” the regulations cited burdened an ordinary, law-abiding citizen’s

   right to armed self-defense and whether the Default Rule imposes a comparable burden. See

   id. at 2132–33. Ultimately, the Court finds that the State’s evidence is not sufficiently

   analogous to justify the Default Rule as to private property that is held open to the public.

          First, the State argues that New Jersey has a longstanding tradition of prohibiting the

   carriage of firearms on private property without the express consent of the landowner. [State

   Opp’n Br. at 10.] They point to a colonial law from 1722 that they trace to the early twentieth

   century to establish, what they contend is, a particularly persuasive tradition justifying New

   Jersey’s “no-carry” default rule. [See id. at 10–15.] As the New Jersey State Archives is

   responsible for preserving the State’s official records, including copies of previously enacted

   legislation, the Court relies on and cites to the certification of Joseph R. Klett, Executive

   Director of the New Jersey State Archives. [Klett Certif. ¶¶ 1–4 (Docket No. 76).]

          The State begins with the 1722 law entitled, “An Act to prevent Killing of Deer out of

   Season, and against Carrying of Guns and Hunting by Persons not qualified.” [Id. ¶ 7, Ex. A

   (Docket No. 76-1).] Section 1 made it unlawful to kill any deer between January and June

   and provided for the assessment of a penalty of thirty shillings for every deer killed within

   those months, and Section 4 made it unlawful “to carry any Gun, or Hunt on the Improved

   or Inclosed Lands in any Plantation, and on other than his own, unless he have License or

   Permission from the owner of such Lands or Plantation.” [Id. §§ 1, 4.] Violating Section 4

   carried a penalty of fifteen shillings per infraction, but the 1722 law provided for a penalty of

   ten shillings if the offense occurred in the “Woods or Uninclosed Lands” for persons who


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   were not owners of one hundred acres of land. [Id.] Imprisonment could result for a term of

   five-to-eight days, depending on the nature of the offense, if an offender refused to pay (or,

   presumably, could not pay) the penalty and did not have any possessions that could be seized

   and sold. [See id.] The State believes that the text of Section 4 is analogous to the text of the

   Default Rule because a person would violate the law regardless of whether he carried a gun

   for the purpose of hunting game. [State Opp’n Br. at 12.]

          The State next cites a 1751 law that supplemented the 1722 law. [Id. at 10.] In the

   preamble, the 1751 law noted that the 1722 law had “not fully prevented many Mischiefs and

   Inconveniences that have often happened by Persons setting of Steel Traps to catch Deer,

   whereby not only other Mens [sic] Cattle have been hurt, but People have been in Danger

   thereof,” [Klett Certif. ¶ 8, Ex. B, § 1 (Docket No. 76-2)], so New Jersey’s colonial legislature

   adopted a procedure for landowners to seize certain traps and provided for an assessment of

   fines upon conviction, [see id. §§ 2–6]. The 1751 law also enhanced the fine for carrying a gun

   or hunting or watching for deer or other game or letting any dog or dogs in to drive deer on

   another’s property without the owner’s written permission. [Id. § 7.] They also point to a

   1769 law that further supplemented the 1722 law. [State Opp’n Br. at 10.] In “An Act for the

   more effectual Preservation of Deer in this Colony,” New Jersey extended the operative

   language of the prohibition to all “land for which the Owners pay Taxes or is in his Lawful

   Possession,” not only “Improved or Inclosed Lands in any Plantation.” [Klett Certif. ¶ 9, Ex.

   C, § 1 (Docket No. 76-3).] According to Princeton University History Professor Hendrik

   Hartog, this change represented an extension in the scope of the presumption that would have

   applied to businesses, such as taverns and blacksmiths’ shops, not simply land on which one

   might hunt. [Hartog Decl.¶¶ 32–38 (Docket No. 84).] Professor Hartog’s opinion in this


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   regard, however, appears to be based on his interpretation of the law’s theoretical application

   to such categories; the Court is not presented with primary evidence suggesting that the 1769

   law (and the 1771 law discussed below) were enforced in, for instance, businesses held open

   to the public. The 1769 law also provided for the assessment of a penalty of 5 pounds and the

   forfeiture of the violator’s gun(s) upon conviction. [Klett Certif. ¶ 9, Ex. C, § 2.] The

   remainder of the law is directed at various conservation and anti-poaching measures.

          Next, the State again cites a 1771 law, [State Opp’n Br. at 10–11], which the Court

   previously discussed in its TRO Opinion. [Koons TRO Op. at 39–40 (Docket No. 34)

   (construing the 1771 law as designed to address the problem of poaching).] In 1771, the

   colonial legislature passed “An Act for the Preservation of Deer, and other Game, and to

   prevent trespassing with Guns.” [Klett Certif. ¶ 11, Ex. D (Docket No. 76-4).] The 1771 law

   repealed and replaced the 1722 law, as amended. [See id. § 19; see also Klett Certif. ¶ 11.] Like

   its predecessors, the 1771 law made it unlawful “to carry any Gun on any Lands not his own,

   and for which the Owner pays Taxes, or is in his lawful Possession, unless he hath License or

   Permission in Writing from the Owner or Owners or legal Possessor.” [Klett Certif. ¶ 12, Ex.

   F, § 1, Docket No. 76-6.] The offense carried a penalty of forty shillings. [Id.] In 1776, the

   New Jersey Constitution reauthorized the 1771 law and all other colonial laws contained in

   the New Jersey law compendium published by Samuel Allinson. [See Klett Certif. ¶ 12; id.,

   Ex. E, § 21 (N.J. Constitution) (Docket No. 76-5).] The 1771 law thus became part of the

   laws of the State of New Jersey and remained unchanged for decades.

          An 1846 statute recodified the 1771 law and amended certain terms—for example,

   changing “forty shillings” to “five dollars.” [Id., Exs. H-I (Docket Nos. 76-8, 76-9).] The

   1846 statute appears to have been supplemented by acts in 1852, 1859, 1866, 1867, and 1873,


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   which all added or modified poaching-related measures. [Id., Exs. J–O (Docket Nos. 76-10,

   76-11, 76-12, 76-13, 76-14, & 76-15).] For instance, the 1873 law prohibited persons from

   hunting for rabbits with ferrets. [Id., Ex. O, § 1.] A statutory revision was published in 1876,

   which appears to have maintained the substance of the 1771 / 1846 law and set forth each of

   its multiple supplements. [Id., Ex. P (Docket No. 76-16).]

             In 1895, the State adopted, “An Act to prevent trespassing with guns,” which

   represented a fundamental shift away from the structure of the former laws. [Id., Ex. R

   (Docket No. 76-18).] The 1895 law prohibited trespassing on another’s lands while carrying

   a gun after “public notice” forbidding trespass had been “conspicuously posted” or “after

   being forbidden so to trespass” by the owner, occupant, lessee, or licensee of the land. [Id. §§

   1, 2.] The law provided for a fine of five dollars upon conviction or if the offender failed to

   pay, a term of imprisonment in the county prison for a period of not more than ten days. [Id.

   § 3.]      The 1895 law was amended in 1911 to increase the penalty and to exempt

   “fresh-meadow land over which the tide has ebbed and flowed continuously for twenty years

   or more.” [Id., Ex. S (Docket No. 76-19).] In 1928, the State repealed the 1846 fish-and-game

   law, as amended. [Id., Ex. T (Docket No. 76-20).] Director Klett points out that the 1895

   law, as amended by the 1911 law, remains in effect today. 39



   39
        The offense is reproduced as follows:
                      Any person who, while carrying a gun, shall trespass on any lands, except
                      fresh meadow lands over which the tide has ebbed and flowed continuously
                      for 20 years or more, after (a) having been forbidden so to trespass by the
                      owner, occupant, lessee or licensee of such lands or (b) after such owner,
                      occupant, lessee or licensee has given public notice forbidding such trespass,
                      which notice has been conspicuously posted adjacent to the highway
                      bounding on such lands or adjacent to a usual entry way thereto, shall be
                      deemed guilty of trespass at the suit of such owner, occupant, lessee or
                      licensee, in a civil action and liable for damages of not less than $10.00.
   N.J. Stat. Ann. § 2A:63–1.
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          The State contends that the foregoing laws are analogous to the Default Rule and

   demonstrate a tradition justifying the “no-carry” presumption. Citing Professor Hartog, the

   State stresses that the colonial-, Founding-, and Reconstruction-era laws established a

   presumption that carrying a gun on another’s property without prior express consent

   constituted trespass, and that such presumption was to “‘protect the powerful right of the

   property owners to prevent armed individuals from coming on to their property without

   license.’” [State Opp’n Br. at 11–12 (quoting Hartog Decl. ¶ 22).] While the State seems to

   acknowledge that the colonial and Founding-era laws were designed to ensure that “deer were

   not slaughtered out of season, at a time when deer were for many a crucial source of protein,”

   [Hartog Decl. ¶ 18], the State stresses that 18th- and 19th-century statutes often included

   “multiple expressly stated purposes,” [State Opp’n Br. at 13 (citing Hartog Decl. ¶ 23)]. Thus,

   the New Jersey laws should be read to support the “longstanding” exclusion of firearms from

   all private property by landowners.

          Having carefully reviewed and analyzed the foregoing, the Court finds the State’s

   evidence unavailing; it is not persuaded to depart from its prior interpretation. The New

   Jersey fish-and-game laws the State cites are not analogous to the Default Rule. The 1722

   law and its progeny are clearly hunting regulations designed to discourage poaching. For

   example, the 1722 law principally addressed when one could lawfully hunt for deer and other

   game and banned the sale of “green Deer Skins or fresh venison” in this regard. [Klett Certif.

   ¶ 7, Ex. A, §§ 1–2.] In any case, the scope of the firearm prohibition was limited to “Improved

   or Inclosed Lands in any Plantation,” and it provided for a lower penalty if the infraction

   occurred in another’s “Woods or Uninclosed Lands.” [Id. § 4.] That Section 4 prohibited

   carrying a gun on another’s property without permission is not dispositive of Bruen’s Step Two


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   inquiry. The Court is not engaged in a purely textual analysis; rather, it must consider how

   and why a given law restricted the right to armed self-defense. See Bruen, 142 S. Ct. at 2132–

   33. It is clear that the Section 4 restriction was enacted principally to prevent hunting out of

   season.

            This reading is further confirmed by the way in which the 1722 law changed over the

   years. The 1751 supplement focused almost entirely on redressing the harms associated with

   setting traps and loaded spring guns on others’ properties, [Klett Certif. ¶ 8, Ex. B, §§ 1, 2–6,

   10], and the 1769 supplement extended the scope of the lands where the prohibitions of the

   prior law would be applicable to better preserve deer in the Colony, [id. ¶ 9, Ex. C]. The

   post-Founding supplements further suggest that the firearm regulation was designed to

   discourage poaching—the 1846 law and its amendments addressed various hunting-related

   measures. [See, e.g., id. ¶ 16, Ex. O, § 1 (prohibiting hunting rabbits with ferrets).] The nature

   of these incremental changes cannot be ignored, nor do they suggest to the Court an intention

   to prohibit firearms, for instance, in taverns and blacksmith shops and all other private

   property in New Jersey. [See Hartog Decl. ¶ 34.] Theoretical applicability does not answer

   the key inquiry of why the legislation was enacted.

            Additionally, the New Jersey laws that the State cites were all generally enforced

   against white colonists (and, eventually, citizens) by the assessment of a monetary penalty,

   not the force of the criminal law. 40 [See Klett Certif., Ex. A (1722 law), § 4 (fifteen or ten




   40
      The Court observes that the 1722 law, a product of its time, distinguished between white colonists and non-
   white persons (e.g., Indians and slaves). On the one hand, white colonists who violated the law were liable to
   pay a monetary penalty per infraction, whereas, on the other hand, non-white persons who violated the law
   were exempt from imprisonment but were subjected to corporeal punishment and monetary penalties. [Compare
   Klett Certif., Ex. A, § 4 (providing for fifteen or ten shillings per infraction, depending on the nature of the land
   at issue), with id., § 6 (providing for twenty lashes per infraction at the “publick Whipping-post” and a penalty
   of three shillings).]
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   shillings); id., Ex. B (1751 law), § 7 (bond of 10 pounds; judgment of 5 pounds); id., Ex. C

   (1769 law), § 2 (5 pounds); id., Ex. F (1771 law), § 1 (forty shillings); id., Ex. I (1846 law), § 1

   (five dollars); id., Ex. R (1895 law), § 3 (five dollars).] The penalty-per-infraction varied

   depending on the circumstances, and as illustrated, the monetary sum assessed generally

   increased over the years. But generally, none of the laws were enforced with the deterrent of

   potential imprisonment. [Compare id., Ex. A (1722 law), § 4 (providing for payment of fifteen

   or ten shillings per infraction to informer / complainant and to “the Poor of the Township or

   Precinct where the Offence is committed,” or forced sale of violator’s goods, or commitment

   to prison if violator refused to pay), with id., Ex. F (1771 law), § 1 (providing for payment of

   forty shillings per infraction directly to landowner or tenant-in-possession).] See also State v.

   One 1990 Honda Accord, 712 A.2d 1148, 1156 (N.J. 1998) (characterizing the 1722, 1751, 1769,

   and 1771 laws, among others, as “fish and game acts” that were enforced with forfeiture and

   penalty regimes). The retributive nature of the penalties suggests that the laws were primarily

   designed to compensate landowners for a perceived loss due to poaching, given the

   significance attributed to private property ownership, not vindication of a communal interest

   in excluding firearms. In contrast, violation of the Default Rule is a crime of the third-degree,

   which carries a potential term of imprisonment of three-to-five years and a presumptive

   sentence of four years. See N.J. Stat. Ann. §§ 2C:58-4.6(a), 2C:43-6(a)(3), 2C:44-1(f)(1)(d).

   The New Jersey fish-and-game laws and the Default Rule are thus differently situated—they

   restrict carrying firearms for different reasons, and they impose drastically different penalties.

   Other courts have similarly found that the 1722 law and its progeny are anti-poaching statutes.

   See Antonyuk v. Hochul, 2022 WL 5239895, at *21 (N.D.N.Y. Oct. 6, 2022) (finding that “the

   purpose” of the 1722 law “appears to be merely to stop poaching); Solomon v. Cook Cnty. Bd.


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   of Comm’rs, 559 F. Supp. 3d 675, 691 n.10 (N.D. Ill. 2021) (noting that 1722 law is primarily

   a hunting regulation).

          Next, the State contends that similar laws from Pennsylvania, New York,

   Massachusetts, and Maryland justify the Default Rule. [State Opp’n Br. at 15–16.] Passed in

   1721, the Pennsylvania law, “An Act to Prevent the Killing of Deer Out of Season, and

   Against Carrying of Guns or Hunting by Persons not Qualified,” made it unlawful to “carry

   any gun or hunt on the improved or inclosed lands of any plantation other than his own,

   unless he have license or permission from the owner of such lands or plantation.” Act of Aug.

   16, 1721, ch. 246, § 3, 3 1682-1801 Penn. Stat. 254-55 (1896) (Docket No. 88-33). Passed in

   1763, New York’s law, “An Act to prevent hunting with Fire-Arms in the City of New-York,

   and the Liberties thereof,” made it unlawful for “any Person . . . other than the Owner,

   Proprietor, or Possessor” to “carry, shoot, or discharge any . . . Fire-Arm whatsoever, into,

   upon, or through any Orchard, Garden, Corn-Field, or other inclosed Land whatsoever,

   within the City of New-York, or the Liberties thereof, without” obtaining prior written

   consent from such “Owner, Proprietor, or Possessor of such” land. Act of Dec. 20, 1763, ch.

   1223, § 1, 2 1691-1773 N.Y. Laws 442 (Docket No. 88-34).] Enacting such law, the colonial

   government observed that “great Numbers of idle and disorderly persons” were hunting with

   firearms and “tread[ing] down the Grass, and Corn and other Grain standing and growing in

   the Fields and Inclosures” in the City. Id. Passed in 1790, Massachusetts’ law, “An Act for

   the Protection and Security of the Sheep and other Stock on Tarpaulin Cove Island Otherwise

   Called Naushon Island and on Nennemessett Island, and Several Small Islands Contiguous,

   Situated in the County of Dukes County,” made it unlawful to “be seen with any gun or guns”

   without “special license of the proprietors of the said Islands.” Act of Jan. 30, 1790, ch. 30,


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   1789 Mass Acts. 437-39 (Docket No. 89-1). Enacting the law, the Commonwealth indicated

   that “great numbers of Sheep and Deer have been killed and other damages sustained” by

   “Gunners and Hunters” on the Islands. Id. Finally, passed in 1715, Maryland’s law made it

   unlawful to, inter alia, “be seen to carry a gun, upon any person’s land, whereon there shall

   be seated a plantation, without the owner’s leave, having been once before warned.” [Cai

   Decl., Ex. 32, § 7 (Docket No. 88-32).]

           Like the New Jersey laws discussed above, the foregoing colonial laws are not

   analogous evidence justifying the Default Rule. Pennsylvania’s law, like its New Jersey

   counterpart from 1722, specifically applies to the improved or enclosed lands of a plantation,

   not private property more generally. 41 The structure and content of the law suggest that its

   limitation on carrying firearms was a prophylactic measure designed to prevent poaching.

   Similarly, New York’s law seeks to prohibit hunting on the enclosed lands of the City of New

   York, including in orchards, gardens, and cornfields. In fact, the law prohibited “passing

   through” such lands as well, even without firearms. Act of Dec. 20, 1763, ch. 1223, § 1, 2

   1691-1773 N.Y. Laws 442 (Docket No. 88-34). The Massachusetts law was also designed to


   41
     The State repeatedly suggests that the “improved or inclosed” language appearing in some of the early colonial
   laws does not refer to fenced-in property. [State Opp’n Br. at 14.] Rather, it refers to the way in which a
   landowner would have given notice of his possession or ownership of a parcel of land in a time in which
   landowners were only beginning to record their interests in county deed books and with tax authorities. [See
   Hartog Decl. ¶¶ 36–37.] Accordingly, the State argues that enclosing property with fencing was only one way
   for New Jersey’s 1722 law, New York’s 1763 law, and Pennsylvania’s 1721 law, for example, to apply; other
   indicia of improvement or use would have sufficed, too. [See State Opp’n Br. at 18–19.] But the Koons Plaintiffs
   suggest that such language did refer to fenced-in lands. [Koons PI Reply Br. at 18–19.] The laws cited would
   not have applied to “taverns, shops, or dwelling houses,” they argue. [Id. at 18.] They cite State v. Hopping, 18
   N.J.L. 423 (1842), which explained that “improvements is a legal and technical word, and means inclosures, or
   inclosed fields: lands fenced in, and thus withdrawn and separated from the wastes or common lands.” Id. at
   424. Though the Court finds the interpretation the Koons Plaintiffs offer compelling, as other courts have as
   well, see Antonyuk, 2022 WL 3999791, at *35 & n.46, this Court need not adopt one reading. Each of the laws
   cited includes other language suggesting that these laws were more limited than the State would have this Court
   find. New York’s 1763 law referred to orchards, gardens, and cornfields in addition to “other inclosed Land
   whatsoever,” and New Jersey’s 1722 law and Pennsylvania’s 1721 law were both limited to plantations. These
   textual referents are persuasive indicators that carrying firearms was not prohibited on all private property, no
   matter its character.
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   prevent “gunning” and “hunting” and applied to relatively uninhabited islands in the

   Commonwealth, where “few persons residing on said Islands cannot give proper security to

   the stock [of sheep and deer] thereon.” Act of Jan. 30, 1790, ch. 30, 1789 Mass Acts. 437-39

   (Docket No. 89-1). Unlike the other laws where landowners’ permission was paramount, the

   Massachusetts law exempted persons from the restriction if they could demonstrate sufficient

   justification for a license to carry. Id. Finally, the Maryland law was similarly limited: it

   appears to have been designed to prevent poaching and applied to plantations alone. It also

   required prior notice for a firearm carrier to be found in violation of the law. [Cai Decl., Ex.

   32, § 7 (Docket No. 88-32).]

           In contrast, the Default Rule is designed to exclude firearms from all private property

   in New Jersey, for whatever reason and regardless of the nature of the land at issue. Only

   certain classes of public officials and law enforcement are exempt from the restriction. The

   colonial hunting laws and the Default Rule are differently situated; they do not impose a

   comparable burden on licensed firearm carriers. 42


   42
      Distinguishing the hunting laws, the Koons Plaintiffs also argue that the hunting laws are not relevantly similar
   to the Default Rule because they focused on “long guns,” whereas the Default Rule presumptively excludes
   “handguns.” [Koons PI Reply Br. at 14–18 (Docket No. 101).] Because the hunting laws distinguished between
   “guns” and “pistols,” and the latter were apparently outside the scope of such laws, they did not impose a
   comparable burden on the right to self-defense and, thus, cannot justify the Default Rule. [Id.] In support of
   their argument, the Koons Plaintiffs point to a dictionary definition of “gun” that excludes “pistols” from its
   scope. [Id. at 15 (quoting Gun, Noah Webster’s Am. Dictionary of the English Language (1828) (“GUN, noun.
   An instrument consisting of a barrel or tube of iron or other metal fixed in a stock, from which balls, shot or
   other deadly weapons are discharged by the explosion of gunpower. The larger species of guns are called
   cannon; and the smaller species are called muskets, carbines, fowling pieces, etc. But one species of fire-arms,
   the pistol, is never called a gun.”)).] They also claim that New Jersey and other states routinely distinguished
   between “guns” and “pistols” in their firearm legislation. [Id. at 15–17 (discussing New Jersey militia law
   mandating provision of musket or rifle for ordinary militiamen and pistols for horse troopers and Massachusetts
   law prohibiting the discharge of a “gun or pistol” in the town of Boston).] Thus, by using the term “gun,” such
   states did not mean to include “pistol.” In contrast, the State has provided a raft of dictionary definitions of
   “gun” that make clear that “gun” is a generic term for all firearms, including pistols. [See, e.g., Gun, Samuel
   Johnson, Dictionary of the English Language (1773), Docket No. 119, Tab 2 (“GUN. . . The general name for
   fire-arms; the instrument from which shot is discharged by fire.”); Gun, N. Bailey, Dictionarium Britannicum
   (1736), Docket No. 119, Tab 4 (“GUN . . . a Fire-Arm or Weapon of several Sorts and Sizes.”).] In any case,


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           Next, the State argues that Reconstruction-era evidence from Louisiana, Texas, and

   Oregon imposed analogous limitations on the right to armed self-defense. [State Opp’n Br.

   at 16–17.] In 1865, Louisiana passed a law to prohibit “any person or persons to carry fire-

   arms on the premises or plantations of any citizen, with the consent of the owner or proprietor,

   other than in lawful discharge of a civil or military order.” 1865 La. Acts No. 10, § 1, p. 14

   (Docket No. 88-14). It also enacted a law to prevent trespassing on plantations, fining any

   person who “shall enter upon any plantation without the permission of the owner or agent.”

   1865 La. Acts No. 11, § 1, p. 16. Similarly, in 1867, Texas passed a law prohibiting any

   person “to carry firearms on the inclosed premises or plantation of any citizen, without the

   consent of the owner or proprietor, other than in the lawful discharge of a civil or military

   duty.” Act of. Jan 13, 1867, art. 6510, reprinted in 2 A Digest of the Laws of Texas 1321–22 (4th

   ed. 1874) (Docket No. 88-35). Finally, in 1893, Oregon passed a law prohibiting any person,

   “being armed with a gun, pistol, or other firearm, to go or trespass upon any enclosed premises

   or lands without the consent of the owner or possessor thereof.” [Cai Decl., Ex. 36, § 1,

   (Docket No. 88-36).] The State contends that these laws should be credited because they are

   consistent with the colonial- and Founding-era evidence it cites. [See State Opp’n Br. at 17.]

   Plaintiffs believe that the Louisiana, Texas, and Oregon laws are inconsistent with the prior

   evidence, should be construed as anti-poaching laws, or fail to establish a representative

   tradition. [Siegel PI Reply Br. at 42 (Docket No. 97); Koons PI Reply Br. at 22 (Docket




   the historical laws that the State cites are not limited to “guns”; they include the term, “firearms,” as well. [See,
   e.g., Cai Decl., Ex. 34 (New York’s 1763 law), § 1 (prohibiting carry of “any Musket, Fowling-Piece, or other
   Fire-Arm whatsoever) (emphasis added).] Even if “pistol” contained a meaning distinct from “gun,” the Court
   reads “firearm” to be sufficiently generic to encompass both. Thus, the Court rejects the Koons Plaintiffs’
   argument.
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   No.101).] The Koons Plaintiffs also urge this Court to find that only Founding-era evidence

   can satisfy Bruen Step Two. [Koons PI Reply Br. at 6–9.]

          The Court does not agree with Plaintiffs’ assessment of the Reconstruction-era laws.

   Based on the record, the Louisiana, Texas, and Oregon laws do not appear to be designed to

   discourage hunting, so they are not distinguishable for the same reason as the other historical

   evidence proffered. Rather, the three Reconstruction-era laws seem to support the State’s

   position. Though they are not directly comparable or “dead ringers,” they are relevantly

   similar: they prohibit carrying firearms on another’s “premises” without the consent of the

   owner or possessor. Still, the Louisiana and Texas laws refer to another’s premises or

   “plantation,” and the Texas and Oregon laws refer to “inclosed” premises. So an equally

   availing interpretation is that these restrictions, as before, did not apply to all private property,

   such as “taverns,” but only a subset. Moreover, given the period in which the Louisiana and

   Texas laws were enacted—at the tail end of the Civil War and the early days of

   Reconstruction—the Court questions whether these measures were enacted against a unique

   backdrop: one designed to quell sedition, protect public safety, and introduce a slate of civil

   rights for newly freed slaves. Both laws, after all, specifically exempted a person from liability

   for entering onto in-scope property pursuant to a civil or military order. [See Cai Decl., Ex.

   14, § 1 (“other than in lawful discharge of a civil or military order”); id., Ex. 35, Art. 6510

   (“other than in the lawful discharge of a civil or military duty”).] Thus, the Louisiana and

   Texas laws could be construed as outliers. In the end, while the Court finds that the

   Louisiana, Texas, and Oregon laws support the State and are analogous to the Default Rule,

   it concludes that they fail to establish a representative historical tradition to justify the Default

   Rule. Three Reconstruction-era laws are insufficient in number to satisfy the Step Two


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   inquiry. 43 See Bruen, 142 S. Ct. at 2142 (“we doubt that three colonial regulations could suffice

   to show a tradition of public-carry regulation”).

           Finally, the State has again suggested that certain modern regulations establishing a

   “no-carry” presumption as to specific classes of property are analogous to justify the Default

   Rule. [State Opp’n Br. at 7–8, 8 n.3 (citing Alaska Stat. Ann. § 11.61.220; D.C. Code § 7-

   2509.07; Ga. Code Ann. § 16-11-127(b)(4); La. Rev. Stat. § 40:1379.3(O); N.Y. Penal Law §

   265.01-d(1); Ohio Rev. Code Ann. § 2923.126(B)(6); S.C. Code Ann. § 22-31-225).] But these

   laws have limited relevance here. As this Court previously explained, modern-day statutes

   do not establish a tradition of firearms regulation on their own; they are only relevant insofar

   as they are consistent with prior evidence defining the scope that the right was understood to

   have when adopted. [Koons TRO Op. at 42-43 (Docket No. 34).] In fact, Bruen refused to

   consider 20th century firearm laws because they provide no insight into the understanding of

   the Second Amendment. 142 S. Ct. at 2154 n. 28 (refusing to consider 20th century firearm

   laws offered by government and amici because those laws do not clarify the Second

   Amendment’s meaning); see also id. at 2137. In any case, the laws cited do not justify

   presumptively excluding the carriage of firearms by Carry Permit holders on all property that

   is held open to the public. The scope of their “no-carry” defaults is much more limited than

   that of the Default Rule.

           In sum, the evidence that the State has put forward does not persuade this Court that

   the Default Rule permissibly regulates the right to carry for self-defense in public.




   43
     Because the Court finds that the Reconstruction-era evidence offered is insufficient to establish a representative
   tradition, it need not address whether such evidence could ever satisfy Bruen Step Two.
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   Accordingly, Plaintiffs are likely to prevail on their Second Amendment challenge to Chapter

   131’s handgun ban on private property that is held open to the public.

                                 iii.        The Siegel Plaintiffs’ First Amendment Challenge to
                                             the Default Rule

           Next, the Court considers whether the Default Rule violates the First Amendment.

   Because the Court finds that the Default Rule violates the Second Amendment as applied to

   private property that is held open to the public, the Court limits its analysis here to property

   that is not held open to the public. 44 The Siegel Plaintiffs present three arguments. First, they

   contend that the Default Rule is a content-based regulation that requires them “to speak the

   [S]tate’s preferred policy” and, as such, it violates the compelled speech doctrine. [Siegel PI

   Reply Br. at 44.] Second, they assert that the Default Rule is a content-based regulation

   because it requires them to speak a message that they would not otherwise speak. [Id. at 44–

   45.] Third, even if the Default Rule is not content based, they argue that it fails to survive

   intermediate scrutiny. [Id. at 46.] In reply, the State’s argument is simple: the Default Rule

   does not implicate the compelled speech doctrine nor violate the First Amendment because

   the Siegel Plaintiffs are not coerced into speaking a particular message. [State Opp’n Br. at

   21.]

           The First Amendment, applicable to the states through the Fourteenth Amendment,

   prohibits laws that abridge the freedom of speech. U.S. Const. amends. I, XIV. “[A]bove all

   else, the First Amendment means that government has no power to restrict expression

   because of its message, its ideas, its subject matter, or its content.” Police Dep’t of Chicago v.




   44
     The Court does not intend to intimate that the distinction it found to be meaningful in its Second Amendment
   analysis is similarly material and applicable in its First Amendment analysis. Rather, the Court need not adopt
   findings that would be immaterial to its conclusion.
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   Mosley, 408 U.S. 92, 95 (1972). Thus, when reviewing a law that is alleged to violate the First

   Amendment, courts ordinarily first determine whether the law is a content-based or content-

   neutral regulation of speech. See Nat’l Inst. of Fam. & Life Advocs. v. Becerra, 138 S. Ct. 2361,

   2371 (2018). That is because the distinction is of analytic importance. “Content-based laws—

   those that target speech based on its communicative content—are presumptively

   unconstitutional and may be justified only if the government proves that they are narrowly

   tailored to serve compelling state interests.” Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015).

   Content-neutral laws are subject to intermediate scrutiny and may be justified only if they are

   “narrowly tailored to serve a significant governmental interest.” Madsen v. Women’s Health

   Ctr., Inc., 512 U.S. 753, 764 (1994); McCullen v. Coakley, 573 U.S. 464, 486 (2014).

          To determine whether a law is content based, courts ask whether the “law applies to

   particular speech because of the topic discussed or the idea or message expressed.” Reed, 576

   U.S. at 163. But facially content neutral laws that “cannot be ‘justified without reference to

   the content of the regulated speech,’ or that were adopted by the government ‘because of

   disagreement with the message the speech conveys,’” must satisfy strict scrutiny. Id. at 164

   (quoting Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989)) (cleaned up).

          Still, as a matter of first principles, a challenged law does not come within the scope

   of the First Amendment where it does not restrict “speech.” See Sorrell v. IMS Health Inc., 564

   U.S. 552, 567 (2011) (distinguishing between laws that restrict protected expression and laws

   that are directed at commerce or conduct and impose merely incidental burdens on speech).

   Nor is there compelled speech where individuals are not coerced into speaking a particular

   message. See Spence v. Washington, 418 U.S. 405, 410–11 (1974) (noting an “intent to convey

   a particularized message” by college student who displayed flag with peace symbol on private


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   property to protest Vietnam War in challenge to Washington’s improper-use-of-flag statute).

   These propositions are practically self-evident from the text of the Amendment as well.

          Consider the quintessential examples. In West Virginia Board of Education v. Barnette,

   the Court held that a law requiring schoolchildren to recite the Pledge of Allegiance and to

   salute the flag violated the First Amendment because of its inherently coercive nature in

   demanding fealty to a specific message. 219 U.S. 624, 642 (1943) (“If there is any fixed star

   in our constitutional constellation, it is that no official, high or petty, can prescribe what shall

   be orthodox in politics, nationalism, religion, or other matters of opinion or force citizens to

   confess by word or act their faith therein.”). In Wooley v. Maynard, the Court invalidated a

   New Hampshire law that required drivers to display the state motto—“Live Free or Die”—

   on their license plates. 430 U.S. 705, 717 (1977). In both cases, the government was

   prohibited from “telling people what they must say.” Rumsfeld v. Forum for Acad. & Inst. Rts.,

   Inc., 547 U.S. 47, 61 (2006).

          More recently, the Court invalidated a California law that required licensed clinics to

   inform patients regarding the availability of free or low-cost services, including abortions, and

   unlicensed clinics to notify patients that California had not licensed them to provide medical

   services. Becerra, 138 S. Ct. at 2376, 2378. To comply with the law, clinics were required to

   disseminate government-drafted notices. Id. at 2369–70. But the petitioners in Becerra

   allegedly opposed the practice of abortion and disputed the requirement that they share the

   government’s words with patients. Discussing the licensed notice, the Court explained that,

   “[b]y compelling individuals to speak a particular message, such notices ‘alter the content of

   their speech.’” Id. at 2371. The requirement was thus subject to strict scrutiny, id., and the




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   state could not demonstrate that it was the least restrictive means of “educating low-income

   women about the services it provides,” id. at 2375–76.

           Here, the Default Rule does not compel property owners to speak a particular message,

   so it is not a regulation of speech within the scope of the First Amendment’s protection.

   Unlike in Barnette, Wooley, and Becerra where the state required individuals to, inter alia, pledge

   allegiance, display the state’s motto, and inform patients about free abortion services, property

   owners here are not required to express a specific message at all. Rather, the Default Rule

   sets a background rule and construes the sound of silence. Property owners can depart from

   the background rule by manifesting their consent to the entry of firearms on their property, or

   they can stay silent. Of course, they can withhold consent, too. Placing the burden on firearm

   carriers to seek consent to enter private property, the State does not mandate that property

   owners speak certain words to manifest or deny consent or to do so in any particular way.

   The Default Rule merely gives property owners the choice.45

           Nor is it clear how the Siegel Plaintiffs are burdened by the Default Rule, or how they

   are forced to “speak the [S]tate’s preferred policy.” Plaintiffs Siegel, Cook, and DeLuca allege

   that, as homeowners, “they wish to allow the carry of handguns in their homes without

   posting a sign or engaging in express speech.” [Siegel Compl. ¶ 314 (Siegel Docket No. 1).]

   This is the only allegation the Court can identify in their pleadings to ground their general

   arguments on behalf of private property owners. In other words, they object to an obligation

   placed on other individuals (i.e., firearm carriers) because the result requires them to manifest

   consent. The Court fails to see how the Siegel Plaintiffs’ free speech rights are burdened where



   45
     As discussed above, see supra Section IV.G.2.b.i., this choice is acceptable on property that is not “held open
   to the public” or, in other words, on property which others are not customarily invited to enter by implication.
   Just as a Second Amendment right is not implicated in such cases, neither is a First Amendment right.
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   others (i.e., firearm carriers) are required to seek permission to carry firearms in the Siegel

   Plaintiffs’ homes. And the Default Rule does not require them to manifest their consent.

   They can deny firearm carriers entry into their homes, too. Thus, the identifiable “expressive

   content” at issue in First Amendment jurisprudence is not present here.

           For these reasons, the Default Rule, as it applies to private property not held open to

   the public, does not violate the First Amendment because it does not regulate speech.46

                                   iv.         The Siegel Plaintiffs’ Equal Protection Challenge to
                                               the Default Rule

           Finally, the Court considers whether the Default Rule violates the Equal Protection

   Clause of the Fourteenth Amendment. The Siegel Plaintiffs contend that the Default rule (and

   Chapter 131 for that matter) reveals the State’s animus towards firearm carriers and

   discriminates against them on the basis of their exercise of a fundamental right. [Siegel PI

   Reply Br. at 48.] The State repeats that Plaintiffs do not have a Second Amendment right to

   carry on private property against the consent of the property owner and argue that the Default




   46
      For this reason, the Court also disagrees with the Siegel Plaintiffs’ other arguments. The Default Rule does
   not “[m]andate[e] speech that a speaker would not otherwise make.” Riley v. Nat’l Fed’n of the Blind of N.C., Inc.,
   487 U.S. 781, 795 (1988) (citing Miami Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 256 (1974)). In Tornillo, for
   instance, the Court struck down a Florida law that required newspapers to provide political candidates whose
   character had been assailed space in their newspaper columns to respond free of charge (i.e., a ‘right of reply’).
   418 U.S. at 244. The court explained that the law “exacts a penalty on the basis of the content” the newspaper
   published and “‘dampens the vigor and limits the variety of public debate’” thereby. Id. at 256, 257 (quoting
   N.Y. Times Co. v. Sullivan, 376 U.S. 254, 279 (1964)). Here, unlike in Tornillo, the Default Rule does not require
   property owners to speak a specific message where they would otherwise stay silent; it places a burden on firearm
   carriers to seek express consent to enter another’s property with their firearm, and it gives property owners a
   choice to manifest their right to exclude. Additionally, for the same reason, neither is the Default Rule a facially
   neutral restriction on speech. The Default Rule simply does not implicate either level of scrutiny because it does
   not regulate speech. See, e.g., Club Madonna, Inc. v. City of Miami Beach, 500 F. Supp. 3d 1304, 1310 (S.D. Fla.
   2020) (refusing to apply First Amendment analysis to ordinance that required club to check identification of
   nude dancers to prevent human trafficking and child labor); Las Vegas Police Protective Ass’n Metro Inc. v. Las Vegas
   Metro. Police Dep’t, 2017 WL 1246339, at *2 (D. Nev. Mar. 31, 2017) (rejecting challenge to legislation that did
   not “concern or regulate speech,” but rather required employee organization to pay for time spent performing
   duties unrelated to local government employment).
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   Rule is merely about shifting the burden from landowners to revoke permission to enter to

   firearm carriers to seek such consent. [State Opp’n Br. at 22–23.]

          Though it previously concluded that the Default Rule appears to criminalize a right

   protected by the Second Amendment as to property held open to the public, the Court, unlike

   before, does not confine its analysis here to property that is not held open to the public.

   Ultimately, the Court concludes that the Default Rule does not abridge the Constitution’s

   commitment to equal protection.

          The Equal Protection Clause of the Fourteenth Amendment provides that no state

   shall “deny to any person within its jurisdiction the equal protection of the laws.” U.S. Const.

   amend. XIV, § 1. This command “is essentially a direction that all persons similarly situated

   should be treated alike.” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985).

   Thus, laws that distinguishes between persons based on “suspect classifications,” such as race

   and national origin, or fundamental rights, such as the right to travel, marry, and vote, are

   subjected to “the most exacting scrutiny.” Clark v. Jeter, 486 U.S. 456, 461 (1988) (collecting

   cases). Intermediate scrutiny is applied to classifications based on sex or illegitimacy. Id.

   Otherwise, legislation will survive constitutional scrutiny if it is rationally related to a

   legitimate government interest. Romer v. Evans, 517 U.S. 620, 631 (1996); see also Tolchin v.

   Sup. Ct. of New Jersey, 111 F.3d 1099, 1113 (3d Cir. 1997) (“as a general matter, economic and

   social legislation is subject to rational basis review.”) (citation and internal quotation marks

   omitted).

          The Siegel Plaintiffs allege that the State subjects them to unequal treatment based on

   their exercise of a fundamental right to carry for self-defense. “Merely infringing on a

   fundamental right, however, does not implicate the Equal Protection Clause.” Teixeira v.


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   County of Alameda, 822 F.3d 1047, 1052 (9th Cir. 2016), aff’d on reh’g en banc, 873 F.3d 670 (9th

   Cir. 2017). To demonstrate that a law treats similarly situated persons differently, a plaintiff

   must show that “he is being denied a fundamental right while others are permitted to exercise

   such right, and that there is no valid justification for the distinction.” Id. (citing Skinner v.

   Oklahoma ex rel. Williamson, 316 U.S. 535, 541 (1942); Kramer v. Union Free Sch. Dist. No. 15,

   395 U.S. 621 (1969); Shapiro v. Thompson, 394 U.S. 618 (1969), overruled, in part, on other

   grounds by Edelman v. Jordan, 415 U.S. 651 (1974)).

          For instance, in Teixeira, retail firearm store owners argued that a county denial of their

   conditional use permit to sell firearms violated equal protection and the Second Amendment.

   822 F.3d at 1050–51. Advancing their equal protection claim, they asserted that the county’s

   denial was based on their engagement in assisting customers to exercise a Second Amendment

   right; other retailers that were not engaged in the sale of firearms were permitted to operate.

   Id. at 1052. Rejecting their claim, the court explained that the firearm store owners and “other

   general retailers” were not similarly situated, as the latter group was also “forbidden from

   engaging in the commercial sale of firearms absent compliance with the [county law].” Id.

   Accordingly, the law did not differentially distinguish between persons who exercise the

   fundamental right. Id.

          Here, the Siegel Plaintiffs contend that the State subjects individuals who exercise their

   right to carry for self-defense to harsher penalties than individuals who exercise their First

   Amendment rights (for example, to protest). [See Siegel Pls.’ Br. at 48.] The latter is subject

   to trespass liability pursuant to N.J. Stat. Ann. § 2C:18–3 whereas the former is subject to the

   Default Rule as well. Their argument has some persuasive force, as this Court discussed

   above. See supra Section IV.G.2.b.i. For equal protection purposes, however, the two groups


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   are not similarly situated because they involve the exercise of different rights. This is not a

   situation where a state law treats one group of firearm carriers differently from another.

   Therefore, the Siegel Plaintiffs’ equal protection challenge must fail. See Teixeira, 822 F.3d at

   1052 (“Because [the firearm store owners’] equal protection challenge is no more than a

   Second Amendment claim dressed in equal protection clothing, it is subsumed by, and

   coextensive with the former, and therefore is not cognizable under the Equal Protection

   Clause.”) (cleaned up) (internal citation and quotation marks omitted); see also Solomon v. Cook

   Cnty. Bd. of Comm’rs, 559 F. Supp. 3d 675, 704 (N.D. Ill. 2021) (rejecting substantive due

   process and equal protection argument for repackaging Second Amendment claim) (citing

   Culp v. Raoul, 921 F.3d 646, 658 (7th Cir. 2019), cert. denied, 141 S. Ct. 109 (2020)).

                          c.         Chapter 131’s Enumerated “Sensitive Places” (and Related
                                     State Statutes that Pre-Date Bruen)

            The Court now considers the constitutionality of the enumerated “sensitive places” in

   Chapter 131 and those other, related state laws challenged by the Siegel Plaintiffs that pre-date

   Bruen.

                                i.         Public Gatherings, Demonstrations, and Events
                                           Requiring a Government Permit

            Only the Siegel Plaintiffs challenge Chapter 131’s prohibition on Carry Permit holders’

   bringing their handguns to public gatherings, demonstrations, or events requiring a

   government permit. [Siegel Compl. ¶¶ 257–58 (Siegel Docket No. 1).] This Court did not

   consider the merits of their challenge to this provision at the TRO stage. [Siegel TRO Op. at

   19–20 (Docket No. 51).] With standing resolved, see supra Section IV.G.1., this Court

   considers the constitutionality of Chapter 131’s ban on firearms at public gatherings.




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          Unquestionably, the Siegel Plaintiffs’ proposed course of conduct of carrying their

   handguns in public for self-defense falls within the Second Amendment’s text. See Bruen, 142

   S. Ct. at 2134–35. Chapter 131’s prohibition on carrying handguns at public gatherings

   infringes on their constitutional right to armed self-defense in public because the law requires

   Carry Permit holders to disarm before attending any public gatherings or events requiring a

   government permit. N.J. Stat. Ann. § 2C:58-4.6(a)(6). Because the Second Amendment

   presumptively protects the Siegel Plaintiffs’ conduct, the State must show that

   “well-established” and “representative” historical firearm laws likewise prohibited firearms at

   public gatherings. Bruen, 142 S. Ct. at 2126, 2133.

          At the outset, it is significant to note the State provided no historical firearm laws from

   the colonial generation that banned firearms at public assemblies. Rather, the State offers

   only 19th-century laws from southern and mid-western states that prohibited firearms at

   certain public assemblies. [State Opp’n Br. at 34–35 (Docket No. 91).] Yet Plaintiffs alluded

   to some colonial laws in their briefing suggesting that colonists were required to bring their

   arms to certain public gatherings. [Koons PI Reply Br. at 17 (Docket No. 101).]

          To place the State’s historical evidence in context, the Court reviews colonial firearm

   laws enacted before the Second Amendment’s ratification. The colonial generation required

   the settlers to carry weapons during public assemblies to defend against hostilities from Native

   Americans, protect themselves from criminals and pirate raids, to curb slave rebellions, and

   to be ready for a potential foreign invasion. See generally Halbrook, supra Section IV.D.1.a, at

   131–35; Clayton E. Crammer, Colonial Firearm Regulation, 16 J. on Firearms & Pub. Pol’y 1,

   6–7 (2004). This history is relevant because the “Second Amendment . . . codified a

   pre-existing right.” Heller, 554 U.S. at 592 (emphasis omitted).


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          Starting in 1619, Virginia’s House of Burgesses passed a law requiring “all persons”

   attending church services on the Sabbath “to beare arms” and bring with them “their pieces,

   swordes, poulder and shotte.” Lyon Gardiner Tyler, Narratives of Early Virginia, 1606–1625, at

   273 (Charles Scribner’s Sons, 1907). Then, in 1632, Virginia’s General Assembly enacted a

   law requiring all men fit to bear arms to bring their weapons “to the church.” 1 William

   Waller Hening, The Statutes at Large, Being a Collection of All the Laws of Virginia from the First

   Session of the Legislature, in the Year 1619, at 174 (New York, R. & W. & G. Bartow 1823). A

   decade later, in 1642, Virginia’s legislature enacted another law requiring the “masters of

   every family [to] bring with them to Church on Sundays one fixed and serviceable gun with

   sufficient shot and powder.” Id. at 263. Because of the threat posed against the early colonists

   by Native Americans—a pernicious problem for the settlers—in 1676, Virginia’s governor

   required “all people be enjoined and required to go armed for their greate[r] security . . . in

   going to churches and court in these times of danger.” Halbrook, supra Section IV.D.1.a, at

   125 (quoting An Act for the Safeguard and Defence of the County Against the Indians, 28

   Car. II, 2). About a hundred years later, in 1755, Virginia passed another law allowing each

   county’s chief militia officer to order all enlisted militiamen “to go armed to their respective

   parish churches.” 6 William Waller Hening, The Statutes at Large, Being a Collection of All the

   Laws of Virginia from the First Session of the Legislature, in the Year 1619, at 534 (Richmond,

   Franklin Press 1819).

          Virginia was not alone. In 1636, Colonial Massachusetts required citizens to attend

   public assemblies with “their muskets or other peeces [sic] fit for service, furnished with

   match, powder, and bullets.” 1 Nathaniel B. Shurtleff, Records of the Governor and Company of

   the Massachusetts Bay in New England 190 (Boston, William White Press 1853). Rhode Island,


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   in 1639, likewise ordered that no “man shall go two miles from the Towne unarmed, [either]

   with Gunn or Sword; and that none shall come to any public Meeting without his weapon.”

   1 John R. Bartlett, Records of the Colony of Rhode Island and Providence Plantations, in New England

   94 (Providence, A.C. Greene & Bros. 1856). Like the other colonials, Maryland’s colonists

   were familiar with violence from encounters with the Native Americans, and in 1642,

   Maryland provided that “noe man able to bear arms to goe to church or Chapell or any

   considerable distance from home without fixed gunn and 1 Charge at least of powder and

   Shott.” 3 William Hand Browne, Archives of Maryland: Proceedings of the Council of Maryland

   1636–1667, at 103 (Baltimore, Md. Hist. Soc’y 1885). Connecticut followed step in 1643 by

   ordering that certain citizens bring muskets, pistols or some “peeces” with powder and shot

   when attending meetings on the Sabbath or “lecture” days. 1 J. Hammond Trumbell, The

   Public Records of the Colony Connecticut, Prior to the Union with New Haven Colony 95 (Hartford,

   Brown & Parsons 1850).

          Within the decades before the Second Amendment’s ratification, South Carolina, in

   1740, passed a law requiring “every white male inhabitant of this Province . . . who is liable

   to bear arms in the militia of this Province” who attends “any church or any other public

   place of divine worship” to “carry with him a gun or a pair of horse pistols . . . with at least

   six charges of gunpowder and ball.” 7 David J. McCord, Statutes at Large of South Carolina

   417–19 (Columbia, A.S. Johnston 1840). This law appears aimed at violence stemming from

   slave revolts. See id. Then, in 1770, Georgia enacted a law requiring “every white male

   inhabitant of this province . . . who is or shall be liable to bear arms in the militia . . . and

   resorting, on any Sunday or other times, to any church, or other place of divine worship” to

   “carry with him a gun or a pair of pistols.” Horatio Marbury & William A. Crawford, Digest


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   of the Laws of the State of Georgia 241–42 (Savannah, Seymour, Woolhopter & Stebbins 1802).

   The law required the churchgoer to bring his weapon “with him to the pew or seat.” Id.

           Given the above, the historical evidence demonstrates that six out of the thirteen

   original colonies required their citizens to go armed when attending religious services or

   public assemblies. Heller, 554 U.S. at 601 (observing that “[m]any colonial statutes required

   individual arms bearing for public-safety reasons”). The colonial generation recognized that

   citizens attending public gatherings exposed themselves to violent attack. While public

   assemblies might conjure the notion that there is “strength in numbers,” history reveals that

   the more crowded the gathering, the greater the risk of attack. To abate that risk, American

   colonists obligated their citizenry to arm themselves for protection.

           Against that colonial canvas, the State offers mid- to late-19th century laws from

   Texas, Tennessee, Georgia, Missouri, New Mexico, Arizona, and Oklahoma, as well as city

   laws from Columbia, Missouri, and Stockton, Kansas, to justify disarming Carry Permit

   holders within 100 feet of public gatherings, demonstrations, or events requiring government

   permits. [State Opp’n Br. at 34–35 (Docket No. 91).] The State also relies on various state

   court decisions it purports upheld the validity of those laws. [Id. at 35 (citing English v. State,

   35 Tex. 473 (1871); Hill v. State, 53 Ga. 472 (1874); State v. Shelby, 90 Mo. 302 (1886); Andrews

   v. State, 50 Tenn. 165 (1871); State v. Reando (Mo. 1878)).] 47 The State also contends the

   reasoning behind Chapter 131’s firearm ban at public assemblies—to protect First

   Amendment interests—is similar to banning firearms at sensitive places such as polling places

   and courthouses. [Id. at 36].




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      A copy of State v. Reando is annexed to the Declaration of Patrick J. Charles ¶ 14 n.4, Ex. 23. (Docket No.
   86-23).
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           The Texas, Missouri, Oklahoma, and Arizona state laws, and the city laws the State

   relies on are virtually identical. Those laws made it unlawful to carry firearms at: (1) “any

   church or religious assembly,” (2) “any school room or other place where persons are

   assembled for educational, literary or scientific purposes,” (3) “ball room, social party or other

   social gathering composed of ladies and gentlemen,” (4) “any election precinct on the day or

   days of any election, where any portion of the people of th[e] State are collected to vote at any

   election,” (5) “any other place where people may be assembled to muster or to perform any

   public duty,” or (6) “any other public assembly.” 1870 Tex. Gen. Laws 63, § 1 (Docket No.

   88-5); Tex. Penal Code tit. IX, ch. 4, art. 320 (1879) (Docket No. 88-9); 48 1874 Mo. Laws 43,

   § 1 (Docket No. 88-45); 1879 Mo. Rev. Stat., ch. 24, Art. II, § 1274, p. 224 (Docket No. 88-

   10); 1889 Ariz. Terr. Sess. Laws 17, § 3 (Docket No. 89-30); 1890 Okla. Terr. Stats., Art. 47,

   § 1, p. 496 (Docket No. 89-31); Columbia, Mo. Gen. Ordinances ch. XVII, § 163 (1890)

   (Docket No. 86-16); and Stockton, Kan. Ordinances, no. 76, § 1 (1887), reprinted in Stockton

   Review and Rooks County Record (Stockton, Kan.), Vol. VIII, No. 26, July 1, 1887 (Docket No.

   86-24). 49 The Tennessee, Georgia, and New Mexico laws were narrower in scope. The 1869

   Tennessee law made it unlawful to carry firearms at “any election” in the state, “any fair, race

   course, or other public assembly of the people.” Act of Dec. 1, 1869, ch. XXII, § 2, 1870

   Tenn. Acts 23 (Docket No. 88-8). In 1870, Georgia outlawed the carrying of firearms at “any

   Court of Justice, or any election ground, or precinct, or any place of public worship, or any



   48
     The Texas penal code codified the Act of April 12, 1871 that criminalized the carrying of arms in churches or
   other public assemblies.
   49
      The laws varied slightly. For example, the Oklahoma law banned firearms at “any political convention” and
   “any place where intoxicating liquors are sold.” 1890 Okla. Terr. Stats., Art. 47, § 1, p. 496 (Docket No. 89-31).
   The Missouri laws, state and city, included “any court-room during the sitting of court.” 1879 Mo. Rev. Stat.,
   ch. 24, Art. II, § 1274, p. 224 (Docket No. 88-10); Columbia, Mo. Gen. Ordinances ch. XVII, § 163 (1890)
   (Docket No. 86-16)
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   other public gathering in this State.” Ga. Code pt. IV, tit. I, div. X, § 4528, p. 818 (1873)

   (codifying 1870 act) (Docket No. 88-22). The 1869 New Mexico law criminalized the

   “draw[ing] and us[ing] of any deadly weapon”—that is, firearms—“in any ball, dance, or

   other public gathering of the people, or near where any election authorized by law is being

   held in any part of the Territory.” 1869 N.M. Laws ch. 32, § 5 (Docket No. 90-49).

           The Court finds that the above laws are not “well-established” and “representative”

   historical firearm regulations to justify prohibiting Carry Permit holders from carrying their

   handguns at public gatherings or demonstrations requiring a government permit. Bruen, 142

   S. Ct. at 2133.

          First, Arizona’s and Oklahoma’s state laws, as well as the city laws from Columbia,

   Missouri, and Stockton, Kansas, were enacted a decade before the turn of the 19th century,

   and so under Bruen, they provide little insight into the public’s understanding of the Second

   Amendment’s meaning either in 1791 or 1868. 142 S. Ct. at 2153–54. Arizona, New Mexico,

   and Oklahoma were also all territories. These territorial restrictions “deserve little weight”

   because they were often “transitory [in] nature,” “rarely subject to judicial scrutiny,” and only

   governed small populations of those living in the regions. Id. at 2154–55 (noting that Arizona,

   Idaho, New Mexico, Oklahoma, and Wyoming combined for less than 1% of the entire

   United States’ population in 1890). New Mexico’s law deserves no consideration because

   that law only criminalized using or drawing a firearm during public gatherings—not mere

   possession of a handgun as Chapter 131 does here. Thus, this Court gives little weight to the

   Arizona’s and Oklahoma’s laws and the city laws, and no weight to the New Mexico law.

          Turning to the 1870 Georgia law, this Court finds that the law’s ban on firearms did

   not apply across the board to all public assemblies and gatherings as Chapter 131’s ban does.


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   The Georgia law proscribed possession of firearms at any courts, election grounds or

   precincts, places of public worship, and “any other public gathering in this State.” Ga. Code

   pt. IV, tit. I, div. X, § 4528, p. 818 (1873) (codifying 1870 act) (Docket No. 88-22). Under

   statutory construction principles, the meaning of the phrase “any other public gathering” is

   to be construed by reference to the places previously identified—courts, election grounds, and

   religious institutions. Singh v. Uber Tech., Inc., 939 F.3d 210, 2020 n.3 (3d. Cir. 2019) (stating

   that ejusdem generis “is a statutory canon through which, ‘when a statute sets out a series of

   specific items ending with a general term, [the] general term is confined to covering subjects

   comparable to the specifics it follows’”) (quoting Hall St. Assocs., LLC v. Mattel, Inc., 552 U.S.

   576, 586 (2008)). The key attributes of the specific public gatherings identified in the law

   concern the performance of a civic duty, such as voting, or exercising First Amendment

   religious rights, such as attending religious services, or accessing the courts. Accordingly, the

   Georgia criminal law may have been inapplicable to other types of public gatherings, such as

   political conventions or protests. See, e.g., United States v. Kaluza, 780 F.3d 647, 661 (5th Cir.

   2015) (“The limiting principle of ejusdem generis has particular force with respect to criminal

   statutes, which courts are compelled to construe rigorously in order to protect unsuspecting

   citizens from being ensnared by ambiguous statutory language.”) (quoting United States v.

   Insco, 496 F.2d 204, 206 (5th Cir. 1974)). Thus, it seems that the Georgia law may not have

   imposed a “comparable burden” on the right to armed self-defense as Chapter 131 does,

   which applies to all types of public gatherings, demonstrations, or events requiring a

   government permit. Bruen, 142 S. Ct. at 2133.

          In any event, the Supreme Court of Georgia’s decision in Hill upholding the 1870 law

   rests on a militia-based reading of the right to keep and bear arms. 53 Ga. at 474 (stating that


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   “the language of the constitution of this state, as well as that of the United States, guarantees

   only the right to keep and bear the ‘arms’ necessary for a militiaman”). There, the defendant

   was indicted under the 1870 law for carrying a loaded pistol at a “court of justice, then in

   session.” Id. at 473. He challenged the law’s constitutionality, arguing that the law violated

   the Second Amendment and Georgia’s constitutional provision on the right to keep and bear

   arms. Id. In refusing to find the law unconstitutional, the Hill court found that the arms

   referenced in Georgia’s constitution applied only to arms belonging to militiaman. Id. at 474

   (“The word ‘arms,’ evidently means the arms of a militiaman, the weapons ordinarily used

   in battle, to-wit: guns of every kind, swords, bayonets, horseman's pistols, etc. The very

   words, ‘bear arms,’ had then and now have, a technical meaning. The ‘arms bearing’ part of

   a people, were its men fit for service on the field of battle.”).

          Although dicta, the Hill court’s reading of the Second Amendment misunderstood the

   right. Heller, 554 U.S. at 592. That court understood the Second Amendment to confer a

   collective right, not an individual private right. Hill, 53 Ga. at 474. While post-ratification

   history may help illuminate the public’s understanding of the Second Amendment, Heller, 554

   U.S. at 605, “post-ratification adoption or acceptance of laws that are inconsistent with the

   original meaning of the constitutional text obviously cannot overcome or alter that text,”

   Bruen 142 S. Ct. at 2137 (emphasis in original) (quoting Heller v. District of Columbia, 670 F.3d

   1244, 1274 n.6 (D.C. Cir. 2011) (Kavanaugh, J., dissenting)). Thus, because the Hill decision

   does not show how the 1870 law banning firearms at certain public gatherings complied with

   the Second Amendment’s original understanding, the State’s reliance is misplaced.

          The Texas statutes and court decision the State relies on suffer the same demise. As

   noted above, the 1870 and 1871 Texas laws banned firearms at various locations where people


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   assembled. 1870 Tex. Gen. Laws 63, § 1 (Docket No. 88-5); Tex. Penal Code tit. IX, ch. 4,

   art. 320 (1879) (Docket No. 88-9). In English, the Supreme Court of Texas considered, among

   other things, the constitutionality of the 1871 Texas law in reviewing a conviction of a man

   convicted of bringing a butcher knife to a church. 50 Like Georgia’s Supreme Court, the English

   court concluded that that “arms” referenced in the Second Amendment and Texas’

   constitution applied only to weapons “used for the purposes of war.” 35 Tex. at 475, 478; see

   also id. at 477 (“The word ‘arms’ in the connection we find it in the constitution of the United

   States, refers to the arms of a militiaman or soldier, and the word is used in its military

   sense.”). The Texas high court’s interpretation of the Second Amendment as a militia-based

   right—a collective right—not a private, individual right for self-defense contravenes the

   original understanding of the right. Heller, 554 U.S. at 592. Accordingly, the English court’s

   acceptance of the 1871 law provides little insight into whether banning firearms at public

   gatherings is permissible under the Second Amendment as originally understood. Bruen 142

   S. Ct. at 2155. In fact, the Bruen Court found English’s rationale to be an “outlier.” 51 Id. at

   2153.

           The Missouri laws and the cases the State relies on to support Chapter 131’s handgun

   ban at public assemblies fair no better. One of the Missouri laws the State relies upon is



   50
     In English, the Texas Supreme Court considered three separate convictions. The court’s opinion only discusses
   the facts of defendants English’s and Daniels’ convictions. English was convicted for carrying a pistol in public
   while intoxicated. Daniels did not file a brief. The court’s decision is silent on the facts surrounding defendant
   Carter’s conviction because the court did not have a transcript and Carter did not file a brief.
   51
      Courts should be cautious to give Texas’ Constitution of 1869 and the resulting English decision much weight
   because that Constitution and English likely emerged from the miliary occupation of Texas following the Civil
   War. See Masters v. State, 653 S.W.2d 944, 947 (Tex. Ct. App. 1983) (Powers, J., concurring) (explaining that
   the English “decision was made by the semicolon court, a court established by a State constitution (that of 1869)
   which was the product of military occupation and the disfranchisement of most of the State's inhabitants,
   circumstances which deprive that court's decisions of stare decisis effect”). Indeed, the author of the English
   decision, Justice Moses B. Walker, “had been a Union officer in the Civil War and worked in the military
   occupation of Texas after the war.” Halbrook, supra Section IV.D.1.a, at 278.
                                                         161
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   inapposite as it criminalized the carrying of concealed weapons at public assemblies. 1874

   Mo. Laws 43, § 1 (Docket No. 88-45). State v. Reando, the case the State relies upon, applied

   that law to uphold a criminal conviction for carrying a concealed weapon at a statutory

   designated location. [Charles Decl. ¶¶ 14, 14 n.4, Ex. 23 (Docket No. 86-25).] But as noted

   in Bruen, state laws banning concealed carry of weapons did not translate into complete bans

   on carrying weapons in public. 142 S. Ct. at 2146–47. States that banned concealed carry

   “did not similarly prohibit open carry.” Id. (collecting statutes and cases).

          Indeed, the Reando court even recognized that the law punished only concealed carry

   and left Missourians with the right to open carry their firearms at the designated locations.

   [Charles Decl. ¶¶ 14, 14 n.4, Ex. 23 (“Under this statute the right to enter, even such places,

   by any person bearing arms openly and exposed to public view is not prohibited.”).] The

   court warned that a complete ban on firearms at the statutory public assemblies could run

   afoul of Missouri’s state constitution. [Id. (“If the statute in question had the effect of denying

   this right, and absolutely prohibiting the citizen from keeping and bearing arms, we would

   not hesitate to pronounce it void, as being violative of a constitutional right secured to every

   man by the constitution of the State.”).] But the court observed that the legislature might one

   day ban all firearms at the statutorily designated locations. [Id. (“We do not say nor do we

   wish to be understood as saying that the legislature might not prohibit a person from bearing

   arms, even openly, in such places as are mentioned in the statute, without such prohibition to

   constitutional objections.”).]

          A few years later, in 1879, the acting legislature removed the concealed carry limitation

   on banning firearms at the public assembly locations. 1879 Mo. Rev. Stat., ch. 24, Art. II, §




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   1274, p. 224 (Docket No. 88-10). 52 Thus, the law criminalized both concealed and open carry

   at the designated locations. Id. While the statute banned concealed carry everywhere in the

   state, the law did not prohibit open carry in locations other than those identified public

   assemblies. Id.

           In Shelby, the Supreme Court of Missouri upheld a conviction against an individual

   carrying concealed pistol at hotel while intoxicated. 2 S.W. at 469–70. Despite the State’s

   contrary interpretation, the Shelby court did not apply the portion of the law criminalizing the

   possession of firearms at public assemblies. While the court observed that the 1879 law’s ban

   on firearms at public assemblies was not limited to concealed carry, the court only addressed

   the constitutionality of the general concealed carry provision of the law and the provision on

   carrying guns while intoxicated. Id.

           Shelby tells this Court nothing about banning firearms at public assemblies. In fact,

   given the Missouri Supreme Court’s declaration in Reando—that complete bans on all

   firearms at public assemblies would likely violate the state’s constitution, [see Charles Decl.

   ¶¶ 14, 14 n.4, Ex. 23]—this Court questions whether the 1879 law was permissible under

   Missouri’s state constitution. Because of the questionable constitutionality of the 1879 law,

   this Court also questions whether the law is a reliable historical analogue under Bruen. Cf.

   142 S. Ct. at 2131 (explaining that “if some jurisdictions actually attempted to enact

   analogous regulations during this timeframe, but those proposals were rejected on

   constitutional grounds, that rejection surely would provide some probative evidence of

   unconstitutionality”).




   52
     The Missouri legislature amended the law in 1883 to increase the criminal penalties. 1883 Mo. Laws 76, § 1
   (Docket No. 89-29).
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           Turning to Tennessee, the state law’s ban on possession of pistols at polling places, fair

   grounds, races courses, and “other” public assemblies appears to offer some support to

   Chapter 131’s ban on handguns at public gatherings. Tennessee amended its gun laws several

   times in the 19th century largely because of the Supreme Court of Tennessee’s decision in

   Andrews. See generally Poe v. State, 3 S.W. 658, 659–60 (Tenn. 1887) (reviewing changes to

   state’s gun law). In Andrews, the court considered the constitutionality of a state law banning

   the possession of, among other things, a “belt or pocket pistol or revolver.” 50 Tenn. at 171.

   The Andrews court concluded that the statute’s ban on revolvers violated Tennessee’s

   constitutional right “to keep and bear arms for their common defense” because a revolver

   could be a soldier’s weapon. Id. at 177, 187. In doing so, the court construed Tennessee’s

   constitutional right to keep and bear arms as a private right to ensure the “efficiency of the

   people as soldiers, when called into actual service for the security of the State.” Id. at 178.

   Thus, the court found that the legislature could not ban possession of some weapons—such

   as long guns—because those are the arms used by soldiers. Id. at 179.

           In dicta, however, the court noted that the state’s legislature could ban firearms—even

   those arms used by soldiers—at churches or other public assemblies because “carrying them

   to such places is not an appropriate use of them, nor necessary in order to his familiarity with

   them, and his training and efficiency in their use.” Id. at 182. While the Andrews court did

   not specifically interpret the 1869 law the State relies on, the court’s dicta suggests that

   Tennessee’s high court would have allowed lawmakers to impose time and place restrictions

   on the state constitutional right to keep and bear arms. Id. 53


   53
      Following Andrews, the Tennessee legislature amended the state’s gun law to allow possession of an “army
   pistol” or pistols “commonly carried and used in the United States” only if “carried openly in [one’s] hands.”
   Bruen, 142 S. Ct. at 2147 n.21 (quoting 1871 Tenn. Pub. Acts. ch. 90, § 1).

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           In the end, then, the State offers only a handful of state laws of unknown duration and

   state court decisions mainly from southern and mid-western states (several of which relied on

   a flawed misunderstanding of the Second Amendment’s original understanding) to justify

   Chapter 131’s handgun ban at public gatherings. Those laws, however, stray from this

   Nation’s colonial history of arming citizens attending public assemblies for safety reasons.

   Heller, 554 U.S. at 601. Even if those laws were established among the southern and

   mid-western states, it cannot be said that the laws were representative of the Nation. Indeed,

   by 1890, the population across those states represented less than 15% of the entire nation. 54

   Antonyuk, 2022 WL 16744700, at *67 (finding historical laws governing less than 15% of the

   nation’s population were not representative of entire nation). Put simply, those 19th century

   laws do not establish a historical tradition of banning firearms at public assemblies or

   gatherings. Cf. Espinoza v. Mont. Dep’t of Revenue, 591 U.S. ____, ____, 140 S. Ct. 2246,

   2258-59 (2020) (observing that 30 states adoption of laws “in the second half of the 19th

   century . . . cannot by itself establish an early American tradition” to inform the understanding

   of the First Amendment).

           The State also cannot justify Chapter 131’s firearms ban at public gatherings by

   equating that law to firearm prohibitions at sensitive places such as polling places and

   courthouses. In Bruen, the Court recognized that legislative assemblies, polling places, and

   courthouses were historically considered “sensitive places” where weapons could be

   prohibited altogether consistent with the Second Amendment. 142 S. Ct. at 2131. History

   reveals that those places were considered sensitive places because either government officials


   54
     By 1890, the United States had a total population of 62,622,250. The combined populations of Arizona,
   Georgia, Missouri, New Mexico, Oklahoma, Tennessee, Texas, and Stockton, Kansas accounted for about 8.8
   million inhabitants. See Dept. of Interior, Compendium of the Eleventh Census: 1890, Part I. 2, 174 (1892).


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   met at those locations to perform core government administration (courthouses and legislative

   assemblies), or the location involved a citizen’s fundamental right to participate in the political

   process (polling places). See generally David Kopel & Joseph Greenlee, The “Sensitive Places”

   Doctrine, 13 Charleston L. Rev. 205, 206, 229–236, 244–247 (2018). The common thread that

   runs through all these “sensitive” locations is that historically the government provided

   security at them, and so the need for armed self-defense was reduced. See Hardaway v. Nigrelli,

   ____ F. Supp. 3d ____, ____, 2022 WL 16646220, at *14 (W.D.N.Y. Nov. 3, 2022) (noting

   that legislative assemblies and courthouse “are typically secured locations, where uniform

   lack of firearms is generally a condition of entry”).

           For example, Delaware, by its state constitution, banned firearms at polling places and

   prohibited the mustering of the state’s militia on election days. Del. Const., art. 28 (1776).

   Delaware also required sheriffs and other officials responsible for regulating certain elections

   “to attend, conduct, and regulate the election.” Act of Oct. 26, 1790, ch. CCXIV.b., § 1,

   1700-1797 Del. Laws 984. Georgia had a similar law requiring sheriffs and their deputies to

   attend elections to “enforce the orders of the presiding magistrates in preserving good order.”

   Robert & George Watkins, A Digest of the Laws of the State of Georgia 611 (Phila., R. Aitken

   1800). Other states, either by constitutional mandate or legislative enactment, required

   sheriffs or constables to attend elections. 55               States also required security at legislative


   55
     Md. Const. of 1776, art. 3, 14 (requiring sheriffs or their deputies to attend elections “for the preservation of
   the peace” and “be the judges of the election” for House of Delegates and Senate elections); Act of Dec. 11,
   1778 (Va), reprinted in Abridgement of the Public Laws of Virginia 325 (1796) (a 1778 Virginia law requiring the
   sheriff to attend certain elections “to take the poll at such election, entering the names of the persons voted for
   in a distinct column”); Act of Nov. 16, 1807, § 8, 1800-1811 N.J. Laws 36 (a 1807 New Jersey law authorizing
   election officers, “for the preservation of good order” and “for the security of the election officers from insult
   and personal abuse,” to “commit any person or persons who shall conduct in a riotous or disorderly manner”
   to the constable or jail keeper); The Hon. John Faucheraud Grimke, The Public Laws of the State of South Carolina
   386–88 (Phila., R. Aitken & Son, 1790) (providing a table of fees outlining payment to, among others, the sheriff
   for, among other things, “all public services of the Sheriff” including “attending the Court of Claims, summoning


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   assemblies and courthouses in the form of sergeant-at-arms, door keepers, sheriffs, constables,

   or bailiffs. 56 For example, South Carolina required sheriffs or their deputies to “attend all

   courts hereby appointed.” The Hon. John Faucheraud Grimke, The Public Laws of the State of

   South Carolina 271 (Phila., R. Aitken & Son 1790). Likewise, New York required “sheriffs

   and their officers” to attend court proceedings “to do those things which to their offices shall

   pertain.”      Act of Feb. 20, 1801 ch. VIII, § XI, 1807 N.Y. Laws 175-76. Several states

   statutorily allocated funds to pay sergeant-at-arms and door keepers for attending legislative

   assemblies, and sheriffs and constables for attending court proceedings. 57

            Without considering the government-provided security feature of the recognized

   sensitive places, the State would stretch the sensitive places doctrine to cover all places of

   public congregation – this is a bridge too far. Bruen, 142 S. Ct. at 2134 (“[E]xpanding the

   category of ‘sensitive places’ simply to all places of public congregation that are not isolated




   and [empaneling] grand juries, publishing writs of electing members to the General Assembly, taking the ballots
   and returning the writ, [and] serving all public orders of the Court”).
   56
      Act of June 14, 1793, ch. XIX.c., § 11, 1700-1797 Del. Laws 1091 (providing that the “Sheriff of Kent county
   . . . shall be the attendant on the said High Court of Errors and Appeals during the sitting thereof, and be the
   officer for the purpose of executing the orders and process of the said court”); Act of Mar. 15, 1798, § 3,
   1800-1811 N.J. Laws 50-51 (a 1798 law providing that the “constables of the several townships in such county
   shall be the ministerial officers of the said court . . . and to perform all matters, acts, and things appertaining to
   their offices”); Act of Mar. 1, 1780, ch. DCCCLXXIX, § XI, reprinted in 10 Stat. at Large of Pa. 57 (Wm. Stanley
   Ray, 1904) (a 1780 law authorizing the court of errors and appeals “to require and compel the attendance of
   sheriffs, coroners, constables and other ministerial officers as fully as any court of justice in this commonwealth
   can or may do”).
   57
     Connecticut – 1784 Conn. Acts & Laws 63-65; Georgia – Robert & George Watkins, A Digest of the Laws of the
   State of Georgia 473-74 (Phila., R. Aitken 1800); Georgia – Act of Dec. 10, 1807, reprinted in Augustine Smith
   Clayton, A Compilation of the Laws of the State of Georgia 372–73 (Augusta, Adams & Duyckinck 1812);
   Massachusetts – 1786 Mass Acts and Laws, ch. 73, p. 235; New Hampshire – Act of Feb. 9, 1791 (N.H.), 1791
   N.H. Laws 115-16; New Jersey – Extracts from the Journal Proceedings of the Provincial Congress of New Jersey 239-40
   (Woodbury, Joseph Sailer 1835) (1775 law); New York – Act of Apr. 7, 1801, ch. CLXXIII, , § IV, 1807 N.Y.
   Laws 534.; North Carolina – John Haywood, A Manual of the Laws of North Carolina 196 (Raleigh, J. Gales, 3d
   ed. 1814); Pennsylvania – Act of Dec. 27, 1781, ch. CMLVII, § II, reprinted in 10 Stat. at Large of Pa. 57 (Wm.
   Stanley Ray, 1904); South Carolina – The Hon. John Faucheraud Grimke, The Public Laws of the State of South
   Carolina 426–27 (Phila., R. Aitken & Son, 1790); Rhode Island – 1798 R.I. Pub. Laws 222; Vermont – Act of Oct.
   25, 1798, ch. CVII, reprinted in 2 The Laws of the State of Vermont 387 (Randolph, Sereno Wright, 1808).

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   from law enforcement defines the category of ‘sensitive places’ far too broadly.”). Thus, for

   the above reasons, this Court finds the Siegel Plaintiffs have shown a reasonable likelihood of

   prevailing on the merits of their Second Amendment challenge to Chapter 131’s prohibition

   on firearms at public gatherings, demonstrations, or events requiring a government permit. 58

                                  ii.         Zoos

           Like public assemblies requiring a government permit, this Court did not reach the

   merits of the Siegel Plaintiffs’ challenge to Chapter 131’s handgun ban at zoos at the TRO

   stage because of their lack of standing. [Siegel TRO Op. at 17–18 (Docket No. 51).] Having

   now found standing, this Court reviews the merits of their challenge.

           The Second Amendment’s text covers the Siegel Plaintiffs’ proposed course of conduct

   of carrying a handgun in public for self-defense. Bruen, 142 S. Ct. at 2134–35. Chapter 131’s

   prohibition on carrying handguns at zoos infringes on their constitutional right because the

   law penalizes Carry Permit holders who bring their handguns with them to going to a public

   zoo. N.J. Stat. Ann. § 2C:58-4.6(a)(9). The State must now show that historical firearm laws

   likewise prohibited firearms at zoos. Bruen, 142 S. Ct. at 2126, 2133.

           The State argues that zoos first appeared in this Nation during the Reconstruction era

   and were in public parks, such as New York City’s Central Park, Philadelphia’s Fairmount

   Park, and Chicago’s Lincoln Park. [State Opp’n Br. at 37]. Because those parks banned

   firearms, the argument goes, firearms were also banned at those zoos. [Id. at 36-37.] Those

   parks, and in effect zoos, did ban firearms. Fourth Annual Report of the Commissioners of the

   Central Park 106 (1861) (Docket No. 88-23); Acts of Assembly Relating to Fairmount Park 18




   58
     Given this Court’s finding, the Court declines to reach the Siegel Plaintiffs’ void-for-vagueness challenge to
   this provision of Chapter 131.
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   (1870) (Docket No. 88-24); 1881 Mun. Code of Chicago, art. 43, § 1690, p. 391 (Docket No.

   88-26).

             All that may be true, but the State ignores the fact that zoos were scattered throughout

   the Nation during and after the Reconstruction era. Indeed, Massachusetts, Maryland,

   Rhode Island, Ohio, Michigan, and the City of Los Angeles all had zoos. 59 And besides the

   Central Park Zoo, New York had the Buffalo Zoo. 60 History reveals that several of those

   states did not totally ban firearms in public. Rather, most of those states only banned

   concealed carry. 61 For example, in 1893, Rhode Island outlawed the concealed carry of

   firearms—more than 20 years after the Roger Williams Park Zoo opened in 1872. 1893 R.I.

   Acts & Resolves, ch. 1180, § 1, pp. 231–32. Thus, before 1893, Rhode Islanders could

   apparently carry their arms at the zoo without fear of criminal penalties. And after 1893, they

   had the option to open carry. Likewise, Annapolis, Maryland banned concealed carry of

   firearms in 1872, and all of Maryland followed suit in 1886 by prohibiting concealed carry—




   59
      From 1860–1863, Bostonians could enjoy the “Boston Aquarial and Zoological Gardens” which featured
   marine animals and plants as well as “a moose, a leopard, an African python, and several seals.” The Boston
   Aquarial     Gardens     and     Zoological   Gardens,    New       England       Aquarium,       available      at:
   http://www.neaq.org/about_us/mission_and_vision/aquarium_history/boston_aquarial_and_zoological.php
   . The Baltimore Zoo, now known as the Maryland Zoo, originated in the early 1860s. The Story of the Zoo,
   Maryland Zoo, available at: https://www.marylandzoo.org/about-us/zoo-history/. The Rogers Williams
   Park Zoo in Providence, Rhode Island opened its gates in 1872. History, Roger Williams Park Zoo, available
   at: https://www.rwpzoo.org/history/. Starting in 1875, Cincinnatians could visit the Cincinnati Zoo &
   Botanical Gardens to view the zoos’ exhibits of monkeys, grizzly bears, buffalo, an alligator, and even, a “talking
   crow.”       Mission, Vision, and History, Cincinnati Zoo & Botanical Gardens, available at:
   https://cincinnatizoo.org/about-us/history-and-vision/.      In 1883, the original Detroit Zoo in Michigan
   opened.             Detroit     Zoological    Society,     Detroit       Hist.      Soc’y,       available       at:
   https://detroithistorical.org/learn/encyclopedia-of-detroit/detroit-zoological-society. Two years later, in 1885,
   the City of Los Angeles opened the Eastlake Zoo. E.J. Stephens & Marc Wanamaker, Images of America: Griffith
   Park 37 (2011).
   60
     The Buffalo Zoo in New York dates to 1870, and the first building erected on the property in 1875 established
   the Buffalo Zoological Gardens.       A Zoo with a Long History, The Buffalo Zoo, available at:
   https://buffalozoo.org/about/.
   61
     The parties have presented no firearm laws from these states during the relevant timeframe suggesting that
   those states regulated firearms in public differently.
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   almost decades after the Baltimore Zoo opened its gates. 1872 Md. Laws, ch. 42, § 1, p. 57;

   1888 Md. Laws art. 27, § 30, pp. 468-69 (codifying 1886 law). Maryland only criminalized

   open carry if person carried the weapon “with the intent or purpose of injuring any person.”

   1888 Md. Laws art. 27, § 30, pp. 468-69. Ohio, at the relevant time, only banned concealed

   carry. 1859 Ohio Acts § 1, p. 56 (1859) (Docket No. 90-10). While Michigan had a surety

   law on the books in 1846 that required a citizen complaint to trigger bonding proceedings, see

   Mich. Rev. Stat., ch. 162, § 16 (1846) (Docket No. 90-15), Michigan started outlawing

   concealed carry in 1887, see 1887 Mich. Pub. Acts, no. 129, § 1, p. 144—about 4 years after

   the Detroit Zoo opened. Thus, unless there was proof that a Michiganian posed a danger to

   an identified person or the public, he or she could openly carry a firearm in public for

   self-defense, which presumably includes at the zoo.

          The above laws reveal a lack of consensus among the states about carrying firearms in

   public, particularly in states that had zoos. This is especially true for New York. The State

   has presented only one law from New York City, even though New York had multiple zoos

   throughout the state. All and all, three localized restrictions do not establish a historical

   tradition of banning firearms at zoos. See Bruen, 142 S. Ct. at 2142; see also id. at 2154 (“[T]he

   bare existence of these localized restrictions cannot overcome the overwhelming evidence of

   an otherwise enduring American tradition permitting public carry.”).

          Besides the local laws from New York City, Philadelphia, and Chicago, the State seeks

   to justify Chapter 131’s prohibition of handguns at zoos by relying on the same laws it did to

   support Chapter 131’s ban at firearms at public gatherings. [State Opp’n Br. at 38.] Pointing

   to an 1871 Texas law, the State notes that Texas banned firearms in places where people

   assembled for amusement or educational purposes, or circuses, shows, or public exhibitions


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   of any kind. Tex. Penal Code tit. IX, ch. 4, art. 320 (1879) (Docket No. 88-9). The Texas

   and other state laws support the handgun ban at zoos because zoos are places where people

   gather for amusement or educational purposes. Still, for the reasons already discussed, those

   laws were not well-established or representative historical firearm laws under Bruen. See supra

   Section IV.G.2.c.i.

              Finally, the State equates zoos to schools because children are the primary visitors at

   zoos, and since Heller and Bruen recognized that laws banning firearms at schools are

   presumptively lawful, states can likewise ban firearms at zoos. [State Opp’n Br. at 38]. Again,

   such an argument stretches the sensitive places doctrine too far. The mere presence of

   children at a particular location does not mean that location is a “sensitive place” where

   firearms can be completely banned, especially where children are not the predominate

   visitors. See Antonyuk, 2022 WL 16744700, at *64, *67–68 (rejecting government’s attempt to

   equate zoos with schools and playgrounds). 62

              Because the State has not presented this Court with laws establishing a historical

   tradition of banning firearms at zoos, see Bruen, 142 S. Ct. at 2130, Plaintiffs are likely to

   prevail on the merits of their Second Amendment challenge to Chapter 131’s handgun ban at

   zoos. 63




   62
     Finally, in a strained attempt to uphold Chapter 131’s handgun ban at zoos, the State argues there is a risk of
   poaching at zoos, and thus, historical anti-poaching laws support Chapter 131’s restriction for zoos. [State
   Opp’n Br. at 38.] The State has presented no evidence of poaching at zoos in the United States. The article the
   State relies on concerns a poaching incident in France. AZA Statement on Rhino Poaching Incident at Zoo Near
   Paris, France, Association of Zoos & Aquariums (March 7, 2017), available at: https://www.aza.org/aza-news-
   releases/posts/aza-statement-on-rhino-poaching-incident-at-zoo-near-paris-france.
   63
     Nothing in this opinion should be construed to prevent zoo owners from adopting policies banning firearms
   from their premises.
                                                         171
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                             iii.       Parks, Beaches, Recreation Facilities, Playgrounds
                                        and State Parks

          As noted, this Court has already temporarily enjoined the State from enforcing

   Chapter 131’s prohibition on firearms at parks, beaches, and recreational facilities, as well as

   the regulation on firearms at state parks. [Siegel TRO Op. at 22-28 (Docket No. 51).] This

   Court refused the Siegel Plaintiffs’ request to prevent the State from enforcing Chapter 131’s

   restriction on handguns at playgrounds. [Id. at 23–24.] Having reviewed the parties’ added

   briefing and historical materials, this Court declines to deviate from its prior rulings.

          To start, the State has presented no historical firearm laws regulating firearms at

   beaches or recreational facilities/areas even though beaches have existed throughout this

   Nation’s history. The lack of historical firearm laws shows the State’s efforts to ban firearms

   at beaches conflicts with the Second Amendment. Bruen, 142 S. Ct. at 2131 (providing that

   “when a challenged regulation addresses a general societal problem that has persisted since

   the 18th century, the lack of a distinctly similar historical regulation addressing that problem

   is relevant evidence that the challenged regulation is inconsistent with the Second

   Amendment”).

          For playgrounds, the parties have not persuaded this Court to change its earlier ruling

   allowing the State to ban firearms at playgrounds during this litigation. [Siegel TRO Op. at

   23–24.] The Antonyuk court reached a similar conclusion. 2022 WL 16744700, at *64–65

   (declining to preliminarily enjoin New York’s gun law ban on carrying firearms at public

   playgrounds).

          Turning to parks, the State has presented many laws—mostly local ordinances—from




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   the 19th and 20th centuries restricting firearms at parks. [State Opp’n Br. at 38–39. 64] The

   State contends those laws are enough to establish a historical tradition of banning firearms at

   public parks. [Id. at 39–40.] The Koon Plaintiffs, in turn, have presented several colonial era

   laws that only prohibited discharging firearms at areas that today would be considered public

   parks. [Koons PI Reply Br. at 29–31.] According to them, those laws presuppose individuals

   carried firearms in parks during the colonial era. Id.

            At colonial times, village greens, commons, gardens, and squares were the colonial

   forerunners to today’s public park.               Anne Beamish, Before Parks:               Public Landscapes in

   Seventeenth- and Eighteenth-Century Boston, New York, and Philadelphia, 40 Landscape J. 1, 14

   (2021) (“Today’s American public park is deeply rooted in the seventeenth- and

   eighteenth-century utilitarian village green, common, square, and parade ground.”). In fact,


   64
     The State relies on the following laws: 1895 Mich. Local Acts, No. 436, § 44, p. 596 (Docket No. 89-2); 1905
   Minn. Gen. Laws ch. 344, § 53, p. 620 (Docket No. 89-3); 1917 Wis. Laws, ch. 668 (Docket No. 89-4); 1921
   N.C. Pub. Laws, ch. 6, § 3, p. 54 (Docket No. 89-5); 1937 N.J. Rev. Stat. tit. 32, § 14-13.1 (Docket No. 89-6);
   Fourth Annual Report of the Commissioners of the Central Park 106 (1861) (Docket No. 88-23); Acts of Assembly Relating
   to Fairmount Park 18 (1870) (Docket No. 88-24); Hyde Park Vill., Ill. Laws & Ordinances § 6, p. 310 (1876)
   (Docket No. 89-7); 1881 Mun. Code of Chicago, art. 43, § 1690, p. 391 (Docket No. 88-26); Danville, Ill.,
   Ordinances, ch. 19, § 4, p. 83 (1883) (Docket No. 89-8); St. Louis, Mo., Tower Grover Park, Rules & Reg., § 1,
   p. 117 (1883) (Docket No. 89-9); Salt Lake City, Utah, Rev. Ordinances, ch. 27, § 6, p. 248 (1888) (Docket No.
   89-10); St. Paul, Minn., Annual Reports of the City Officers and City Boards, § 6, p. 689 (1888) (Docket No. 89-
   27); St. Louis, Mo. art. 11, § 3, p. 635 (Docket No. 88-25); Williamsport, Pa., Laws and Ordinances, pt. III,
   Brandon Park, § 7, p. 91 (1890) (Docket No. 89-11); Springfield, Mass., Park Ordinances, § 3 (1891) (Docket
   No. 89-12); Grand Rapids, Mich., Complied Ordinances, § 432, p. 163 (1891) (Docket No. 89-13); Lynn, Mass.,
   Third Annual Report of the Park Commissioners, Ordinances, § 3, p. 23 (1891) (Docket No. 89-14); Peoria, Ill.,
   Laws and Ordinances, art. 35, § 1724, p. 667 (1892) (Docket No. 89-15); Spokane, Wa., Mun. Code, Ordinance
   No. A170, § 4, p. 123 (1892) (Docket No. 89-16); Wilmington, De., Ordinances, and Rules, and Regulations, §
   7 (1893) (Docket No. 89-17); Canton, Ill., Rev. Ordinances, § 26, p. 240 (Docket No. 89-18); Indianapolis, Ind.,
   Gen. Ordinances, § 1971, p. 648 (1896) (Docket No. 89-19); Pittsburgh, Pa., Gen. Ordinances, § 5, p. 496 (1897)
   (Docket No. 89-20); Reading, Pa., Parks Rules and Regulations, art. II, § 20, p. 240 (Docket No. 89-21);
   Boulder, Co., Ordinance, no. 511, § 1, p. 157 (1898) (Docket No. 89-22); Oakland, Ca., Ordinance, § 9, p. 15
   (Docket No. 89-23); Birmingham, Ala., Code, ch. 44, § 1544, p. 662 (1917) (Docket No. 89-24); and National
   Parks Service, Firearms Regulations in the National Parks: 1897–1936 (2008) (Docket No. 89-25). In its
   post-argument submission, the State pointed to four more local laws that banned firearms at public parks. See
   Park Comm’rs of the City of Brooklyn, Annual Reports of the Brooklyn Park Commissioners, 1861-1873, Park
   Ordinance, No. 1, art. I, § 4 p. 136 (1866); Bd. of Supervisors, San Francisco Mun. Reports, Park Comm’rs’
   Ordinances, Ordinance No. 2, § 2(2), pp. 886–87 (1872); A Digest of the Ordinances of the Borough of Phoenixville
   135, § 4 (1906) (1878 ordinance); City of Trenton, New Jersey, Charter and Ordinances 390 (1903) (1890 law); and
   Bd. of Park Comm’rs, Rep of the Bd. of Park Comm’rs of the City of Rochester, N.Y., 1888-1898, 97-98, §4(25)
   (1898) (1896 ordinance).
                                                           173
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   colonists understood the term “park” to mean an enclosed area on private property where

   animals, such as deer, were allowed to graze. Park, Noah Webster’s Am. Dictionary of the

   English Language (1828). As the Koon Plaintiffs note, today’s modern parks evolved from

   the colonial greens, public commons, squares, and other areas the colonists set aside for

   common use, recreation, or public gatherings. [Koons PI Reply Br. at 29.]

          For example, established in 1634, Boston Common is considered America’s oldest

   park. Beamish, 40 Landscape J. at 3. Originally set aside for military training and animal

   grazing, Boston Common evolved into a site for recreation and leisure activities like horse

   and carriage riding, various lawn games, and shows and exhibitions. Id. at 3–6. And in New

   York, colonial governor Thomas Dongan issued a city charter in 1686 declaring that a

   common council would oversee the development of certain vacant lands—lands that became

   New York’s first city parks. The Earliest New York City Parks, New York City Dep’t of Parks,

   available at: https://www.nycgovparks.org/about/history/earliest-parks. Indeed, in 1733,

   New York City’s then-common council established the Bowling Green Park for the

   “Recreation & Delight of the Inhabitants of this City.” Bowling Green, New York City Dep’t

   of Parks, available at: https://www.nycgovparks.org/parks/bowling-green/history. New

   Yorkers could enjoy lawn games such as lawn bowling and walks through Bowling Green.

   Beamish, 40 Landscape J. at 8. And by 1802, New York City’s Battery Park became an area

   where New Yorkers could take strolls. Id. Over to Philadelphia, the city had several

   commercial pleasure gardens that Philadelphians could enjoy. Id. at 10–11.

          Despite the existence of such common lands since the colonial period, the State has

   failed to come forward with any laws from the 18th century that prohibited firearms in areas

   that today would be considered parks. Consistent with the Koons Plaintiffs’ findings, this


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   Court has only uncovered colonial laws that prohibited discharging firearms in areas that

   were the forerunners of today’s public park. See Churchill, 25 Law & Hist. Rev. at 162–63

   (observing that colonial governments “exercised their police powers to restrict the time, place,

   and manner in which Americans used their guns” by enacting laws penalizing the discharge

   of firearms).

           Although housing the nation’s oldest park, Massachusetts did not outright ban

   possession of firearms in Boston during the 18th century.        Rather, colonial Massachusetts

   only barred the discharge “of any gun or pistol . . . in the town of Boston.” Act of May 28,

   1746, ch. X, Acts and Laws of Mass. Bay, p. 208. To be sure, Massachusetts in 1694, and

   then again in 1795, authorized justices of the peace to arrest “all affrayers, rioters, disturbers,

   or breakers of the peace, and such as shall ride or go armed offensively, to the fear or terror

   of the good citizens of this Commonwealth.” Bruen, 142. S. Ct. at 2144 (quoting 1795 Mass.

   Acts and Laws, ch. 2, p. 436, in Laws of the Commonwealth of Massachusetts); see also id. at

   2142-43 (quoting 1692 Mass. Acts and Laws no. 6, pp. 11–12). Those laws, however, only

   “prohibit[ed] bearing arms in a way that spreads ‘fear’ and ‘terror’ among the people.” Id. at

   2145. Said differently, those laws did not prevent Bostonians or other Massachusetts residents

   from carrying their arms peacefully, which would apparently include at the Boston Common.

   Id. (explaining that the phrase “fear or terror among the people . . . require[d] something more

   than merely carrying a firearm in public”).          In fact, history reveals that a person in

   Massachusetts could peacefully carry a handgun in public until 1906 when Massachusetts

   began requiring a license to carry. 1906 Mass. Acts ch. 172, §§ 1–2, p. 150. To obtain that

   license, a person seeking to carry a firearm in public had to show “good reason to fear an

   injury to his person or property” and that he “is a suitable person.” Id. § 1.


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          Starting in 1763, New York City criminalized the firing or discharge of any gun by

   children and other individuals in areas that today would be considered parks. Ordinances of

   the City of New York, § 6 (1763), reprinted in Laws, Statutes, Ordinances and Constitutions,

   Ordained, Made and Established, by the Mayor, Aldermen, and Commonalty, of the City of New York,

   Convened in Common-Council, for the Good Rule and Government of the Inhabitants and Residents of

   the Said City 11 (1763) (outlawing the firing of gun or pistol or setting of fireworks by

   “Children, Youth, apprentices, Servants, or other persons . . . at any mark, or at random

   against any fence, pales or other place in any street, lane or alley, or within any orchard, garden

   or other inclosure, or in any place where persons frequent to walk”) (emphasis added). New York

   laws banning discharge of firearms dates to the 17th Century. Churchill, 25 Law & Hist. Rev.

   at 162–63. Besides the limited firearms ban in New York City’s Central Park in 1861, history

   reveals that New York state only started regulating the carrying of firearms in 1881 when the

   state legislature enacted restrictions on the concealed carry of firearms. N.Y. Penal Code §

   412 (1881).

          Likewise, in 1721, Pennsylvania only prohibited the firing of any gun (or setting of

   fireworks) in the City of Philadelphia without obtaining a license from the state’s governor.

   Act of Aug. 26, 1721, ch. CCXLV, § IV, in 3 Stat. at Large Pa. 253–54 (1896). In fact, history

   reveals that starting in 1850, Pennsylvania only outlawed the concealed carry of firearms in

   Philadelphia by individuals “with the intent therewith unlawfully and maliciously to do injury

   to any other person.” John Purdon, A Digest of the Laws of Pennsylvania 150 (Phila.: James

   Kay, Jun. & Brothers, 8th ed. 1853). Ten years later, in 1860, Pennsylvania enacted a surety

   law that restricted arms bearing in public by arms bearers who, after a showing of reasonable

   cause that the arms bearer posed a danger to an identified complainant or the public, could


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   not show a reasonable cause to fear an injury. 1860 Pa. Laws p. 432, § 6 (Docket No. 90-

   20). Thus, despite having various pleasure gardens, see Beamish, 40 Landscape J. at 10–11,

   Pennsylvania did not outright ban firearms in Philadelphia.

          Against that historical landscape, the State offers mid- to late-19th and early 20th

   century laws the State claims banned firearms in parks. [State Opp’n Br. at 38–39 (Docket

   No. 91).] Like Bruen, this Court gives no weight to the various 20th century state and local

   laws because they provide no insight into the understanding of the Second Amendment. 142

   S. Ct. at 2154 n.28 (refusing to consider 20th century firearm laws offered by government and

   amici because those laws do not clarify the Second Amendment’s meaning); see also id. at

   2137. In fact, some laws the State points to that banned firearms at parks did so to prevent

   hunting there. See 1921 N.C. Pub. Laws, ch. 6, § 3, p. 54 (Docket No. 89-5) (entitled “An Act

   to Protect Animals and Game in Parks and Game Reservations in Either Private or Public

   Parks or Places”); see also 1917 Wis. Laws, ch. 668 (Docket No. 89-4) (extensive fish and game

   regulations). Indeed, the federal regulations for national parks were specifically enacted to

   protect animals in the National Parks—not parkgoers. Nat’l Parks Serv., Firearms Regulations

   in the National Parks: 1897–1936, at 1–2 (2008) (describing history of banning firearms at

   Yellowstone National Park and providing reasons for prohibition).

          For the rest of the State’s historical materials, this Court gives less weight to laws

   enacted within a few years of the 20th century because they provide little insight into the

   public’s understanding of the Second Amendment either in 1791 or 1868. Bruen, 142 S. Ct.

   at 2154 (explaining that “late-19th-century evidence cannot provide much insight into the

   meaning of the Second Amendment when it contradicts earlier evidence”). Again, some laws

   the State relies on banned firearms at parks to protect birds—not parkgoers. St. Louis, Mo.


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   art. 11, § 3, p. 635 (Docket No. 88-25) (housing law banning firearms in St. Louis parks in

   section entitled “Protection of Birds”). And the territorial law—the Salt Lake City, Utah

   ordinance—deserves less weight. Bruen, 142 S. Ct. at 2154-55.

           That said, even if the State’s mid- to -late 19th century historical laws banning firearms

   at parks were well-established, the laws do not appear to be representative of the entire nation.

   By 1890, those laws—one state law and about 25 local ordinances—governed less than 10%

   of the nation’s entire population and thus are unrepresentative. 65                  Antonyuk, 2022 WL

   16744700, at *67 (ruling historical laws governing less than 15% of the nation’s population

   were unrepresentative of entire nation). Said another way, those laws arising in the mid- to

   late-19th century do not establish a historical tradition of banning firearms at parks especially

   since the modern equivalent of parks existed during this nation’s founding. Cf. Espinoza, 140

   S. Ct. at 2258-59.

           Plaintiffs have thus established a reasonable likelihood of success on their Second

   Amendment challenge to Chapter 131’s prohibition on handguns at parks, beaches, and

   recreation areas, as well as the state regulation banning handguns at state parks. The Court,

   however, denies the Siegel Plaintiffs’ request for a preliminary injunction on Chapter 131’s

   handgun ban at playgrounds.

                                 iv.         Youth Sports Events

           Like playgrounds, this Court will not deviate from its prior ruling on Chapter 131’s

   firearm ban at youth sports events. As noted in its TRO Opinion, this Court finds that “youth



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     As noted earlier, by 1890, the United States had a total population of 62,622,250. The combined populations
   of Michigan and the various cities accounted for about 5.7 million inhabitants. Dept. of Interior, Compendium
   of the Eleventh Census: 1890, Part I. 2, 74, 77, 86, 112, 114, 124, 128, 137, 206, 216, 234, 255, 278, 287-89,
   339, 341, 344, 351, 354, 403, 416 (1892).


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   sport events fall within the sphere of schools,” [Siegel TRO Op. at 28–29 (Docket No. 51)],

   where firearm bans are “presumptively lawful,” see Heller, 554 U.S. at 626–27 n.26. The

   parties have not persuaded this Court to change its earlier ruling that youth sports events are

   like schools, and therefore denies the Siegel Plaintiffs’ request for a preliminary injunction on

   that provision of Chapter 131.

                               v.       Public Libraries and Museums

          To justify Chapter 131’s handgun ban at public libraries and museum, the State

   rehashes the same arguments it made at the TRO stage. [State Opp’n Br. at 43–45.] That is,

   the State can ban firearms at public libraries and museums because they are: (1) like schools

   given the presence of children; (2) government buildings under Heller and Bruen, and so,

   handguns can be banned at those locations without violating the Second Amendment; and

   (3) like historical sensitive places, such as courts and polling places, because “constitutionally

   protected activity” occurs at libraries and museums. [Id. at 43–44.] The State also points to

   the same historical laws it relied on to support Chapter 131’s handgun ban at public gatherings

   and demonstrations requiring a government permit. [Id. at 45–46.] The State has not

   persuaded this Court to change its prior rulings on the constitutionality of Gun Law’s

   prohibition on handguns at public libraries and museums.

          For starters, the State’s attempt to equate libraries and museums to sensitive places

   such as schools and government buildings stretches the sensitive places doctrine too far.

   Again, the mere presence of children is not, by itself, enough to make a certain location like

   a school. See supra Section IV.G.2.c.ii. Likewise, the State cannot stretch every government

   building into a sensitive place without considering the building’s function and historical laws

   banning firearms at those locations. See supra Section IV.G.2.a. As noted above, the common


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   feature that runs through the sensitive places the Bruen Court recognized—legislative

   assemblies, courthouses, and polling places (all government buildings)—was government

   provided security. See supra Section IV.G.2.c.i. Despite the State’s contrary argument, those

   locations were not historically considered sensitive places just because they involve

   constitutionally protected activity like voting or petitioning the government.

          Turning to the State’s historical laws, the State relies on mid- to late-19th century laws

   from Texas, Missouri, Arizona, Oklahoma, and Kansas, and a 20th century Montana law, as

   well two city laws, that banned firearms at, among other places, “place[s] where persons are

   assembled for educational, literary or scientific purposes.” [State Opp’n Br. at 45 (citing 1870

   Tex. Gen. Laws 63, § 1 (Docket No. 88-5); Tex. Penal Code tit. IX, ch. 4, art. 320 (1879)

   (Docket No. 88-9); 1874 Mo. Laws 43, § 1 (Docket No. 88-45); 1879 Mo. Rev. Stat., ch. 24,

   Art. II, § 1274, p. 224 (Docket No. 88-10); 1889 Ariz. Terr. Sess. Laws 17, § 3 (Docket No.

   89-30); 1890 Okla. Terr. Stats., Art. 47, § 1, p. 496 (Docket No. 89-31); 1903 Mont. Laws ch.

   XXXV, § 3, p. 49 (Docket No. 89-32); Columbia, Mo. Gen. Ordinances ch. XVII, § 163

   (1890) (Docket No. 86-16); and Stockton, Kan. Ordinances, no. 76, § 1 (1887), reprinted in

   Stockton Review and Rooks County Record (Stockton, Kan.), Vol. VIII, No. 26, July 1, 1887

   (Docket No. 86-24).] While these laws support Chapter 131’s handgun ban at public libraries

   and museums because they are locations where people gather for “educational, literary, or

   scientific purposes,” the laws are not representative of the entire nation. Indeed, apart from

   the 1903 Montana law, which comes too late, see Bruen, 142 S. Ct. at 2154 n.28, this Court

   considered these laws (and various court decisions on the laws) and found them insufficient

   to establish a historical tradition of banning firearms at public gatherings or assemblies. See




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   supra Section IV.G.2.c.i. For the reasons already stated, this Court finds that those laws do

   not support a historical tradition of banning firearms at public libraries and museums.

           Plaintiffs are thus likely to prevail on the merits of their Second Amendment challenge

   to Chapter 131’s prohibition on handguns at public libraries and museums. 66

                                 vi.        Bars and Restaurants Serving Alcohol

           To support Chapter 131’s handgun ban at bars and restaurants that serve alcohol, the

   State largely makes a policy argument that guns and alcohol do not mix and points to various

   studies about the dangers of mixing firearms with alcohol. [State Opp’n Br. at 46-48.] The

   State argues that impaired Carry Permit holders can endanger the public either through an

   accidental discharge of their weapon, or in the event of self-defense, use their firearm unsafely.

   [Id. at 47.] Even so, this Court cannot consider such policy arguments when deciding a

   Second Amendment challenge to a firearm regulation. Bruen, 142 S. Ct. at 2129, 2131. Bruen

   closed that door.

           The State’s policy argument also ignores that Chapter 131’s prohibition on handguns

   at restaurants or bars serving alcohol criminalizes a Carry Permit holder’s mere presence at

   those locations with a handgun even if the Carry Permit holder does not consume alcohol.

   N.J. Stat. Ann. § 2C:58-4.6(a)(15). The Legislature specifically addressed the State’s concerns

   about impaired Carry Permit holders by criminalizing the consumption of alcohol while

   carrying a handgun in public. Id. § 2C:58-4.4(a)(1) (making it a fourth-degree offense).

           For the historical laws, the State mainly relies on the same laws it does to support

   Chapter 131’s handgun ban at public gatherings requiring a government permit. [State Opp’n




   66
     Given this finding, the Court declines to reach the Siegel Plaintiffs’ First Amendment challenge to Chapter
   131’s handgun ban at public libraries. [Siegel Compl. ¶¶ 325–28 (Siegel Docket No. 1).]
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   Br. at 46.] Again, this Court finds those laws do not establish a historical tradition under

   Bruen to support Chapter 131. See supra Section IV.G.2.c.i. In any event, of those laws, only

   the Oklahoma law supports Chapter 131’s handgun ban because that territory specifically

   banned firearms at “any place where intoxicating liquors are sold.” 1890 Okla. Terr. Stats.,

   art. 47, ch. 25, § 7, p. 496 (Docket No. 89-31). But this Court cannot “stake [its] interpretation

   of the Second Amendment upon a law in effect in a single State, or a single city, ‘that

   contradicts the overwhelming weight of other evidence regarding the right to keep and bear

   arms’ in public for self-defense.” Bruen, 142 S. Ct. at 2154 (quoting Heller, 554 U.S. at 632).

           At the TRO stage, the Court considered the State’s other historical laws—a 1867

   Kansas law criminalizing the possession of pistols by intoxicated persons, 1867 Kan. Sess.

   Laws 25 (Docket No. 88-12), and a 1859 Connecticut law barring the sale of alcohol near a

   military encampment or military parade, 1859 Conn. Pub. Acts, ch. LXXXII, § 5, p. 62

   (Docket No. 88-11)—and found them insufficient to establish a history or tradition of banning

   firearms in areas where alcohol is sold. [Koons TRO Op.at 32–33 (Docket No.34).]                        Thus,

   the State has not shown that well-established and representative historical firearm laws

   support Chapter 131’s handgun ban at bars and restaurants that serve alcohol. Bruen, 142 S.

   Ct. at 2133.

           As a result, Plaintiffs are likely to prevail on the merits of their Second Amendment

   challenge to this Gun Law’s provision. 67

                                vii.         Entertainment Facilities

           The State argues Chapter 131’s prohibition on handguns at entertainment facilities is




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     Nothing in this Opinion should be construed to prevent private restaurant or bar owners from banning firearms
   at their establishments on their own accord.
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   permissible given: (1) various 19th century laws from Texas, Missouri, Tennessee, and

   Georgia that barred firearms at certain public assemblies or events (already analyzed above);

   (2) Virginia and North Carolina laws codifying the common law offense of “affray” or going

   armed “to the terror of the people”—variants of England’s Statute of Northampton; and (3)

   an 1816 New Orleans law banning certain weapons at “public ballrooms.” [State Opp’n Br.

   at 49–50.]

          To start, the Virginia and North Carolina laws are not “relevantly similar” to Chapter

   131’s handgun ban at entertainment facilities because those historical laws did not impose a

   comparable burden on the right to armed self-defense in public like Chapter 131 does. Bruen,

   142 S. Ct. at 2132–33.     Both laws prohibited an individual from carrying their arms in a

   manner to spread fear and terror among the people. Id. at 2144–45. A person did not violate

   those laws by peaceably carrying their firearms. Indeed, in State v. Huntly, North Carolina’s

   Supreme Court construed the law the State relies on and concluded that it requires carrying a

   weapon with a “wicked purpose”—that is, to terrify the public. 25 N.C. 418, 423 (1843); see

   also id. at 421-22 (reviewing the English common law offense, the Statute of Northampton,

   and English commentaries and observing that the offense punished carrying arms aimed to

   terrify the people). The Huntly Court recognized that “carrying of a gun per se constitutes no

   offence.” Id. at 422–23. Unlike the law in Huntly, Chapter 131 does make the mere carrying

   of a firearm at an entertainment facility a criminal offense. N.J. Stat. Ann. § 2C:58-4.6(a)(17).

          This Court also finds the mid- to late-19th century laws from Texas, Tennessee,

   Missouri, and Georgia that the State points to cannot save Chapter 131’s handgun ban at

   entertainment facilities. The 1870 Georgia Law likely does not encompass “entertainment

   facilities” because that law only banned firearms at election grounds, courts, “places of public


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   worship” and “any other public gathering.” Ga. Code pt. IV, tit. I, div. X, § 4528, p. 818

   (1873) (codifying 1870 act) (Docket No. 88-22). As already noted, the meaning of the

   phrase—“any other public gathering”—is defined and limited to the types of public gatherings

   listed in the statute. See supra Section IV.G.2.c.i. Thus, the State cannot stretch the statute’s

   “any other public gathering” catch-all language to include entertainment facilities. While the

   Tennessee, Texas, and Missouri laws support Chapter 131’s prohibition on handguns at

   entertainment facilities, this Court already found those laws insufficient to establish a

   historical tradition under Bruen. Indeed, as already noted, the Court questions whether some

   Missouri laws were constitutional under Missouri’s state constitution given the Missouri

   Supreme Court’s statements in Reando. See supra Section IV.G.2.c.i.

           Lastly, this Court does not find the New Orleans law that banned certain weapons

   only at public ballrooms supports banning firearms at all the entertainment facilities under

   Chapter 131—that is, concerts, theaters, arenas, racetracks, etc.        See N.J. Stat. Ann. §

   2C:58-4.6(a)(17) (listing entertainment facilities). Even if this Court considers the Georgia,

   Tennessee, Texas, and Missouri state laws along with the New Orleans city law, this Court

   still finds those laws are not enough to establish a tradition of banning firearms at

   entertainment facilities. See Bruen, 142 S. Ct. at 2149 (stating a “handful” of examples of

   states enforcing surety statutes to be “too slender a reed to which to hang a historical tradition

   of restricting the right to public carry”); cf. Espinoza, 140 S. Ct. at 2258–59. Thus, the State

   has failed to show a historical tradition of banning firearms at entertainment facilities.

           The Plaintiffs have therefore established a reasonable chance of prevailing on the

   merits of their Second Amendment challenge to Chapter 131’s handgun ban at entertainment

   facilities.


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                           viii.       Casinos (and N.J. Admin. Code § 13:69D–1.13)

          The State first argues that modern casinos did not exist at the Founding or during

   Reconstruction and so, the lack of laws regulating firearms at casinos is not evidence that

   New Jersey’s laws banning firearms at casino are unconstitutional. [State Opp’n Br. at 51–

   52 (Docket No. 91).] The State also argues that such laws are unlikely to exist because several

   states outlawed gambling. Id.

          While the Founding and Reconstruction generations may not have envisioned the

   shinning lights and slot machines of the casinos we have today, this Nation has a long history

   of gambling establishments. In fact, in 1753, Louisiana established a government-run casino.

   Jay   Precht,   Legalized   Gambling,    64   Parishes   (Nov.   16,    2011),    available   at:

   http://64parishes.org/entry/legalized-gambling.          Throughout     the      Founding     and

   Reconstruction eras, Americans could bet on the horses at racetracks such as Hempstead

   Plain in Long Island, New York, or gamble on dice or card games at various saloons. Ed

   Crews, Gambling: Apple-Pie American and Older than the Mayflower, Colonial Williamsburg

   (Autumn                         2008),                      available                         at:

   https://research.colonialwilliamsburg.org/Foundation/journal/Autumn08/gamble.cfm.

   Yet the State has presented no firearm law from states that allowed gambling that restricted

   firearms at gambling establishments. Even if several states outlawed gambling, history shows

   that Louisiana did not. And besides one law from New Orleans that banned firearms at public

   ballrooms, the State presented no law from Louisiana that banned firearms from its

   government-operated casino.

          Instead, the State only offers laws it claims supports banning firearms at “crowded

   social assemblies and individuals with impaired judgment,” [State Opp’n Br. at 52]—that is,


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   the same laws the State seeks to use to justify Chapter 131’s handgun ban at public gatherings

   requiring a government permit, entertainment facilities, and bars and restaurants that serve

   alcohol, [id. at 52–53].

           Again, this Court finds those laws insufficient and repeats its findings from the TRO

   stage. [Siegel TRO Op. at 33–36 (Docket No. 51).] As already noted, several laws did not

   impose a comparable burden on the right to armed self-defense in public, and for the laws that

   did, they were not well-established or representative historical firearm laws under Bruen to

   support Chapter 131’s restrictions. See supra Sections IV.G.c.i, vii. Thus, even through

   historical analogues, this Court finds that the State has not shown a historical tradition to

   justify Chapter 131’s handgun ban at casinos, as well as the gaming regulation barring

   firearms at casinos unless the Division of Gaming Enforcement approves the carrying of

   firearms at casinos, N.J. Admin. Code § 13:69D-1.13.

           Accordingly, for these reasons, Plaintiffs have thus shown a likelihood of success on

   the merits of their Second Amendment challenge to New Jersey’s laws restricting handguns

   at casinos.

                              ix.       Airports and Transportation Hubs

           At the TRO stage, this Court did not reach the merits of the Siegel Plaintiffs’ challenges

   to Chapter 131’s handgun ban at airports and transportation hubs. [Siegel TRO Op. at 18–

   19.] The Koons Plaintiffs have since joined this challenge. [Koons Am. Compl. ¶ 38 (Docket

   No. 69).] Having now found standing, see supra Section IV.G.1., this Court reviews whether

   the Second Amendment allows governments to ban firearms at airports and transportation

   hubs.




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          Again, the Second Amendment’s text covers the Plaintiffs’ proposed course of conduct

   of carrying a handgun in public for self-defense. Bruen, 142 S. Ct. at 2134–35. Chapter 131’s

   prohibition on carrying handguns at airports and transportation hubs infringes on their

   constitutional right because the law requires Carry Permit holders to disarm at airports and

   transportation hubs, which are all in the public. N.J. Stat. Ann. § 2C:58-4.6(a)(20). The State

   must now show that historical firearm laws support Chapter 131’s prohibition on handguns

   at airports and transportation hubs. Bruen, 142 S. Ct. at 2126, 2133.

          The Court recognizes that the State cannot come forward with historical laws banning

   firearms at airports and is not likely to submit laws for transportation hubs because these

   locations emerged from “dramatic technological changes” that the Founders and the

   Reconstruction generations could not have contemplated when ratifying the Second

   Amendment in 1791 or adopting the Fourteenth Amendment in 1868. Id. In those cases,

   Bruen instructs courts to take “a more nuanced approach” when considering the

   constitutionality of such modern firearm laws. Id.

          Under Bruen, a court can uphold a modern firearm law regulating firearms in areas

   stemming from “dramatic technological changes” through analogical reasoning of historical

   firearm laws. Id. at 2132-33. The modern and historical firearm laws must be “relevantly

   similar” by imposing a “comparable burden on the right to armed self-defense.” Id.        The

   Bruen Court instructed courts to look to historical laws barring firearms at government

   buildings, schools, legislative assemblies, courthouses, and polling places because the Court

   “assume[d] that these locations were ‘sensitive places’ where arms carrying could be

   prohibited consistent with the Second Amendment.” Id. at 2133. “[C]ourts can use analogies

   to those historical regulations of ‘sensitive places’ to determine that modern regulations


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   prohibiting the carry of arms in new and analogous sensitive places are constitutionally

   permissible.” Id.

          With these principles in mind, the Court turns to Chapter 131’s restrictions on firearms

   at airports and transportation hubs.

                                          •    Airports

          The key feature of the sensitive places the Bruen Court recognized—legislative

   assemblies, courthouses, and polling places—is that the government historically provided

   security at those locations. See supra Section IV.G.2.c.i. At courthouses and legislative

   assemblies, people are required to disarm as a condition of entry—usually enforced by

   sheriffs, bailiffs, door keepers, or sergeants-at-arms. Id. Because of the government-provided

   security, the need for armed self-defense is reduced at those locations. Id.

          Given Bruen’s instruction to look to those historical laws, see 142 S. Ct. at 2133, this

   Court finds that those laws could support Chapter 131’s handgun ban at airports given the

   government-provided security feature of those historically recognized sensitive places.

   Airports have many security measures such as Transportation Security Administration (TSA)

   officers, air marshals, police officers, metal detectors, and luggage scanners that all check

   people and their baggage for weapons and dangerous devices, like explosives. Yet the parties

   have not provided this Court with any evidence on where, in the various airports located in

   New Jersey, those security measures take place. And, of course, the parties declined this

   Court’s invitation for an evidentiary hearing. [Docket No. 74.] While the State bears the

   burden under Bruen to support its firearm laws, the plaintiffs carry the ultimate burden to show

   they are entitled to a preliminary injunction. ECRI v. McGraw-Hill, Inc., 809 F.2d 223, 226 (3d

   Cir. 1987). Without the aid of an evidentiary hearing, this Court is unwilling to enjoin


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   Chapter 131’s handgun ban at airports because some places in the airport may be secure while

   others are not. The Court directs the parties to take discovery on that issue, and the Court

   will administratively terminate this portion of the motions pending a full record.

          In the meantime, several Plaintiffs want to carry their handguns when dropping off or

   picking up relatives or friends at airports. [Siegel Post-Argument Br. at 8 (Docket No. 122).]

   At oral argument, the State argued that Carry Permit holders would not violate Chapter 131’s

   handgun ban by merely dropping off family or friends outside the airport based on exemption

   in the law. [Tr. at 108:9–108:22.] That provision exempts Carry Permit holders from

   violating Chapter 131’s prohibition if the holder is “traveling along a public right-of-way that

   touches or crosses” any of Chapter 131’s enumerated sensitive places provided that the holder

   is carrying their handgun in compliance with Chapter 131. N.J. Stat. Ann. § 2C:58-4.6(d).

   Given Chapter 131’s exemption and the State’s representation at oral argument, this Court

   finds that Plaintiffs may carry their handguns while transporting their relatives or friends to

   and from airports provided that the Plaintiffs do not physically enter the airport with their

   handguns. Simply stated, Plaintiffs may carry their handguns while dropping off or picking

   up their friends or relatives outside the airport’s entrance or exit for passengers—nothing

   more. This Court will address whether Plaintiffs may venture inside the airport with their

   handguns following an evidentiary hearing.

          Several Plaintiffs also want to bring their handguns as checked luggage when traveling.

   [Siegel Post-Argument Br. at 8.] Federal law allows individuals to travel interstate with their

   firearms and ammunition so long as the firearm is unloaded and the firearm and ammunition

   are not readily accessible. 18 U.S.C.A. § 926A. TSA regulations allow a passenger to

   transport a firearm on an airplane as checked luggage provided that: (1) the firearm is


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   unloaded; (2) the “passenger declares to the aircraft operator, either orally or in writing, before

   checking the baggage, that the passenger has a firearm in his or her bag and that it is

   unloaded;” (3) the passenger keeps the firearm “in a hard-side container;” and (4) the

   container carrying the firearm “is locked, and only the passenger retains the key or

   combination.” 49 C.F.R. § 1540.111(c).

          At oral argument, the State contended that a Carry Permit holder could take his or her

   firearm to the airport as checked luggage only “[i]f that’s all he is doing.” [Tr. at 110:9–

   110:13.] The State expressed concerns about Carry Permit holders lingering in the airport

   with their firearms, for example, having a coffee in the pre-TSA screening area. [Tr. at

   110:14–111:3.]    The State also asserted merely dropping off a firearm at checked luggage

   areas, which according to the State, are “actually outside” the TSA pre-screening areas, would

   be “at least just a de minimis, if any, violation at all” of Chapter 131. [Tr. at 109:20–110:2.]

   The Koons Plaintiffs question the State’s statement about checking their handguns as luggage,

   explaining that they must physically enter the airport to declare their weapon, such as at a

   ticket counter. [Koons Post-Argument Br. at 6 (Docket No. 123).]

          Pending an evidentiary hearing, this Court will temporarily allow the Plaintiffs to

   check their firearms as checked luggage as allowed by federal law. The Plaintiffs must fully

   comply with the TSA regulations on checking firearms as luggage—that is, 49 C.F.R. §

   1540.111(c). To address the State’s concerns, this Court will require any Plaintiff seeking to

   check his or her firearm as checked luggage to have the weapon stored as required by 49

   C.F.R. § 1540.111(c) before physically entering the airport. Upon entry, the Plaintiff must

   immediately proceed to the area that the TSA designated to check their firearms as luggage

   and he or she cannot travel to any other section of the airport until his or her weapon is


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   checked. This Court’s limited relief should alleviate some of the State’s concerns because no

   Plaintiff will be allowed to bring a loaded firearm into the airport and cannot linger in pre-TSA

   screening areas with a firearm unloaded or not.

                                              •       Transportation Hubs

              The Legislature failed to define “transportation hubs” in Chapter 131.           At oral

   argument, this Court prodded the State to define the term and asked about whether bus stops

   or marinas constituted a “transportation hub” under Chapter 131. [Tr. at 103:13–105:12.]

   The State asserted that transportation hubs “are places where multiple modes of

   transportation intersect” and stated that Trenton Transit Center would be an example of a

   transportation hub since “Amtrak and New Jersey Transit and . . . SEPTA . . . all intersect

   there.” 68 [Tr. at 103:21–104:6.] The State denied that individual bus stops or a marina would

   be transportation hubs under Chapter 131. [Tr. at 104:17–104:19, 105:6–105:9.]

              In its post-argument briefing, the State, pointing to state and federal laws, asserts that

   transportation hubs under Chapter 131 are “facilities that connect multiple modes of public

   transportation.” [State Post-Argument Br. at 5–6 (citing N.J. Stat. Ann. § 52:9Q-15; 49

   U.S.C. § 47101(b)(5)).] The State notes that federal and state courts have characterized

   Secaucus Junction and Newark Penn Station to be transportation hubs. [Id. at 6 (citing

   Secaucus v. U.S. Dep’t of Transp., 889 F. Supp. 779, 781, 783-85 (D.N.J. 1995) and State v.

   Gartrell, 2022 WL 6833767, at *6 (N.J. Super. Ct. App. Div. Oct. 12, 2022)).] The State

   doubled downed on its position from oral argument, asserting that individual “stops” or

   “stations” that do not connect to other modes of transportations are not transportation hubs.

   [Id.]


   68
        SEPTA refers to the Southeastern Pennsylvania Transportation Authority.
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          The State’s clarification on the meaning of “transportation hub” only illuminates the

   potential constitutional problems with Chapter 131’s handgun ban at those locations. Using

   the State’s definition, a Carry Permit holder can board a New Jersey Transit train, say at Bay

   Head train station—unconnected to other modes of transportation—and not violate Chapter

   131. Under the State’s definition, that individual train station does not qualify as a sensitive

   place. But if the Carry Permit holder rides the train, the moment the holder arrives at Newark

   Penn Station, he or she has potentially violated Chapter 131. The Carry Permit holder

   violates the law when he or she departs at Newark Penn Station because that station,

   according to the State, is a transportation hub under Chapter 131. At bottom, whether a Carry

   Permit holder violates Chapter 131 depends on the train line he or she takes in a given day

   and the ultimate destination. Indeed, Carry Permit holders are at the whim of the railway.

          The only discernible difference between individual train stations and “transportation

   hubs” is there are more people at transportation hubs than individual train stations. That

   more people are present at transportation hubs because they need to transfer trains or hop on

   a bus does not make those locations “sensitive places” under Bruen. Crowded locations are

   not sensitive places. Bruen, 142 S. Ct. at 2134. While transportation hubs may have police

   officers, their presence is not enough. Bruen, 142 S. Ct. at 2134 (“[E]xpanding the category

   of ‘sensitive places’ simply to all places of public congregation that are not isolated from law

   enforcement defines the category of ‘sensitive places’ far too broadly.”)

          The Court finds that the State cannot support Chapter 131’s handgun ban at

   transportation hubs by relying on the same laws it did to support the law’s firearm prohibition

   at entertainment facilities. [State Opp’n Br. at 57.] As noted, some laws did not impose a

   comparable burden on the right to armed self-defense in public like Chapter 131 does. See


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   supra Section IV.G.c.vii. The other historical laws were not well-established or representative

   under Bruen. See supra Section IV.G.c.i. The only law that the State points to relating to

   trains—an 1867 Iowa law—only barred individuals from shooting at trains to prevent

   interference with railways. Iowa Stat. tit. XXIV, ch. 3, § 1, p. 985 (1880) (codifying 1867 law)

   (Docket No. 88-15) (making it a misdemeanor “to present or discharge any gun, pistol, or

   other firearm at any railroad train, car, or locomotive engine”). And for the reasons already

   found, the State cannot support Chapter 131’s handgun ban by relying on the

   “government-as-proprietor” theory. See supra Section IV.G.2.a.i.

           In any event, this Court could uphold Chapter 131’s handgun ban at transportation

   hubs by drawing from the historically sensitive places the Bruen Court recognized—legislative

   assemblies, polling places, and courthouses. As noted, the government historically provided

   security at those locations. See supra Section IV.G.c.i.. But again, the parties have not come

   forward with any evidence about whether the government provides security at transportation

   hubs, and if so, the level of security (armed guards checking for weapons or metal detectors),

   and where those security measures take place. Given the parties’ evidentiary shortcomings,

   this Court is unwilling to enjoin Chapter 131’s handgun ban at transportation hubs. The

   Court will conduct an evidentiary hearing and directs the parties to take discovery on

   government-provided security at transportation hubs. 69                 This Court will administratively

   terminate this portion of Plaintiffs’ motions pending a full record.




   69
      In addition to lacking evidence is what exactly qualifies as a “transportation hub” because Chapter 131 does
   not define the term. The problem with this was highlighted at oral argument when the State struggled to answer
   questions as to what exactly a transportation hub is. If the State struggles to explain what a transportation hub
   is, how can Carry Permit holder expect to know what one is?
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                                   x.          Health Care Facilities (Medical Offices and
                                               Ambulatory Care Facilities)

           This Court did not reach the merits of the Siegel Plaintiffs’ challenge to Chapter 131’s

   handgun ban at health care facilities at the TRO stage because of their lack of standing. [Siegel

   TRO Op. at 17–18 (Docket No. 51). The Koons Plaintiffs have now joined in on the Siegel

   Plaintiffs’ challenge. [Koons Am. Compl. ¶ 38 (Docket No. 69).] Having now found standing

   for the very limited health care facilities listed in Plaintiffs’ declarations, namely medical

   offices and ambulatory care facilities, see supra Section IV.G.1.a., this Court reviews the

   merits of their constitutional challenge. 70

           The Second Amendment’s text covers the Plaintiffs’ proposed course of conduct of

   carrying a handgun in public for self-defense. Bruen, 142 S. Ct. at 2134-35. Chapter 131’s

   prohibition on carrying handguns at health care facilities infringes on their constitutional right

   because the law bars Carry Permit holders from bringing their handguns when going to a

   medical appointment. N.J. Stat. Ann. § 2C:58-4.6(a)(21). The State must now show that

   historical firearm laws likewise prohibited firearms at health care facilities. Bruen, 142 S. Ct.

   at 2126, 2133.

           To start, the State claims that the Founders and the Reconstruction-era generation

   could not have contemplated today’s medical facilities, and therefore the lack of historical

   firearm laws does not mean Chapter 131’s handgun ban at health care facilities is

   unconstitutional. [State Opp’n Br. at 59 (Docket No. 91).] The State seeks to use Bruen’s




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     Plaintiffs seek to enjoin the State from enforcing Chapter 131’s handgun ban to all health care facilities listed
   in N.J. Stat. Ann. § 2C:58-4.6(a)(21), which is far reaching. This Court declines to do so, and limits its ruling
   only to the health care facilities set forth in Plaintiffs’ declarations.
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   reasoning by analogy to support Chapter 131’s handgun prohibition at health care facilities.

   [Id.]

           But hospitals and medical care facilities existed before and after this Nation’s

   founding. Indeed, opened in 1736, Bellevue Hospital—today known as NYC Health +

   Hospital/Bellevue—“is America’s oldest operating hospital.” Bellevue History, NYC Health

   + Hospitals, available at: https://www.nychealthandhospitals.org/bellevue/history/. And

   in 1791, New York Hospital opened its doors to the public—today known as Weill Cornell

   Medical    Center.       Historical   Timeline,     Weill   Cornell   Medicine,     available   at:

   https://library.weill.cornell.edu/archives/historical-timeline.        Over    to   Pennsylvania,

   Benjamin Franklin worked with Thomas Bond, a physician and surgeon, to form the

   Pennsylvania Hospital in 1751. Harriet Bailey, Nursing Mental Diseases 25-26 (1921). Up

   north, Massachusetts opened the Boston Medical Dispensary in 1796—today Tufts Medical

   Center—and then the Massachusetts General Hospital in 1811. History of Tufts Medical Center,

   available at: https://www.tuftsmedicalcenter.org/About-Us/History.aspx; A Narrative

   History    of   Mass.     General,     Massachusetts        General   Hospital,     available   at:

   https://www.massgeneral.org/museum/history.

           As noted above, Massachusetts, Pennsylvania, and New York did not outright ban the

   possession of firearms in their states in the 18th century. Rather, history reveals those states

   only criminalized the discharge of firearms in certain cities. See supra Section IV.G.c.iii. In

   fact, those states only began to enact restrictions on carrying firearms in public in the late 19th

   or early 20th centuries. Id. This Court has uncovered no laws from the 18th or 19th centuries

   that banned firearms at hospitals, almshouses, asylums, or other medical facilities. See

   Antonyuk, 2022 WL 16744700, at *60 (noting that “the medical profession existed in 18th and


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   19th century America; and certainly gun violence existed in 18th and 19th century America”

   and finding the government (and the court) could not discover any laws barring firearms in

   places such as “almshouses, hospitals, and physician’s offices”). The lack of historical laws

   tends to support Plaintiffs’ position that Chapter 131’s handgun ban at health care facilities

   conflicts with the Second Amendment. Bruen, 142 S. Ct. at 2131. But the Court is unwilling

   to bar the State from enforcing Chapter 131 as to all the health care facilities listed in the law

   because such relief sweeps too broadly and Plaintiffs make no attempt to show that they will

   visit such facilities in the near future.

           To justify Chapter 131’s prohibition on handguns at health care facilities, the State

   relies on the same laws it did to support Chapter 131’s handgun ban at public assemblies

   requiring a government permit, public libraries and museums, bars and restaurants that serve

   alcohol, and entertainment facilities. [State Opp’n Br. at 59-60.] Again, for the reasons

   already discussed, those laws were not well-established or representative firearm laws to

   justify Chapter 131’s handgun ban at health care facilities. See supra Section IV.G.c.i. The

   Court also rejects the State’s attempt to insulate state-owned health care facilities under the

   “government-as-proprietor” theory for the reasons already stated above. See supra Section

   IV.G.2.a. Thus, the State has not shouldered its burden under Bruen.

           Plaintiffs are thus likely to succeed on the merits of their Second Amendment

   challenge to Chapter 131’s handgun restrictions at health care facilities limited to the medical

   offices and ambulatory care facilities listed in Plaintiffs’ declarations. 71




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     Nothing in this Opinion should be construed to prevent private health care facilities from prohibiting firearms
   at their facilities.
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                               xi.       Public Film Sets

          This Court did not reach the merits of the Siegel Plaintiffs’ challenge to Chapter 131’s

   handgun ban at public film sets at the TRO stage because of their lack of standing. [Siegel

   TRO Op. at 18–19 (Docket No. 51).] Having now found standing, see supra Section IV.G.1,

   this Court reviews their challenge.

          The Second Amendment’s text covers the Plaintiffs’ proposed course of conduct of

   carrying a handgun in public for self-defense. See Bruen, 142 S. Ct. at 2134–35. Chapter 131’s

   prohibition on carrying handguns at a public movie or television set infringes on their

   constitutional right because the law prevents Carry Permit holders from carrying their

   handguns in public when they come across a film set. N.J. Stat. Ann. § 2C:58-4.6(a)(23). To

   be clear, the Siegel Plaintiffs did not contend they have a Second Amendment right to bring a

   handgun on filming locations where public access is restricted. Rather, like other members

   of the public, some Siegel Plaintiffs would like to watch the proceedings in an area set aside

   for public viewing, such as a sidewalk. Because Chapter 131 prevents those Carry Permit

   holders from doing so, the State must show that historical firearm laws likewise prohibited

   firearms at public locations used for making a motion picture or television show. See Bruen,

   142 S. Ct. at 2126, 2133.

          This Court recognizes that such historical firearm laws are unlikely to exist because

   motion pictures and television filming emerged from “dramatic technological changes” that

   the Founders and the Reconstruction generation could not have envisioned. See Bruen, 142

   S. Ct. at 2132. This Court must take a “nuanced approach” and look to whether historical

   laws imposed a comparable burden on the right to armed self-defense in public as the modern


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   law does. Id. at 2132–33. The government does not need a “historical twin” or “dead ringer”

   but only a “well-established and representative historical analogue.” Id. at 2133.

           Even taking the nuanced approach, this Court finds the State has failed to support

   Chapter 131’s restrictions on public film sets with historical analogues. The State offers the

   same laws to support Chapter 131’s handgun ban at public gatherings requiring a government

   permit and entertainment facilities. [State Opp’n Br. at 60 (Docket No. 91).] As discussed,

   some laws did not impose a comparable burden on the right to armed self-defense in public

   as Chapter 131 does. See supra Section IV.G.c.vii. And the laws that imposed a comparable

   burden were not well-established or representative to pass muster under Bruen. See supra

   Section IV.G.c.i. Therefore, the Siegel Plaintiffs are likely to succeed on the merits of their

   Second Amendment challenge to Chapter 131’s handgun ban at public film sets.

                             xii.      Prohibition on Functional Firearms in Vehicles

           As noted in this Court’s earlier decisions, Chapter 131 requires gun owners seeking to

   carry or transport their handguns in a vehicle to keep the weapon “unloaded and contained

   in a closed and securely fastened case, gunbox, or locked unloaded in the trunk of the vehicle.”

   N.J. Stat. Ann. § 2C:58-4.6(b)(1). This Court has already found the Second Amendment’s

   text covers the Plaintiffs’ proposed course of conduct carrying a handgun in public for

   self-defense. [Koons TRO Op. at 48–52 (Docket No. 34); Siegel TRO Op. at 41 (Docket No.

   51).]

           This law infringes on the Plaintiffs’ right to armed self-defense in public because the

   law requires Carry Permit holders, in effect, to render their handguns inoperable when

   traveling in a vehicle in New Jersey. N.J. Stat. Ann. § 2C:58-4.6(b)(1). At the TRO stage,

   this Court ruled the State failed to support Chapter 131’s functional firearms in vehicles ban


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   with well-established and representative historical firearm laws, and therefore, temporarily

   enjoined this law. [Koons TRO Op. at 48–52 (Docket Nos. 34-35); Siegel TRO Op. at 41

   (Docket Nos. 51-52).] Besides a handful of new historical firearm laws, the State reiterates

   many of same arguments this Court already considered and rejected. [State Opp’n Br. at 62–

   67.]

          Before this Court considers the State’s new arguments and asserted historical

   analogues, the Court expands on why Chapter 131’s prohibition on functional firearms in

   vehicles is unconstitutional. In Heller, the Supreme Court held that a law requiring handguns

   in the home to be “rendered and kept inoperable”—either by disassembly or inclusion of a

   “trigger-lock” on the weapon—violated the Second Amendment. 554 U.S. at 630. The Heller

   Court found the law unconstitutional because the law made “it impossible for citizens to use

   [their handguns] for the core lawful purpose of self-defense.” Id.

          Just like the law in Heller violated the Second Amendment, so, too, does Chapter 131’s

   restriction on functional firearms in vehicles. To comply with Chapter 131’s requirements,

   the Carry Permit holder must in effect render his or her handgun inoperable while traveling

   in a vehicle in New Jersey. N.J. Stat. Ann. § 2C:58-4.6(b)(1). If encountered with a threat

   requiring armed self-defense while in a vehicle, the Carry Permit holder would have to remove

   the weapon from its secured case or gunbox if the weapon is stored in the vehicle’s interior

   (or in the trunk if kept there) and then reassemble it for self-defense. As the State could not

   disagree at oral argument, this restriction essentially eviscerates a Carry Permit holder’s ability

   to defend him- or herself while in a car. And, as Plaintiffs note, the need for self-defense may

   be more acute in a New Jersey vehicle given the State’s unfortunately large number of

   carjackings. From 2012 to 2016, New Jersey reported over 1,300 carjacking incidents. State


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   of N.J., Dep’t of Law & Pub. Safety, Div. of State Police, Carjacking in New Jersey 2016 12

   (2016), available at: https://nj.gov/njsp/ucr/pdf/carjacking/2016_carjacking.pdf. In 2016,

   New Jersey experienced over 180 carjackings with 71% of those incidents involving a

   perpetrator armed with a firearm. 72 Id. at 12. Hence, because Chapter 131’s functional

   firearms in vehicles restriction makes “it impossible for citizens to use [their handguns] for

   the core lawful purpose of self-defense,” the law is unconstitutional. Heller, 554 U.S. at 630.

           Setting aside the law’s unconstitutionality under Heller, Bruen’s history-and-tradition

   inquiry also proves fatal to Chapter 131’s ban on functional firearm in vehicles. Indeed, early

   American history reveals that colonies protected carrying firearms on highways. Churchill,

   25 Law & Hist. Rev. at 162–63 (collecting laws and noting that in 1770, colonial Pennsylvania

   banned gunfire at or near the “King’s highways” but the law did not apply to “any person

   carrying a gun on the public highway”). The State’s own historical materials confirm that

   colonial New Jersey protected carrying firearms on roadways. As noted above, in 1771,

   colonial New Jersey enacted a hunting law outlawing hunting on another’s land without

   permission. See supra Section IV.G.2.b.ii. That law, however, explicitly protected carrying

   firearms on the highway.          Act of Dec. 21, 1771 ch. DXL, § 2, 1763-1775 N.J. Laws 344

   (Docket No. 88-13) (stating that “nothing herein contained shall be construed to extend to

   prevent any Person carrying a Gun upon the King’s Highway in this Colony”). The State

   apparently overlooked that provision of the law.




   72
     While the handgun may be the “most popular weapon chosen by Americans for self-defense,” see Heller, 554
   U.S. at 629, the handgun appears to be the “most popular” weapon of choice for carjackers in New Jersey, see
   State of N.J., Dep’t of Law & Pub. Safety, Div. of State Police, Carjacking in New Jersey 2016 15 (2016) (noting
   that of the 184 total carjackings in New Jersey in 2016, 129 carjackings involved a perpetrator armed with a
   handgun—70% of all carjackings that year).
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            Chapter 131’s functional firearms in vehicles ban finds no support in the history

   compiled by the State. First, the State cannot justify this law for government-owned vehicles

   based on the “government as-proprietor” or “market participants” theories for the reasons

   this Court has already found. See supra Section IV.G.2.a.i. Second, the State cannot justify

   the ban on functional firearms in vehicles as to public transit vehicles (buses and vans) based

   on historical laws the State claims restricted firearms in crowded places such as entertainment

   facilities. As already discussed, those laws are not well-established or representative historical

   firearm laws within Bruen’s meaning. See supra Section IV.G.c.vii. Indeed, the State just

   rehashes a “crowded location” argument that cannot justify depriving law-abiding citizens of

   their right to armed self-defense in public. See Bruen, 142 S. Ct. at 2134.

            Turning to the State’s purported historical analogues to support Chapter 131’s

   restrictions for private vehicles, the laws did not support a historical tradition of requiring gun

   owners to render their firearms inoperable while in vehicles. Because motor vehicles were

   not around in the 18th and 19th centuries, the State argues, the “Founders in 1791 or the

   Reconstruction generation in 1868,” had no reason to be concerned about regulating firearms

   in motor vehicles. [State Opp’n Br. at 63.] The State misses the mark, and perhaps

   conveniently so. Before the advent of cars, colonists traveled by horse and carriage in the

   18th and 19th centuries. And by the mid- to late-19th century, Americans could travel by

   train.    Yet, despite ample opportunity, the State has not presented this Court with

   well-established and representative firearm laws banning firearms on those transportation

   modes, which would be analogous laws to compare to Chapter 131’s prohibition on

   functional firearms in vehicles.




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          Indeed, the 1876 Iowa law the State relies on only prohibited shooting at trains to

   prevent interference with railways. Iowa Stat. tit. XXIV, ch. 3, § 1, p. 985 (1880) (codifying

   1867 law) (Docket No. 88-15) (making it a misdemeanor “to present or discharge any gun,

   pistol, or other firearm at any railroad train, car, or locomotive engine”). The other two laws

   on which the state relies—a 1917 Maine law and a 1929 Iowa law—were fish and game laws

   designed to prevent hunting from vehicles. 1929 Iowa Acts ch. 57, § 30, p. 90 (Docket No.

   88-16) (except for pistols and revolvers, requiring firearms carried in vehicles to be “unloaded

   in both barrels and magazine, and taken down or contained in a case”); 1919 Me. Acts and

   Resolves ch. 180, p. 192–93 (Docket No. 88-17) (codifying 1917 law and providing “no person

   shall have a rifle or shotgun, either loaded or with a cartridge in the magazine thereof, in or

   on any motor vehicle while same is upon any highway or in the fields or forests”). The Iowa

   law exempted pistols and revolvers from the law’s restrictions. 1929 Iowa Acts ch. 57, § 30,

   p. 90 (Docket No. 88-16). These laws are not similar at all to Chapter 131’s functional

   firearms in vehicles proscription.

          The State cannot also support Chapter 131’s prohibition on functional firearms in

   vehicles by pointing to laws regulating the storage of gun powder in vehicles. [State Opp’n

   Br. at 65 (citing Portland, Or., Ordinance No. 1108, § 6 (1871) (Docket No. 90-5) and

   Lynchburg, Va., Code ch. XIX, § 6 19, p. 117 (Docket No. 90-48).] States and local

   governments historically enacted gunpowder storage laws because gunpowder has “a

   dangerous potential to denotate if exposed to fire or heat” and regulation was necessary to

   prevent fires or explosions. See generally Boland v. Bonta, 2023 WL 2588565, at *7–8 (C.D.

   Cal. Mar. 20, 2023) (citation omitted). The State has presented no evidence that the same

   problems exist for firearms and encased ammunition stored in a vehicle. See NAGR, 618 F.


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   Supp. 3d at 916 (explaining the gunpowder “regulations themselves were often specific to

   gunpowder and not easily translatable to firearm regulations”).                   Thus, gunpowder storage

   laws cannot sustain Chapter 131’s functional firearms in vehicles restriction.

           The State’s reliance on various 19th century laws criminalizing concealed carrying of

   firearms and state court decisions construing the “travel” or “journey” exceptions to those

   laws also does not support Chapter 131’s ban on functional firearms in vehicles. [State Opp’n

   Br. at 65-66 (citing Ga. Code § 4-1-4413 (1861) (Docket No. 90-11); Act of Mar. 18, 1859, §

   1, 1859 Ohio Laws 56 (Docket No. 90-10), Act of Feb. 2, 1838, ch. 101, § 1, 1838 Va. Acts

   76 (Docket No. 90-9); Ark. Rev. Stat. ch. XLIV, art. I, § 13 (1838) (Docket No. 88-18); Act

   of Feb. 1, 1839, no. 77, § 1, 1839 Ala. Acts 67 (Docket No. 88-19); Act of Jan. 14, 1820, ch.

   XXIII, § 1, 1820 Ind. Acts 39 (Docket No.90-8); Act of Mar. 25, 1813, § 1, 1813 La. Acts 172

   (Docket No. 90-7), and Act of Feb. 3, 1813, ch. LXXXIX, § 1, 1813 Ky. Acts 100 (Docket

   No. 90-6).] As noted above and in Bruen, states that historically banned concealed carry of

   firearms did not similarly prohibit open carry. 142 S. Ct. at 2150 (collecting statutes and cases

   and noting that “States could lawfully eliminate one kind of public carry—concealed carry—

   so long as they left open the option to public carry”). And some states—such as Arkansas,

   Alabama, Indiana, and Kentucky—exempt those traveling or on a journey from the laws

   concealed carry prohibition. Ark. Rev. Stat. ch. XLIV, art. I, § 13 (1838) (Docket No. 88-18);

   1841 Ala. Laws 148-49, ch. 7, § 4; Act of Jan. 14, 1820, ch. XXIII, § 1, 1820 Ind. Acts 39

   (Docket No.90-8); and Act of Feb. 3, 1813, ch. LXXXIX, § 1, 1813 Ky. Acts 100 (Docket No.

   90-6). 73 In other words, a person on a “journey” or “traveling” could conceal carry. The



   73
     Kentucky’s 1813 prohibition on concealed carry was short-lived. In Bliss v. Commonwealth, 12 Ky. 90, 93
   (1822), Kentucky’s highest court struck down the state’s concealed carry ban as unconstitutional under the state’s
   constitution.
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   State, and its historian, Dr. Brennan Gardner Rivas, Ph.D., contend that state courts

   construed the “journey” or “traveling” exemptions narrowly. [State Opp’n Br. at 65–66;

   Rivas. Decl. ¶ 12 (Docket No. 85).] Pointing to state court decisions from Arkansas,

   Alabama, and Tennessee, the State argues those courts did not apply the “journey” or

   “traveling” exemptions to individuals traveling in their neighborhood or as part of their

   ordinary life routines. [State Opp’n Br. at 66 (citing Carr v. State, 34 Ark. 448 (1879), Gholson

   v. State, 53 Ala. 519 (1875), Eslava v. State, 49 Ala. 355 (1873), and Smith v. State, 50 Tenn.

   511 (1871)).]

           Even if those states construed the journey or traveler exemptions narrowly, several

   states still allowed open carry. For example, in State v. Reid, 1 Ala. 612 (1840), the Supreme

   Court of Alabama upheld a conviction of a man convicted of carrying a pistol concealed on

   his person. Id. at 622. In finding Alabama’s concealed carry law constitutional, the Reid court

   noted that the state’s constitution allowed the legislature to enact laws on how a person may

   carry a firearm. Id. at 616. The court, however, noted that the “[l]egislature cannot inhibit

   the citizen from bearing arms openly, because it authorizes him to bear them for the purposes

   of defending himself and the State, and it is only when carried openly, that they can be

   efficiently used for defence.” Id. at 619. And in Arkansas, a person could openly carry an

   army pistol, uncovered, in their hands without violating the state’s concealed carry law. See

   generally Haile v. State, 385 Ark.564 (1882). So, whether on a journey or traveling, a person

   could still open carry. 74


   74
     In a footnote, the State, relying on its historian, Dr. Rivas, essentially challenges the Bruen Court’s conclusion
   that states that banned concealed carry still allowed open carry. [State Opp’n Br. at 65 n. 65 (asserting that
   “individuals generally did not view concealed carry laws as giving permission to openly carry in populated places
   during a person’s ordinary activities.” (quoting Rivas Decl. ¶ 9)).] Dr. Rivas, in turn, supports her position by
   citing to two state court decisions – State v. Huntly, 25 N.C. 418 (1843) and State v. Smith, 11 La. 633 (1856) –


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           At any rate, those laws do not support Chapter 131’s functional firearms in vehicles

   restriction. None of those laws required the arms bearer to render his firearms inoperable—

   whether traveling or not—like Chapter 131 does here.

           Turning to the Tennessee and Texas laws the State relies on, those laws offer some

   support to Chapter 131’s ban on functional firearms in vehicles. In 1821, Tennessee outlawed

   the carrying of “belt or pocket pistols” either publicly or privately. Act of Oct. 19, 1821, ch.

   XIII, § 1, 1821 Tenn. Acts 15 (Docket No. 88-20). In Smith, Tennessee’s Supreme Court

   construed a nearly identical successor version of the 1821 law and upheld a conviction against

   a man carrying a pistol “while riding through the neighborhood.” 50 Tenn. at 512. And in

   1871, Texas criminalized the possession of any pistol on one’s “person, saddle, or in his saddle

   bags.” Act of Apr. 12, 1871, ch. XXXIV, § 1, 1871 Texas Gen. Laws. 25 (Docket No. 85-11).

   Thus, both laws regulated—in essence banned—firearms when traveling.

           While both the Tennessee and Texas laws support Chapter 131’s ban on functional

   firearms in vehicles, two state laws are not enough under Bruen to establish a historical

   tradition of states regulating firearms in vehicles the way Chapter 131 does. 75 See 142 S. Ct.




   and a law review article by Mark Anthony Frassetto, The Myth of Open Carry, 55 U.C. Davis 2515 (2022). [Rivas
   Decl. ¶¶ 9, 9 nn.7-9 (Docket No. 85).] This Court has reviewed those materials and declines to deviate from the
   Bruen Court’s finding that states with concealed carry laws still permitted open carry. In fact, the Bruen Court
   reviewed the Smith decision and other decisions from Louisiana’s Supreme Court when making its observation
   about open carry. 142 S. Ct. at 2146 n. 19 (collecting cases).
   75
      Again, in a footnote, the State cites to various laws purportedly supporting Chapter 131’s functional firearms
   in vehicles ban. State Opp’n Br. at 64 n.64 (citing 1887 W. Va. Code ch. 148, § 1 7, p. 897 (Docket No. 89-50),
   1881 Kan. Sess. Laws ch. 37, § 23, p. 92 (Docket No. 90-1), An Act to Prohibit the Carrying of Side-Arms, and
   Other Deadly Weapons, 1882 Ark. Acts § 1, p. 156 (Docket No. 90-2), 1847 Va. Acts Ch. 14, § 16, p. 129
   (Docket No. 90-3), W. Va. Code, Ch. 153, § 8 (1868) (Docket No. 90-4), 1887 Terr. of Wyo. Rev. Stat. §§ 980-
   81, p. 296 (Docket No. 90-47); and An Act Against Wearing Swords, &c, ch. 9, in Grants, Concessions, and
   Original Constitutions of the Province of New Jersey, 289-90 (2d ed. 1881) (Docket No. 90-52). Yet the State
   has not explained how any of these laws support or are like Chapter 131’s prohibition on functional firearms in
   vehicles. Although not obligated, this Court has done its best to sift through these historical materials to find a
   historical law to support Chapter 131’s prohibition on functional firearms in vehicles. But in the end, it is the
   State’s burden to do so. Bruen, 142 S. Ct. at 2150.

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   at 2142 (doubting whether “three colonial regulations could suffice to show a tradition of

   public-carry regulation”). In fact, the Bruen Court noted that the 1821 Tennessee law was

   “uniquely severe” and found the 1871 Texas law (and the two Texas Supreme Court decisions

   upholding that law) to be “outliers.” Id. at 2147, 2153. Thus, the Court finds that the State

   has not shouldered its burden to support Chapter 131’s functional firearms in vehicles ban

   with well-established and representative historical firearm laws.

          Accordingly, for these reasons, Plaintiffs are therefore likely to prevail on the merits of

   their Second Amendment challenge to Chapter 131’s prohibition on functional firearms in

   vehicles.

          H.     The Siegel Plaintiffs’ Equal Protection Challenge to Chapter 131’s
                 Exemptions for Judges, Prosecutors, and Attorneys General

          The Siegel Plaintiffs challenge Chapter 131’s new exemption for federal and state

   judges and prosecutors, and the state attorney general and deputy attorneys general. [Siegel

   Compl. ¶¶ 290–91 (Siegel Docket No. 1).] That exemption allows certain judges, prosecutors,

   and the state attorney general and his or her deputies, to, among other things, carry handguns

   in all Chapter 131’s sensitive places, exempts them from Chapter 131’s permit process, and

   allows them, if they should choose, to carry assault firearms or machine guns. N.J. Stat. Ann.

   §§ 2C:58-4.6(a), 2C:39-6(a)(12). Put simply, Chapter 131 now completely exempts certain

   judges, prosecutors, and attorneys general from New Jersey’s restrictions on carrying firearms

   in public. Id. § 2C:39-6(a)(12) (providing New Jersey’s law on unlawful possession of

   weapons, N.J. Stat. Ann. § 2C:39-5, “does not apply” to, among others, “[a] county

   prosecutor, assistant prosecutor, federal prosecutor, municipal prosecutor, Attorney General,

   assistant attorney general, deputy attorney general and federal, State, county, or municipal

   court judge, including a judge of the Tax Court and any other court of limited jurisdiction

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   established, altered, or abolished by law, a judge of the Office of Administrative Law, a judge

   of the Division of Workers' Compensation at all times while in this State”).                 Judges,

   prosecutors, and attorneys general now join the ranks of, among others, active law

   enforcement officers, certain correction officers, members of the armed services “while

   actually on duty,” and certain employees working at nuclear power plants, who too are

   completely exempt from New Jersey’s restrictions on carrying firearms in public. Id. §

   2C:39-6(a)(1) to (11).

          The Siegel Plaintiffs challenge the new exemption for judges and prosecutors, claiming

   the exemption violates the Federal Constitution’s Equal Protection Clause. [Siegel Br. at 44–

   45 (Siegel Docket No. 8-1).] They contend Chapter 131’s new exemption denies them equal

   protection of law because the law implicates their fundamental right of carrying a handgun in

   public for self-defense. [Id. at 44–45.] According to the Siegel Plaintiffs, “there are no relevant

   distinctions between judges, prosecutors, and attorneys general and the people except for the

   [Gun Law’s] special exemption.” [Id. at 44.] In other words, the Siegel Plaintiffs claim they

   are “similarly situated” to judges and prosecutors but they are denied the special status

   Chapter 131 now affords to judges, prosecutors, and attorneys general. [Id.]

          As noted earlier, the Equal Protection Clause of the Fourteenth Amendment requires

   governments to treat “all persons similarly situated . . . alike.” Ass’n of N.J. Rifle & Pistol Clubs,

   Inc. v. Att’y Gen., 910 F.3d 106, 113 (3d Cir. 2018) (ANJRPC) (quoting Shuman ex rel. Shertzer

   v. Penn Manor Sch. Dist., 422 F.3d 141, 151 (3d Cir. 2005)), abrogated on other grounds by Bruen,

   142 S. Ct. 2111. To sustain an equal protection claim, the plaintiff “must show that the

   Government has treated it differently from a similarly situated party and that the

   Government's explanation for the differing treatment does not satisfy the relevant level of


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   scrutiny.” Stradford v. Sec’y Pa. Dep’t of Corr., 53 F.4th 67, 73–74 (3d Cir. 2022) (3d Cir. 2022)

   (quoting Real Alternatives, Inc. v. Sec’y Dep’t of Health & Hum. Servs., 867 F.3d 388, 348 (3d Cir.

   2017). Similarly situated individuals are those who “are alike in all relevant respects.” Id. at

   74 (quoting Nordlinger v. Hahn, 505 U.S. 1, 10 (1992)).             The “dissimilar treatment of

   dissimilarly situated persons does not violate equal protection.” Woman Prisoners of the D.C.

   Dep’t of Corr. v. District of Columbia, 93 F.3d 910, 925 (D.C. Cir. 1996) (alteration removed)

   (quoting Klinger v. Dep’t of Corr., 31 F.3d 727, 731 (8th Cir. 1994)).

          The Siegel Plaintiffs’ equal protection challenge to Chapter 131’s exemption for judges,

   prosecutors, and attorneys general fails because they have not shown they are “similarly

   situated” to them. See ANJRPC, 910 F.3d at 125–26 (finding New Jersey’s exemption

   allowing law enforcement officers to possess large capacity magazines while prohibiting

   retired military members and private citizens from having those magazines did not violate the

   equal protection clause because law enforcement officers were not similarly situated to private

   citizens and former military members); see also Kolbe v. Hogan, 849 F.3d 114, 146–47 (4th Cir.

   2017) (rejecting equal protection challenge to law that allowed law enforcement officers to

   keep and possess large capacity magazines and assault weapons even though law banned

   private citizens from having those weapons because plaintiffs were not similarly situated to

   law enforcement officers), abrogated on other grounds by Bruen, 142 S. Ct. 2111.

          As the State points out, judges and prosecutors are different from private citizens.

   [State Opp’n Br. at 92–93 (Docket No. 91).] They must undergo an extensive vetting process

   beyond regular criminal background checks such as nomination and confirmation

   proceedings before a legislative body. [Id. at 92 (collecting statutes for state officials)]; see also




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   U.S. Const. art. II, § 2, cl. 2 (requiring senate approval for the appointment of Article III

   judges and “Officers of the United States”).

          Further, as the State recognizes, their work as prosecutors and judges increases the risk

   of harm to them. [State Opp’n Br. at 93.] Prosecutors are tasked with enforcing the law and

   prosecuting individuals who violate it. They must prove an accused’s guilt, and when

   appropriate, argue for incarceration. Their efforts to enforce the law can create vendettas

   from those they convict. See generally United States v. Hinskon, 585 F.3d 1247 (9th Cir. 2009)

   (affirming conviction of defendant who solicited the murder of, among others, a federal

   prosecutor and federal judge); United States v. Graves, 11 F. App’x 384, 2011 WL 672099, at

   *1–2 (4th Cir. 2001) (affirming conviction of convict who mailed a series of threating letters

   to prosecutor responsible for securing convict’s conviction). Likewise, judges tasked with

   imposing sentencing or other penalties may create vendettas from the individuals they

   sentence. See United States v. Hale, 448 F.3d 971 (7th Cir. 2006) (affirming conviction of

   defendant found guilty of soliciting the murder of a federal judge); see also David Heinzmann

   & Jeff Coen, Federal Judge’s Family Killed, Chi. Trib. (Mar. 1, 2005), available at:

   https://www.chicagotribune.com/nation-world/chi-0503010123mar01-story.html

   (reporting on the murder of a federal judge’s husband and mother). And, in some high-profile

   cases, judges may make rulings that could elicit criminal behavior from individuals who

   disagree with those rulings. See generally United States v. Turner, 720 F.3d 141 (2d Cir. 2013)

   (affirming conviction of defendant found guilty of threating to kill three federal court of

   appeals judges following a ruling in a Second Amendment case). This Court is particularly

   aware of the dangers posed against judges.




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           Given the above, this Court finds that judges, prosecutors, and attorneys general are

   not similarly situated to private citizens like the Siegel Plaintiffs, and therefore, the Siegel

   Plaintiffs’ equal protection claim fails. See ANJRPC, 910 F.3d at 125–26. Indeed, the “failure

   to identify similarly situated persons dooms an equal-protection claim.” Stradford, 53 F.4th

   at 74. Accordingly, the Siegel Plaintiffs are unlikely to succeed on the merits of their equal

   protection challenge to Chapter 131’s exemption for judges, prosecutors, and attorneys

   general.

           I.       The Siegel Plaintiffs’ Remaining Void-for-Vagueness Challenges to Chapter
                    131

           Besides     challenging       Chapter     131’s     public    safety     disqualifiers     under     the

   void-for-vagueness doctrine, they also invoke the doctrine seeking to invalidate Chapter 131’s

   new crime of an “unjustified display of a handgun” and other provisions of the law. [Siegel

   Compl. ¶¶ 297-311 (Siegel Doc. No. 1).] Apart from their challenge to the “unjustified display

   of a handgun” crime, this Court declines to consider their other void-for-vagueness

   challenges. 76

           When enacting Chapter 131, the Legislature made a new fourth-degree offense

   criminalizing Carry Permit holders who “engage in an unjustified display of a handgun.” N.J.



   76
      The Siegel Plaintiffs also raise a void-for-vagueness challenge to Chapter 131’s handgun ban at public
   gatherings, events, or demonstrations requiring a government permit and the law’s functional firearm ban in
   vehicles. This Court has already found the Siegel Plaintiffs will likely prevail on the merits of their Second
   Amendment challenge to those provisions of Chapter 131. See supra Sections IV.G.2.c.i., xii. Accordingly, this
   Court declines to consider their void-for-vagueness challenges to those provisions. In any event, New Jersey’s
   Criminal Code defines the term vehicle and, therefore, that provision of Chapter 131 is not vague. See N.J. Stat.
   Ann. § 2C:1-14. Likewise, the Siegel Plaintiffs’ challenge to the term “carry” is meritless. As the State points
   out, no Siegel Plaintiff has claimed that he or she does not know what the term “carry” in Chapter 131 means.
   This Court does not find the word “carry” in Chapter 131 to be vague. See Muscarello v. United States, 524 U.S.
   125, 128–39 (1998) (extensively reviewing definitions of term “carries” when interrupting federal firearms
   offense). Statutes that employ terms with everyday or common meanings—such as the term carry—are not
   vague because a person of ordinary intelligence would understand the term. See United States v. Tykarsky, 446
   F.3d 458, 473 (3d Cir. 2006).
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   Stat. Ann. § 2C:58-4.4(a)(5). A Carry Permit holder who engages in an unjustified display of

   a handgun faces up to 18 months in jail, $10,000 in fines, id. §§ 2C:43-3(b)(2), -6(a)(4), and

   risks forfeiting his or her Carry Permit, id. § 2C:58-4.4(a). While the Legislature did not

   specify a mens rea element for this new offense, New Jersey’s Criminal Code provides that the

   offense has a “knowingly” mental culpable state since there is no evidence “clearly indicating

   a legislative intent to impose strict liability.” Id. § 2C:2-2(c)(3) (providing that when “no

   culpable mental state is designated in a statute defining an offense,” a “statute defining a crime

   . . . should be construed as a defining a crime with the [knowingly] culpability”). The

   Legislature did not define “unjustified” in Chapter 131.

          The State agrees. At oral argument, the State outlined the parameters of Chapter 131’s

   prohibition on an unjustified display of a handgun. The State explained that an “unjustified

   display is a knowing display of a firearm outside the holster for a purpose other than self-

   defense.” [Tr. at 146:16–146:18, 147:17–147:18.] The State contended this definition follows

   Chapter 131’s carry and holster requirements. [Tr. at 147:4–147:9.] And the State asserted

   that the law’s “unjustified” language stems from Heller’s and Bruen’s rulings that the “core of

   the Second Amendment” is the “right to self-defense.” [Tr. at 147:14–147:16.] The State

   confirmed the new offense is not a strict-liability crime, explaining the crime must be a

   “knowing display.” [Tr. at 146:20–146:22.]

          As noted above, vague laws offend the Due Process Clause’s principles that laws must

   provide fair notice to those who will be subject to them and not encourage arbitrary or

   discriminatory enforcement.        See supra Section IV.D.1.f.         Again, “[a] statute is

   unconstitutionally vague under the Due Process Clause if it (1) fails to provide people of

   ordinary intelligence a reasonable opportunity to understand what conduct it prohibits; or (2)


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   authorizes or even encourages arbitrary and discriminatory enforcement.” Fontaine, 697 F.3d

   at 226 (internal quotation marks and citation omitted).          On the one hand, a law is

   unconstitutionally vague for lack of fair notice when the law fails to give a “person of ordinary

   intelligence a reasonable opportunity to know what is prohibited, so that he may act

   accordingly.” Grayned, 408 U.S. at 108–09. On the other hand, a law is unconstitutionally

   vague because it invites arbitrary enforcement if it leaves judges, jurors, or law enforcement

   “free to decide, without any legally fixed standards, what is prohibited and what is not in each

   particular case.”   Beckles v. United States, 580 U.S. 256, 266 (2017) (quoting Giaccio v.

   Pennsylvania, 382 U.S. 399, 402–03 (1966)).

          When a plaintiff brings a facial void-for-vagueness challenge to a law, like the Siegel

   Plaintiffs do here, historically the Supreme Court and Third Circuit have required the plaintiff

   to show “that the law is impermissibly vague in all of its applications.” CMR D.N. Corp. v.

   City of Phila., 703 F.3d 612, 631 (3d Cir. 2013) (quoting Vill. of Hoffman Estates v. Flipside,

   Hoffman Estates, Inc., 455 U.S. 489, 498 (1982)). Recently, the Supreme Court has backed

   away from that standard, explaining that a law may be unconstitutionally vague on its face

   even if “there is some conduct that clearly falls within the provision’s grasp.” Johnson, 576

   U.S. at 602; see also Sessions v. Dimaya, ____ U.S. ____, ____, 138 S. Ct. 1204, 1214 n.3 (2018).

   Thus, a statute can still be found vague even if the law is clear in some applications. Id.

          “In evaluating a facial challenge to a state law, a federal court must, of course, consider

   any limiting construction that a state court or enforcement agency has proffered.” Freeman v.

   Corzine, 629 F.3d 146, 161 (3d Cir. 2010) (quoting Flipside, 455 U.S. at 494 n.5). Courts should

   adopt a “proffered limiting construction when the statute is actually ‘susceptible to a




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   construction that avoids constitutional difficulties.’” Id. (quoting Brown v. City of Pittsburg, 586

   F.3d 263, 275 (3d Cir. 2009)).

          Here, consistent with the Supreme Court’s guidance in Flipside, this Court finds the

   State’s proffered interpretation of an “unjustified display of handgun” appropriate because it

   provides: (1) notice to Carry Permit holders on what conduct is prohibited; and (2) enough

   guidelines to avoid arbitrary or discriminatory enforcement. Fontaine, 697 F.3d at 226. When

   a statute is facially challenged on vagueness grounds, say because of an undefined term, courts

   should provide a limiting construction rather than declaring the statute facially invalid. United

   States v. Stupka, 418 F. Supp. 2d 402, 414 (N.D. Iowa 2019) (“When a statutory term is the

   primary source of vagueness, the remedy is typically a limiting construction, not a finding of

   facial invalidity.”); see also Beckles, 580 U.S. at 271 n.* (Ginsburg, J., concurring) (collecting

   cases and explaining that the “Court has routinely rejected, in a variety of contexts, vagueness

   claims where a clarifying construction rendered an otherwise enigmatic provision clear”).

   Indeed, “[s]imply because a criminal statute could have been written more precisely does not

   mean the statute as written is unconstitutionally vague.” San Filippo v. Bongiovanni, 961 F.2d

   1125, 1136 (3d Cir. 1992) (citing United States v. Powell, 423 U.S. 87, 94 (1975)). This State’s

   proffered construction here removes any unconstitutional vagueness from the new criminal

   offense.

          First, under the State’s proffered construction, Carry Permit holders with ordinary

   intelligence will understand what conduct is prohibited: displaying a handgun outside their

   holster for a purpose other than self-defense. As the State pointed out at oral argument,

   Chapter 131 requires a Carry Permit holder to carry his or her handgun in public in “a holster

   concealed on their person.” N.J. Stat. Ann. § 2C:58-4(a). Chapter 131 defines a holster as


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   “device or sheath that securely retains a handgun which, at a minimum, conceals and protects

   the main body of the firearm, maintains the firearm in a consistent and accessible position,

   and renders the trigger covered and inaccessible while the handgun is fully seated in the

   holster.” Id. – 4(h). Thus, the State’s proffered interpretation, coupled with Chapter 131’s

   carry and holster requirements, “provides clear notice [to a Carry Permit holder] that a

   reasonably ascertainable standard of conduct is mandated.” United States v. Alexander, 480 F.

   Supp. 3d 988, 998 (N.D. Cal. 2020) (rejecting void-for-vagueness challenge to federal law

   prohibiting possession of silencers because statute gave fair notice of what the law prohibited)

   (quoting Powell, 423 U.S. at 92).

          Second, the unjustified display of a handgun is an offense requiring knowledge of the

   culpable conduct. The offense’s “knowingly” requirement “‘alleviate[s] vagueness concerns’

   because a mens rea element makes it less likely that a defendant will be convicted for an

   action committed by mistake.” United States v. Moyer, 674 F.3d 192, 211–12 (3d Cir. 2012)

   (quoting Gonzales v. Carhart, 550 U.S. 124, 149 (2007)); see also Flipside, 455 U.S. at 499 (“[A]

   scienter requirement may mitigate a law's vagueness, especially with respect to the adequacy

   of notice to the complainant that his conduct is proscribed.”). This knowingly requirement is

   tied to the State’s definition of unjustified display since the Carry Permit holder must display

   for “a purpose other than self-defense.” Under the State’s definition, a Carry Permit holder

   will not face liability for knowingly displaying a handgun outside his or her holster unless the

   display is made for a purpose other than self-defense. When a statute criminalizes acts

   “knowingly done with the purpose of doing that which the statute prohibits,” like Chapter

   131’s new offense does under the State’s construction, “the accused cannot be said to suffer

   from lack of warning or knowledge that the act which he does is a violation of law.” Moyer,


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   674 F.3d at 212 (quoting Screws v. United States, 325 U.S. 91, 102 (1945)). The law’s

   language—knowingly displaying for a purpose other than self-defense—limits the types of

   handgun displays that are punishable.         Indeed, Chapter 131 already renders certain

   “incidental” displays of a handgun—such as holstering the handgun or exposing the weapon

   because of the holder’s body shifting—to be “a de minimis infraction” of the law. N.J. Stat.

   Ann. § 2C:58-4(a). The Due Process Clause does not demand that criminal offenses be

   meticulously specific, “which would come at the cost of flexibility and reasonable breadth.”

   Betancourt, 448 F.3d at 552 (internal quotation marks omitted) (quoting Grayned, 408 U.S. at

   110).

           Third, the State’s proffered interpretation of unjustified display of a handgun provides

   enough “guidelines to govern law enforcement.” Kolender, 461 U.S. at 358 (1983) (internal

   quotation marks omitted) (quoting Smith, 415 U.S. at 574). The State’s interpretation

   contains explicit standards for law enforcement officers, judges, and juries to follow that will

   eliminate arbitrary or discriminatory enforcement. Grayned, 408 U.S. at 109. That is, their

   discretion to charge or convict a Carry Permit holder for engaging in an “unjustified display

   of handgun” is cabined to Carry Permit holders who knowingly display their handguns

   outside their holsters for a purpose other than self-defense. Again, to violate due process, the

   law must be “so standardless that it invites arbitrary enforcement,” Johnson, 576 U.S. at 595,

   and under the State’s proffered construction, this Court finds Chapter 131’s new offense falls

   outside that criterion.

           Given the State’s construction and for the above reasons, this Court rejects the Siegel

   Plaintiffs’ void-for-vagueness challenge to Chapter 131’s new crime of an unjustified display




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   of a handgun and denies their request for a preliminary injunction on that provision of the

   law.

           J.       The Siegel Plaintiffs’ Second Amendment Challenge to New Jersey’s Fish
                    and Game Restrictions

           The Siegel Plaintiffs contend that various Fish and Game Restrictions violate the

   Second Amendment. [Siegel Compl. ¶ 278 (Siegel Docket No. 1).] The challenged regulations

   range from limitations on the types of ammunition and weapons used to hunt certain game

   to the number of arms a hunter may carry while hunting in New Jersey. See N.J. Admin.

   Code § 7:25-5.23(a), (c), (f), and (m). One challenged regulation requires firearms in motor

   vehicles to be unloaded and “enclosed in a securely fastened case.” Id. § 7:25–5.23(f)(5) (“Fish

   and Game Functional Firearm in Vehicle Ban”). 77

           To start, this Court must determine whether the Siegel Plaintiffs have shown that their

   proposed course of conduct falls within the Second Amendment’s text. See Bruen, 142 S. Ct.

   2126, 2135. Only Plaintiff Siegel declares an intent to hunt “in the woods and fields of New

   Jersey.” [Siegel Decl. ¶ 15 (Siegel Docket No. 8-2).] Plaintiff Siegel apparently seeks to carry

   his handgun while hunting in New Jersey. [Siegel PI Reply Br. at 65 (Docket No. 97).] He

   claims that he would bring his handgun for self-defense (and self-defense ammo) while

   hunting if the Fish and Game Restrictions were not on the books. [Siegel Decl. ¶ 38 (Siegel

   Docket No. 8-2).]

           At first blush, one may conclude the Second Amendment’s text covers that course of

   conduct because it implicates the right to armed self-defense. But on a closer examination,

   the Second Amendment’s text may not cover that conduct. The Second Amendment’s text


   77
      This Court has already found the Siegel Plaintiffs lack standing to challenge N.J. Admin. Code § 7:25-5.23(i)’s
   firearm ban at state game refuges. See supra Section IV.G.1.a.
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   “guarantee[s] the individual right to possess and carry weapons in case of confrontation.”

   Bruen, 142 S. Ct. at 2134 (quoting Heller, 554 U.S. at 592). The text is silent on hunting, and

   some courts have held the Second Amendment’s text does not confer a right to hunt. See, e.g.,

   Hunters United for Sunday Hunting v. Pa. Game Com’n, 28 F. Supp. 3d 340, 346 (M.D. Pa. 2014);

   see also Joseph Blocher, Hunting and the Second Amendment, 91 Notre Dame L. Rev. 133, 153–

   171 (2015) (canvassing arguments on whether the Second Amendment confers a right to

   hunt). The “highly influential” proposal from the Dissent of the Minority of the Convention

   of Pennsylvania, see Heller, 554 U.S. at 604, requested the new Constitution provide that “the

   people have a right to bear arms . . . for the purpose of killing game.” Halbrook, supra Section

   IV.D.1.c, at 195 (citation omitted). The Minority also proposed that “’[t]he inhabitants of the

   several states shall have liberty to fowl and hunt in seasonable times, on the lands they hold,

   and on all other lands in the United States not inclosed, and in like manner to fish in all

   navigable waters, and others not private property, without being restrained therein by any

   laws to be passed by the legislature of the United States.” Id. at 196 (citation omitted). Neither

   proposal, however, made its way into the Constitution.

          In any event, this Court must look to whether the Fish and Game Restrictions infringes

   on “the right to keep and bear arms.” Kelly, 2022 WL 17336578, at *2. Apart from the Fish

   and Game Functional Firearm in Vehicle Ban, see infra Section IV.J., the other Fish and

   Game Restrictions likely do not infringe on Plaintiff Siegel’s Second Amendment right to bear

   arms. Unlike Chapter 131’s complete handgun ban, the Fish and Game Restrictions only

   restrict the types of weapons and ammunition a hunter may use. N.J. Admin. Code § 7:25-

   5.23(a), (c), (f), and (m). Those regulations do not completely deprive Plaintiff Siegel of his

   ability to defend himself with a firearm in case of confrontation while hunting, say from a


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   wild bear or even a violent individual roaming through the fields and woods of New Jersey.

   Said another way, he still has arms—even if only a shotgun or rifle—for self-defense. Plaintiff

   Siegel’s claim that he needs to bring his handgun while hunting rings hollow to the Court.

   This Court doubts whether Plaintiff Siegel has shown that his proposed course of conduct—

   carrying a handgun for self-defense while hunting—falls within the Second Amendment’s

   text. Bruen, 142 S. Ct. 2126, 2135. Setting aside the Court’s reservations nevertheless, the

   Court will consider whether historical firearm laws support the Fish and Game Restrictions.

           The State has offered many fish and game laws from the 18th and 19th centuries.

   [State Opp’n Br. at 61–62 (Docket No. 91).]                Like the Fish and Game Restrictions, those

   historical laws restricted the method of hunting. Earlier colonial laws restricted hunting of

   certain game to certain times. Act of May 5, 1722, ch. 86, § 1, reprinted in The Acts of the

   General Assembly of New Jersey 122 (1722); Act of Aug. 26, 1721, ch. 246, § 1 (Pa.), reprinted in

   3 Stat. at Large of Pa. 254-55 (1896) (Docket No. 88-33); see also Cramer, 16 J. on Firearms

   & Pub. Pol’y at 16–17. Later colonial laws also imposed time and method restrictions on

   hunting. Act of Dec. 21, 1771 ch. DXL, § 2, 1763-1775 N.J. Laws 344-45 (Docket No. 88-13)

   (restricting deer hunting to certain months and banning the use of traps “larger than what is

   usually and commonly set for Foxes and Muskrats”); see also Act of Dec. 10, 1790, no. 444, §

   1(Ga.), reprinted in Robert & George Watkins, A Digest of the Laws of the State of Georgia 428

   (Phila., R. Aitken, 1800) (Docket no. 89-43) (outlawing deer hunting with a gun by “fire

   light”). 78 After the Second Amendment’s ratification, the States continued to restrict methods

   of hunting. 1838 M.D. Laws, ch. 100, § 1, p. 1836 (Docket No. 89-44) (prohibiting the


   78
     “Fire-hunting” or “fire light” hunting refers to a hunting practice where hunters set ablaze the field or “brush”
   in a circular manner forcing deer entrapped in the flaming circle to look for an opening to escape where armed
   hunters positioned themselves. Clayton E. Crammer, Colonial Firearm Regulation, 16 J. on Firearms & Pub. Pol’y
   1, 17 (2004).
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   carrying of “any offensive weapon, gun, musket, fowling piece or pistol” in any boat or canoe

   for hunting fowl in certain locations).

          The states also restricted methods of hunting during and after Reconstruction. 1868

   Ohio Rev. Stat. (Supplement), ch. 3, §§ 23, 25, pp. 12–13 (Docket No. 89-45) (imposing time

   restrictions on hunting deer and limiting firearms to hunt duck, geese, or other waterfowl to

   “common shoulder gun”) (Docket No. 89-45); 1872 Wisc. Rev. Stat. ch. 183, § 37, p. 1960

   Docket No. 89-46) (outlawing the killing of wild duck or geese “with or by means of the

   device, instrument or firearm known as punt or swivel gun, or with or by means of any gun

   or firearm other than such guns or firearms as are habitually raised at arm’s length and fired

   from the shoulder”); 1872 Conn. Pub. Acts ch. 115, §§ 1-2, p. 108 (Docket No. 89-47)

   (imposing time restrictions on hunting wild duck and geese and outlawing hunting those birds

   with “any instrument . . . other than such guns as are habitually raised at arm’s length and

   fired from the shoulder”); 1872 Or. Laws 25-26, §§ 1-2, 4-6) (Docket No. 89-48) (imposing

   time restrictions on hunting various games and outlawing fishing with gunpowder or other

   explosive material); and 1873 S.C. Rev. Stat. ch. 77, §§ 10, 16 (Docket No. 89-49) (imposing

   time restrictions on hunting deer and outlawing hunting deer at night with “fire”).

          This Court finds the State has established a historical tradition of comparable laws to

   sustain the Fish and Game Restrictions. Again, unlike Chapter 131’s handgun ban, the Fish

   and Game Restrictions do not deprive the Siegel Plaintiffs of firearms to defend themselves—

   the regulations only restrict the types of firearms and ammunition a hunter may use. Bruen’s

   “how” and “why” inquiry reveals that the historical game laws and Fish and Game

   Restrictions serve the same purpose: restrict the manner, method, and time of hunting to

   preserve game. Unsurprisingly, neither party has adequately explained how the Fish and


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   Game Restrictions deny Plaintiff Siegel of his right to bear arms for self-defense. 79 When a

   plaintiff seeks to alter the status quo instead of preserving it, like Plaintiff Siegel attempts to

   do here, the plaintiff must show “a substantial likelihood of success on the merits and that

   [his] ‘right to relief [is] indisputably clear.’” Hope, 972 F.3d at 320 (second alteration in

   original) (quoting Trinity, 735 at 139). The Siegel Plaintiffs have not met that “particularly

   heavy burden.” Id. (internal quotation marks and citation omitted). So this Court denies the

   Siegel Plaintiffs’ motion for a preliminary injunction as to N.J. Admin. Code § 7:25-5.23(a),

   (c), (f)(1) to (4), and (m). 80

           That said, this Court finds the Fish and Game Functional Firearm in Vehicle Ban to

   be unconstitutional. Unlike the other Fish and Game Restrictions, this regulation does not

   relate to hunting. Indeed, the other Fish and Game Restrictions are specifically tied to

   hunting—the types of weapons and ammunition a hunter may use based on the sought-out

   game. See N.J. Admin. Code § 7:25-5.23(a), (c), (f), and (m). This Court finds the Fish and

   Game Functional Firearm in Vehicle Ban indistinguishable from Chapter 131’s prohibition

   on functional firearms in vehicles. Both infringe on a Carry Permit holders’ right to armed

   self-defense while in a vehicle. The State’s historical fish and game laws offer no support for

   the Fish and Game Functional Firearm in Vehicle Ban. Thus, for the same reasons Chapter



   79
      The Court is willing to revisit the Siegel Plaintiffs’ challenge to the Fish and Game Restrictions upon adequate
   briefing from both parties.
   80
     All the more reason to deny the Siegel Plaintiffs’ motion for a preliminary injunction on those Fish and Game
   Restrictions is their failure to show irreparable harm. As the State points out, the challenged Fish and Game
   Restrictions have been in effect for decades. [State Opp’n Br. at 61 n. 58 (Docket No. 91).] Yet the Siegel
   Plaintiffs waited until the Legislature passed Chapter 131 to challenge the Fish and Game Restrictions. Their
   delay undermines their claim that those regulations are causing Plaintiff Siegel irreparable harm, and warrants
   denial of their motion for a preliminary injunction as to those regulations. See Lanin v. Borough of Tenafly, 515 F.
   App’x 114, 117-18 (3d Cir. 2013) (affirming denial of preliminary injunction for lack of irreparable harm since
   plaintiffs waited to challenge law, and explaining that “[d]elay in seeking enforcement of those rights . . . tends
   to indicate at least a reduced need for such drastic, speedy action”) (omission in original, internal quotation
   marks and citation omitted).
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   131’s functional handgun ban in vehicles is unconstitutional, so too is the Fish and Game

   Functional Firearm in Vehicle Ban. See id. The Siegel Plaintiffs are likely to prevail on the

   merits of their Second Amendment challenge to N.J. Admin. Code § 7:25-5.23(f)(5).

          K.      Irreparable Harm to Plaintiffs

          The Court now turns to the irreparable harm factor. It is well-settled within the Third

   Circuit that the probability of success on the merits is but one of the “two most critical factors”

   a movant for preliminary equitable relief must demonstrate. Reilly, 858 F.3d at 179. The

   other critical fact Plaintiffs must show is whether they are “more likely than not to suffer

   irreparable harm in the absence of preliminary relief.” Id. If both “critical factors” are met,

   then the Court must “consider[] the remaining two factors and determine[] in its sound

   discretion if all four factors, taken together, balance in favor of granting the requested

   preliminary relief.” Id.

          As explained in the Court’s decisions on the Koons and Siegel TRO motions, Plaintiffs

   will likely suffer immediate and irreparable harm if Chapter 131’s handgun ban at the

   supposed sensitive places is not preliminarily enjoined. In Siegel, the Court clarified that even

   if not every “bare” constitutional deprivation necessarily constitutes a per se irreparable injury

   in the context of emergent or preliminary injunctive relief, as argued by the State at the TRO

   phase, “the threat of [criminal] prosecution for engaging in constitutionally protected

   conduct certainly is.” [Siegel TRO Op. at 43–44 (citing (A.H. by & through Hester v. French,

   985 F.3d 165, 176 (2d Cir. 2021) (explaining that “[i]n cases alleging constitutional injury, a

   strong showing of a constitutional deprivation that results in noncompensable damages

   ordinarily warrants a finding of irreparable harm”).] To that end, “Plaintiffs do not allege a




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   bare constitutional deprivation, but that they fear the threat of severe criminal penalties if they

   choose to exercise their Second Amendment rights.” [Siegel TRO Op. at 44.]

          It is noteworthy that Chapter 131 is in sharp contrast to the Carry Permit laws that

   New Jersey had on the books before. In fact, most Plaintiffs successfully obtained a Carry

   Permit from the State giving them express permission to carry a handgun for self-defense

   purposes, including most of the areas the State has now declared to be gun-free “sensitive

   places.” Once again, the Court echoes the many decisions finding that deprivation of a right

   otherwise secured by the Second Amendment is “not easily remediable by monetary damages

   or other non-injunctive relief.” [Id. at 55 (citing Ezell v. City of Chicago, 651 F.3d 684, 699 (7th

   Cir. 2011) (explaining that like the First Amendment, the “Second Amendment protects

   similarly intangible and unquantifiable interests,” including the right to possess firearms for

   self-protection, since “[i]nfringements of this right cannot be compensated by damages”); see

   also Spencer v. Nigrelli, ____ F. Supp. 3d ____, ____, 2022 WL 17985966, at *13 (W.D.N.Y.

   Dec. 29, 2022); Hardaway, 2022 WL 16646220, at *17; Antonyuk, 2022 WL 3999791, at *36.]

          Here, Plaintiffs have clearly shown that if the challenged sensitive places under

   Chapter 131 are enforceable, the harm they will likely suffer is noncompensable. Since

   Chapter 131 became law, Plaintiffs have resorted to leaving their handguns and Second

   Amendment rights at home because they may otherwise face significant criminal sanctions

   and jail time. This result is plainly inconsistent with Bruen, which affirmed the right to carry

   a firearm in public for self-defense. Unlike the exercise of other constitutional rights, the

   inability to exercise one’s Second Amendment right when needed could be a matter of life or

   death. Because Chapter 131 forces Plaintiffs to choose between the noncompensable loss of

   their Second Amendment rights or face significant criminal penalties for exercising such


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   rights, the Court finds that Plaintiffs have clearly shown they are more likely than not to suffer

   irreparable injury if their motions for preliminary injunctive relief is not granted. Rena v.

   Bonta, ____ F. Supp. 3d ____, ____, 2023 WL 2846937, at *14 (S.D. Cal. Apr. 3, 2023)

   (granting preliminary injunction and explaining that “[i]t is well-established that loss of ‘the

   enjoyment of Second Amendment rights constitutes irreparable injury’”) (quoting Duncan v.

   Becerra, 256 F. Supp. 3d 1106, 1135 (S.D. Cal. 2017)).

          L.      Harm to Other Interested Parties and the Public Interest

          Finally, the Court considers the possibility of harm to other interested parties, as well

   as the public interest, if it were to grant Plaintiffs’ motions for a preliminary injunction, and

   whether all four PI factors, on balance, weigh in favor of granting the relief requested. Again,

   the Court incorporates its earlier TRO Opinions. Where, as here, a “challenged government

   action involves the exercise of constitutional rights, ‘the public interest . . . tip[s] sharply in

   favor of enjoining’ the law.” Renna, 2023 WL 2846937, at *15 (omission and alterations in

   original) (quoting Klein v. City of San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009)). The

   Court finds that preliminarily enjoining Chapter 131’s unconstitutional provisions “will only

   impact individuals who have already gone through the State’s vetting process” to obtain a

   Carry Permit, “so other interested parties will not be harmed if the requested relief is granted.”

   [Siegel TRO Op. at 44.] “After all, neither the Government nor the public generally can claim

   an interest in the enforcement of an unconstitutional law.” [Id. (citing Am. C.L. Union v.

   Ashcroft, 322 F.3d 240, 251 n.11 (3d Cir. 2003), aff’d and remanded, 542 U.S. 656 (2004)); see

   also Koons TRO Op. at 59.]

          The last PI factor has been central to the argument advanced by the Legislature-

   Intervenors, New Jersey Senate President Nicholas P. Scutari and New Jersey General


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   Assembly Speaker Craig J. Coughlin, who ask this Court to deny preliminary injunctive relief.

   At oral argument, the Intervenors concluded their argument by stating:

                  My last point . . . is the possibility of harm to other parties and
                  the public interest . . . [O]ur position is that those studies
                  indicate, no matter how you read them, that the states that have
                  let’s say lightened up on the requirements of gun carrying have
                  had an increase in gun-related incidents. I mean, I think it seems
                  like a reasonable inference to be drawn. You're not going to have
                  less inference – less of a problem. The more guns out there, [the
                  number of gun-related incidents] shouldn't go down. It should,
                  you know, likely go up. And these two studies that are cited in
                  our brief support that proposition. If that’s the case, we’re talking
                  about – I mean, guns only have two functions – to kill or to
                  seriously injure.

   [Tr. at 155:16–156:6.] The argument was telling, as it is best summed up as an “all guns are

   bad” one. This argument is problematic for several reasons.

          First, individuals may own firearms unrelated to self-defense such as hunting or target

   shooting. Indeed, “[h]unting and recreational uses likes target shooting and ‘plinking’ have

   long been the primary reason for gun ownership in the United States.” Blocher, 91 Notre

   Dame L. Rev. at 134 (citation omitted).

          Second, the Intervenors’ argument ignores the fundamental right of self-defense.

   Although the Intervenors cite to statistics involving gun violence, they do not cite to statistics

   involving law-abiding citizens with carry permits who used their firearms to save lives. For

   example, a concealed carry permit holder in Chicago heroically stopped “a gunman who

   opened fire on a crowd of people in Logan Square.” Geoff Ziezulewicz, Uber Driver, Licensed

   to Carry Gun, Shoots Gunman in Logan Square, Chi. Trib. (Apr. 20, 2015), available at:

   https://www.chicagotribune.com/suburbs/lake-county-news-sun/ct-uber-driver-shoots-

   gunman-met-0420-20150419-story.html.         As another example, a legal permit carry holder

   saved the lives of patrons and children in a barbershop in Philadelphia when he stopped a

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   man who brandished a handgun following a fight with another patron. Gunman Shot Dead

   Inside West Philadelphia Barbershop, CBS News (Mar. 22, 2015), available at:

   https://www.cbsnews.com/philadelphia/news/man-shot-dead-inside-west-philadelphia-

   barbershop/. These examples are just a few of many. See also David Kopel, Opinion, Guns

   in America: Arming the Right People Can Save Lives, L.A. Times (Jan. 15, 2013), available at:

   https://www.latimes.com/opinion/la-xpm-2013-jan-15-la-oe-kopel-guns-resistance-nra-

   20130115-story.html. The Intervenors’ argument ignores these realities.

          Third, the social science studies the State and the Intervenors have brought before this

   Court to show that granting injunctive relief is not in the public’s interest are not as clear-cut

   as they believe. The Intervenors point to two studies conducted by researchers at Johns

   Hopkins University. [Intervenor’s Post-Argument Br. at 3 (Docket No. 121).] In fact, the

   Legislature expressly referenced one of the John Hopkins’ studies when passing Chapter 131.

   In enacting Chapter 131, the Legislature declared that:

                  Statistics show that expanding handgun carrying creates safety
                  risks, helping to fuel the epidemic of gun violence. For example,
                  a study by researchers at the Johns Hopkins Bloomberg School
                  of Public Health found that the estimated average rate of officer
                  involved shootings increased by 12.9 percent in ten states that
                  relaxed restrictions between 2014 and 2020 on civilians carrying
                  concealed firearms in public.             Accordingly, evidence
                  demonstrates that more guns on the streets can translate into
                  more acts of gun violence. To mitigate the impact of having
                  more people carrying guns in public places, steps must be taken
                  to better ensure that those who exercise the right to carry are
                  responsible, law-abiding, and appropriately trained individuals
                  who would not pose undue safety risks if armed in public places.

   2022 N.J. Laws, ch. 131, § 1(c).

          When reviewed independently, this Johns Hopkins study is considerably more

   nuanced than the Legislature declared it to be. See Mitchell L. Doucette et al., Officer-Involved


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   Shootings and Concealed Carry Weapons Permitting Laws: Analysis of Gun Violence Archive Data,

   2014–2020,    J.    of   Urban     Health,     June    2022,     at   373–84,     available    at:

   https://doi.org/10.1007/s11524-022-00627-5. In fact, what these researchers specifically

   examined was the relationship between concealed carry laws and officer-involved shootings

   from 2014 through 2020, finding a 12.9 percent increase in the victimization rate for officer-

   involved shootings within jurisdictions that had adopted a permitless concealed firearm carry

   regime. Id. Empirical studies that measure an increase in gun violence when adopting or

   moving away from a permitless regime—unlike Chapter 131 that contains numerous permit

   criteria and disqualifiers—are not germane to the serious inquiry presently before this Court.

          The other social science studies the State and Intervenors point to are equally

   unpersuasive because the studies fail to specifically account for the role of law-abiding citizens

   in the increase of crime rates or gun violence. Apart from the 2019 study from John J.

   Donohue and his colleagues, the other studies focus on crime increases in general in

   shall-issue firearm permitting regimes. [See State Post-Argument Br. at 7–8 (Docket No. 120);

   see also Intervenors Post-Argument Br. at 3–6 (Docket No. 121).] But whatever the permitting

   regime—shall, may, or permitless—opportunistic criminals and individuals bent on breaking

   the law will obtain firearms and use them unlawfully. Indeed, criminals are not deterred by

   firearm laws. See Bruen, 142 S. Ct. at 2159 (Alito, J., concurring) (“No one apparently knows

   how many of the 400 million privately held guns are in the hands of criminals, but there can

   be little doubt that many muggers and rapists are armed and are undeterred by the Sullivan

   Law.”).

          The 2019 study from Professor Donohue and his colleagues suggests that shall-issue

   firearm permitting laws “can lead to an increase in violent crime by increasing the likelihood


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   a generally law-abiding citizen will commit a crime or increasing the criminal behavior of

   others.” John J. Donohue et al., Right to Carry Laws and Violent Crime: A Comprehensive

   Assessment Using Data and a State-Level Synthetic Control Analysis, 16 J. Empirical Legal Stud.

   198, 203 (April 2019). In that study, Professor Donohue and his colleagues found that

   right-to-carry “laws are consistently shown to increase violent crime.” Id. at 234; see also id.

   at 240. However, while the study mentioned incidents of law-abiding citizens engaging in

   violent acts with their firearms, see id. at 203, 206, the study’s overall conclusions did not

   separate out violent crimes committed by law-abiding citizens from non-law-abiding citizens.

          In fact, other studies point the other way, finding that shall-issue permitting laws did

   not lead to an increase in violent crime, or that carry permit holders are not responsible for

   the increases in violent crimes. See John R. Lott, Jr., What A Balancing Test Will Show for Right-

   to-Carry Laws, 71 Md. L. Rev. 1205, 1212 (2012) (“The behavior of permit holders is the easiest

   question to answer. . . . The third edition of More Guns, Less Crime presents detailed data for

   25 right-to-carry states, and any type of firearms-related violation is at hundredths or

   thousandths of one percent.”) (citing John R. Lott, Jr., More Guns, Less Crime: Understanding

   Crime and Gun Control Laws (3d ed. 2010)); see also Carlisle E. Moody et al., The Impact of

   Right-to-Carry Laws on Crime: An Exercise in Replication, 4 R. of Econ. & Fin. 33, 42 (2014)

   (replicating 2011 study conducted by Professor Donohue and his colleagues that found

   right-to-carry laws increased violent crime and explaining that their study “suffer[ed] from

   significant aggregation bias and significant omitted variable bias,” and that “[t]he most robust

   result . . . is that the net effect of [right-to-carry] laws is to decrease murder”); Clayton E.

   Cramer & David B. Kopel, “Shall issue”: The New Wave of Concealed Handgun Permit Laws, 62

   Tenn. L. Rev. 679, 709 (1995) (“The experience of the carry reform states plainly shows that


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   homicide rates will not increase as a result of crimes committed by persons with carry permits.

   Carry reform legislation may or may not reduce the homicide rate, but reform legislation

   apparently does not raise the homicide rate.”); cf. Nat’l Research Council, Firearms and

   Violence: A Critical Review 150 (2004) (“[T]he committee concludes that with the current

   evidence it is not possible to determine that there is a causal link between the passage of

   right-to-carry laws and crime rates.”).

          And herein lies the problem: despite ample opportunity for an evidentiary hearing,

   the State has failed to offer any evidence that law-abiding responsible citizens who carry

   firearms in public for self-defense are responsible for an increase in gun violence. The State’s

   empirical evidence fails to consider, among other things, the permit requirements of the

   shall-issue jurisdictions the studies analyzed as compared to Chapter 131’s permit

   requirements (or similar permitting laws). Such issues could have been explored at an

   evidentiary hearing. Nor has the State presented one example where a New Jersey Carry

   Permit holder committed a violent crime. In fact, there was about a six-month gap between

   Bruen and Chapter 131’s enactment where more individuals obtained Carry Permits. Yet the

   State has not shown an increase in violent crimes during such period despite the increase of

   individuals obtaining Carry Permits.

          While this Court’s role is not to weigh the costs and benefits of shall-issue licensing

   laws or the merits of the various social studies presented by the State or Intervenors, this Court

   will not find the public interest will be harmed by granting injunctive relief based on the

   studies presented. To be sure, the Nation’s recent experience with gun violence has weighed

   heavily on the Court. So, too, has the unconstitutionality of Chapter 131’s “sensitive places”

   and the effect it has on the law-abiding citizens with Carry Permits before the Court. So, if


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   the State is going to argue that there will be an increase in gun violence absent Chapter 131

   that regulates the conduct of law-abiding citizens to carry a firearm, it should at least make

   an attempt to point to apposite statistics. It has not done so.

           Accordingly, on balance, the Court finds that the final PI factors weigh in favor of

   granting Plaintiffs’ motions for preliminary relief.

   V.      CONCLUSION

           In conclusion, the Second Amendment’s “right to bear arms in public for self-defense

   is not a ‘second-class right, subject to an entirely different body of rules than the other Bill of

   Rights guarantees.’” Bruen, 142 S. Ct. at 2156 (quoting McDonald, 561 U.S. at 780). That

   does not mean, however, that the right is “unlimited.”                   Heller, 554 U.S. at 626. The

   Constitution leaves the States “some measures” to combat handgun violence. Id. at 636. But

   what the Second Amendment prohibits the States from doing, and what the State of New

   Jersey has done here with much of Chapter 131, is to “prevent[] law-abiding citizens with

   ordinary self-defense needs from exercising their right to keep and bear arms.” Bruen, 142 S.

   Ct. at 2156. That is plainly unconstitutional.

           Bruen required the State to bring its firearm laws in compliance with the Second

   Amendment. Chapter 131 was the State’s response, but it went too far, becoming the kind of

   law that Founding Father Thomas Jefferson would have warned against since it “disarm[s]

   only those who are not inclined or determined to commit crimes [and] worsen[s] the plight of

   the assaulted, but improve[s] those of the assailants.” 81




    The Commonplace Book of Thomas Jefferson: A Repertory of His Ideas on Government 314 (Gilbert Chinard ed., John
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   Hopkins Press, 1926); see also Cesare Beccaria, On Crimes and Punishments 105 (Graeme R. Newman & Pietro
   Marongiu trans., Transaction Publishers 5th ed., 2009).
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          That said, this Court finds that most of Chapter 131’s firearm permitting requirements

   are consistent with the Second Amendment. This Nation has historically disarmed dangerous

   individuals or individuals who could endanger the public with a firearm.          With some

   exceptions, Chapter 131’s firearm permitting scheme generally adheres to that historical

   tradition and aims to keep firearms out of the hands of those who could harm the public.

          Accordingly, this Court grants, in part, and denies, in part, Plaintiffs’ motions for a

   preliminary injunction. Because Plaintiffs are claiming a deprivation of their fundamental

   right to keep and bear arms, this Court waives Rule 65’s bond requirement. See, e.g., Complete

   Angler, LLC v. City of Clearwater, 607 F. Supp. 2d 1326, 1335 (M.D. Fla. 2009) (“Waiving the

   bond requirement is particularly appropriate where a plaintiff alleges the infringement of a

   fundamental constitutional right.”); see also Renna, 2023 WL 2846937, at *15 (waiving bond

   requirement in Second Amendment challenge to state gun law).

          An accompanying Order shall issue that embodies the Court’s various rulings.



   May 16, 2023                                       s/Renée Marie Bumb
   Date                                               RENÉE MARIE BUMB
                                                      Chief United States District Judge




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